Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 1 of 74 Page ID
                                 #:15240




                    EXHIBIT 3
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 2 of 74 Page ID
                                      #:15241
                                                                      1                                                                                         2


 1                          UNITED STATES OF AMERICA                                   1   APPEARANCES OF COUNSEL:
                          UNITED STATES DISTRICT COURT
 2                       CENTRAL DISTRICT OF CALIFORNIA                                2
                                WESTERN DIVISION
 3                                                                                     3   ON BEHALF OF PLAINTIFF:
                                   - - -
 4                      HONORABLE MARK C. SCARSI                                       4                KNOBBE, MARTENS, OLSON & BEAR, LLP
                  UNITED STATES DISTRICT JUDGE PRESIDING
 5                                 - - -                                               5                BY: CHRISTY LEA, ESQ.

 6                                                                                     6                   JOSEPH RE, ESQ.
       PAVEMETRICS SYSTEMS, INC.,        )
 7                                       )                                             7                   NICHOLAS ZOVKO, ESQ.
                PLAINTIFF,               )
 8                                       )                                             8                   ALAN LAQUER, ESQ.
       VS.                               )       CASE NO.:
 9                                       )       CV 21-01289-MCS                       9                2040 MAIN STREET
       TETRA TECH, INC.,                 )
10                                       )                                            10                14TH FLOOR
                DEFENDANT.               )
11                                       )                                            11                IRVINE, CA 92614
      ___________________________________)
12                                                                                    12

13                                                                                    13   ON BEHALF OF DEFENDANT:

14                                                                                    14                FINNEGAN HENDERSON
                   REPORTER'S TRANSCRIPT OF PROCEEDINGS
15                                                                                    15                BY: JAMES BARNEY, ESQ.
                             FRIDAY, AUGUST 19, 2022
16                                                                                    16                   AARON PARKER, ESQ.
                             LOS ANGELES, CALIFORNIA
17                                                                                    17                   NICHOLAS CERULLI, ESQ.

18                                                                                    18                   JENCY MATHEW, ESQ.

19                                                                                    19                   DANIEL CHUNG, ESQ.

20                                                                                    20                901 NEW YORK AVENUE NW

21                                                                                    21                WASHINGTON, DC 20001

22                                                                                    22
                          LAURA MILLER ELIAS, CSR 10019
23                       FEDERAL OFFICIAL COURT REPORTER                              23
                         350 WEST 1ST STREET, ROOM 4455
24                        LOS ANGELES, CALIFORNIA 90012                               24
                                PH: (213)894-0374
25                                                                                    25



                          UNITED STATES DISTRICT COURT                                                        UNITED STATES DISTRICT COURT




                                                                      3                                                                                         4


 1                                      INDEX                                          1   LOS ANGELES, CALIFORNIA; FRIDAY, AUG. 19, 2022; 8:34 A.M.

 2    WITNESSES FOR                                                                    2                                   - - -
      TETRA TECH:
 3                                                                                     3                THE CLERK:    Calling Item No. 1.
                         DIRECT        CROSS    REDIRECT   RECROSS
 4                                                                                     4                Case No. CV 21-1289.

 5    MORELLAS, VASSILIOS                                                              5                Pavemetrics Systems, Inc. versus Tetra Tech, Inc.

 6    BY:   MR. BARNEY      18                   90                                    6                Counsel, please state your appearances.
      BY:   MR. LAQUER                 39                  99, 103, 106
 7                                                                                     7                  (Appearances as heretofore noted.)
      BY:   THE COURT 102, 104
 8                                                                                     8                THE COURT:    Good morning, everyone.

 9    SCHOETTELKOTTE,                                                                  9                So did we decide when we're gonna do the video
      TODD
10                                                                                    10   testimony?
      BY:   MS. MATHEW      108, 199            249
11    BY:   MR. ZOVKO                   218                                           11                MR. RE:   Yes.   It appears that the most convenient

12                                                                                    12   would be doing it at 1:00 after the lunch hour.        That expect
      WITNESSES FOR
13    PAVEMETRICS:                                                                    13   to be done by then.       And so 1 o'clock video.    We'll test it

14    HABEL, RICHARD                                                                  14   during the lunch hour.

15    BY:   MR. RE          137                 197                                   15                THE COURT:    Great.
      BY:   MR. BARNEY                 165
16                                                                                    16                MR. BARNEY:    That works for us.

17                                                                                    17                THE COURT:    So we gave you a set of the final jury

18                                                                                    18   instructions last night, and I'm not sure if you've had a

19                                                                                    19   chance to go through them or not, but are there questions?

20                                                                                    20                I know I wanted to talk about the nonobviousness

21                                                                                    21   instruction.    What we were talking about earlier about the

22                                                                                    22   nonobviousness instruction was this issue of simultaneous

23                                                                                    23   invention.    And I struggled with it because it seems like

24                                                                                    24   what we're really looking at is obviousness and not

25                                                                                    25   nonobviousness when we talk about simultaneous invention.



                          UNITED STATES DISTRICT COURT                                                        UNITED STATES DISTRICT COURT




                                                                          Exhibit 3
                                                                             99
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 3 of 74 Page ID
                                      #:15242
                                                                             5                                                                                            6


 1                 And so I'm wondering what's the parties think about                        1              THE COURT:    Does Tetra Tech agree with that basic

 2    that and why that's in the nonobviousness instruction.                                  2   proposition of law?

 3                 MR. RE:    You are correct, Your Honor.     This is Mr.                    3              MR. CHUNG:    Yes, Your Honor.       During our meet and

 4    Re for Pavemetrics.       You are correct.     Simultaneous                             4   confers, we did agree to include that instruction from the

 5    invention, if there are many people who simultaneously arrive                           5   federal circuit bar model.       I guess it's an issue of how that

 6    at the invention at around the same time that is an                                     6   fits with the language of the rest of the fourth factor in

 7    indication of obviousness, not nonobviousness.                                          7   terms of, you know, do we say it's obviousness or

 8                 THE COURT:    Right.     And so does it belong in the                      8   nonobviousness so I think it's more of a matter of probably

 9    nonobviousness instruction?                                                             9   form over substance in terms of clarifying that particular

10                 MR. RE:    That would be where it'd be an appropriate                     10   factor.

11    place to put it, in the nonobviousness.                                                11              THE COURT:    Okay.    Let me pull it up again.      Would

12                 THE COURT:    Okay.     And is there a model instruction                  12   that legal concept belong in the instruction on obviousness?

13    that includes the simultaneous invention language?                                     13   And I take it the federal circuit bar instruction had it in

14                 MS. LEA:     Yeah.    So it included in Federal Circuit                   14   nonobviousness; correct?

15    Bar.    They do it differently because they list the factors,                          15              MR. CHUNG:    I believe the federal circuit bar

16    and they don't tell the jury which way the particular factors                          16   association model had it in obviousness, and it included all

17    go.    But, of course, if you're going to consider the factors                         17   of the factors.     So it was a longer instruction that was

18    in favor of obviousness, you should consider the factor that                           18   comprehensive whereas the instructions we have now are

19    is in favor not being obvious.          This is definitely a case                      19   broken.

20    where we have a development happening around the same time by                          20              MS. LEA:     Yes, Your Honor.      So we had proposed the

21    different parties.                                                                     21   federal circuit bar model which used the comprehensive

22                 THE COURT:    And so the case law that -- or the                          22   obviousness instruction, and Tetra Tech had proposed an AIPLA

23    legal rule you're trying to tease out is that if multiple                              23   instruction that broke them out.       We agreed to break them

24    people are inventing it at the same time, it's obvious.                                24   out.   They agreed to include the simultaneous invention

25                 MS. LEA:     Yes.                                                         25   instruction.



                         UNITED STATES DISTRICT COURT                                                                 UNITED STATES DISTRICT COURT




                                                                             7                                                                                            8


 1                 And if you look at Instruction No. 35 in your jury                         1              THE COURT:    Gotcha.

 2    instructions, you could see that No. 4 says additional                                  2              MS. LEA:     And then we go to the additional

 3    considerations, if any, that indicate that the invention was                            3   consideration instruction, No. 39.       We have the instruction.

 4    obvious or not obvious.          So we want to make sure that in the                    4              Right.    And you list the factors, and you say

 5    instruction on the additional considerations that we include                            5   answering all or some of these questions yes may suggest the

 6    the factor that shows that the invention was obvious.          And                      6   claim was not obvious, and then we're not giving the factor

 7    we'd like to be clear with the jury which way that factor                               7   that suggests that the claim is obvious which is the

 8    goes just like it's clear that the other factors might go the                           8   simultaneous invention.

 9    other way.                                                                              9              THE COURT:    Right.    And that was the problem.

10                 THE COURT:    Okay.                                                       10   We've listed in these factors; right?         The instruction says

11                 And so let me pull up Instruction 35; right?                              11   answering yes may suggest the claim is not obvious, and so it

12                 MS. LEA:     Yes, Your Honor.                                             12   seems to be a contradiction.       If we put here simultaneous

13                 THE COURT:    Let me make sure I've got the right                         13   invention, for example, is one of these factors, right, did

14    set.    Um, Instruction 35 is obviousness?        Generally?                           14   others simultaneously invent it?       Yes.    That means it's not

15                 MS. LEA:     Yes, Your Honor.                                             15   obvious.   That's not the point we're trying to get at; right?

16                 THE COURT:    Okay.                                                       16              MS. LEA:     And so we have to add two sentences about

17                 MS. LEA:     And there's Numbers 1, 2, 3 and 4 in that                    17   the simultaneous invention factor, and then if you answer

18    instruction.                                                                           18   that question yes, that may suggest that the claim was

19                 THE COURT:    And you would propose to include the                        19   obvious.   And if you want to do an independent separate

20    simultaneous invention language here?                                                  20   instruction, that's fine with me, with Pavemetrics.

21                 MS. LEA:     No.    I'm fine with it in the factors or                    21              THE COURT:    Okay.    Um, why don't -- uh, yeah.     And,

22    the additional considerations instruction.          I'm just showing                   22   I mean, I get the -- I get the legal point.         I just -- just

23    you that here we're telling the jury they can consider                                 23   don't want to confuse the jury unnecessarily.         So your

24    additional consideration, if any, that indicate that the                               24   proposal before was it was in this instruction, but it wasn't

25    invention was obvious or not obvious.                                                  25   one of these factors.     It was listed separately; right?



                         UNITED STATES DISTRICT COURT                                                                 UNITED STATES DISTRICT COURT




                                                                                 Exhibit 3
                                                                                   100
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 4 of 74 Page ID
                                      #:15243
                                                                          9                                                                                        10


 1                 MS. LEA:     Yes, Your Honor.                                           1                THE COURT:   Okay.    So yeah, that might work.

 2                 THE COURT:    Okay.   And Tetra Tech has as one of the                  2                What I'm gonna do is I'll leave the parties to

 3    factors, and the problem with it being one of factors is it                          3   maybe meet and confer a little on Instruction 39 and figure

 4    was contradictory.       So what does Tetra Tech think about going                   4   that out because I get that the parties agree that this legal

 5    back to Pavemetrics' prior language where it was pulled out                          5   principal should be given to the jury, and I just want to

 6    separately?                                                                          6   make sure we don't have the jurors kind of scratching their

 7                 MR. CHUNG:    Your Honor, we'll take the guidance of                    7   heads on an instruction that's noncontradictory.       So let's

 8    the Court.     If Your Honor prefers it that it be a separate                        8   put a pin in 39 for now.

 9    stand alone factor, we are willing to take Your Honor's                              9                What other issues do the parties have in the final

10    guidance on that.       I will note, however, that the fed circuit                  10   set of instructions?

11    model does it include it within the enumerated factors, um,                         11                MR. CHUNG:   Tetra Tech has one note, Your Honor.

12    and it does preface that by stating whether obvious or not                          12                THE COURT:   Okay.

13    obvious.                                                                            13                MR. CHUNG:   And that's for Instruction No. 21.

14                 THE COURT:    And what do you think about this                         14                THE COURT:   Summary of contentions?

15    sentence?    After the factors answering all or some of these                       15                MR. CHUNG:   Yes, Your Honor.

16    questions yes may suggest that the claim is not obvious.                            16                THE COURT:   Okay.

17    That seems to be contradictory, right, if one of the factors                        17                MR. CHUNG:   Line 19 where it is discussing damages.

18    is simultaneous invention?                                                          18   Right now, it appears to be limited to the '293 patent

19                 MR. CHUNG:    Yes, I see that.                                         19   whereas other instructions related to damages identifies both

20                 THE COURT:    How do we fix this sentence?                             20   patents.

21                 MR. CHUNG:    If we just delete that sentence and                      21                THE COURT:   Okay.    I think that's something that we

22    these are just considerations that the jury takes, that may                         22   should fix.     Thank you.     And let me hear from -- anything

23    resolve the internal tension.       Perhaps whether or not for                      23   else?

24    each of the factors.       Is it whether or not?   Is there                         24                MR. CHUNG:   I think the other point is on line 14,

25    consideration that you take?                                                        25   there's a in our view confusing identification of various



                         UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                        11                                                                                         12


 1    versions of Pavemetrics' LRAIL system.        Our position has been                  1   Downstate, New York.

 2    that the accused product is the LRAIL, and removing that that                        2                THE COURT:   I'm sure.

 3    various versions of Pavemetrics LRAIL system and just leaving                        3                MR. RE:   One of the jurors said Downstate, New

 4    it at LRAIL systems would also be consistent with the rest of                        4   York.    That told me he wasn't from the City.

 5    the instructions.                                                                    5                But it's a pleasure to meet you.

 6                 THE COURT:    Products are alleged to infringe are                      6                THE COURT:   There's a lot of Giants' fans in

 7    Pavemetrics' LRAIL systems?        Can we say systems?                               7   Syracuse as well.

 8                 MR. CHUNG:    Yes.                                                      8                MR. RE:   I love Syracuse.

 9                 THE COURT:    Okay.   I think that works.                               9                With regard to the last issue on the versions, I

10                 MR. CHUNG:    And that's all Tetra Tech has on the                     10   suggest the Court hold off on that until you at least see the

11    instructions, Your Honor.                                                           11   evidence with regard to this whole issue of the LRAIL and

12                 THE COURT:    Okay, let me hear from Pavemetrics now.                  12   versions.     And it's a complicated subject, and I -- I

13                 With Mr. Re, I thought it was particularly funny                       13   recommend we just hold off on that until you at least see the

14    yesterday when you said no one's every accused you of not                           14   evidence before we have a final charge conference.

15    speaking up.    I thought that was pretty good.                                     15                THE COURT:   Okay.    We can certainly table that

16                 MR. RE:    Well, I come from a very loud family.                       16   until the close of evidence.

17    Being one of twelve does that to you.         The youngest boy, too.                17                MR. RE:   Okay.    Uh, my first comment would be with

18    So I'm an East Coaster from New York like you so --                                 18   regard to the damages that Mr. Chung mentioned, there is some

19                 THE COURT:    Yeah.                                                    19   ambiguity to throughout the instructions on the damages

20                 MR. RE:    -- I appreciate all your comments about                     20   issue.     I just need the clarity for the record.    Is it the

21    the Orange men and the Buffalo Bills.         I'm a Giants' fan from                21   Court's ruling that Tetra Tech has a damages case for the

22    New York City.    And I heard somebody say Downstate, but                           22   jury on the '557?

23    people from New York City never say Downstate.        Downstate                     23                THE COURT:   Yes.

24    means like Rockland County, Westchester, something like that.                       24                MR. RE:   Okay.    And is it the Court's ruling that

25    But no New Yorker from New York City would ever say                                 25   they have a damages case based on use which is the



                         UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                101
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 5 of 74 Page ID
                                      #:15244
                                                                         13                                                                                         14


 1    infringement of the '557?                                                            1                MR. RE:    With that, I assume the Court has made a

 2               THE COURT:    Uh, yes.   Yes, that's correct.                             2   final proposal on Instruction 51 with regard to the damages

 3               MR. RE:    Okay.   Thank you.   Uh, with that, I                          3   date, and because the Court has ruled there is a damages case

 4    preserve my record, and I won't go through the jury                                  4   on the '557, we understand that the Instruction 51 flows

 5    instructions on that level of detail.                                                5   directly from the Court's ruling that they can advance the

 6               I next would like to raise Instruction No. 26.         And                6   case for reasonable royalty on the '557 with regard to the

 7    this one, I think, is very important, and I think we might                           7   AID accused infringement.

 8    have agreement, but I haven't had a chance to discuss it with                        8                THE COURT:    Correct.

 9    opposing counsel.                                                                    9                MR. RE:    And I apologize that the appellate lawyer

10               Instruction No. 26 talks about direct infringement                       10   in me is coming out.

11    by literal infringement.      And then it continues to say there                    11                THE COURT:    That's okay.

12    are two types of direct infringement; literal infringement                          12                MR. RE:    With that, I have nothing further for this

13    and infringement under the Doctrine of Equivalence.                                 13   portion of the charge conference.

14               Uh, I suggest and propose and request that this                          14                THE COURT:    Okay.   Anything else we need to discuss

15    instruction be simplified because they are not -- the                               15   before the jury comes back?

16    plaintiff is not advancing a case under the Doctrine of                             16                MR. CHUNG:    Tetra Tech has three objections to

17    Equivalence.   It's never been at issue.     The concept of                         17   exhibits that we understand Pavemetrics will propose to

18    literal verus doctrine is not gonna be presented to the jury,                       18   enter.   And Your Honor, those exhibits are 510, 565, and 566.

19    and this should be simplified to just to refer to the                               19   We are objecting to these exhibits as hearsay, but we are

20    concepts of literal infringement only.                                              20   willing to withdraw those objections to the extent that

21               THE COURT:    That would be great if we could do                         21   Pavemetrics can lay proper foundation for a proper hearsay

22    that.   Is that the case that there's no DOE here?                                  22   exception.

23               MR. CHUNG:    That's correct, Your Honor.                                23                THE COURT:    Okay.   Just generally, what are these

24               THE COURT:    Okay.   Then we'll do that.   We'll get                    24   exhibits?

25    rid of Doctrine of Equivalence.                                                     25                MR. CHUNG:    Uh, 510 purports to be a publication



                         UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                         15                                                                                         16


 1    that Pavemetrics is relying on for their invalidity case.                            1                Um, John Laurent was also involved in their

 2               THE COURT:    Okay.                                                       2   preparation and revision and received them, and so he'll be

 3               MR. CHUNG:    565 appears to be a document of meeting                     3   able to testify to that as well.

 4    minutes.                                                                             4                THE COURT:    Okay.   So these are -- the hearsay

 5               THE COURT:    Okay.                                                       5   exception is government records?

 6               MR. CHUNG:    And 566 on its face is a quarterly                          6                MS. LEA:     Would be 8038, and we have the

 7    report for a project titled An Automated System for Rail                             7   foundational witness, too, who is involved in the preparation

 8    Transit Infrastructure Inspection.                                                   8   and receipt.

 9               THE COURT:    Okay.   And when do you expect these to                     9                THE COURT:    Okay.

10    come up?                                                                            10                Counsel, do you have a response to that?

11               MR. CHUNG:    Uh, we understand that they will come                      11                MR. CHUNG:    With respect to these two exhibits,

12    up during the direct examination of Mr. Laurent.                                    12   Your Honor, to the extent that foundation can be laid, we

13               THE COURT:    Okay.   Um, what's Pavemetrics' view on                    13   will withdraw that -- those objections.

14    whether or not we should deal with these issues now or wait                         14                THE COURT:    Okay.   Excuse me one second.   I'll be

15    to see if an appropriate foundation's laid?                                         15   right back.

16               MS. LEA:     Your Honor, we -- we can wait or I can                      16                We were going to address 510?

17    explain it right now.                                                               17                MS. LEA:     Yes, Your Honor.   510 is prior art

18               THE COURT:    Well, we have a few minutes.    Do you                     18   article by customers of Pavemetrics.         This is the Spanish

19    want to explain?     And then we could decide whether we'll                         19   customers who bought three in 2010 and wrote an article about

20    address the issues now or wait till they come up.                                   20   their use of Pavemetrics' product and then published it in

21               MS. LEA:     So I'll start with the meeting minutes,                     21   conjunction with the Transportation Research Board of the

22    Exhibits 565 and 566, those are meeting minutes from the UML                        22   National Academies, a board that advises the President of the

23    Project which is a project of the U.S. Department of                                23   United States and the Congress of the United States so it

24    Transportation which makes them official public records and                         24   would also be a public record.

25    subject to a hearsay exception.                                                     25                In addition, Mr. Laurent was consulted on the draft



                         UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                102
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 6 of 74 Page ID
                                      #:15245
                                                                            17                                                                                         18


 1    and requested -- they asked his permission to include                                   1                        DIRECT EXAMINATION (RESUMED)

 2    Figure 2 in the draft which he gave.       He then attended a                           2   BY MR. BARNEY:

 3    presentation of the paper at the Transportation Research                                3   Q.     Good morning, Dr. Morellas.

 4    Board conference, and eh received a copy of the final paper.                            4   A.     Good morning.

 5                 THE COURT:    Okay.                                                        5   Q.     Welcome back?

 6                 Counsel, that seem like an appropriate foundation                          6   A.     Thank you.

 7    to get around the hearsay rule.                                                         7   Q.     Yesterday we were talking about the LRAIL system quite a

 8                 MR. CHUNG:    Withdraw the objection.                                      8   bit.   That's the accused product in this case.       And now, I'll

 9                 THE COURT:    Okay.   Well, that was straightforward.                      9   like to switch gears and talk about the 3DTAS system.        That's

10                 Anything else before we get the jury?                                     10   Tetra Tech product.      Okay?

11                 MS. LEA:     Your Honor, would you prefer that I enter                    11   A.     Okay.

12    the exhibits now or wait till after lunch?         He can go after                     12   Q.     Now, first of all, did you perform an analysis as to

13    lunch, I believe.                                                                      13   whether Tetra Tech's 3DTAS system satisfies the limitations

14                 THE COURT:    We can wait till after lunch.                               14   of the asserted claims?

15                 MS. LEA:     Okay.                                                        15   A.     Yes, I did.

16                 THE COURT:    Let's see if the jurors are ready.                          16   Q.     And if you could just explain at a very high level to

17                 THE CLERK:    All rise.                                                   17   the jury a little bit about the 3DTAS system.

18                                 (Jury present.)                                           18   A.     Of course.    I have included this slide here just to show

19                 THE COURT:    Okay.   Everyone, please have a seat.                       19   the -- Tetra Tech's 3DTAS system.         You can see two pictures

20                 Welcome back to the jurors.       Thanks everybody for                    20   on the top.      The one on the right is an actual image that

21    being on time today.       We'll get started right away.    We had                     21   comes from the system, uh, embedded on a actual train car.

22    Dr. Morellas on the stand so we'll continue with his                                   22   On the left-hand side, on the top, you see a computer

23    testimony.                                                                             23   graphics rendering of the system looking at the system from a

24                 Okay.   Counsel, you can proceed.                                         24   different angle.

25                 MR. BARNEY:     Thank you, Your Honor.                                    25                  The bottom left, you can see the results of



                           UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                            19                                                                                         20


 1    processing the data that were collected by the system, and                              1   A.     That's correct.

 2    you can see the identification of features along with some                              2   Q.     Did you carefully analyze the 3DTAS system to see

 3    physical measurements.       And on the bottom right, it's just a                       3   whether those undisputed limitations are, indeed, satisfied?

 4    quote assessing the tie condition's scoring based on industry                           4   A.     Yes.

 5    standard in specific surface distresses.                                                5   Q.     Did you analyze the source code?

 6    Q.   And does the Tetra Tech 3DTAS system include both                                  6   A.     Yes, I did.

 7    hardware and software?                                                                  7   Q.     And so just very quickly, is the 3DTAS system a system

 8    A.   That is correct.                                                                   8   for assessing a railway track bed?

 9                 MR. BARNEY:     Let's have the next slide.                                 9   A.     Yes, it is.

10    Q.   And Doctor, can you explain how you did your analysis as                          10   Q.     Does it include a power source?

11    to whether the 3DTAS system meets all the limitations of                               11   A.     Yes.

12    Claim 1 of the '293 patent?                                                            12   Q.     Does it include a light emitting apparatus powered by

13    A.   Yes.    I followed the same process that we used for                              13   the power source for emitting light energy to toward a

14    examining the patents against LRAIL.       And now, in this case,                      14   railway track?

15    I placed the right column with the 3DTAS system, and I follow                          15   A.     Yes.

16    the same process.       I consider each one of the limitations of                      16   Q.     Does it include a data storage apparatus in

17    Claim 1 and see if they satisfy or embedded in the 3DTAS                               17   communication with at least one processor?

18    system.                                                                                18   A.     Yes.

19    Q.   Now, I see a red box around two of the limitations,                               19   Q.     And does it, uh -- is it -- does it have at least one

20    Steps B and C of the algorithm.        Why you have put a red box                      20   sensor for sensing reflected light that was emitted from the

21    there?                                                                                 21   light emitting apparatus in acquiring three dimensional

22    A.   Uh, because they are the particular limitations that are                          22   surface elevation and intensity image data of --

23    in dispute by Pavemetrics.                                                             23                  THE COURT REPORTER:   I'm sorry, Counsel.

24    Q.   So is it your understanding that all of the limitations                           24                  Maybe just a little slower, please.

25    that don't have that red box around them are not disputed?                             25                  Does it have at least --



                           UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                                 Exhibit 3
                                                                                   103
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 7 of 74 Page ID
                                      #:15246
                                                                      21                                                                                      22


 1                 MR. BARNEY:    I thought I learned my lesson                         1   Q.      And going down to step b, does it include the step of

 2    yesterday with that.       Um, would you like me to start with the                2   storing information corresponding to the identifying railway

 3    whole limitation?                                                                 3   track bed feature in the data storage apparatus?

 4                 THE COURT REPORTER:    I have a reflected light from                 4   A.      Yes.

 5    light emitting. . .                                                               5   Q.      And, again, are those three software limitations in

 6    BY MR. BARNEY:                                                                    6   dispute?

 7    Q.   Um, from a light emitting apparatus in acquiring three                       7   A.      Actually, two.

 8    dimensional surface elevations and intensity image data of                        8   Q.      Well, the -- the three blue checkmarks are -- the three

 9    the railway track to be stored in the data storage apparatus                      9   checkmarks in the blue portion of your claim chart, are they

10    wherein the at least one sensor is in communication with the                     10   in dispute?

11    at least one processor?                                                          11   A.      They are not.

12    A.   Yes.                                                                        12   Q.      Okay.   So now let's take at the two that are in dispute.

13    Q.   Okay.    And, again, are any of these hardware limitations                  13   A.      Okay.

14    disputed in terms of whether the 3DTAS system meets them?                        14   Q.      What is your opinion, Doctor, as to whether the 3DTAS

15    A.   No.                                                                         15   system performs the limitation of step b which is generating

16    Q.   How about does the 3DTAS system include at least one                        16   a track elevation map based on the acquired three dimensional

17    processor that is configured to run an algorithm for                             17   data?

18    processing three dimensional surface elevation and intensity                     18   A.      Yeah.   You see a portion of the code that shows in the

19    data gathered from the at least one sensor and saved in the                      19   enclosed boxes the intensity data and the elevation data that

20    data storage apparatus?                                                          20   are received by the sensors.     And at the bottom is 712 is an

21    A.   Yes.                                                                        21   image that shows the combination of intensity and elevation

22    Q.   And does the algorithm include the step of acquiring                        22   data.

23    three dimensional surface elevation and intensity data                           23   Q.      Okay.   And, again, you're pointing to -- in the code,

24    representative of an area segment of railway track bed?                          24   you're referring to Exhibit 1713?

25    A.   Yes.                                                                        25   A.      That is correct.



                         UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                      23                                                                                      24


 1    Q.   Is that Tetra Tech source code?                                              1   only elevation data, but I disagree with him because this is

 2    A.   It is.                                                                       2   the image that shows a combination of both intensity and

 3    Q.   And did you find two variables in there that correspond                      3   elevation data.

 4    to intensity data and elevation data?                                             4   Q.      Is there anything associated with the values that are

 5    A.   That is correct.                                                             5   associated with the each pixel where there's a disagreement

 6    Q.   And in the image below, what has been done with those                        6   between you and Dr. Frakes?

 7    types of data, if anything?                                                       7   A.      Uh, yeah.   Again, he thinks that this is an elevation

 8    A.   Uh, the intensity image and the elevation image are                          8   image as opposed to my belief that this image contains both

 9    combined to create this particular final image that we see at                     9   because you use intensity and elevation in every pixel of the

10    the bottom.                                                                      10   image.

11    Q.   Okay.    And in your opinion, does that satisfy the                         11   Q.      And when you say use it in every pixel, how is that

12    requirement of generating a track elevation map based on the                     12   done?

13    acquired three dimensional data?                                                 13   A.      Uh, you are looking at the values of the intensity, and

14    A.   That is correct.                                                            14   if the intensity value is too low, that means that this is

15    Q.   Now, how do you respond to Dr. Frakes' opinion that the                     15   not a good elevation or range data to process so this is a

16    3D images -- that the image that we're looking at there in                       16   way that this combination of those two data come into play in

17    Exhibit 712 doesn't actually include intensity data, it's                        17   this image.

18    only elevation data?                                                             18   Q.      Okay.   Let me see if I can put it a different way.   The

19    A.   I disagree with him simply because the data coming from                     19   image that we're seeing in Exhibit 712, if that image

20    those two different sources are combined in this image to                        20   actually were only elevation data and not a combination of

21    create a final image.                                                            21   elevation and intensity, would it look the way that it looks?

22    Q.   Can you elaborate a little bit more as to what the                          22   A.      No.

23    disagreement is between you and Dr. Frakes on that -- on that                    23   Q.      What -- what -- what is it in that feature that leads to

24    issue?                                                                           24   believe that intensity data has been taken into consideration

25    A.   Uh, I believe that he thinks that this image contains                       25   in creating that map?



                         UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                           Exhibit 3
                                                                             104
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 8 of 74 Page ID
                                      #:15247
                                                                        25                                                                                      26


 1    A.      Uh, the box that I have enclosed there that shows low                       1   networks, the idea that this is part of this Claim C.      So I

 2    intensity areas would be different.                                                 2   was able -- next slide, please.    As you can see, the neural

 3    Q.      Thank you, Doctor.    And so in your opinion, does the                      3   network is applied, and in this case, it is used to identify

 4    3DTAS system satisfy limitation step b of the algorithm?                            4   the rails of the, uh -- this is the function of the CNN's

 5    A.      Yes.                                                                        5   network that is used to identify the rails in the image.

 6    Q.      Okay.   And let's turn now to step c.   Oh, excuse me.    I                 6   Q.   A couple follow-up questions, Doctor.    You mentioned

 7    forgot to ask you is there anything else you considered with                        7   convolutional neural network.   Is that what -- the YOLO

 8    respect to that limitation B?                                                       8   algorithm or system, is that what that is?

 9    A.      Yeah.   You can see the next slide here that this is a                      9   A.   That is correct.

10    YOLO network that we heard yesterday, the You Only Look Once                       10   Q.   And it's kind of a funny name.    Can you explain why they

11    combination of neural network that uses the elevation map                          11   call it a YOLO?

12    data.                                                                              12   A.   Uh, this is a particular type of a convolutional neural

13    Q.      And I think I was now getting into step c, and so let me                   13   network that is able to identify multiple different objects

14    ask you about step c.      Step c, again, it requires identifying                  14   in the image without -- by assigning basically -- I wouldn't

15    a railway track bed feature from the track elevation map                           15   want to get into the technicalities, but it is able to at the

16    further including the steps of defining an appropriate                             16   same time detect different types of objects in the image.

17    gradient neighborhood representing a small 2D track section                        17   Q.   And what is the input for the YOLO convolutional network

18    over which differential vertical measurements are calculated                       18   that occurs in step c?

19    and moving the gradient neighborhood like a sliding window                         19   A.   It is the track elevation map data.

20    over the 3D elevation data using the processor.      Did I read                    20   Q.   The one you referred to earlier that has the combination

21    that right?                                                                        21   of elevation and intensity data?

22    A.      Yes.                                                                       22   A.   That is correct.

23    Q.      And Doctor, what is your opinion as to whether Step 3 is                   23   Q.   Now, is there a dispute between you and Dr. Frakes

24    satisfied by the 3DTAS system?                                                     24   regarding this limitation?

25    A.      And as I said yesterday, the combination of neural                         25   A.   Again, this is the same thing that we talked yesterday



                          UNITED STATES DISTRICT COURT                                                          UNITED STATES DISTRICT COURT




                                                                        27                                                                                      28


 1    about the gradient neighborhood.                                                    1   A.   Yes.

 2    Q.      Okay.   And you and Dr. Frakes just have a disagreement                     2   Q.   And as far as you know, is that disputed?

 3    about whether the gradient neighborhood I think you said has                        3   A.   I don't think so.

 4    to have edge definition features or something of that sort?                         4   Q.   Okay.    So what is your opinion as to whether the 3DTAS

 5    A.      The gradient neighborhood, in my opinion, is that there                     5   system meets all the elements of Claim 21?

 6    are ways that are not really defined and not fixed.      But he                     6   A.   It does meet the claims of Claim 21.

 7    has a very narrow view of these gradient operator.                                  7   Q.   Okay.    And now, let's turn to Claim 8 of the '557

 8    Q.      And is that the same dispute that we already talked                         8   patent.    And, again, I see you have the elements here of

 9    about when we were the discussing the same limitation with                          9   Claim 8.    And why do you have the red box around one of them?

10    respect to the LRAIL system?                                                       10   A.   This is one part of the limitation that is in dispute.

11    A.      That is correct.                                                           11   Q.   And did you carefully look at the 3DTAS system and

12    Q.      So in summary, Doctor, if I could have the next slide,                     12   software to determine whether the undisputed limitations are,

13    what is your opinion as to whether Tetra Tech's 3DTAS system                       13   in fact, satisfied?

14    satisfies all the claims of Claim 1 of the '207 patent?                            14   A.   Yes.

15    A.      It does satisfy them.                                                      15   Q.   And so what is your opinion as to whether the 3DTAS

16    Q.      I think I said 207.   I meant '293.                                        16   system has software that detects railroad, tie, distress

17    A.      Yes.                                                                       17   using a system for assessing a railway track bed?

18    Q.      I know it didn't sound right.   Let's talk about Claim                     18   A.   It is.

19    21.   And, again, because Claim 21 depends from Claim 1, is                        19   Q.   And what is your opinion as to whether the 3DTAS system

20    that why you put the checkmark in that first line?                                 20   has an algorithm that performs step b comparing ties in the

21    A.      That is correct.                                                           21   elevation data with tie surface plane model by calculating

22    Q.      Okay.   How about the other limitation that has to do                      22   the difference between tie surface elevation data and the tie

23    with, you know, detecting the joint bar candidates and                             23   surface plan model using the processor?

24    comparing length and so forth?      In your opinion, is that                       24   A.   It does that, too.

25    satisfied by the 3DTAS system?                                                     25   Q.   Okay.    What is your opinion as to whether the 3DTAS



                          UNITED STATES DISTRICT COURT                                                          UNITED STATES DISTRICT COURT




                                                                             Exhibit 3
                                                                               105
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 9 of 74 Page ID
                                      #:15248
                                                                         29                                                                                     30


 1    system satisfies step c which requires identifying tie                               1   Q.   Okay.     And yesterday we talked about what transverse and

 2    surface regions with elevations less than a tie surface plane                        2   longitudinal mean.    Is that sort of like the X and Y axis on

 3    minus a crack depth threshold as tie crack targets?                                  3   the grid?

 4    A.      Yes.                                                                         4   A.   That is correct.

 5    Q.      Using the processor.                                                         5   Q.   And does that anything to do with names of the variables

 6    A.      Yes, it does that, too.                                                      6   that you circled?

 7    Q.      Okay.    And what is your opinion as to whether the 3DTAS                    7   A.   Uh, yes.     Those are the variable.

 8    system performs step b which is determining physical                                 8   Q.   Okay.     So one of the variables is X mm, and the other

 9    parameters of crack targets using the processor?                                     9   variable is Y mm.

10    A.      It does it.                                                                 10   A.   That's correct.

11    Q.      So now let's take a look at the disputed limitation                         11   Q.   Now, Dr. Frakes have a disagreement with you about

12    which is step a.       And let's break it down like we did before.                  12   particular part of step a?

13    Does the 3DTAS system input elevation data?                                         13   A.   Yes.    And this is the same disagreement that we talked

14    A.      Yes.    And it is part of the code in particularly the                      14   about yesterday just because in the highlighted portion of

15    variable that I have enclosed in the purple box is where the                        15   the limitation that I have with yellow includes the name

16    elevation data come in.                                                             16   transfer elevation map resolution data, he thinks that this

17    Q.      Okay.    And that variable is iwd.Rng0?                                     17   should come out from a track elevation map, but this is not

18    A.      Correct.                                                                    18   the case here because, uh only input from elevation data is

19    Q.      And, again, range, is that a synonym of elevation?                          19   required.

20    A.      That is correct.                                                            20   Q.   And let me make sure I understand.     As you understand

21    Q.      How about the next requirement?    Does the 3DTAS system                    21   Dr. Frakes' opinion, he thinks that the longitudinal and

22    input longitudinal and transverse elevation map resolution                          22   transverse elevation map resolution data must include both

23    data?                                                                               23   elevation and intensity data.

24    A.      Yes.    We see these particular data where those two                        24   A.   That is correct.

25    variables are included.                                                             25   Q.   And, again, we saw something like that in Claim 1 of the



                            UNITED STATES DISTRICT COURT                                                          UNITED STATES DISTRICT COURT




                                                                         31                                                                                     32


 1    '293 patent; right?                                                                  1   left edge --

 2    A.      Right.                                                                       2   A.   Right.

 3    Q.      But this is a different patent; right?                                       3   Q.   -- and right edge raw and right edge.

 4    A.      This is different patent, yes.                                               4   A.   Correct.

 5    Q.      And in your opinion, does -- the longitudinal and                            5   Q.   And the comments at the top of that is that this is a

 6    transverse elevation map resolution data in this claim, does                         6   structure to store properties for rail base?

 7    it require both elevation and intensity data?                                        7   A.   Correct.

 8    A.      No.                                                                          8   Q.   How about the next requirement?    Does the 3DTAS system

 9    Q.      Is there any requirement in this claim for an input of                       9   detect tie bounding box data?

10    intensity data?                                                                     10   A.   Yes.    And this is another structure, data structure

11    A.      No.                                                                         11   that's actually named by the name this is enclosed in the

12    Q.      Is there anything in the claim in the Court's claim                         12   green box, bounding box, and I have highlighted with red

13    construction of this claim that requires intensity data?                            13   boxes the X and Y coordinates of the four vertices of the

14    A.      No.                                                                         14   rectangle box.

15    Q.      And so what's your opinion as to whether that particular                    15   Q.   Okay.     How about the next limitation?   Does the 3DTAS

16    aspect of claim -- uh, the Limitation A is satisfied?                               16   input system input approximate ties surface plane data?

17    A.      It is satisfied.                                                            17   A.   Yes.    And this is the actual relevant part of the code

18    Q.      How about does the next?    Does the 3DTAS system input                     18   does exactly that.

19    rail base feature coordinates?                                                      19   Q.   Okay.     And so we're showing portions of Exhibit 713, and

20    A.      Yes.    And here you see another structure that we can see                  20   there's a comment at the top that says calculate estimated

21    the comment of line 10 that says this is a structure to store                       21   elevation profile for tie based on elevation points and two

22    properties for a rail base, and below you see the variables                         22   halves of tie center region?

23    that are associated with the rail base edge feature                                 23   A.   That is correct.

24    coordinates.                                                                        24   Q.   And then there's some, uh -- there's some variables, and

25    Q.      And the coordinates you've identified are left edge raw,                    25   they have names such as left tie elevation, tie elevation,



                            UNITED STATES DISTRICT COURT                                                          UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                106
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 10 of 74 Page ID
                                      #:15249
                                                                           33                                                                                         34


 1    histogram Max, right tie elevation and tie elevation                                   1   techniques.

 2    histogram Max.       How does those relate to your opinion?                            2   Q.      And sometimes abbreviate AI?

 3    A.      Yes.    These are actually the functions the particular                        3   A.      Correct.

 4    procedure that is followed there by considering first, you                             4   Q.      And so artificial intelligence would include a technique

 5    know, one half of the tie, the right half of the tie, and                              5   such as a convolutional neural network?

 6    then using those two data, you create the slope of the plane                           6   A.      That is correct.

 7    that is fitting the data.                                                              7   Q.      Okay.    And so when you're talking about AI such as a

 8    Q.      And about the last requirement?      Does the 3DTAS system                     8   convolutional neural network, does human a programmer have to

 9    operate wherein significant elevations due to the railheads                            9   program the computer to do those things?

10    for each rail have been removed from the elevation data?                              10   A.      That is correct.

11    A.      Yes.    As you see the comment on line 79 of the code, the                    11   Q.      Okay.    So, for instance, in the convolutional neural

12    code reads get rid of rails, and the place that this is                               12   network in the LRAIL system, was it programmed by a human

13    happening at rows 82 and 88 where the pixel values associated                         13   programmer?

14    with the railings are set to zero.                                                    14   A.      Yes.

15    Q.      Okay.    And so taking this all together, Doctor, what is                     15   Q.      And based on your review of the source code, does it

16    your opinion as to whether the 3DTAS system meets all the                             16   carry out the functions it was programmed to perform?

17    limitations of Claim 8 of the '557 patent?                                            17   A.      Correct.

18    A.      It does meet all the limitations.                                             18   Q.      And if it wasn't programmed by a human being to perform

19    Q.      Okay, Doctor --                                                               19   those functions, in your opinion based on your experience,

20                    You can take that down.                                               20   would it be able to somehow start up performing functions

21                    Yesterday we talked about convolution networks.                       21   that it wasn't programmed to do?

22    And have you heard the term artificial intelligence?                                  22   A.      No.

23    A.      Yes.                                                                          23   Q.      Okay.    And so artificial intelligence doesn't mean that

24    Q.      And what is artificial intelligence?                                          24   the computer is -- is literally thinking for itself.            Is that

25    A.      It's an umbrella term that contains all of these                              25   true?



                            UNITED STATES DISTRICT COURT                                                               UNITED STATES DISTRICT COURT




                                                                           35                                                                                         36


 1    A.      That is true.                                                                  1   what are the sales of the LRAIL system that fall into that

 2    Q.      Somebody has to program it to do it; right?                                    2   first opinion of yours?

 3    A.      Right.                                                                         3   A.      Uh, these are the three sales that were made to CSX.

 4    Q.      All right, Doctor, in a moment, I'm gonna ask you to                           4   Q.      Okay.    And do you recall when those were made?

 5    summarize your opinions that you've expressed over the past                            5   A.      Uh, March, uh, 2021?

 6    few hours, but before I do that, I'd to ask you to assume for                          6   Q.      Okay.    Now, when we were going through your analysis of

 7    the sake of your opinions that the only activities that we're                          7   these two claims of the '293 patent, you also included the

 8    looking at in this case are those that occurred after                                  8   LRAIL system that was delivered to AID.          Do you recall that?

 9    January 5th, 2021.       This is the date that Tetra Tech sent a                       9   A.      Yes.

10    letter to Pavemetrics putting them on notice of infringement.                         10   Q.      Now, with the assumption that I've asked you to assume

11    Okay?    Do you understand my assumption?                                             11   that only things after January 5th, 2021 are relevant, why

12    A.      Can you repeat?                                                               12   doesn't that LRAIL systems fit into your first opinion?

13    Q.      Yeah.    I want you to assume that the only activities                        13   A.      Because this was done prior to that date.

14    that are relevant here are the activities that occurred after                         14   Q.      When you say done, do you mean sold?

15    January 5, 2021.       Okay?                                                          15   A.      Yes.

16    A.      Okay.                                                                         16   Q.      Okay.    So the LRAIL that was delivered to AID --

17                    MR. BARNEY:    So if I could have the next slide,                     17                   MR. LAQUER:    Objection.   Leading and beyond the

18    please.                                                                               18   scope of the identified expertise, Your Honor.

19    Q.      With that assumption in mind, can you please summarize                        19                   THE COURT:    Let me have the question again?

20    your opinions?                                                                        20                   MR. BARNEY:    I was going to ask him if the sale --

21    A.      Okay.    The first thing is that the LRAIL systems sold                       21   excuse me.       He said the activity was before, and I'm asking

22    with software that included Fake3D with DCNN or the later                             22   him to clarify whether the sale of the system to AID preceded

23    mixed image with DCNN infringes Claims 1 and 21 of the '293                           23   January 5th, 2021.

24    patent.                                                                               24                   THE COURT:    Okay.

25    Q.      Okay.    And with my assumption in mind about the date,                       25                   MR. LAQUER:    Counsel for Tetra Tech has



                            UNITED STATES DISTRICT COURT                                                               UNITED STATES DISTRICT COURT




                                                                                Exhibit 3
                                                                                  107
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 11 of 74 Page ID
                                      #:15250
                                                                           37                                                                                     38


 1    specifically represented Dr. Morellas is not an expert in                              1   Q.   I'm sorry?

 2    sales or financial transactions.                                                       2   A.   February 2021.

 3                 THE COURT:    Yeah.    I mean, this seems like a fact                     3   Q.   So that was after January 5th, 2021?

 4    issue, right, and it doesn't seem appropriate for the expert.                          4   A.   Right.

 5                 Explain to me why. . .                                                    5   Q.   And on that second opinion, if I were to ask you to

 6                 MR. BARNEY:    Your Honor, he simply -- he did review                     6   assume that the knowledge prong of induced infringement is

 7    interrogatories and so forth.        That information actually is                      7   satisfied, if I ask you to assume that, what is your opinion

 8    part of what he reviewed.       So I was simply asking him to                          8   as to whether, uh, uh, Pavemetrics induced infringement by

 9    explain why that one particular LRAIL is not contained in his                          9   providing that LRAIL to AID in February of 2021 with

10    direct infringement opinion.         And I don't intend to dwell on                   10   instructions for use?

11    it.   I just wanted to ask him that question.                                         11   A.   It did infringe.

12                 THE COURT:    Okay.    You can ask the question and                      12   Q.   Okay.    And then what is your third opinion, Doctor?

13    then move on, Counsel.                                                                13   A.   Yeah.    The last one is that following the code, I

14                 MR. BARNEY:    Okay.                                                     14   realize I prove that Tetra Tech's 3DTAS system practices the

15    Q.    So -- so Doctor, why isn't that one LRAIL system that                           15   Claims 1 and 21 of the '293 patent and Claim 8 of the '557

16    was delivered to AID not included in your direct infringement                         16   patent.

17    summary given my assumption that I asked you to assume?                               17   Q.   And Doctor, as part of your investigation, do you feel

18    A.    Because this sale -- the sale happened before that date.                        18   you had all of the information you needed to draw these

19    Q.    So what is your second summary opinion, Doctor?                                 19   conclusions to a reasonable degree of scientific certainty?

20    A.    That using the LRAIL as instructed by Pavemetrics, AID                          20   A.   Yes, I did.

21    directly infringed Claim 8 of the '557 patent.                                        21   Q.   Did you apply the same type of scientific and

22    Q.    All right.    And so the LRAIL that was provided to AID I                       22   engineering rigor that you would for any other endeavor that

23    believe you testified earlier -- what was the date of that?                           23   you would undertake in your academic and professional career?

24    Do you recall?                                                                        24   A.   Yes, I did.

25    A.    Uh, February 2021.                                                              25                MR. BARNEY:    Thank you, Doctor.



                         UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                           39                                                                                     40


 1                 I pass the witness.                                                       1   in the cross binder that I've handed to it.        It should be the

 2                 THE COURT:    Okay.    Cross-examination?                                 2   first tab there.     I'd like you to look at page 54 beginning

 3                 MR. LAQUER:    Yes, Your Honor.                                           3   at line 3.

 4                 May I proceed, Your Honor?                                                4   A.   Yes.

 5                 THE COURT:    Please.                                                     5                MR. LAQUER:    Your Honor, may I publish this?

 6                               CROSS-EXAMINATION                                           6                THE COURT:    You want to read 54, lines 3 through 5?

 7    BY MR. LAQUER:                                                                         7                Is that the idea?

 8    Q.    Good morning, Dr. Morellas.                                                      8                MR. LAQUER:    Yes, Your Honor.

 9    A.    Good morning.                                                                    9                THE COURT:    You can go ahead and do that.

10    Q.    Tetra's lawyers hired you to prepare your infringement                          10                MR. LAQUER:

11    opinions against Pavemetrics; correct?                                                11                "Q.   Have you ever spoken with Darel Mesher?

12    A.    Correct.                                                                        12                "A.   No, I have not."

13    Q.    And so Tetra Tech is relying on you in support of their                         13   Q.   Was that your sworn testimony when I took your

14    attempt to shut Pavemetrics down from selling LRAIL; correct?                         14   deposition?

15    A.    Correct.                                                                        15   A.   Yes.

16    Q.    And you don't know about -- or you did not know about                           16                THE COURT:    And Counsel, the date of this was

17    automated railway track detection before you began working on                         17   March 23rd, 2022?

18    this case; correct?                                                                   18                MR. LAQUER:    Yes, Your Honor.

19    A.    Yes.                                                                            19   Q.   You know that Dr. Mesher did not invent automated

20    Q.    And as of your deposition in March, you never bothered                          20   railway and track assessment; correct?

21    speaking with Dr. Mesher, the named inventor; correct?                                21   A.   Correct.

22    A.    I spoke with him when I was about to be interviewed by                          22   Q.   And the patents admit that Georgetown Rails Aurora 3D

23    Finnegan, and this is the first time that I talked to him                             23   Surface Profile system was available before Tetra Tech filed

24    briefly about what the system does.                                                   24   for the patents in 2015; correct?

25    Q.    Let's look at the transcript from your deposition.        It's                  25   A.   Correct.



                         UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                                Exhibit 3
                                                                                  108
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 12 of 74 Page ID
                                      #:15251
                                                                    41                                                                                      42


 1    Q.   And Georgetown Rails is known in this industry as GRX;                     1   Q.   And Claim 21 depends on Claim 1; correct?

 2    correct?                                                                        2   A.   Correct.

 3    A.   Correct.                                                                   3   Q.   So that means that Claim 21 contains every single

 4    Q.   And GRX is one just example of earlier automated                           4   requirement of Claim 1; correct?

 5    three-way 3D track assessment technology; correct?                              5   A.   Correct.

 6    A.   Yes.                                                                       6   Q.   And then Claim 21 adds some additional requirements;

 7    Q.   And you testified yesterday about what you thought was                     7   correct?

 8    the new aspect of these asserted claims; correct?                               8   A.   Yes.

 9    A.   Correct.                                                                   9   Q.   So if any sale of LRAIL did not infringe Claim 1 of the

10    Q.   And in forming your opinion about what is new or is not                   10   '293 patent, then it's impossible for it to have infringed

11    new in these claims, did you consider the older GRX patents                    11   Claim 21; correct?

12    that Pavemetrics helps Tetra Tech invalidate as being                          12   A.   Can you slow down a little bit so I can. . .

13    obvious?                                                                       13   Q.   Of course.    If any LRAIL sale did not infringe Claim 1

14    A.   I did not look thoroughly in the patents so I'm not                       14   of the '293 patent, then it's impossible for that sale to

15    quite sure the exact way they do things.                                       15   have infringed Claim 21; correct?

16    Q.   Okay.   Let's look at slide 96 of your demonstratives.                    16   A.   Yes.     For that particular claim.

17    This is one we're just looking at here.    So this is your                     17   Q.   Okay.    And you were asked some questions where you were

18    summary of opinions; correct?                                                  18   asked to assume knowledge requirement.     Do you recall that?

19    A.   Yes.                                                                      19   A.   Yes.

20    Q.   And you mentioned that this is based for the '293 patent                  20   Q.   What is your understanding of what that assumption is?

21    on three LRAIL sales; correct?                                                 21   A.   Uh, can -- can you give me a little more information

22    A.   That is correct.                                                          22   about that?

23    Q.   Okay.   And those are -- rather Claim 1 of the '293                       23   Q.   Well, you were asked to assume the knowledge requirement

24    patent and Claim 21 are system claims; correct?                                24   was satisfied.    What was your understanding of what you were

25    A.   Yes.                                                                      25   assuming?



                       UNITED STATES DISTRICT COURT                                                          UNITED STATES DISTRICT COURT




                                                                    43                                                                                      44


 1    A.   I was assuming that, uh, Pavemetrics knew about the                        1   supposedly have an infringing LRAIL system that infringed

 2    particular patent.                                                              2   Claim 8, and not only did they know about the '557 at the

 3    Q.   Well, you understand that in order to indirectly                           3   time of the accused act, but also that they actually believed

 4    infringe a patent, the accused party must know about the                        4   they were causing infringement.    Do you understand that?

 5    patent and believe that their acts are causing infringement?                    5   A.   Yes.

 6    A.   Uh, the way I understand it is that if the party knew                      6   Q.   Okay.    And you were asked a question just earlier this

 7    about the existence of the patent and still chose to sell the                   7   morning about a January 5th date.    Do you recall that?     Or

 8    product.                                                                        8   January 5th of 2021.

 9    Q.   Okay.   And so if your understanding of the law is                         9   A.   Yes.

10    incorrect, and the party actually needed to know about the                     10   Q.   Okay.    And that's with respect to, um -- well, I'll

11    patent and believe that they were causing infringement, then                   11   rephrase that.    Tetra Tech's lawyer, Mr. Aaron Parker, sent

12    the opinion you provided does not apply; is that correct?                      12   Pavemetrics an accusation letter on January 5th of 2021;

13    A.   If they. . . I'm not an expert in that particular part                    13   correct?

14    of the law, but it might be the case, might not be the case.                   14   A.   Yes.

15    I'm not sure.                                                                  15   Q.   That's what started this dispute; correct?

16    Q.   Okay.   So let's assume that that is the law, and that in                 16   A.   Yes.

17    order to infringe indirectly, Pavemetrics would have needed                    17   Q.   And so it's your understanding that that's why you were

18    to know about the patent and to believe that it was causing                    18   asked about January 5th of 2021; correct?

19    AID to infringe the patent.   Do you understand that?                          19   A.   That is correct.

20    A.   Yes.                                                                      20   Q.   But the January 5th letter never mentioned the '557

21    Q.   Okay.   And you understand that Tetra Tech bears the                      21   patent; correct?

22    burden of proving every element of infringement; correct?                      22   A.   Uh, I'm not sure.

23    A.   That is correct.                                                          23   Q.   Okay.    So you don't know when Tetra Tech even first

24    Q.   So you understand that if that is the law, then it is                     24   bothered telling Pavemetrics about the '557 patent?

25    Tetra Tech's burden to show not only did Pavemetrics                           25   A.   I'm not sure I was asked.     I just provide my technical



                       UNITED STATES DISTRICT COURT                                                          UNITED STATES DISTRICT COURT




                                                                         Exhibit 3
                                                                           109
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 13 of 74 Page ID
                                      #:15252
                                                                         45                                                                                     46


 1    expertise to -- by looking at the source code, reviewing the                         1   infringed by actually performing the method; correct?

 2    patent claims and come up with, uh, my positions about it.                           2   A.   Correct.

 3    Q.     Okay.    And if the January 5, 2021 letter did not mention                    3   Q.   Okay.    You understand that merely selling a product

 4    the '557 patent, then your opinion based on an assumption of                         4   that's capable of infringing a method claim does not infringe

 5    Pavemetrics knowledge for that date doesn't apply; correct?                          5   that method claim; correct?

 6    A.     I'm not sure about that.                                                      6   A.   I'm not sure of that either.

 7    Q.     Okay.    And you understand that Pavemetrics filed this                       7   Q.   Let's look at your slide number 19.       Now, you understand

 8    lawsuit in response to receiving the threat letter from Tetra                        8   that Tetra Tech is accusing Pavemetrics of infringing under

 9    Tech; correct?                                                                       9   what is called literal infringement; correct?

10    A.     Correct.                                                                     10   A.   Can you repeat?       Can you be more specific?

11    Q.     You haven't shown any evidence that Pavemetrics actually                     11   Q.   Are you familiar with the term literal infringement?

12    believed that it was infringing the '557 patent; correct?                           12   A.   Not quite.

13    A.     I don't know about that.                                                     13   Q.   Okay.    This is your first time as an expert witness;

14    Q.     Can you tell me any evidence you've pointed to that                          14   correct?

15    suggests Pavemetrics actually had that belief?                                      15   A.   That is correct.

16    A.     Uh, I'm not sure.      I don't know.                                         16   Q.   All right.    So I'll provide a little bit of explanation.

17    Q.     Okay.    It doesn't make sense for a company to start a                      17   Literal infringement means that every single word in the

18    patent lawsuit asking for an explanation of whether or not it                       18   patent claim must be met exactly by the accused product with

19    infringes if it actually thinks it infringes; isn't that                            19   no room for deviation whatsoever.      Do you understand that,

20    right?                                                                              20   Dr. Morellas?

21    A.     I'm not sure about that either.                                              21   A.   Yes.

22    Q.     Okay.    You understand that Claim 8 of the '557 patent is                   22   Q.   Okay.    And so you can see here there's several words in

23    a method claim; correct?                                                            23   this claim of the '293 patent Claim 1; correct?

24    A.     Yes.                                                                         24   A.   Yes.

25    Q.     And so you understand that a method claim can only be                        25   Q.   And so to prove that an LRAIL sale has infringed Claim



                           UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                         47                                                                                     48


 1    1, Tetra Tech bears the burden of proving that for every                             1   so I think that -- yeah, without instructing the witness on

 2    single one word in that claim, the specific LRAIL sale that's                        2   the specific area of law.

 3    accused exactly meets that, word for word; correct?                                  3                MR. LAQUER:    Understood, Your Honor.

 4    A.     Correct.                                                                      4   Q.   Let's look at slide 49 of yours.       Now, during your

 5    Q.     And you've provided some check boxes on the right here                        5   presentation, you identified different versions of source

 6    where you've gone through and checked off, but -- but really                         6   code for some of the claim limitations than for others;

 7    because every word is a requirement, there's a lot more boxes                        7   correct?

 8    so let's take a look at what the requirement really is for                           8   A.   Correct.

 9    every single claim.                                                                  9   Q.   And on slide 49, we see some discussion of Claim 21;

10                   If can we pull that up?                                              10   correct?

11                   This is a better representation of what Tetra Tech                   11   A.   Uh, yes.

12    bears the burden of proving; correct?                                               12   Q.   And you're relying on Version 4.78 of the source code;

13    A.     I'm not sure I understand this.                                              13   correct?

14    Q.     Every word is a requirement that must be met literally;                      14   A.   Correct.

15    correct?                                                                            15   Q.   Let's look at slide number 39.       Now, this is another

16                   MR. BARNEY:    Your Honor, I'd like to lodge an                      16   requirement of Claim 21.      This is identifying a railway track

17    objection.      I believe this is a mischaracterization of the                      17   bed feature; correct?

18    law.   Your Honor, gave us leeway, but I didn't think he was                        18   A.   Correct.

19    gonna dwell on it.      I don't think he's stating the law                          19   Q.   But here you're relying on a different version of source

20    correctly.      I'm objecting to what he's doing.                                   20   code, Version 4.73; correct?

21                   THE COURT:    Yeah, I will sustain the objection.   I                21   A.   Correct.

22    think it's a characterization of the law.        Certainly it's an                  22   Q.   So you haven't identified any evidence supporting your

23    argument.      But we'll instruct the jury on what the law of                       23   statement that a specific version of LRAIL performed all of

24    infringement is.      So I'd ask you to just stick to the                           24   the required claim limitations; correct?

25    witness's opinions that he's expressed on cross-examination                         25   A.   Uh, I do not agree with that simply because, um, first



                           UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                110
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 14 of 74 Page ID
                                      #:15253
                                                                       49                                                                                      50


 1    of all, um, during my stay at Knobbe Martens offices, we had                       1   my experience when reviewing the code, I realize that there

 2    limitations as to the number of pages that, uh, should be                          2   are no substantial difference, and there are difference only

 3    printed, and there were -- we were looking at, uh, hundreds                        3   in specific parts of the code.

 4    of thousands, if not millions of code lines so we had to make                      4   Q.      Okay.

 5    some. . .                                                                          5   A.      So I try to focus on those differences.

 6    Q.   Doctor, I'm just asking you to identify whether --                            6   Q.      Okay.   There's not substantial differences between the

 7                 MR. BARNEY:    Objection, Your Honor.                                 7   earlier LRAIL code and the later LRAIL code; right?

 8                 THE COURT:    Yeah.   I think we should let him                       8   A.      That's what I believe.    I mean, I am not a hundred

 9    complete his answer.                                                               9   percent sure because there are like I said millions of lines

10                 MR. LAQUER:    Understood.                                           10   of code so I cannot give you a hundred percent answer.

11                 THE WITNESS:   Yes.    So we have to make some choices               11   Q.      Okay.   We can move on.   And so it's pretty well

12    as to what portions of the code should be printed out to make                     12   established by now that the '293 and the '557 patents don't

13    the case.    And there are no substantial difference between                      13   mention artificial intelligence; correct?

14    different versions of the code.       Okay.   And this part of the                14   A.      Yes.

15    code is the one that shows that, uh, intensity and, uh,                           15   Q.      And you heard Dr. Mesher testify yesterday that

16    elevation has been used in this particular structure along                        16   artificial intelligence doesn't exist in the patents;

17    with the network, and that makes the point here in this                           17   correct?

18    light.                                                                            18   A.      That is correct.

19    BY MR. LAQUER:                                                                    19   Q.      Now, there have been some slides shown with the cover of

20    Q.   You believe that one version of Pavemetrics' LRAIL code                      20   the patents; correct?

21    works the same way as later versions of Pavemetrics' LRAIL                        21   A.      The what?

22    code for the purpose of what's being discussed in these                           22   Q.      Some slides have been shown in this case showing the

23    asserted claims; correct?                                                         23   front page of the patents; correct?

24    A.   What I'm saying is that, uh -- that apart from being                         24   A.      Yes.

25    different versions, there may be some differences, but from                       25   Q.      And Tetra Tech's lawyers have shown some asserted claim



                         UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                       51                                                                                      52


 1    language from the patents as well; correct?                                        1   Q.      And Tetra Tech changed from using traditional computer

 2    A.   Yes.                                                                          2   vision recognition systems to a neural network system a few

 3    Q.   Have you read the full patents asserted here?                                 3   years ago; correct?

 4    A.   Yes, I did.                                                                   4   A.      That's what I heard yesterday, yeah.

 5    Q.   Okay.    So you understand that the '293 patent is over                       5   Q.      Well, you already knew that even before yesterday;

 6    70 pages long; correct?                                                            6   correct?

 7    A.   Yes.                                                                          7   A.      Yes.

 8    Q.   So when we're discussing that artificial intelligence is                      8   Q.      You knew when you prepared your infringement opinion

 9    not mentioned anywhere in this patent, this is not a                               9   earlier in this case that Tetra Tech only moved from computer

10    questions of whether AI is mentioned in a small document;                         10   vision traditional systems to new neural network systems a

11    right?                                                                            11   few years after it filed these patent applications; correct?

12    A.   It's not there.                                                              12   A.      That is correct, but the R and D activities that might

13    Q.   Right.    It's not anywhere one any one of these pages;                      13   have been happening there could have started prior to that

14    correct, Dr. Mesher -- or Dr. Morellas?                                           14   date.

15    A.   Correct.                                                                     15   Q.      That sounds like a lot of speculation; isn't that

16    Q.   Okay.    The patent's over 19,000 words long; correct?                       16   correct, Doctor?

17    Well, you might not have counted, but I'll represent to you                       17   A.      Yeah.   I mean, usually because I have worked in an R and

18    that I use a word count so --                                                     18   D environment, before a product is introduced, that is, uh,

19    A.   I'll take your word for it.                                                  19   prior activities as far as they schedule the particular

20    Q.   All right.    So over 19,000 words long, and none of those                   20   procedures that eventually is gonna be out in the product.

21    words are artificial intelligence; right?                                         21   Q.      But we didn't hear Dr. Mesher provide any testimony

22    A.   That is right.                                                               22   about that, did we, Dr. Morellas.

23    Q.   Over 19,000 words, and none of the words here are                            23   A.      No, we did not.

24    convolutional neural network; correct?                                            24   Q.      Okay.   And so when Tetra Tech filed for the asserted

25    A.   Correct.                                                                     25   patents in 2015, Tetra Tech used traditional computer vision



                         UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                            Exhibit 3
                                                                              111
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 15 of 74 Page ID
                                      #:15254
                                                                     53                                                                                       54


 1    recognition technology; correct?                                                 1   innovation.

 2    A.   Probably.                                                                   2   Q.   Let's look at your deposition on page 16 beginning at

 3    Q.   And you're accusing Pavemetrics of now infringing based                     3   line 22 continuing to 23.

 4    on using a different technology, convolutional neural                            4   A.   Page 16, which lines?

 5    networks; correct?                                                               5   Q.   Page 16, lines 12 through 23.

 6    A.   Yeah, the particular -- excuse me.     The particular parts                 6   A.   Okay.

 7    that are put in the claim are practiced by the neural                            7                THE COURT:    Hold on one second.   And Counsel,

 8    network.                                                                         8   you're wanting to read this in for impeachment?

 9    Q.   And Tetra Tech also uses a neural network which it                          9                MR. LAQUER:    Yes, Your Honor.

10    recently moved to you testified; correct?                                       10                THE COURT:    Um, do you have an objection?

11    A.   Yes.                                                                       11                MR. BARNEY:    I believe it's improper impeachment.

12    Q.   But Pavemetrics uses a different convolutional neural                      12                I don't see anything inconsistent in what he said.

13    network than Tetra Tech does; correct?                                          13                THE COURT:    Yeah.   I -- I agree with counsel.

14    A.   That is correct.                                                           14   Especially if you consider lines 12 through 23, I think it's

15    Q.   They're built on different engines; correct?                               15   consistent with what he testified to.

16    A.   There is a different type of neural network.                               16   BY MR. LAQUER:

17    Q.   Okay.   And you spoke with Tetra Tech's damages expert,                    17   Q.   Dr. Morellas, you didn't say anything to Mr.

18    Mr. Schoettelkotte; correct?                                                    18   Schoettelkotte about the main innovation in these patents

19    A.   Uh, just once briefly.                                                     19   supposedly being a sliding window, did you?

20    Q.   Okay.   And you told him that the main novelty of the                      20   A.   No.

21    asserted patents is the ability to use the combination of                       21   Q.   And you didn't tell him that the main innovation here

22    surface elevation data with intensity data; correct?                            22   was a gradient neighborhood; correct?

23    A.   That is one of the innovations, yes.                                       23   A.   Like I said, it was a very brief call.

24    Q.   You told him that is the main innovation; correct?                         24   Q.   Okay.

25    A.   I may have used that, uh, word, but this is not the only                   25   A.   So I didn't mention any of those details.



                       UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                     55                                                                                       56


 1    Q.   You didn't say anything to him about the importance that                    1   b; correct?

 2    the gradient neighborhood is an appropriate gradient                             2   A.   Correct.

 3    neighborhood; correct?                                                           3   Q.   Let's look at slide 39.       This is for the first part of

 4    A.   Uh, I don't think he was the appropriate person to have                     4   step c before you get to the little roman numeral i; correct?

 5    this kind of discussion.                                                         5   A.   Yes.

 6    Q.   Claim 1 of the '293 patent requires an appropriate                          6   Q.   And here you've identified some source code that you

 7    gradient neighborhood; correct?                                                  7   believe meets that first part of step c; correct?

 8    A.   Correct.                                                                    8   A.   Yes.

 9    Q.   And an appropriate gradient neighborhood is one that is                     9   Q.   Let's go on to slide 41.       This is for the next part of

10    flexible to encompass different sizes; correct?                                 10   the algorithm step c after the little roman numeral one;

11    A.   Uh, yes, different -- yeah.                                                11   correct?

12    Q.   So Claim 1 requires defining an appropriate gradient                       12   A.   Yes.

13    neighborhood; correct?                                                          13   Q.   This is the part for defining an appropriate gradient

14    A.   Yes.                                                                       14   neighborhood; correct?

15    Q.   But you can't answer what in the '293 patents                              15   A.   Correct.

16    specification enables one of ordinary skill in the art to                       16   Q.   You have not identified any source code from anything in

17    understand that the patent teaches the use of a flexible size                   17   LRAIL for this claim limitation; correct?

18    gradient neighborhood; correct?                                                 18   A.   This is the part of the code that does that.

19    A.   It doesn't teach, yes.                                                     19   Q.   On the right side?      This is the part of the code?

20    Q.   Let's look at your slide number 32.     So here you've                     20   A.   This is a technique that has been used to amend this

21    identified some LRAIL source code that you believe meets the                    21   particular part of the limitation.

22    claims algorithm step a; correct?                                               22   Q.   And you're referring to Exhibit 117; correct?

23    A.   Yes.                                                                       23   A.   Yes.

24    Q.   Let's look at 37.     Here you've identified software                      24   Q.   This is a paper that was presented at a conference in

25    source code that you believe meets the claims algorithm step                    25   Tokyo; correct?



                       UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                          Exhibit 3
                                                                            112
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 16 of 74 Page ID
                                      #:15255
                                                                           57                                                                                        58


 1    A.     Correct.                                                                        1   A.   That is not correct.

 2    Q.     And this paper describes the Deep CNet Neural Network;                          2   Q.   I'd like to have you look at your deposition, page 95

 3    correct?                                                                               3   beginning at line 22.

 4    A.     Yes.                                                                            4   A.   Page 95, what line?

 5    Q.     Have you present -- you have not presented any evidence                         5   Q.   Line 22 through page 96, line 11.         And I'm asking you

 6    that LRAIL uses the Deep CNet Neural Network for any accused                           6   whether the neural network information was provided for you

 7    LRAIL sale; correct?                                                                   7   to review.

 8    A.     Correct.   But, uh, as I -- as I see the information from                       8   A.   Yes.

 9    different presentations including papers, I believe that this                          9   Q.   Do you agree that Pavemetrics provided that information?

10    is the, uh, convolutional neural network that they use.                               10   A.   Like I said, uh, what was available, uh, was the results

11    Q.     You spent 80 hours reviewing the LRAIL inspection                              11   of a cross compiling neural network.      Let me just tell the

12    computer you testified; correct?                                                      12   jury how this works.       Uh, the development of neural networks

13    A.     Correct.                                                                       13   are performed in a different platform, software platforms --

14    Q.     And in those 80 hours, you could not identify anything                         14                MR. LAQUER:    Your Honor, this is nonresponsive.      I

15    supporting the defining an appropriate gradient neighborhood                          15   would ask that the witness be instructed to answer the

16    claim language of Claim 1 of the '293 patent; correct?                                16   question.    Of course, if counsel is looking on redirect for

17    A.     Uh, no, that is not correct.      In fact, we asked for the                    17   the witness to provide some, um, longer speech, that would be

18    neural network code, but it was not given to us.                                      18   their --

19    Q.     The neural network files were present on the inspection                        19                THE COURT:    And you're asking the question.

20    computer; correct?                                                                    20                Why don't you -- why don't you ask the question

21    A.     No.    They were binary files that you are not able to                         21   again.

22    look at them.                                                                         22                MR. LAQUER:    Yes, Your Honor.

23    Q.     Pavemetrics did provide its neural network information                         23   Q.   Dr. Morellas, Pavemetrics did provide this neural

24    for you to review, but you chose not to review it during                              24   network information for you to review, but you chose not to

25    the -- or to attend that visit; correct?                                              25   join for those visits; correct?



                          UNITED STATES DISTRICT COURT                                                              UNITED STATES DISTRICT COURT




                                                                           59                                                                                        60


 1    A.     Which line are you reading on?                                                  1            (The following discussion occurred at side bar.)

 2    Q.     I'm --                                                                          2                THE COURT:    Is the issue whether or not it was

 3                  THE COURT:    Well, let's put the deposition away for                    3   available?

 4    now.                                                                                   4                MR. LAQUER:    Your ruling on denying Pavemetrics'

 5                  THE WITNESS:   Okay.                                                     5   Motion in Liminae No. 2, Your Honor held that -- let me get

 6                  THE COURT:    And just see, you know, if you can                         6   the exact wording.

 7    answer the question.                                                                   7                THE COURT:    And I'm just wondering whether this is,

 8    BY MR. LAQUER:                                                                         8   I mean this answer seems to be consistent with what he's

 9    Q.     Pavemetrics did provide that neural network information,                        9   saying.

10    but you did not come to those visits to look at it; correct?                          10                MR. LAQUER:    No, Your Honor.    In the answer --

11    A.     I don't understand.     During my visits, my last visit to                     11                THE COURT:    He says I know some information was

12    Knobbe Marten, the neural network code was asked to be                                12   provided lately.    Didn't have the time to review that, but

13    delivered, but it was not available.        I see that there were                     13   during my visits, the data of source code for this

14    files associated with the running of the neural network, but                          14   information was not available.

15    I was not actually in a position to look at what kind of a                            15                MR. LAQUER:    He is a key witness and I would like

16    neural network was, uh, employed.                                                     16   the witness to acknowledge the information was available, but

17                  MR. LAQUER:    Your Honor, I would like to publish                      17   he did not come to review it.      He in his previous answer

18    the deposition beginning at page 95, line 22 regarding the                            18   sought an adverse implication that Pavemetrics did not make

19    fact that the information was available, but the witness did                          19   it available.    It's important for the jury to know

20    not attend that --                                                                    20   Pavemetrics made it available.

21                  THE COURT:    Well, I think -- I think I don't want                     21                THE COURT:    So the objection is?

22    you to characterize it, um. . .                                                       22                MR. BARNEY:    He opened the door to the subject of

23                  MR. BARNEY:    Your Honor, may we approach?                             23   their MIL and having him trying to explain the circumstances

24                  THE COURT:    Yes.   Because I know this is an issue                    24   has put the witness in an unfair position because this

25    we talked about earlier so. . .                                                       25   witness doesn't know the back and forth of what happened.



                          UNITED STATES DISTRICT COURT                                                              UNITED STATES DISTRICT COURT




                                                                                Exhibit 3
                                                                                  113
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 17 of 74 Page ID
                                      #:15256
                                                                           61                                                                                         62


 1    The attorneys are trying to pin on Dr. Morellas essentially a                          1                MR. BARNEY:     Your Honor, I didn't object to them

 2    perimeter of willful blindness, that he put his head in the                            2   asking did you review the neural network.         This opens the

 3    sand.    He spent eight days looking at code and they were                             3   door as to why and he's already explained why.         It wasn't

 4    supposed to provided it.                                                               4   available during his visit.       That's it.    The squabbling is

 5                 It wasn't that he didn't want to review it.      He had                   5   between the attorneys.       The expert had nothing to do with it.

 6    other jobs.    That's when it was supposed to be brought and it                        6                THE COURT:    I think that's right.     It's in the

 7    wasn't.   This is a discovery dispute between the parties and                          7   record now it wasn't available when he was there.

 8    they should not pin it on Dr. Morellas the he did something                            8                MS. LEA:     That is not true.    What he is saying not

 9    wrong.    They've opened the door and I'm not exactly sure how                         9   true.

10    to cure the character assassination.                                                  10                THE COURT:    That's the discovery dispute.     The

11                 MR. LAQUER:    We provided what Dr. Morellas                             11   expert is under the impression it was not available when he

12    requested and I'd be happy to present those email and                                 12   was there.

13    personally confirm him being present.        We provided the exact                    13                MS. LEA:     That's not true.    And what's relevant is

14    tool and he confirmed in his deposition we made it available                          14   he did not review it and not whether we provided it to him or

15    after he attended.    His last visit was on December 10th.                            15   not.    These attorneys could have shown up with him.

16    Counsel for Tetra Tech returned on additional days and                                16                THE COURT:    I think the expert testified it wasn't

17    confirmed by email the requested tool was available and                               17   available during his visits.       That's at least the expert's

18    Dr. Morellas just never showed up.                                                    18   understanding.    I think anything else is a discovery dispute

19                 THE COURT:    So I'm trying to think the best way to                     19   or dispute between the parties as to those facts, but I don't

20    resolve this.    The argument you're trying to make is had he                         20   want any of the lawyers testifying.          So do you have somebody

21    come back after his visits, he could have reviewed --                                 21   on your witness list that will testify the expert is wrong?

22                 MR. LAQUER:    Yes, Your Honor.    This goes to their                    22                MR. LAQUER:     I have documents that are emails from

23    burden and rather than carry the burden, they're trying to                            23   Tetra Tech's counsel.

24    cure it by pointing to a paper.                                                       24                THE COURT:    Again, I don't want counsel to testify.

25                 THE COURT:    Why isn't that relevant?                                   25   I don't want -- what I'm saying is the expert is saying he



                         UNITED STATES DISTRICT COURT                                                               UNITED STATES DISTRICT COURT




                                                                           63                                                                                         64


 1    did not believe it was there when he was reviewing the source                          1                May I seek to refresh?

 2    code during that period of time.         And you're saying that the                    2                MR. BARNEY:     Your Honor, so I can be heard?

 3    expert's wrong, but I don't know whether that seems more like                          3                THE COURT:    I'm sorry?

 4    discovery dispute than a matter for this expert.                                       4                MR. BARNEY:     I disagree with the assertion we did

 5                 MR. LAQUER:    Your Honor, we're seeking an adverse                       5   anything of the sort in the opening.          In the opening we

 6    inference because during opening statements Tetra Tech                                 6   explained we had a theory and had the time line to explain

 7    presented an argument that Pavemetrics has hidden the                                  7   when that particular theory was presented and we said

 8    infringement in the neural networks and now the witness                                8   Pavemetrics' AI in general can't infringe a patent.          Nothing

 9    claimed that we hid that by not providing the tool to him.                             9   to do with discovery.       There's evidence to support what I

10    He's chosen to link an issue directly to the merits to this                           10   said in opening.    I did not accuse them of hiding the code.

11    discovery issue.                                                                      11   What they asserted now is a theory at the company that they

12                 THE COURT:    I got that.    The expert testified in                     12   used AI so they couldn't be accused of infringement.

13    his deposition during my visits the data of source code this                          13                THE COURT:    What about so if we look at the

14    information was not available.      Now, who's gonna saying the                       14   deposition page 95 line 22 through 96 line 11.

15    expert was wrong there?      Which witness can say it was                             15                MR. BARNEY:     He said the information was provided

16    available?                                                                            16   lately and he wasn't able to review while he was there.            The

17                 MR. LAQUER:    The only people who were involved is                      17   problem from his perspective, I get what they're saying.

18    myself, the expert, an attorney from Tetra Tech who sent                              18   They think he's wrong about that, but from his perspective,

19    emails between counsel which should be admissible as a party                          19   he did not think it was available for his scheduled visit for

20    proponent.    We supplied them with a protective order so we                          20   eight days when he was there.

21    can present the evidence.                                                             21                THE COURT:    I think this issue is really what the

22                 I don't seek to admit those emails.      We worked                       22   experts's understanding was.       I think the expert expressed

23    closely with the attorneys.      Look at those emails we have in                      23   his understanding at his deposition from page 95 line 22

24    the binder which may refresh his recollection that the                                24   through 96 line 11.       So far his testimony has been consistent

25    information was available.                                                            25   with that.    I don't think there's grounds for impeachment



                         UNITED STATES DISTRICT COURT                                                               UNITED STATES DISTRICT COURT




                                                                                Exhibit 3
                                                                                  114
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 18 of 74 Page ID
                                      #:15257
                                                                          65                                                                                       66


 1    here.    Obviously, if you want to try to put on another                              1   convolutional neural network files; correct?

 2    witness to make a different case, but I don't want to get                             2   A.   Yes.

 3    this expert involved in communication between the parties.                            3   Q.   But you did not; correct?

 4                   Do you have any reason to believe the expert                           4   A.   I did not because the, uh -- the tools were not

 5    doesn't believe what he said in his deposition?                                       5   available to me.

 6                   MR. LAQUER:    So I know that counsel returned and                     6   Q.   You've also presented an opinion that Tetra Tech's

 7    inspected and confirmed the requested information was                                 7   system utilizes Claim 1 of the '293 patent; correct?

 8    available as with the previous inspections.         So it was                         8   A.   Uh, yes.

 9    available on December 10th when he was there and he never                             9   Q.   Let's look in your slides on page 93.      This is source

10    returned to the subsequent visits which counsel alone says I                         10   code that you're identifying you believe satisfies the

11    will be in attendance and that was sent. . .                                         11   approximate tie surface plane requirement for Tetra Tech's

12                   THE COURT:    I think we should move on.   I think the                12   system for Claim 1 of the '293 patent; correct?

13    witness testified consistent with his deposition.         Everything                 13   A.   Correct.

14    else is a discovery issue between the parties.                                       14   Q.   Let's look at the next page, page 94.      You've identified

15                   MR. RE:   I request that we have a curative                           15   some --

16    instruction.       I do not want our firm to be blamed for their                     16               Slide 94?    Thank you.

17    failure of proof on infringement.         I think we need to work                    17               So this is source code from Tetra Tech that you

18    together and have a curative instruction before the final                            18   believe performs steps of Claim 1 of the '293 patent;

19    instructions.                                                                        19   correct?

20                   THE COURT:    I'll let the parties meet and confer on                 20   A.   Yes.

21    that.                                                                                21   Q.   And you testified that Tetra Tech satisfies the. . .

22                                (Side bar concluded.)                                    22               Let's go to Slide 85.

23                   THE COURT:    Counsel, please proceed.                                23               Here you've pointed to some source code that

24    BY MR. LAQUER:                                                                       24   follows the Tetra Tech YOLO convolutional neural network;

25    Q.      Dr. Morellas, you wanted to look at Pavemetrics'                             25   correct?



                           UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                          67                                                                                       68


 1    A.      Correct.                                                                      1   A.   Correct.

 2    Q.      And you believe that somewhere inside of the YOLO                             2   Q.   You haven't reviewed a single architecture of

 3    network is something that performs steps required by Claim 1                          3   Pavemetrics' neural network; correct?

 4    of the '293 patent; correct?                                                          4   A.   Correct.

 5    A.      Yes.                                                                          5   Q.   You don't have any idea about the structure of the

 6    Q.      Did you look at the Tetra Tech convolutional neural                           6   Pavemetrics' LRAIL neural network; correct?

 7    network?                                                                              7   A.   Correct.

 8    A.      No.                                                                           8   Q.   But to know whether something is an appropriate gradient

 9    Q.      So you wanted to look at the Pavemetrics convolutional                        9   neighborhood, you have to interact with that data; correct?

10    neural network to see whether it performs the patent;                                10   A.   What I'm saying is that just the principles that the

11    correct?                                                                             11   convolution neural network applies is consistent with the

12    A.      No.    I just wanted to see the specifics of how the                         12   claim, uh, limitation.

13    network is, um, implemented.                                                         13               MR. LAQUER:    Your Honor, I would like, uh, the

14    Q.      I see.    So you didn't look at either the Tetra Tech                        14   witness to review deposition, slide -- or sorry, deposition,

15    neural network or the Pavemetrics neural network; correct?                           15   page 106 beginning at line 23 so that I may impeach.

16    A.      Correct.                                                                     16               THE COURT:    Let me look at it first.   Uh, page 106,

17    Q.      And you believe that those neural networks are required                      17   line 23?

18    parts of infringing Claim 1 of the '293 patent; correct?                             18               MR. LAQUER:    Yes, Your Honor, through page 107,

19    A.      What I'm saying is that, uh, the convolutional neural                        19   line 13.

20    network's practice, this particular part of the claim.                               20               THE WITNESS:   Which lines?

21    Q.      You don't have any idea how many filters are in                              21               THE COURT:    Well, hang on.   Let me -- let me look

22    Pavemetrics' convolution neural network; correct?                                    22   at it first, uh, Dr. Morellas.

23    A.      Correct.                                                                     23               THE WITNESS:   Yes.

24    Q.      You haven't even seen any of the structures in                               24               THE COURT:    I'm sorry, what was the line?

25    Pavemetrics' neural network; correct?                                                25               MR. LAQUER:    13, Your Honor.   And I was asking



                           UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                               Exhibit 3
                                                                                 115
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 19 of 74 Page ID
                                      #:15258
                                                                           69                                                                                      70


 1    whether something that is an appropriate gradient                                      1   than evidence; correct?

 2    neighborhood has to interact with that data.                                           2   A.   No.   That is not correct.

 3                    THE COURT:    Okay.                                                    3   Q.   Isn't it serious enough to get the right evidence and

 4                    Counsel, do you have an objection?                                     4   form the right opinions that you should have requested more

 5                    MR. BARNEY:    I -- I don't have an objection.                         5   time or more access if you believed you didn't have enough to

 6                    THE COURT:    Okay.   You can go ahead and read.                       6   form your opinion, Dr. Morellas?

 7                    MR. LAQUER:    Your Honor, I'd like to publish by                      7   A.   Uh, as I said, I have all the information that I needed.

 8    video clip.       Would you please play Video Clip 106.                                8   I didn't have the specifics of the neural network structure,

 9    BY MR. LAQUER:                                                                         9   but this didn't prevent me from reaching the conclusions that

10    Q.      Was that your sworn testimony, Dr. Morellas?                                  10   I did.

11    A.      Yes.                                                                          11   Q.   Now, you heard video deposition testimony yesterday;

12    Q.      You have not seen the methodologies in the LRAIL neural                       12   correct?

13    network files; correct?                                                               13   A.   Which -- which video?

14    A.      Uh, I have not seen them, but I assume since the                              14   Q.   Well, there was a video where Tetra Tech's attorneys

15    convolutional neural networks are used, I know quite a lot of                         15   questioned Mr. Nguyen and Mr. Hafiz from AID about LRAIL

16    information about that.                                                               16   configuration files; correct?

17    Q.      You understand that Tetra Tech is trying to shut down                         17   A.   I was at Mr. Hafiz' video, but I'm not sure I was -- I

18    Pavemetrics from selling LRAIL based on your assumptions;                             18   don't remember the other video.

19    correct?                                                                              19   Q.   Okay.    But you're familiar with what configuration files

20    A.      I'm not sure what their plans.       I'm just here to give                    20   are; correct, Dr. Morellas?

21    you my opinion.                                                                       21   A.   Uh, yes.

22    Q.      And you were about to say what you assume, and you                            22   Q.   Okay.    And LRAILs' configuration files determine what

23    stopped yourself; correct?                                                            23   software functions run when LRAIL is used; correct?

24    A.      Yeah, that's what I said.                                                     24   A.   I suppose.

25    Q.      Okay.    So your opinions are based on assumptions rather                     25   Q.   Okay.    But you've also never seen an LRAIL configuration



                            UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                           71                                                                                      72


 1    file; correct?                                                                         1   Q.   Okay.    The mixed image functionality that you've accused

 2    A.      Uh, yes.                                                                       2   of infringement is also not enabled by default; correct,

 3    Q.      Yes, you have or yes, you have not.                                            3   Dr. Morellas?

 4    A.      Uh, I have not, but what I -- I was applying the judge's                       4   A.   By default?    I don't know.     Uh, I do not know about

 5    claim construction that it says that in order to run an                                5   that, but there's a choice for the user to use it.

 6    algorithm, uh, you don't have to rewrite, recompile or                                 6   Q.   You don't know whether any of the LRAIL sales that

 7    rebuild or redesign software.                                                          7   you're accusing of infringement have ever used what you're

 8    Q.      So you believe you don't have to look at LRAIL                                 8   saying performs the patent claims; correct?

 9    configuration files to determine how LRAIL is configured; is                           9   A.   Again, what I'm saying is that the functionality is

10    that correct?                                                                         10   there for the user.       And as I showed in one of the slides,

11    A.      No.    What I'm saying is that the code that is delivered                     11   the combination of intensity and elevation data significantly

12    by Pavemetrics to its customers, it contains all different                            12   improves the DCNN data that goes into the network.

13    functionalities which are selected by selecting the                                   13   Q.   But you aren't even sure if an LRAIL configuration file

14    parameters, and this is what we refer to as configuration                             14   exists; right?

15    file.                                                                                 15   A.   Uh, gee, the configuration from what I understand by

16    Q.      Right.    And so, for example, the Fake3D that you've                         16   reading the manuals comes from the graphical user interface

17    accused of infringing the patent claims might never be used                           17   that is part of the computer.

18    depending on the configuration file; correct?                                         18                MR. LAQUER:    Your Honor, I would like to publish

19    A.      It doesn't matter because the functionality is there in                       19   deposition beginning at page 145, line 5 through line 14.

20    there code to be used by the user.                                                    20                THE COURT:    So the question was, um, you aren't

21    Q.      Software has a lot functionality that can be there but                        21   even sure LRAIL configuration files exist; right?

22    never used; correct, Dr. Morellas?                                                    22                MR. LAQUER:    Correct, Your Honor.

23    A.      It depends.                                                                   23                THE COURT:    Okay.   Does counsel have an objection?

24    Q.      But that -- that happens; correct?                                            24                MR. BARNEY:    Uh, I just don't see the, uh,

25    A.      It depends on the needs of the user.                                          25   inconsistency so I would say it's improper impeachment.



                            UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                                Exhibit 3
                                                                                  116
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 20 of 74 Page ID
                                      #:15259
                                                                         73                                                                                          74


 1                THE COURT:    Yeah, I agree.   I don't think this is                     1   answering.

 2    um, close enough.                                                                    2                   MR. LAQUER:    Understood, Your Honor.

 3                MR. LAQUER:   Okay.                                                      3                   May I publish 145, line 5 through 14?

 4    Q.   Mr. -- Dr. Morellas, you admit that you don't know                              4                   THE COURT:    Yes.

 5    whether an LRAIL configuration file exists; correct?                                 5                     (Deposition Video Clip 145 played.)

 6    A.   Uh, I have not seen any configuration file, but by                              6   BY MR. LAQUER:

 7    reading the manuals and listening to one of the videos                               7   Q.      That was in March when I took your deposition; correct,

 8    yesterday when by selecting particular boxes in the graphical                        8   Dr. Morellas?

 9    user interface, this is what it generates, the configuration                         9   A.      That is correct.

10    file, but I have not seen one myself.                                               10   Q.      Since March, have you asked to see a configuration file?

11    Q.   And because you haven't seen any LRAIL configuration                           11   A.      No.

12    file, you can't answer whether the LRAIL configuration file                         12   Q.      And since March, have you asked to see any neural

13    affects whether LRAIL is configured to run mixed image;                             13   network file?

14    correct?                                                                            14   A.      No.

15    A.   Uh, I don't agree with you.     As I said earlier, the                         15   Q.      Let's look at Claim 1 of the '293 patent.        And we'll

16    functionality is there for the user to use.                                         16   look at your slide number 19.         Claim 1 requires that the

17                MR. LAQUER:    Your Honor, may I impeach with                           17   sensor is in communication with the power source.           And we can

18    page 146 beginning at line 13 through page 147, line 3?                             18   see that if we look at the last red line; correct,

19                THE COURT:    Any objection?                                            19   Dr. Morellas?

20                MR. BARNEY:    Again, Your Honor, I hate to be a                        20   A.      Are you talking about the last portion of the hardware

21    broken record.   I just don't see the inconsistency.                                21   limitations?

22                THE COURT:    I thought you were going to -- you were                   22   Q.      Yes.    That's correct, Dr. Morellas.    The last section

23    gonna ask about 145, line 5 through 145, line 14.      I think                      23   that's read there, we see wherein the at least one sensor is

24    you could play that, but, again, I don't think -- the one you                       24   in communication with the at least one processor.           Do you see

25    moved to I don't think is direct enough to the questions he's                       25   that?



                        UNITED STATES DISTRICT COURT                                                                 UNITED STATES DISTRICT COURT




                                                                         75                                                                                          76


 1    A.   Yes.                                                                            1   Q.      Right.    But you know that the hardware was disconnected;

 2    Q.   You understand that to literally infringe Claim 1, a                            2   correct, Dr. Morellas?

 3    system must have its sensor in communication with the                                3   A.      I'm not sure about that.

 4    processor at the time of the supposed infringement; correct?                         4   Q.      Let's look in your report that's in your binder, and

 5    A.   Correct.                                                                        5   let's look at page 35 there.         It's in your binder.   Looking

 6    Q.   You haven't presented evidence that any accused LRAIL                           6   at page 35 of your report, the photograph there, does that

 7    sale had its sensor in communication with the processor at                           7   refresh your recollection?

 8    the time of the supposed infringement; correct?                                      8   A.      Yes.

 9    A.   No.    I have shown that the sensor is in communication                         9   Q.      So having your recollection refreshed --

10    with the processor that runs the acquisition computer, and                          10                   MR. LAQUER:    Your Honor, may I publish page 35 from

11    there is a network that connects also to the acquisition                            11   the report?

12    computer with the processing computer so this is one computer                       12                   THE COURT:    Why don't you just ask him a question.

13    system that is interfaced with the sensor.                                          13                  MR. LAQUER:    Yes.

14    Q.   But if the evidence shows that the sensor and the                              14   Q.      Dr. Morellas, these LRAIL sales are sold in a manner

15    processor are sold in a disconnected state, then your opinion                       15   where the sensors are disconnected from the processor;

16    does not apply; correct, Dr. Morellas?                                              16   correct?

17    A.   Well, no components can work in isolation so they have                         17   A.      I do not know.

18    to be present in order to take advantage of the functionality                       18   Q.      Okay.    But you know that it's Tetra Tech's burden to

19    of a system.                                                                        19   prove infringement; correct?

20    Q.   Right.    So they couldn't be infringing when sold.      It                    20   A.      Yes.

21    would have to be that they infringed later if they were                             21   Q.      Claim 8 of the '557 patent requires inputting rail base

22    actually used in an infringing way within the appropriate                           22   edge feature coordinates; correct?

23    jurisdiction; correct?                                                              23   A.      Correct.

24    A.   No, I do not agree with you simply because the sales                           24   Q.      But you can't provide an example of how rail base edge

25    were turnkey sales that includes both hardware and software.                        25   feature coordinates can be input as part of the '557 patent;



                        UNITED STATES DISTRICT COURT                                                                 UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                117
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 21 of 74 Page ID
                                      #:15260
                                                                         77                                                                                       78


 1    correct?                                                                             1

 2    A.   Excuse me, are you talking about the, uh, LRAIL system?                         2   BY MR. LAQUER:

 3    Q.   I'm asking whether or not you can provide an example of                         3   Q.   Was that your sworn testimony, Dr. Morellas?

 4    how rail based edge feature coordinates can be input as part                         4   A.   Yes.

 5    of the '577 patent?                                                                  5   Q.   And you admitted that in the deposition I took on -- of

 6    A.   Yes, I think I showed that in my slide.                                         6   you on March 23rd of 2022; correct?

 7                MR. LAQUER:    Your Honor, I'd like to publish                           7                And that was after you had reviewed Pavemetrics

 8    deposition, page 22 beginning at line 2.                                             8   source code; correct?

 9                THE WITNESS:   Which page?                                               9   A.   Yes.

10                THE COURT:    Hang on.   Let me look at it first.                       10   Q.   And that after you had reviewed Tetra Tech source code;

11                THE WITNESS:   Oh.                                                      11   correct?

12                THE COURT:    Line 2 through what?                                      12   A.   Yes.

13                MR. LAQUER:    16, Your Honor.                                          13                THE COURT:   Okay, Counsel, we'll take our morning

14                THE COURT:    Any objection, Counsel?                                   14   break now.    We'll come back in 15 minutes.

15                MR. BARNEY:    Uh, yes, Your Honor.   It's not clear                    15                THE CLERK:   All rise.

16    from the context of what -- what happened in the deposition                         16                             (Jury not present.)

17    if they're talking about the same, um, thing.       Uh, I -- I see                  17                THE COURT:   We'll stand in recess until 20 of.

18    a question about hypothetical examples versus what they're                          18                And I'll just remind Dr. Morellas, no conversations

19    talking about here which is the actual LRAIL system.                                19   about your testimony with Tetra Tech counsel during the

20                MR. LAQUER:    Your Honor, my question was directly                     20   break.

21    from the deposition.                                                                21                THE WITNESS:    Okay, sure.

22                THE COURT:    Okay.   Yeah, I'll let you go ahead and                   22                               (Recess taken.)

23    publish this.    And then Counsel, if you want to go into it on                     23                THE CLERK:   All rise.

24    redirect, you can.                                                                  24                               (Jury present.)

25                MR. LAQUER:    Would you play Video Clip 22, please?                    25                THE COURT:   Please be seated.     Counsel, you can



                        UNITED STATES DISTRICT COURT                                                              UNITED STATES DISTRICT COURT




                                                                         79                                                                                       80


 1    continue with your cross-examination.                                                1   Q.   All right, let's go back to your Slide No. 67.        So at

 2    BY MR. LAQUER:                                                                       2   the bottom, that is box the output; correct?

 3    Q.   Dr. Morellas, let's look at slide 67 of yours.       So the                     3   A.   Correct.

 4    bottom right where you've got a red box around what says                             4   Q.   And what you've put a red box around at the top is the

 5    position, and it says tie bounding box data, do you see that?                        5   input; correct?

 6    A.   Yes.                                                                            6   A.   Yes.

 7    Q.   So there are four points that are identified, and                               7   Q.   And the input is what's called a mask; correct?

 8    there's an X value and a Y value for each of the four points;                        8   A.   Correct.

 9    correct?                                                                             9   Q.   And a mask is a blob like shape.         Could be anything;

10    A.   Yes.                                                                           10   correct?

11    Q.   This is tie bounding box data that is output by the                            11   A.   Could be anything.

12    LRAIL system, you believe; correct?                                                 12   Q.   Yeah, like a circle; right?

13    A.   Yes.                                                                           13   A.   No.

14    Q.   And you agree that in the context of the '557 patent, a                        14   Q.   So a mask can't be a circle.

15    circle is not a box; correct?                                                       15   A.   No.     In image processing, when we talk about masks, we

16    A.   No.                                                                            16   mean rectangular boxes.

17    Q.   In the context of the '557 patent, neither a circle nor                        17   Q.   But a mask can be anything; correct?

18    an oval are boxes; correct?                                                         18   A.   Could be.

19    A.   It doesn't limit that.                                                         19   Q.   This shows the Court's claim construction for the term

20                MR. LAQUER:    Your Honor, I would like to publish                      20   moving the gradient neighborhood like a sliding window over

21    deposition beginning at page 28, line 10.                                           21   the 3D elevation data.       You see that, Dr. Morellas?

22                THE COURT:    Okay.   Go ahead.                                         22   A.   Yes.

23                MR. LAQUER:    If we could play Video Clip 28,                          23   Q.   And the construction is sequentially and completely

24    please?                                                                             24   applying the gradient neighborhood to the 3D elevation data.

25    BY MR. LAQUER:                                                                      25   Do you see that, also?



                        UNITED STATES DISTRICT COURT                                                              UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                118
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 22 of 74 Page ID
                                      #:15261
                                                                    81                                                                                       82


 1    A.   Yes.                                                                       1   files; right?

 2    Q.   And you understand that in patent speak, construction is                   2   A.      I -- I believe so.

 3    another way of saying definition; right?                                        3   Q.      All right.   And just to be clear, you did not; correct?

 4    A.   Yes.                                                                       4   A.      I'm sorry?

 5    Q.   So that means that that phrase, moving the gradient                        5   Q.      You did not look at the LRAIL neural network files;

 6    neighborhood like a sliding window over the 3D elevation                        6   correct?

 7    data, is defined for us in this case as meaning sequentially                    7   A.      Correct.

 8    and completely applying the gradient neighborhood to the 3D                     8   Q.      You have no reason to doubt him when he explains that

 9    elevation data; correct?                                                        9   the LRAIL neural network uses a stride value of two; correct?

10    A.   Correct.                                                                  10   A.      I do not have any reason.

11    Q.   So in order for any sale of LRAIL sale to infringe Claim                  11   Q.      Okay.   And with a stride value of one, a filter will

12    1, that LRAIL sale must literally satisfy the claim term as                    12   move one pixel at a time; correct?

13    construed by the Court; correct?                                               13   A.      Correct.

14    A.   Correct.                                                                  14   Q.      With a stride value of two, it skips every other pixel;

15    Q.   And you mentioned yesterday that one of the things that                   15   right?

16    you and Dr. Frakes who's Pavemetrics technical expert                          16   A.      Correct.

17    disagree about is the word completely here; right?                             17   Q.      And Dr. Frakes has explained that in his view, having a

18    A.   Uh, yeah.   I mean, it's not -- not exactly that, uh,                     18   stride value of two means that what you've called the

19    that he said that, uh, not all the pixels are calculated.                      19   gradient neighborhood is not being applied completely;

20    Q.   Right.    And that's because he has explained that LRAIL's                20   correct?

21    neural network uses what's called a stride value of two;                       21   A.      No, I don't agree with that.

22    correct?                                                                       22   Q.      I understand that you don't agree.   I just to make sure

23    A.   That's, uh -- that's what was in his rebuttal report,                     23   that we're on the same page with what you believe he

24    the last, uh, report that he submitted.                                        24   understands or his opinion versus your opinion.     He thinks

25    Q.   Right, because he looked at the LRAIL neural network                      25   that stride value of two is not complete because it's



                        UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                    83                                                                                       84


 1    skipping every other pixel.    You think that it's still                        1   A.      No, what I'm say was -- what I said yesterday is that

 2    complete when it's skipping every other pixel.   Right?                         2   even with a stride of two, all pixels are contributing to

 3    A.   That is correct.                                                           3   the, uh, calculation of the gradient.

 4    Q.   Okay.    And the pixels are the elements of the data that                  4   Q.      Okay.   But pixels are skipped; correct?

 5    you believe the gradient neighborhood slides are applied                        5   A.      If you want to -- if skipping means in the sense that we

 6    over; correct?                                                                  6   have a stride of two, if that's what you mean, yes.       But in

 7    A.   Correct.                                                                   7   my opinion, the way I understand this is that every pixel is

 8    Q.   And you testified that even with LRAIL's stride value of                   8   contributing to the gradient operations, in fact, more than

 9    two, there is no pixel that gets skipped; right?                                9   once.    That's what I mean.

10    A.   Every pixel is contributing to the, uh, calculations.                     10   Q.      But if the stride was one, there would be twice as much

11    Q.   Is any pixel skipped when LRAIL -- because LRAIL has a                    11   work getting done because more pixels -- there would be more

12    stride value of two?                                                           12   pixel analysis; correct?

13    A.   What I'm saying is that every pixel is contributing to                    13   A.      Apparently, yes.

14    the calculations, in fact, more than once.                                     14   Q.      Okay.   And let's go to your slide 44; correct?

15    Q.   But are pixels skipped?    Yes or no.                                     15   A.      Yes.

16    A.   If you use a stride -- a stride of two, you move the                      16   Q.      So this is where you've shown your belief about a stride

17    window two pixels at a time.                                                   17   value of two and your opinion of pixels being skipped or not;

18    Q.   So pixels are getting skipped; correct?                                   18   correct?

19    A.   It depends how you define the skipping process --                         19   A.      That's correct.

20    Q.   Well --                                                                   20   Q.      And so the pixel that is under analysis for the

21    A.   -- uh, word.                                                              21   convolution is the one that's at the center of the green, um,

22    Q.   I wrote down yesterday one of your answers, and that was                  22   square of nine pixels total; correct?

23    that there is no pixel that gets skipped.    Do you believe                    23   A.      Actually, the -- the gradient in this particular case

24    that's correct, that no pixel gets skipped or do you think                     24   where the weights are different, uh, it -- it shows

25    pixels are skipped with a stride value?                                        25   information coming from all the pixels.



                        UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                         Exhibit 3
                                                                           119
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 23 of 74 Page ID
                                      #:15262
                                                                           85                                                                                      86


 1    Q.      Right.     But the pixel that is being skipped over is the                     1   started working on this case?

 2    center of the green square where in the left most, that's the                          2   A.   No.

 3    pixel that's on the second column and then in the middle, it                           3   Q.   Okay.    Uh, did you read the Karami book?

 4    is the one two, three four. . . all right.                                             4   A.   Yes, I did.    It's one of the books.

 5                    All right.    So this is Step 1; correct?                              5   Q.   Okay.    And so you read the page of the Karami book where

 6    A.      Yes.                                                                           6   you took this picture from that you show on slide 44;

 7    Q.      And this is Step 2; correct?                                                   7   correct?

 8    A.      Yes.                                                                           8   A.   Yes.

 9    Q.      And the pixel that got skipped between Steps 1 and 2 is                        9   Q.   Okay.    And you believe that the Karami book supports

10    that pixel right there; correct?                                                      10   your view that even with stride value of two, the filter does

11    A.      All the pixels are, uh -- are skipped by two.                                 11   not skip any element; correct?

12    Q.      All right.                                                                    12   A.   In the sense that I described to you, yes.

13    A.      All these pixels in this, uh, green box.                                      13                MR. LAQUER:    Your Honor, I would like to introduce

14    Q.      Okay.    And because the stride value is two, pixels are                      14   the next exhibit.    That Exhibit is Exhibit 689.       It is just a

15    being skipped; correct?                                                               15   subset of Exhibit 709, and I don't think we would need to

16    A.      No.     I disagree with you.   As I explained to you, even                    16   introduce the entire book that, uh, Dr. Morellas has

17    with a stride of two, all pixels are contributing to the                              17   identified and relied on, but I'd like to just introduce the

18    calculations of the gradient operator.                                                18   particular page that he's relied on along with the cover and

19    Q.      So you believe that even with a stride of two, the                            19   copy right page.

20    filter does not skip any pixels; correct?                                             20                THE COURT:    Any objections, Counsel?

21    A.      Yes.                                                                          21                MR. BARNEY:    No objection, Your Honor.

22    Q.      Okay.    Um, you found this picture in, um, what's listed                     22                THE COURT:    Okay.   It, um -- the exhibit -- and

23    here as Exhibit 709, the Karami book; correct?                                        23   this is Trial Exhibit 709?

24    A.      Yes.                                                                          24                MR. LAQUER:    Um, well, I'm --

25    Q.      Uh, did you know about the Karami book before you                             25                THE COURT:    Or, I'm sorry, you're making a new



                            UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                           87                                                                                      88


 1    exhibit.                                                                               1   A.   Yeah.

 2                    MR. LAQUER:    I was making a new because --                           2   Q.   Let's look at the text that shows up right above the

 3                    THE COURT:    Yeah.                                                    3   picture that you used in this line.       That reads if the

 4                    MR. LAQUER:    -- it's just --                                         4   convolution stride is equal to two, this means that the

 5                    THE COURT:    Okay.                                                    5   filters -- the filter slides through 2 consecutive elements

 6                    MR. LAQUER:    -- gonna be that page so --                             6   of the input layer.       The filter slides through the input data

 7                    THE COURT:    And -- and so this will be exhibit                       7   by moving two elements per step, i.e., skipping one element.

 8    number again?                                                                          8   Do you see that, Dr. Morellas?

 9                    MR. LAQUER:    689, Your Honor.                                        9   A.   Yes.

10                    THE COURT:    Six eight nine.                                         10   Q.   So Karami confirms that with a stride value of two, the

11                    Okay, six eight nine is in evidence.                                  11   filter does skip every other element; correct?

12                             (Exhibit 689 admitted.)                                      12   A.   It's -- that's his interpretation.

13    BY MR. LAQUER:                                                                        13   Q.   Right.    But that's the book that you used to support

14    Q.      Let's see where in the Karami book you got that picture                       14   your opinion that Pavemetrics supposedly infringes this

15    from.    Could you, uh, show us that?                                                 15   patent claim; correct?

16                    This is the page from the Karami book where you                       16   A.   Correct.

17    took the picture from; correct?                                                       17   Q.   Right.    And so it doesn't actually support your

18    A.      That is correct.                                                              18   conclusion, does it, Dr. Morellas.

19    Q.      And so this is Exhibit 689; right?                                            19   A.   I disagree with you simply because, uh, he tries to

20    A.      Uh --                                                                         20   interpret the fact that when you, uh, slide the neighborhood

21    Q.      Well, uh, I'll just tell you --                                               21   by two pixels, one pixel in the -- in the middle is skipped

22    A.      Yeah.                                                                         22   all along.

23    Q.      -- that's what we just moved --                                               23   Q.   Right.    But --

24    A.      Okay.                                                                         24   A.   All the time.

25    Q.      -- into evidence, all right?                                                  25   Q.   -- that's the book you chose to put in your slides to



                            UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                                Exhibit 3
                                                                                  120
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 24 of 74 Page ID
                                      #:15263
                                                                       89                                                                                          90


 1    present in this case; correct?                                                     1   A.      I looked at some but not specifically, uh, the network

 2    A.   Correct.                                                                      2   files.

 3    Q.   All right.    And you believe that Tetra Tech should be                       3   Q.      Okay.    You spoke with Tetra Tech's damages expert;

 4    able to shut down Pavemetrics' sales of LRAIL based on your                        4   correct?

 5    use of the Karami book that contradicts your opinion?                              5   A.      Yes.

 6    A.   I'm not in a position to do that.                                             6   Q.      And you understand that damages can only occur if there

 7    Q.   But that's what you're sitting here --                                        7   has been infringement of a valid patent claim; correct?

 8    A.   The Court --                                                                  8   A.      I'm not sure of that.

 9    Q.   -- attempting to do.                                                          9   Q.      Okay.    Is it your understanding that if the jury were to

10    A.   The Court will decide about it.                                              10   disagree with you about infringements on the asserted claims,

11    Q.   All right.    And your opinion is based on your                              11   then the opinion of Tetra Tech's damages expert would be

12    assumptions of how LRAIL's neural network works when you                          12   irrelevant?

13    haven't seen the neural network files; correct?                                   13                   MR. BARNEY:    Objection, Your Honor.

14    A.   These are not assumptions.       There is facts about the --                 14                   THE COURT:    Yeah, I think this is outside the scope

15    how the neural networks are being used in this case.                              15   of what this witness is here to testify to.

16    Q.   Right.     And some individuals including Pavemetrics' fact                  16                   MR. LAQUER:    I have no further questions at this

17    witnesses and its expert witness have looked at those files;                      17   time.

18    correct?                                                                          18                   THE COURT:    Thank you.   Any redirect, Counsel?

19    A.   Can you repeat the question, please?                                         19                   MR. BARNEY:    Yes, Your Honor.

20    Q.   I said some individuals, particularly Pavemetrics' fact                      20                                REDIRECT EXAMINATION

21    witnesses and its expert witness, have actually looked at the                     21   BY MR. BARNEY:

22    evidence of Pavemetrics' neural network; correct?                                 22   Q.      Hello again, Dr. Morellas.

23    A.   I suppose.                                                                   23   A.      Hi.

24    Q.   And you didn't even look at Tetra Tech's neural network                      24   Q.      Just a few follow-up points.       Counsel asked you, um --

25    files; right?                                                                     25   or he -- he -- he made the point that there's no mention of



                         UNITED STATES DISTRICT COURT                                                              UNITED STATES DISTRICT COURT




                                                                       91                                                                                          92


 1    artificial intelligence or convolutional neural networks in                        1   infringement?

 2    the patents.    Do you recall that?                                                2   A.      I suppose.

 3    A.   Yes.                                                                          3   Q.      If it's performed with a neural network and accomplishes

 4    Q.   Now, do the patents disclose the algorithms that are set                      4   every limitation of the claim, would that also be

 5    forth in the claims?                                                               5   infringement?

 6    A.   Like we saw in the particular, uh, limitations that we                        6   A.      Yes.

 7    examined, their particular parts, particularly step c claims                       7   Q.      Does it make any difference whatsoever to your

 8    those.                                                                             8   infringement opinion whether the patent talks about neural

 9    Q.   If I could have, uh, slide 11 from your                                       9   networks?

10    demonstratives -- excuse me, slide 10 from your                                   10   A.      No.    Because we -- as we said, we tried to, uh, apply

11    demonstratives, please?    Dr.   Morellas, we spoke about this                    11   Court's construction by following the particular steps a, b,

12    yesterday, but does the patent disclose the algorithm that's                      12   c and d so this is -- comes as a whole, uh, package.

13    claimed in the '293 patent?                                                       13   Q.      Now, counsel also, uh, questioned you quite a bit on

14    A.   Yes.                                                                         14   whether or not you looked at the neural network code when you

15    Q.   And can that algorithm be performed without a neural                         15   did your source code review.

16    network?                                                                          16   A.      Right.

17    A.   Possibly.                                                                    17   Q.      And -- and as far as you're aware, was it available when

18    Q.   Can it be performed with a neural network?                                   18   you were reviewing your source code?

19    A.   Yes.                                                                         19   A.      It was not available for me to see the particular

20    Q.   For purposes of infringement, does it matter one way or                      20   architecture or the specifics of the neural network.

21    the other whether it's performed with or without a neural                         21   Q.      Now, is it necessary -- first of all, how -- how many

22    network?                                                                          22   years of experience do you have with neural networks?

23    A.   I don't think so.                                                            23   A.      Quite -- uh, like I said yesterday, I started in 1991,

24    Q.   It it's performed without a neural network, and it                           24   but the particular, um, uh, neural networks, um, they came

25    accomplishes every limitation of the claim, would that be                         25   to, uh -- to be very popular in the last -- in the last, uh,



                         UNITED STATES DISTRICT COURT                                                              UNITED STATES DISTRICT COURT




                                                                            Exhibit 3
                                                                              121
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 25 of 74 Page ID
                                      #:15264
                                                                         93                                                                                       94


 1    seven, eight years, nine years.                                                      1   call the name convolution neural network, I'm sure everybody

 2    Q.      Would you say you were very familiar with the                                2   that the audience understands what is happening there.         They

 3    convolutional neural networks?                                                       3   may describe the particular ways that they train the network,

 4    A.      Yes.    Actually, the, uh -- uh, the first version of, uh,                   4   but the main body of information comes from the fact that

 5    convolutional neural networks started in, uh, 1996, I                                5   convolution neural networks are being used.

 6    believe.                                                                             6   Q.      Okay.    Well, for instance, in Exhibit 117 that you have

 7                    MR. BARNEY:   Let's have slide 41.   Slide 41.                       7   on the slide, are they explaining the use of a gradient

 8    Q.      And, uh, Dr. Morellas, um, based on your understanding                       8   network in exactly the same way that you just testified?

 9    of how neural -- convolutional neural networks work, is it                           9   A.      Yes, because they talk about the convolutional layers

10    your -- what is your opinion as to whether it necessarily is                        10   where different filters are applied.

11    going to perform the steps that are set forth in step c?                            11                   MR. BARNEY:    Slide 29, please?

12    A.      Yes, that's -- we showed that yesterday by showing the                      12   Q.      Now, counsel also asked you some questions about

13    particular animation that, uh, I tried basically to simplify                        13   configuration files.          Do you remember that?

14    in a way that, uh, uh, all the appropriate gradient                                 14   A.      Yes.

15    neighbor -- uh, neighborhood is moved around the, uh -- the                         15   Q.      And he asked you whether you had reviewed configuration

16    image.                                                                              16   files and so forth.       Do you recall that?

17    Q.      Have you ever seen a convolution neural network that                        17   A.      Yes.

18    doesn't define an appropriate gradient neighborhood and slide                       18                   MR. BARNEY:    Now, I wanna look at the court's claim

19    it across the data set forth in Limitation C?                                       19   construction on the screen of the term is configured to run

20    A.      No.                                                                         20   an algorithm.       And the court construed that to mean is

21    Q.      Okay.    And how does -- Pavemetrics when they present                      21   programmed to run an algorithm without the need to rebuild,

22    their technology to the industry in papers such as the one                          22   rewrite or recompile the code for or resign any of that

23    that you show in Exhibit 117, how do they explain how their                         23   hardware or software.

24    neural network works?                                                               24   Q.      Did I read that correctly?

25    A.      I guess they don't need to explain much except if they                      25   A.      Yes.



                            UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                         95                                                                                       96


 1    Q.      And did you apply that construction?                                         1                   MR. BARNEY:    Slide 67, please.

 2    A.      Yes, I did.                                                                  2   Q.      I believe there was a question about circles and ovals

 3    Q.      In the LRAIL source code that you reviewed, is it                            3   and rectangles.       Do you remember that?

 4    programmed to run the algorithms steps a through d?                                  4   A.      Yes.

 5    A.      Yes.                                                                         5   Q.      Okay.    And what is the shape of a railroad -- this Claim

 6    Q.      Is it programmed to run that algorithm without the need                      6   8, that's about detecting railroad tie distress.

 7    to rebuild the algorithm?                                                            7   A.      Yes.

 8    A.      Yes.                                                                         8   Q.      And what's the shape of a railroad tie?

 9    Q.      Is it -- do you have to rewrite the code to run that                         9   A.      Rectangular.

10    algorithm?                                                                          10   Q.      Okay.    And so what would you expect the tie bounding --

11    A.      No.                                                                         11   the tie bounding box data to be?

12    Q.      Did you have to recompile the code to run that                              12   A.      A rectangle.

13    algorithm?                                                                          13   Q.      And what is shown in the output of Exhibit 27 that

14    A.      I don't believe so.                                                         14   you've shown?

15    Q.      Okay.    And do you have to redesign any of the hardware                    15   A.      The coordinates of the four vertices of the rectangle.

16    or software to run that algorithm?                                                  16   Q.      And the portion of the input that you pointed to is a

17    A.      No.                                                                         17   mask.    Am I correct?

18    Q.      So in the LRAIL system that they sold to CSX in that                        18   A.      Yes.

19    turnkey sale with that source code that you reviewed, was it                        19   Q.      And what is the shape of a mask as used in image

20    configured to perform steps a through d in accordance with                          20   processing?

21    the court's construction?                                                           21   A.      Rectangular.

22    A.      Yes.                                                                        22   Q.      Okay.    Is that all consistent with your opinion that you

23    Q.      Did you need to look at configuration files to know                         23   expressed earlier?

24    that?                                                                               24   A.      Yes.

25    A.      No.                                                                         25                   MR. BARNEY:    And let's go to slide 38, please.



                            UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                122
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 26 of 74 Page ID
                                      #:15265
                                                                          97                                                                                       98


 1    Q.   Then there was some questions about this limitation of                           1   A.   Yes.

 2    moving the gradient neighborhood like a sliding window over                           2   Q.   And I just want to -- just so we can all focus on that

 3    the 3D elevation data.       Do you remember that?                                    3   red box, I'm gonna just give it a name.      I'm gonna call it

 4    A.   Yes.                                                                             4   Pixie the Pixel.    Okay?

 5    Q.   And counsel in particular was pointing you to the                                5   A.   Yeah.

 6    court's construction that says sequentially and completely                            6   Q.   You with me?

 7    applying the gradient neighborhood to the 3D elevation data.                          7   A.   Yes.

 8    Did I read that correctly?                                                            8   Q.   Pixie the Pixel.       In the first step of one, does Pixie

 9    A.   Yes.                                                                             9   the Pixel contribute to the, uh -- to the, uh, gradient

10    Q.   And did you apply that construction in your analysis?                           10   neighborhood?

11    A.   Yes, I did.                                                                     11   A.   Yes.

12    Q.   Dr. Morellas, does that construction say anything about                         12   Q.   In Step 2 where that gradient neighborhood has moved

13    skipping pixels?                                                                     13   over by a stride of two, is Pixie the Pixel still

14    A.   No.                                                                             14   contributing to that gradient neighborhood?

15    Q.   Does it say that you can't skip a pixel in that                                 15   A.   Yes.

16    construction?                                                                        16   Q.   And is it also true that on the next -- if there were a

17    A.   No.                                                                             17   Step 4, wouldn't we see the green box two pixels down on the

18    Q.   Does it -- what does it say?                                                    18   left-hand side from where it is now?

19    A.   Just sliding the window sequentially and completely.                            19   A.   Yes.

20    Q.   Okay.    Now, let's take a look at your illustration on                         20   Q.   And in that situation, would Pixie the Pixel still be

21    page 44.    Okay.   Now in this illustration, the gradient                           21   contributing to that gradient neighborhood?

22    neighborhood is the green neighborhood; right?                                       22   A.   That is correct.

23    A.   Right.                                                                          23   Q.   So is every pixel in this example with a stride of two

24    Q.   And is it being slid 2 by 2, in other words, with a                             24   contributing to the gradient neighborhood?

25    stride of two across that data?                                                      25   A.   Yes.



                          UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                          99                                                                                       100


 1    Q.   And does that meet the court's construction of                                   1   not on documents that say things.      Right; Dr. Morellas?

 2    sequentially and completely applying the gradient                                     2   A.   This is part of a particular limitation that is part of

 3    neighborhood to the 3D elevation data?                                                3   the claim so this is a particular procedure that is

 4    A.   Yes.                                                                             4   inconsistent with one of the sub-limitations.

 5                 MR. BARNEY:    Thank you.                                                5   Q.   So if I write a document about a spaceship, am I

 6                 I have no further questions.                                             6   infringing a Space X patent?      You actually have to make a

 7                 THE COURT:    Okay.   Any recross?                                       7   product or sell a product or do something other than just

 8                 MR. LAQUER:    Yes, Your Honor.                                          8   write a paper to infringe; right, Dr. Morellas?

 9                               RECROSS-EXAMINATION                                        9                MR. BARNEY:    Objection, Your Honor.   I think is all

10    BY MR. LAQUER:                                                                       10   calling for legal conclusions.

11    Q.   Let's look at your slide 41.        You just testified about                    11                THE COURT:    Yeah, I think that's right.   I think

12    whether it's necessary to look inside of this deep neural                            12   let's stick to technical opinions.

13    network in order to determine whether it performs step c;                            13   BY MR. LAQUER:

14    correct?                                                                             14   Q.   Let's look at Slide 29.       This is the construction of

15    A.   Yes.                                                                            15   configured to run an algorithm.      Just to be clear, it's your

16    Q.   And the deep neural network that you were referring to                          16   opinion that you don't need to look at LRAIL's configuration

17    is the Deep CNet Network; correct?                                                   17   file to determine how LRAIL is configured; is that correct?

18    A.   That's correct.                                                                 18   A.   When the software is shipped, there are certain

19    Q.   You were not referring to the LRAIL network; correct?                           19   parameters that are set that would allow the system to run.

20    A.   This is a publication from Pavemetrics data that shows                          20   However, you can change the functionality by putting the

21    about the Deep CNet that was used.                                                   21   parameters that apparently reconfigure the system to do

22    Q.   Does a white paper presented at a conference in Tokyo                           22   something different.

23    infringe a United States patent?                                                     23   Q.   Right.     And you didn't look to see how the configuration

24    A.   I cannot answer this question.                                                  24   file reconfigured those parameters to cause LRAIL to do

25    Q.   You know that the claims of that patent are on systems,                         25   something different; correct?



                          UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                               Exhibit 3
                                                                                 123
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 27 of 74 Page ID
                                      #:15266
                                                                       101                                                                                         102


 1    A.   Uh, what I looked was the manual that shows the graphic                        1   Q.      Right.    That's not their invention; correct?

 2    values that interface that can change some of the parameters.                       2   A.      That is correct.

 3    Q.   Would you please answer my question with a yes or a no,                        3   Q.      That's not what they have rights from the '293 and the

 4    Dr. Morellas?    I asked whether or not you looked at the                           4   '557 patent on; correct?

 5    configuration files to determine whether they change how the                        5   A.      Correct.

 6    LRAIL parameters are configured.                                                    6                   MR. LAQUER:    No further questions.

 7    A.   They were no configuration files available to me.                              7                   THE COURT:    Anything else, Counsel?

 8    Q.   Do you know LRAIL's default values are in terms of using                       8                   MR. BARNEY:    Nothing further, Your Honor.

 9    range only images rather than Fake3D images?                                        9                   THE COURT:    And I apologize, I'm just gonna ask a

10    A.   I'm not sure of that.                                                         10   few questions.       Can you pull up that new Exhibit 689?    The

11    Q.   Do you know what LRAIL's default values are for whether                       11   second page of it, can somebody put it on the screen?         It's

12    or not it uses mixed images?                                                       12   the book.

13    A.   No, I do not know those.                                                      13                                     EXAMINATION

14    Q.   Only review half of the evidence in this case, then you                       14   BY THE COURT:

15    haven't reviewed the evidence completely, have you.                                15   Q.      Okay.    So in just looking at these diagrams, the green

16    A.   What do you mean by half the evidence?                                        16   section, is that -- is that kind of like the filter?

17                THE COURT:    Counsel, I think that's argumentative.                   17   A.      Yes.

18                Let's stick to his technical opinions.                                 18   Q.      And so that green section in Step 1, it's looking at

19                MR. LAQUER:    All right.                                              19   those nine pixels?

20    Q.   Dr. Morellas, Tetra Tech did not invent neural networks;                      20   A.      Correct.

21    correct?                                                                           21   Q.      Making some mathematical computation on that?

22    A.   Yes.                                                                          22   A.      Correct.

23    Q.   Yes, they invented it?       Or it's correct they did not                     23   Q.      And then in Step 2, it slides over and looks at those

24    invent neural networks.                                                            24   nine pixels in the middle.

25    A.   They did not invent neural networks.                                          25   A.      Correct.



                        UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                       103                                                                                         104


 1    Q.   Makes a computation of that.       In 3, it focuses on those                   1   A.      I do not know about the specifics of the neural network.

 2    nine pixels and makes a computation.                                                2   Q.      And if it has a stride of four or greater, even under

 3    A.   That is correct.                                                               3   your view of the sliding window, it would not practice the

 4    Q.   So when we're talking about sliding here, it's -- I                            4   patent; correct?

 5    guess if we only slid once, we would do more computations?                          5   A.      No, I disagree because the windows light sequentially

 6    A.   Correct.                                                                       6   and completely throughout the whole image.

 7    Q.   If we slide by two, we're doing less computations?                             7   Q.      But if it had a stride of four, then there would be

 8    A.   Yes.                                                                           8   pixels that would never be green in this illustration;

 9    Q.   If we could slide by three, we're doing even less                              9   correct?

10    computations.                                                                      10   A.      Yes, but this is not consistent with the court's

11    A.   Correct.                                                                      11   construction claim that says if you move the window

12    Q.   But all of the pixels are being used in computing the                         12   sequentially and completely throughout the image.

13    result.                                                                            13   Q.      Do you believe the stride value of 100 would satisfy the

14    A.   Yes.                                                                          14   court's construction?

15    Q.   Is that the gist of it?                                                       15   A.      Yeah.    If there are high resolution images, but this is

16    A.   Yes.                                                                          16   probably not appropriate.          It won't make any sense in that

17                THE COURT:    Okay, thank you.                                         17   case.

18                I just wanted to make sure.      Thank you.                            18                   MR. LAQUER:    I have no further questions.

19                MR. LAQUER:    May I ask one question to follow up?                    19                   THE COURT:    So let me jump in again.

20                THE COURT:    Sure.                                                    20                                 FURTHER EXAMINATION

21                      FURTHER RECROSS-EXAMINATION                                      21   BY THE COURT:

22    BY MR. LAQUER:                                                                     22   Q.      Because really it depends on the inside of the filter;

23    Q.   Dr. Morellas, you have no evidence as to whether or not                       23   right?

24    Tetra Tech's neural network has a stride value of four or                          24   A.      Yes.

25    greater?                                                                           25   Q.      So if our filter was 100 by 100 --



                        UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                             Exhibit 3
                                                                               124
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 28 of 74 Page ID
                                      #:15267
                                                                           105                                                                                           106


 1    A.   Yes.                                                                               1   Q.      But if our filter was, um, 2 by 2, and we have a stride

 2    Q.   -- and we had a stride of 90, we would get all the                                 2   of two, we'd actually still get all the pixels.

 3    pixels.                                                                                 3   A.      Yes.

 4    A.   Uh, yes.                                                                           4   Q.      But it wouldn't -- it wouldn't have as much data.

 5    Q.   Right?     Because the filter's big enough to make sure you                        5   A.      Yes.

 6    get all the pixels.                                                                     6                   THE COURT:    Thank you.

 7    A.   Yeah.                                                                              7                   MR. LAQUER:    Your Honor?

 8    Q.   So it really is a function of the filter size and the                              8                   THE COURT:    Okay.

 9    stride.    If those are appropriate, then you'll get all the --                         9                   MR. LAQUER:    I have follow-up that I think would be

10    all the pixels.                                                                        10   really relevant directly --

11    A.   Right, and you will not -- and essentially, when you do                           11                   THE COURT:    Okay, okay.

12    that, you will not get information.           More information is                      12                          FURTHER RECROSS-EXAMINATION

13    better so they can use it.                                                             13   BY MR. LAQUER:

14    Q.   Sure, sure.    But it would depend on computing power and                         14   Q.      Dr. Morellas, do you have any evidence what the size of

15    those things.                                                                          15   the filter is in Tetra Tech's neural network?

16    A.   Yeah.                                                                             16   A.      Uh, again, like I said, I have not seen the code.

17    Q.   You would make that tradeoff of how big of a stride                               17                   MR. LAQUER:    Thank you.    No further questions.

18    depending on your filter.                                                              18                   THE COURT:    Mr. Barney, sorry, anything further?

19    A.   Correct.                                                                          19                   MR. BARNEY:    Uh, no, Your Honor.

20    Q.   So, for example, in this example here, our filter's 3 by                          20                   THE COURT:    Okay.   Witness is excused?

21    3.                                                                                     21                   MR. BARNEY:    Yes.

22    A.   Yes.                                                                              22                   THE COURT:    Okay.   Thank you very much.

23    Q.   Um, if our filter was 2 by 2, and we have a stride of                             23                   Thanks for indulging me, Dr. Morellas.

24    three, we would miss pixels.                                                           24                   THE WITNESS:    Yes, Your Honor.

25    A.   Yes.                                                                              25                   THE COURT:    Mr. Barney, can you call your next



                         UNITED STATES DISTRICT COURT                                                                   UNITED STATES DISTRICT COURT




                                                                           107                                                                                           108


 1    witness?                                                                                1   908 and 916.

 2                 MR. BARNEY:    May we have a moment?                                       2                   THE COURT:    Okay.   Counsel, any objections?

 3                 THE COURT:    Sure.   Okay, Counsel, you can proceed.                      3                   MR. ZOVKO:    No objections, Your Honor.

 4                 MS. MATHEW:    Your Honor, at the time, Tetra Tech                         4                   THE COURT:    Okay.   Exhibits 40, 41, 44, 835, 843,

 5    calls William Todd Schoettelkotte.                                                      5   844, 845, 848, 849, 850, 851, 852, 853, 902, 904, 905, 906,

 6                 THE COURT:    Okay.                                                        6   907, 908 and 916 are in evidence.

 7                 THE CLERK:    Raise your right hand.                                       7                   Please proceed.

 8                                (Witness sworn.)                                            8                                 DIRECT EXAMINATION

 9                 THE CLERK:    Please be seated.                                            9   BY MS. MATHEW:

10                 MS. MATHEW:    Your Honor, at this time, we have a                        10   Q.      And sir, could you introduce yourself again for the

11    list --                                                                                11   record?

12                 THE COURT REPORTER:      Wait.                                            12   A.      Sure.    My name is William Todd Schoettelkotte.        I go by

13                 THE CLERK:    Will you please state and spell your                        13   Todd.

14    full name for the record.                                                              14   Q.      And where do you work?

15                 THE WITNESS:    Certainly.   William Todd                                 15   A.      I work at a firm called J.S. Held.

16    Schoettelkotte, W-i-l-l-i-a-m, Todd, T-o-d-d, Schoettelkotte,                          16   Q.      And what is J.S. Held?

17    S-c-h-o-e-t-t-e-l-k-o-t-t-e.                                                           17   A.      J.S. Held is a multidisciplinary consulting firm.         It

18                 THE COURT:    Counsel?                                                    18   does a variety of financial-transactional-type work as well

19                 MS. MATHEW:    Your Honor, at this time, we have a                        19   as research, investigatory work, action -- accident, excuse

20    list of exhibits that the parties have met and conferred                               20   me, reconstruction.          I focus on intellectual property at the

21    about to which there are no objections.          At this time, I'd                     21   firm.

22    like to move them into evidence.                                                       22   Q.      And in that, what do you do, Mr. Schoettelkotte?

23                 THE COURT:    Please list them for me.                                    23   A.      So as part of my role, I value intellectual property for

24                 MS. MATHEW:    Exhibits 40, 41, 44, 835, 843, 844,                        24   a variety of reasons.          It could be commercial sale, a

25    845, 848, 849, 850, 851, 852, 853, 902, 904, 905, 906, 907,                            25   transaction.       I'm also involved in assisting clients to



                         UNITED STATES DISTRICT COURT                                                                   UNITED STATES DISTRICT COURT




                                                                                 Exhibit 3
                                                                                   125
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 29 of 74 Page ID
                                      #:15268
                                                                       109                                                                                        110


 1    monetize intellectual properties in other ways.        For example,                 1   business disputes?

 2    perhaps they're looking to sell a portfolio of patents or                           2   A.      Sure.    It's been, um, at this point, maybe 25 years.

 3    trying what patents in their portfolio might be of value.                           3   Um, it's funny, I measure myself a lot by my children.         My

 4                 In addition I'm also involved in disputes such as                      4   kids are now graduating from school.       So I started before

 5    this one here where there's an alleged patent infringement.                         5   they were born and now they're out of the house, and I'm an

 6    Q.   What were you asked to do in this case?                                        6   empty nester and so we're still going.       So that's about where

 7    A.   In this case I was asked to review the evidence, um,                           7   we are at.

 8    that was provided to me and assess what the measure and                             8   Q.      Can you tell us about your educational background that

 9    amount of damage would be, um, for the infringement of the                          9   enables you to do that type of work?

10    '293 and '557 patents by Pavemetrics in this case.                                 10   A.      Sure.    So I graduated with a degree in Business

11    Q.   And have you completed your damages analysis?                                 11   Management from Rice University.       It's a school in Houston,

12    A.   I have, yes.    That's correct.                                               12   Texas.    I stayed there and got my Master's of Accounting.         My

13    Q.   Did you reach a conclusion as to the appropriate measure                      13   education was pretty formally related to, um, finance,

14    and amount of damages in this case?                                                14   accounting, economics, statistics, things of that nature and

15    A.   Yes.                                                                          15   the other required curriculum as well.

16    Q.   Mr.    Schoettelkotte, are you offering any opinions in                       16   Q.      Do you have any professional certifications or

17    this case regarding infringement or validity as it relates to                      17   memberships related to your work?

18    the patents?                                                                       18   A.      I do.    I'm a Certified Public Account.     I'm licensed in

19    A.   No, I'm not.    My role is not one of the technical                           19   the State of Texas.       I'm a Certified Valuation Analyst with

20    expert.    I'm focusing on the economic harm in this case.                         20   an organization called the NACVA.       It's essentially an

21    Dr. Morellas who was here just a moment ago, he would be a                         21   accreditation for people who have a, um, kind of a career

22    technical expert.    That's not, again, my role here.                              22   focused on valuing various things.       My focus would be

23    Q.   Thank you.     Before we get into the details, can you tell                   23   intellectual property.

24    us little bit about how long you have been working on                              24   Q.      And have you testified at trial before on matters

25    valuation of intellectual property and analyzing damages in                        25   relating to damages for intellectual property and business



                         UNITED STATES DISTRICT COURT                                                               UNITED STATES DISTRICT COURT




                                                                       111                                                                                        112


 1    disputes?                                                                           1   marketing information.       Just things that would be help to

 2    A.   I have in U.S. District Courts like this one here as                           2   value something.       Those are the types of things I would be

 3    well as state courts.                                                               3   focused on.

 4                 MS. MATHEW:    Your Honor, at this time we'd proffer                   4                   We've heard references to deposition testimony.

 5    Mr. Schoettelkotte as an expert in damages evaluation                               5   I've certainly reviewed deposition testimony of the witnesses

 6    relating to patents.                                                                6   in this case.       The ones that, um, may be we've heard from at

 7                 THE COURT:    Any objection, Counsel?                                  7   this point would be Mr. Larson so I had an opportunity to

 8                 MR. ZOVKO:    No objection, Your Honor.                                8   review his deposition as well as Mr. Keyes.

 9                 THE COURT:    So Mr. Schoettelkotte is so designated.                  9                   Um, publicly available information, available to

10    He may provide expert testimony on damages in intellectual                         10   all of us, that I sometimes look at that information.         Might

11    property matters.                                                                  11   be information from the SEC on financial filings.         And then

12                 MS. MATHEW:    Thank you.                                             12   finally, I like to have discussions various witnesses in the

13    Q.   Can you explain what sort of information you used to                          13   case.    In this case I had discussions with Dr. Morellas as

14    conduct your analysis?                                                             14   well as Mr. Larson and Mr. Keyes.

15    A.   Sure.     So when I get involved in a case like this,                         15   Q.      And have you been present in this courtroom during this

16    there's a variety of information that comes through a process                      16   trial to hear the testimony of the various witnesses and

17    called discovery.    So counsel on both sides look to discover                     17   experts who have testified?

18    various pieces of information from the opposing party, and I                       18   A.      I have.    I arrived in, um, in Los Angeles on Monday.

19    get to look at that information.         Again, it's what drives and               19   Trial started on Tuesday, and I have been here for the large

20    really what allows me to come to the conclusions that I do.                        20   majority.       I had to step out a few times for other

21                 It includes things like the patents at issue here,                    21   obligations I had, but in large part, I've been here hearing

22    it includes various documents from the parties such as Tetra                       22   the testimony come in.

23    Tech and Pavemetrics so that would things like financial                           23   Q.      Thank you.

24    information, profit and loss statements, invoices.        It would                 24                   Now, sir, how many Pavemetrics' sales are accused

25    also include things like email transmissions, documents,                           25   of infringement in this case?



                         UNITED STATES DISTRICT COURT                                                               UNITED STATES DISTRICT COURT




                                                                             Exhibit 3
                                                                               126
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 30 of 74 Page ID
                                      #:15269
                                                                         113                                                                                        114


 1    A.      I understand that there are four Pavemetrics' sales that                      1   report.    He did not address delivery in his expert report.

 2    are accused.                                                                          2                THE COURT:    I think, correct me if I'm wrong, the

 3    Q.      And could you tell us a little bit more about those                           3   witness is providing the reason why he looked at certain

 4    four?                                                                                 4   things not testifying as to those specific facts; correct?

 5    A.      Sure.    You'll see that I've prepared a slide here and at                    5                THE WITNESS:    Yes, that's correct.    I think these

 6    the top it says CSX.         So there were three sales that were                      6   are legal issues.      I'm simply using the facts that I have.

 7    made to CSX by Pavemetrics.        And those sales occurred on                        7                THE COURT:    So the answer could stand.

 8    March 15, 2021.       I reviewed a Goods Agreement as part of my                      8                Please proceed.

 9    review of that material.        And then in addition to that, um,                     9                MS. MATHEW:    Can we pull up Exhibit 844?     It's been

10    there was an additional sale to a company called AID or                              10   admitted already.

11    Advanced Infrastructure Design.                                                      11   Q.      Mr. Schoettelkotte, is this the Goods Agreement you

12                    There was one sale to AID, um, and there's really                    12   referred to earlier?

13    two parts to this.       I understand that there was a sale that                     13   A.      I did.    If we could just focus maybe on the top

14    was made in December 23rd, 2020, but the particular item was                         14   paragraph.       You'll see it says the goods agreement is made as

15    delivered, the accused product, was delivered on                                     15   of the 15th day of March 2021.       That is the date I showed in

16    February 2021 so those are the dates.                                                16   slide.    And then you'll note there's CSX Transportation and

17                    The importance of those dates is for CSX, I                          17   then Pavemetrics.      So these are the types of documents I

18    understand that that's an assessment of something called                             18   talked about earlier that I reviewed and this is that

19    direct infringement which is why I'm looking at the date of                          19   agreement.

20    the sale.       And I understand for AID, it's a situation where                     20                If we go down to the next paragraph just very

21    it's an indirect infringement.         And under that indirect                       21   briefly.     It says whereas purchaser wishes to purchase three

22    infringement, I understand that the infringement occurs upon                         22   LRAIL inspection systems and additional support from seller.

23    delivery which is why I'm looking at the February 2021 date.                         23   That's how I identified the three sales that were at issue.

24                    MR. ZOVKO:   Objection, Your Honor.   Move to strike.                24   I also had the opportunity to look at invoices as well.

25    The witness's answer is beyond the scope of his expert                               25   Q.      Thank you.



                            UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                         115                                                                                        116


 1                    Mr. Schoettelkotte, why did you include a                             1   they're providing them to the same customer.

 2    pre-notice sale in your analysis of the accused sales?                                2                And the question we ask ourselves, and this is

 3    A.      Well, I understand that there's a legal argument in the                       3   maybe one of the more important questions we deal with, we're

 4    case which suggests that for this particular sale to AID, it                          4   asked to recreate the market by removing the infringer out of

 5    is an indirect infringement based on something called                                 5   the market, in this case Pavemetrics.       We've removed

 6    inducement and that inducement occurs upon delivery of that                           6   Pavemetrics from the market because you can't legally

 7    unit to AID.                                                                          7   infringe.    And then you ask yourself the question if

 8    Q.      For those sales how have you determined to be the                             8   Pavemetrics is out of the market, who would make the sale?

 9    correct measure and amount of damages in this case?                                   9                And here we have Tetra Tech offering its 2D, 3D

10    A.      I really did it in two ways.      There's an analysis and we                 10   technology and Pavemetrics was out of the market, one player

11    might go to my next slide.        So in essence what I've done is                    11   would be left and that would be Tetra Tech.         That's called

12    so I've focused on it in two ways, lost profit and reasonable                        12   the two player market test.      Again, as I mentioned earlier

13    royalty.    For lost profits which is the first element of                           13   and I think we'll talk about it, there's another test called

14    damages that I'm looking at, I'm factoring in something                              14   the Four-Factor Panduit Test.

15    called the two player market test as well as the Panduit                             15   Q.      Did you find that there was a two player market in this

16    Four-Factor Test.                                                                    16   case?

17    Q.      And let's start with your lost profits opinion.                              17   A.      I did.    As I mentioned a moment ago, what I was

18                    Is there a framework you use to calculate damages                    18   evaluating was are both Pavemetrics and Tetra Tech selling

19    in a case like this?                                                                 19   into the same market, the railroad market?       Yes, they are.

20    A.      I do.    So there's really two.    One of them is called as                  20                Are they both selling a similar product with

21    I mentioned earlier, two player market test.          And essentially                21   similar features?      Yes, they are.   This is the 2D, 3D

22    what we're doing is we're evaluating the market and we're                            22   technology that evaluates railroad tracks.

23    determining how many players have this specific technology in                        23                And lastly, were they both bidding on the work for

24    the market and they're providing those services to the                               24   CSX?    The answer to that is yes as well.     So if you remove

25    market.    And those services are of the same product and                            25   Pavemetrics, then the player that would be left is Tetra Tech



                            UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                               Exhibit 3
                                                                                 127
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 31 of 74 Page ID
                                      #:15270
                                                                       117                                                                                    118


 1    and that's why the two player market test for lost profits is                       1   appropriate.    This four-factor test includes these four

 2    met.                                                                                2   factors on the screen.

 3    Q.     So based on your finding that there was a two player                         3   Q.   And let's talk about the first factor for a moment.        How

 4    market, what did you concluded?                                                     4   did you address that factor in your analysis?

 5    A.     I concluded that when we look at damages in this case                        5   A.   So demand for the patented product is simply that.        It's

 6    for CSX, there would be total damages for the CSX sales made                        6   asking the question is the marketplace interested in the

 7    by Pavemetrics, Tetra Tech would be entitled to its lost                            7   product.    Is there demand for it?   And one of the ways to

 8    profits of 3,357,000.                                                               8   test that is to assess whether there has been sales in the

 9                   And for the additional sale that was made to                         9   marketplace.    If there has been sales, well, sales equal

10    Advanced Infrastructure Design, I determined that there would                      10   demand.    There was demand.

11    be something called a reasonable royalty.      So I haven't                        11               And here what I'm showing is that Tetra Tech has

12    calculated lost profits, but rather a reasonable royalty,                          12   sold five of its 3DTAS systems from August 25, 2015 to the

13    we'll talk about what that is later, for total past damages                        13   present and Pavemetrics has sold six of its LRAIL systems

14    of 3,607,000.      Again, three lost profit units for CSX.    One                  14   from October 23rd, 2020 to October 21, 2021.

15    reasonable royalty unit for AID or Advanced Infrastructure                         15               One of the things I thought was interesting about

16    Design.                                                                            16   this is that you can see by the dates, Tetra Tech entered the

17    Q.     So for lost profits you determined that a two player                        17   market before Pavemetrics did so they created the market.

18    market applied.                                                                    18   They set the market, they set the price.     And the follower in

19                   Now, let's talk about the Panduit Four-Factor Test.                 19   the market was Pavemetrics coming in with their LRAIL

20    Can you explain what that is?                                                      20   product.

21    A.     Sure.    So there's a case, it's a 1978 case.     It was out                21               And that's another situational distinction I think

22    of the 6th Circuit Court of Appeals.      It was a judge called                    22   for determining whether lost profits would be appropriate

23    Judge Markey.      I know this because the Panduit Test is                         23   because, again, if removed Pavemetrics from the market, that

24    something that is somewhat preeminent in my field.        Most                     24   would leave Tetra Tech as the only player offering this

25    damages experts will look at it to see if lost profits are                         25   technology.



                           UNITED STATES DISTRICT COURT                                                          UNITED STATES DISTRICT COURT




                                                                       119                                                                                    120


 1    Q.     Did you look at anything else to determine whether there                     1   Panduit factor?

 2    was demand for this patented technology?                                            2   A.   I concluded that the first Panduit factor is met.

 3    A.     I did.    So I said earlier that one of the main things                      3   Q.   And you said the second Panduit factor was the absence

 4    you look at is whether there had been sales and that                                4   of acceptable non-infringing alternatives; correct?

 5    generally it's accepted that if there are sales, then there                         5   A.   That's right.

 6    is demand.      But I also like to understand is there a focus on                   6   Q.   What is this factor asking?

 7    do people really clamor for that technology.                                        7   A.   It's asking if you were to take Pavemetrics out of the

 8                   If we go to the next slide, this is actually an                      8   market is there someone else offering 2D, 3D technology in a

 9    email that I read.      We've heard about a gentleman named                         9   fashion that number one, would be acceptable to the market,

10    Mr. Fox-Ivey.      You'll see up at the top right he is with                       10   but importantly would not infringe.     So it's referred to as

11    Pavemetrics.      And Mr. Fox-Ivey sent an email to Mr. Matthew                    11   an acceptable non-infringing substitute.     If you remove

12    and he was asking Mr. Matthew can you tell me something about                      12   Pavemetrics, can someone else come and make Pavemetrics'

13    the LRAIL technology.      What do you think about it?    What have                13   sales or would it be left to Tetra Tech to make those sales?

14    you seen?      And Mr. Matthew says, of unique value is the                        14               And what I've determined based on my discussions

15    ability to analyze both images and 3D scans from the same                          15   with Mr. Larson and Dr. Morellas is that there are no

16    section of rail in order to reduce false negatives and                             16   non-infringing alternatives available on the marketplace.

17    positives and thus improve detection accuracy.                                     17   You may recall Mr. Larson speaking to us yesterday and he

18                   So this an example of demand in the marketplace not                 18   mentioned that during his time at CSX, he was evaluating

19    only for the patented feature, but for the patented                                19   Pavemetrics, Tetra Tech and a company called Balfour Beatty.

20    technology.      And it's very consistent with what we heard                       20               And ultimately they concluded that Balfour Beatty

21    Mr. Larson say yesterday during his testimony.      I think he                     21   did not have the technology necessary to meet their needs so

22    talked about false negatives, false positives and the                              22   they set that company aside.    And it came down to Tetra Tech

23    importance of eliminating those.                                                   23   and Pavemetrics.    And so again if you remove Pavemetrics,

24    Q.     That's a reference to Trial Exhibit 835.                                    24   would there be an alternative that can come in?    I understand

25                   And so what did you conclude about the first                        25   there wouldn't because no one else was offering 2D, 3D



                           UNITED STATES DISTRICT COURT                                                          UNITED STATES DISTRICT COURT




                                                                             Exhibit 3
                                                                               128
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 32 of 74 Page ID
                                      #:15271
                                                                        121                                                                                      122


 1    capabilities like those two companies were.                                          1                So what that tells us is that they certainly had

 2    Q.   So what was your conclusion with respect to the second                          2   the ability to make the three units of sales that were made

 3    Panduit Factor?                                                                      3   to CSX if they could in fact do ten units during that same

 4    A.   It's met.     There are no non-infringing acceptable e                          4   time frame.      So that shows us the manufacturing capacity is

 5    alternatives in the market.                                                          5   there.

 6    Q.   Let's move to Factor No. 3 now.     What does this factor                       6                From a marketing capacity, well, we already know

 7    relate to?                                                                           7   that Tetra Tech was at the table negotiating with CSX.       So

 8    A.   It relates to capacity.                                                         8   they clearly knew about it, they were negotiating for it so

 9                 So after we determined that there is demand,                            9   they clearly had the marketing capacity.      So I determined the

10    there's no alternatives, we have to ask ourselves could Tetra                       10   capacity factor is also met.

11    Tech have made the sales that Pavemetrics made from a                               11   Q.      And the final Panduit Factor, Factor No. 4, that's

12    manufacturing capacity and marketing capacity.      And this                        12   really the amount of profit; correct?

13    factor was met as well.    I have a slide on this.                                  13   A.      It is, and this is where we get into some of the

14                 You may recall that Mr. Keyes in his testimony                         14   financial information and I won't belabor it too much, but

15    yesterday, and there's a bit here, but if I just point you to                       15   I'd to show you a slide if I may.

16    the highlighted sections.    He was talking about how many                          16                So what I've shown here is on the left-hand are the

17    units they could made and he said in this first highlighted                         17   products, 3DTAS and an affiliated product called a control

18    section, we also looked into how many 3DTAS systems we could                        18   system.    They work together to provide the 2D, 3D technology,

19    build.                                                                              19   but also be able to help control the system, kind of monitor

20                 And he goes on to say because again CSX originally                     20   the information that's being there, and they can set certain

21    asked for adding their systems adding their components on to                        21   parameters to determine, you know, asking questions how many

22    their ATAC cars and what that meant they were gonna take a                          22   rail ties might be -- are there a problem with in a set of 14

23    3DTAS and put it on of the one rail cars.    He continues down                      23   or 15, things of that nature.

24    below, he says we thought probably do about ten or so of the                        24                What I've shown here across the top are the revenue

25    3DTAS systems.                                                                      25   costs and incremental profit per unit.     The first thing I



                         UNITED STATES DISTRICT COURT                                                              UNITED STATES DISTRICT COURT




                                                                        123                                                                                      124


 1    would say is I had an opportunity, as I said earlier, to                             1   Tech couldn't make the sale because Pavemetrics came in at

 2    review the financial information of Tetra Tech.       And in doing                   2   lower price.

 3    so what I was looking to understand is if they were gonna                            3   Q.      Does that complete your analysis for the Panduit

 4    make the sales that Pavemetrics made, how much profit would                          4   Factors?

 5    they generate when they made those sales?                                            5   A.      It does.

 6                 So the first thing I did is identify what revenue                       6                So essentially what I'm showing on this slide very

 7    was associated with the 3DTAS and it was $993,000.      And what                     7   quickly is that all four factors have been met.     So now I've

 8    were the costs associated to bring that to market?      And those                    8   shown there's two ways that lost profits have been shown, the

 9    total costs were $231,000 for an incremental profit of                               9   two player market test and the Four-Factor Panduit Test.

10    762,000.     Now, an incremental profit is really a profit where                    10   Q.      So Mr. Schoettelkotte, what are the lost profits in this

11    you're only taking into account variable costs.       You're not                    11   case?

12    looking at the fixed costs because with a company like Tetra                        12   A.      If we can go to the next slide?

13    Tech, it wouldn't really be an impactful event if they made                         13                We said just a moment ago the incremental profit

14    just a few more units like three or four.    So the fixed costs                     14   per unit sold was $1,119,000 per unit multiplied by the three

15    wouldn't really change, but the incremental would because you                       15   CSX units would show past lost profits of $3,357,000.      I say

16    have material and direct labor and direct overhead and things                       16   past because to the extent that Pavemetrics continues selling

17    of that nature.    So for the 3DTAS, it would be $762,000 in                        17   into the future, it's likely additional lost sales would be

18    incremental profit and then for the control systems similarly                       18   found.

19    looking at Tetra Tech's financial information, I identified                         19   Q.      Mr. Schoettelkotte, we've heard during this trial that

20    474,000 in revenue, $117,000 in cost, and $357,000 in                               20   Tetra Tech's 3DTAS system is priced higher than Pavemetrics

21    incremental profits.    When I add the two incremental profit                       21   LRAIL system.      Is that something you considered as part of

22    numbers up that number is $1,119,000 per unit in incremental                        22   your lost profits analysis?

23    profit.    That means every time Pavemetrics made a sale to CSX                     23   A.      I did.   So one of the things we oftentimes look at is

24    that's the amount that Tetra Tech would stand to lose because                       24   the standpoint of accounting and finance and economics is

25    of the infringing sale made by Pavemetrics.       Meaning Tetra                     25   really trying to understand the nature of the market and what



                         UNITED STATES DISTRICT COURT                                                              UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                129
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 33 of 74 Page ID
                                      #:15272
                                                                        125                                                                                      126


 1    companies consider including return on investment and all                            1   $3 million in benefits.    So when he was talking about just

 2    factors like that and I had the opportunity to do that in                            2   the RailAI, he was pointing out to CSX if you buy this, it

 3    this case.                                                                           3   will pay for itself within a year.

 4    Q.      Can you pull up Trial Exhibit 841 at this time?                              4                If you go to the next section called Tie Inspection

 5                 Is this one of the documents that you reviewed and                      5   Savings, when we're looking at the 3DTAS and the controller

 6    considered, Mr. Schoettelkotte?                                                      6   which is providing the 2D, 3D feature set that's in the LRAIL

 7    A.      It is.    This was a document Mr. Larson talked about                        7   system, what we see here is that the boxcar in this lease

 8    yesterday.       It was towards the end of his testimony and what                    8   example would collect 40,000 miles over the 100-day period of

 9    he was describing about it was one of the things that he                             9   the lease and it would provide a very significant volume of

10    thought would be important was to try and share what the cost                       10   savings.

11    benefit analysis would be to CSX.      Essentially to say if you                    11                And he goes on to say, um, that over a period of a

12    were to lease these 3DTAS or RailAI units, the benefit you                          12   year, he says which will replace the need for a large tie

13    would get in cost savings would out strip the cost of the                           13   inspection program with CSX's current supplier of

14    unit.                                                                               14   approximately $2 million per year for future miles of tie

15                 And Mr. Larson talked about a number of things, but                    15   inspection.    The current supplier was a company called

16    we'll focus just on this page if we may.       And if we just take                  16   Georgetown.    They offered something called the Aurora system.

17    a look at the first or excuse me, yeah, the first paragraph                         17   The Aurora system evaluated rail ties, but it could only do

18    and I'm going to point to just the first three lines.        It                     18   6,000 miles a year.

19    says the lease of Tetra Tech's RailAI track assessment boxcar                       19                And so what they found is that using 3DTAS, they

20    offers CSX immediate and quantifiable cost savings.         And                     20   could do 60,000 to 90,000 miles a year.    So significantly

21    that's a really important consideration in this field because                       21   more mileage, but you will recall back, the price of the

22    there is so much track to evaluate.                                                 22   3DTAS with the controller was $1.4 million.       But they're

23                 Regardless of whether CSX exercises its option to                      23   saying here that they would have a 2.3 -- 2 to $2.3 million

24    purchase the RailAI boxcar, the 1.2 million lease amount for                        24   cost savings.    So in the first year, it would pay for itself

25    40,000 miles over 100 days provides CSX with approximately                          25   and there would be a profit associated with it.       And every



                           UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                        127                                                                                      128


 1    year thereafter, you would get that cost savings, but you                            1   forward.

 2    would own the product.                                                               2   Q.   Thank you.

 3                 So this was a very important document to me when we                     3                Now, let's turn to your reasonable royalty opinion.

 4    assess whether the pricing of Tetra Tech's 3DTAS and                                 4   Can you explain what is a reasonable royalty?

 5    controller, how that compared to other pricing in the market.                        5   A.   Sure.    So one of the things that, um, that I want to

 6    Because when you compare it to what the return on investment                         6   share with you is let's assume for a minute that you're in a

 7    would be, as a financial person, I find that very important                          7   case and you're dealing with patent damages and you find that

 8    and here the return on investment would positive first year                          8   lost profits might not be appropriate for a particular sale,

 9    and additional profits going forward every year after that.                          9   we're then guided by some language that says damages would be

10    Q.      What about CSX?    Did you do any analysis of its                           10   no less than a reasonable royalty for the use made of the

11    financial performance in forming your opinion?                                      11   infringement.

12    A.      I did.    Now, CSX didn't produce any financial                             12                So adequate to compensate that's the lost profits

13    information in this case because they're not part of this                           13   we just calculated, but no less than a reasonable royalty.

14    case, but they're a public company.       And as a financial                        14   So it was my opinion that the sale to AID and the delivery to

15    person, I know that if I go to the SEC website, I can find                          15   AID did not necessarily, um, suggest a lost profits measure

16    their financial performance.      And in 2019 and 2020, CSX had                     16   of damage, but then I'm guided to calculate a reasonable

17    over $10 billion in revenue and net profit, the bottom line,                        17   royalty because that's what the statute guides me to do.        No

18    net profit was between 2 and $3 billion per year.                                   18   less than a reasonable royalty.

19                 And so what I determined is that number one, they                      19                And there is a case, it's called the Georgia

20    had the financial wherewithal to make an investment, but a                          20   Pacific case similar to the Panduit case, was a 1970 case out

21    company that is that successful would recognize the return on                       21   of New York, and what the court said in that case was I'm

22    investment that Tetra Tech was offering them paying                                 22   going to set forth 15 factors that individuals should

23    $1.4 million for a system, but generating almost                                    23   consider when determining what a licensing rate should be.

24    $2.25 million in cost savings in that initial year.         Paying                  24                And so I've done this slide because I wanted to

25    for itself and increasing the bottom line profit going                              25   share with you what a licensing agreement is and many of



                           UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                130
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 34 of 74 Page ID
                                      #:15273
                                                                      129                                                                                      130


 1    might know this, but if you don't, this might be helpful.       I                  1   nature meaning they didn't push the royalty rate up or down.

 2    compare it or I analogize it to a real property example.        If                 2   They more, as I assessed them, I said well, the royalty rate

 3    you've ever had an apartment or you've rented a home, you say                      3   really wouldn't be impacted by that factor so I'm going to

 4    well, I have a house and I'm gonna make an agreement with the                      4   leave that one out.

 5    landlord.                                                                          5   Q.     Earlier you mentioned a hypothetical negotiation.     Can

 6                And that agreement is I'm gonna sign a lease and                       6   you explain what that is?

 7    that lease is going to allow me to use the home.     And in                        7   A.     These are the factors we're going to cover and so I

 8    return I'm gonna pay a monthly rent, and likely most of us                         8   won't go through them right now.    I'm just going to say for

 9    have done that so we understand the concept.                                       9   ease of discussion, I separated them into licensing, business

10                With intellectual property it's very similar.     Here                10   and technical factors.    The licensing factors are are there

11    you're talking about a patent.    And you've got a licensor                       11   any licenses that either party has entered into that would

12    who's the patent owner and a licensee who wants to license                        12   give us some kind of an understanding of what the parties

13    that patent.   Instead of a lease agreement, they sign a                          13   might have agreed to.

14    license agreement.    And the same rules apply in that you are                    14                Again, if we go back to the purchase of a house,

15    essentially saying I want to use your patent, but you're                          15   your realtor might say hey, look, I know you want to a

16    gonna pay a royalty for the right to use that.                                    16   purchase house that's a three bedroom home.       Well, there's

17                So just like we pay a monthly rent, here we're                        17   other three bedroom homes around your block that have sold

18    gonna pay a per unit license fee in order to use that                             18   for this amount.     And so when they tell you that, you kind of

19    technology.    So that's what we're talking about.                                19   get a feeling for oh, I know about what I'll pay.

20    Q.   Thank you.    Did you consider all 15 Georgia Pacific                        20                It can be similar in an intellectual property case.

21    factors in forming your opinions?                                                 21   If there's a patent, you find a similar patent and you say

22    A.   I did, um, but we're not gonna have to go through all of                     22   well, what does somebody else license that similar patent

23    them because some of them didn't apply.                                           23   for.   You can take that and say well, that provides us some

24    Q.   And what do you mean by they didn't apply?                                   24   understanding of what you might pay in this situation.

25    A.   They were, after I reviewed them, they were neutral in                       25                Then there are business factors and those relate to



                        UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                      131                                                                                      132


 1    things such as whether the parties are competitors and                             1   than November 2020 that's when the first -- that's at or

 2    financial data.   This particular set of factors was very                          2   around the time when the first sale was made by Pavemetrics.

 3    important to my analysis.   And then there's the technical                         3   And so I've used that as the time when I believe the parties

 4    factors and things that I learned from Dr. Morellas and                            4   would have gotten together and negotiated a license

 5    Mr. Larson.    And then finally, there's something called a                        5   agreement.

 6    hypothetical negotiation which is what Ms. Mathew referenced                       6   Q.     So what royalty amount did you ultimately determine

 7    just a moment ago.                                                                 7   would be appropriate here?

 8    Q.   Thank you.                                                                    8   A.     In my opinion an appropriate and reasonable royalty

 9                Now, before we discuss the factors in more detail,                     9   would be $250,000 per unit.

10    can you provide us information about what royalty amount you                      10   Q.     Now, let's turn to the factors, the Georgia Pacific

11    calculated Pavemetrics would have been willing to pay Tetra                       11   factors.     You mentioned earlier that you grouped them into

12    Tech, um, for use of its technology in this hypothetical                          12   three categories.    And so first, let's address the technical

13    negotiation?                                                                      13   factors you considered.    What did you consider under these

14    A.   I'd be happy to do that.    I think I have one more slide                    14   factors?

15    I wanted to touch on if we can go to the next slide.     That                     15   A.     So in this particular set of factors, I'm looking at the

16    15th factor is something called a hypothetical negotiation.                       16   importance of the technology, the features, the attributes.

17    And so that hypothetical negotiation obviously didn't happen                      17   What is the marketplace clamoring for?    What are the

18    because if the parties had come to an agreement, we wouldn't                      18   companies marketing?    And then secondarily, I'm asking are

19    be here right now.                                                                19   there acceptable noninfringing alternatives?       And I'm also

20                So what I'm asked to do as a financial person is to                   20   talking about what I learned from other experts in the case.

21    assess let's look at all the facts in the case and let's                          21   Q.     Did you see any Pavemetrics documents that talked about

22    understand what the parties would have agreed to if they had                      22   the benefits associated with the LRAIL product?

23    gotten together and negotiated an agreement at the time of                        23   A.     I did.   So here we're talking again about what are the

24    first infringement.                                                               24   features and attributes that the market is talking about.

25                And you'll see below the handshake it says no later                   25   This is actually a presentation that Pavemetrics, um, was



                        UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                            Exhibit 3
                                                                              131
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 35 of 74 Page ID
                                      #:15274
                                                                       133                                                                                       134


 1    part of providing at a seminar.     And what I noticed about                        1   understand that it does it more quickly, does it more

 2    this is on the page over to the left, they identified                               2   objectively, it's not a subjective and it also does it more

 3    objectives:    Improve railway network safety through improved                      3   accurately.   So that was one of the documents that I looked

 4    reliability and robustness of track inspections.     So they're                     4   at.

 5    looking how do we come up with a solution to make what's                            5   Q.    Were there other documents that set forth the benefits

 6    currently in the market better.                                                     6   of the patented technology?

 7                 And if we go to the other document I had on the                        7   A.    There was, yes.     So these are some comments that were

 8    slide.   So they say in the title they refer to it as LRAIL                         8   made throughout the marketplace because I'm always looking to

 9    Technology and they say two types of scans combine for                              9   understand what are other people saying not just the parties

10    analysis.    They say that it's unique to Railmetrics which is,                    10   involved.

11    um, kind of tag line for Pavemetrics so they're one in the                         11               Tetra Tech said, "3DTAS is a fully integrated and

12    same as I understand it.     And so then they say there's the 2D                   12   turnkey track assessment system that collects full-width,

13    intensity scan which measures the intensity of the laser                           13   high-resolution, 3D track surface profile data at track

14    light reflected by surface similar to a line scan.                                 14   speed."

15                 I'm not a technical expert, but as a layman, I                        15               The Federal Railroad Administration said,

16    understand that to be when they're taking almost very close,                       16   "combination of high-resolution imaging and 3D scanning is

17    well-lit, laser-like pictures of what the track surface looks                      17   designed to deliver greater return on investment."

18    like, but then they're now going to combine it with the 3D                         18               "3-dimensional laser inspection systems that

19    range scan which provides the elevation and depth                                  19   combine high-speed laser triangulation sensors and artifical

20    measurement.                                                                       20   intelligence to automatically inspect the condition of, and

21                 Now, my understanding is that these types of photos                   21   detect safety-related changes in, railway infrastructure."

22    using 2D 3D allows someone to look at the rail, it allows                          22               Pavemetrics went on to say, this is the top right,

23    someone to look at the ties, the tie plates, as well as for                        23   "can easily replace multiple legacy measurement systems.

24    lack of a better word, the nails that are used to nail in the                      24   Saving you cost, weight and power."        This was very similar to

25    tie plates so it gives you that perspective.      And I                            25   the discussion we had about the Aurora system earlier from



                         UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                       135                                                                                       136


 1    Georgetown and the analysis that Mr. Larson did saying it                           1               Just to alert the jury, we have a witness

 2    would replace Georgetown.                                                           2   testifying by video.      We may do that at 1:00 and take a break

 3                 "Capturing both 2D images and 3D profiles all in                       3   here and then come back to Mr. Schoettelkotte after that

 4    the same pass."                                                                     4   witness or we may continue with Mr. Schoettelkotte.         I'll

 5                 And then finally, combining those images, "2D                          5   leave that to the parties.        Just to give you a little bit of

 6    imaging and 3D scanning with artificial intelligence for                            6   warning things might be different when you get back.         Thanks.

 7    automatic processing."                                                              7               THE CLERK:    All rise.

 8                 And then a company called ENSCO which I believe is                     8                            (Jury not present.)

 9    focusing just on the rails on the track said, "to reduce                            9               THE COURT:    Okay.    We'll stand adjourned.   Try to

10    false negatives and positives and thus improve detection                           10   get back here about five minutes to 1:00 just so we all know

11    accuracy."                                                                         11   what we're doing.     Thanks.

12                 I learned from Mr. Larson that false negatives and                    12               MR. RE:   We'll play it at 1:00.     That's the goal.

13    positives in the rail industry are very costly because you                         13               THE COURT:    Okay, great.    Thank you.

14    have to send people out to the rail and you pay those                              14                            (Lunch recess taken.)

15    salaries for them to go out there and find it.     But if it's a                   15               THE COURT:    Okay.    Are we all set?

16    false positive or a false negative that can be cumbersome,                         16               MR. RE:   Yes, if you find the audio acceptable.

17    costly because you're shutting down rail, you're shutting                          17   We've done the best we can, and I think the witness is just

18    down the railway and you're having to pay people.                                  18   gonna have to really speak up and speak slowly.

19                 So all of these are the types of things that                          19               Okay, Richard?

20    suggested to me that there were benefits under this Factor 9                       20               THE WITNESS:    No problem.

21    and 10 which is really looking to the benefits of the                              21               THE COURT:    We'll get the jury in here and we'll

22    technology over old modes.                                                         22   start.

23                 THE COURT:   Counsel, I think it's time for us to                     23                              (Jury present.)

24    break for lunch.    We can break for lunch now and come back at                    24               THE COURT:    Welcome back to the jurors.

25    1 o'clock.                                                                         25               We're taking a break in the witness you were



                         UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                             Exhibit 3
                                                                               132
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 36 of 74 Page ID
                                      #:15275
                                                                         137                                                                                       138


 1    listening to earlier.     We have a witness by video and we're                        1   660, 661 and 875 are now in evidence.

 2    gonna do that now and go back to the other witness later.                             2                  You can proceed, Counsel.

 3               So I'll ask counsel for Pavemetrics, this is a                             3                             DIRECT EXAMINATION

 4    witness Pavemetrics is introducing.                                                   4   BY MR. RE:

 5               MR. RE:   Thank you, Your Honor.                                           5   Q.      Good afternoon, Mr. Habel.

 6               Pavemetrics calls at its first witness Richard                             6                  I understand you are unable to travel because of a

 7    Habel.                                                                                7   medical condition; is that correct?

 8               THE CLERK:    Good afternoon.                                              8   A.      That's true.

 9               Will you please raise your right hand?                                     9   Q.      And who is with you in the room where you are?

10                             (Witness sworn.)                                            10   A.      Uh, there is Ms. Nicole Nazareth from DLA Piper, there

11               THE CLERK:    Will you please state and spell your                        11   is our corporate lawyer and there is IT support.

12    name for the record?                                                                 12   Q.      And the lawyer, Ms. Nazareth I think you said, is she

13               THE WITNESS:     My first name is Richard and my last                     13   the lawyer for Tetra Tech?

14    name is Habel.    It's spelled H-a-b-e-l.   Richard Habel.                           14   A.      That's correct.

15               THE CLERK:    Thank you.                                                  15   Q.      And do you have any materials before you, Mr. Habel?

16               MR. RE:   And in order to facilitate things,                              16   A.      Yes, I have my trial documents.

17    Your Honor, the parties stipulated to the following exhibits                         17   Q.      And do those contain the exhibits that I just read into

18    to be admitted prior to the questioning of Mr. Habel.                                18   the record?

19               THE COURT:    Okay.   Can you please identify them for                    19   A.      Yes.

20    me?                                                                                  20   Q.      Do you have any other notes or any other pieces of paper

21               MR. RE:   Yes.    Exhibits 77, 85, 576, 578, 595, 660,                    21   before you?

22    661 and 875.                                                                         22   A.      There is my deposition that is in the binder.      Nothing

23               THE COURT:    Any objections, Counsel?                                    23   else.

24               MR. BARNEY:    No objection, Your Honor.                                  24   Q.      Mr. Habel, what is your occupation?

25               THE COURT:    Okay.   Exhibits 77, 85, 576, 578, 595,                     25   A.      I'm president of Pavemetrics Systems.



                        UNITED STATES DISTRICT COURT                                                                 UNITED STATES DISTRICT COURT




                                                                         139                                                                                       140


 1    Q.    And how long have you been the president of Pavemetrics                         1   A.      Well, as I said, we met during our master's degree and

 2    System?                                                                               2   we quickly became friends.      We traveled together in 1989 to

 3    A.    Since 2009 when I co-founded the company with my                                3   Central America.       We went to South Africa in 1990 so we both

 4    colleagues Jean-Francois Hebert and John Laurent.                                     4   had a passion for traveling.      In 1991 I moved to Ottawa, but

 5    Q.    Can you briefly give us an overview of your educational                         5   John and I always stayed in close contact.        I was present at

 6    background?                                                                           6   his wedding and I had the chance to see his two children

 7    A.    I have a college degree in Pure Sciences.     I have a                          7   grow.

 8    Bachelor's degree and a Master's degree in Electrical                                 8                  In 2004 my dad was in Quebec City and he had a

 9    Engineering.   My Master's specialty was Telecommunication.                           9   heart attack.      Unfortunately, he died 2007.     During the

10    Q.    And what do you do as the president of Pavemetrics                             10   difficult period of my life, I traveled a lot to Quebec City

11    Systems?                                                                             11   and I often met John.      This is when we started working on a

12    A.    Well, since the beginning, I organize the company.       I                     12   business plan and a finance plan for Pavemetrics.

13    overview various activities like sales and marketing,                                13                  In 2008, I started negotiating a license with the

14    research and development, production, administration,                                14   National Optical Institute for their 3D laser technology.

15    finance.   I make sure that all of our activities are properly                       15   That's the technology John Laurent and Jean-Francois Hebert

16    funded.                                                                              16   had been working on for about 10 years together.        So I met

17    Q.    And in the entire company, how many people including                           17   Jean-Francois for the first time in August 2009 when John

18    yourself work for Pavemetrics System?                                                18   introduced him to me and we got along together very quickly.

19    A.    About 23.                                                                      19   Couple of months later, the three of us co-founded

20    Q.    And how long have you known Mr. John Laurent?                                  20   Pavemetrics Systems.

21    A.    Since the late '80s when we were doing research.       He                      21   Q.      What is your relationship with the National Optical

22    was, uh, researching in the field of computer vision and I                           22   Institute that you mentioned?

23    was in telecom.                                                                      23   A.      Uh, we're a licensee so we acquired a perpetual

24    Q.    And how did it come about that the two of you got                              24   worldwide exclusive license on their 3D laser technologies in

25    together to start Pavemetrics?                                                       25   2009.



                        UNITED STATES DISTRICT COURT                                                                 UNITED STATES DISTRICT COURT




                                                                               Exhibit 3
                                                                                 133
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 37 of 74 Page ID
                                      #:15276
                                                                       141                                                                                   142


 1    Q.   And what did you pay for that perpetual worldwide                              1   behalf of EBA and Tetra Tech.    You can see on the invoice the

 2    exclusive license?                                                                  2   primary contact at Pavemetrics System.     And that the system

 3    A.   $350,000 in three payments.                                                    3   was shipped to Darel Mesher Chief Technology Officer of EBA

 4    Q.   And what was that a license on?                                                4   Engineering Consultants in Edmonton, Alberta.      So the invoice

 5    A.   Uh, it did cover three product lines, the NRIS, NRS and                        5   shows that we rented sensors, acquisition software and data

 6    the LCMS which is the 3D laser technology.                                          6   processing software for road surface defects.

 7    Q.   And you knew John throughout the period, Mr. Laurent                           7   Q.   And I notice the date says 12/06/2012.       Just for

 8    throughout the period that he was working at INO?                                   8   clarifying the record, could you explain the date and the way

 9    A.   Yes, that's correct.                                                           9   it is presented on this page?

10    Q.   And is that license with INO still in effect?                                 10   A.   Yeah, I always trying to get it fixed, but with our

11    A.   Yes.                                                                          11   software, it's not really easy.    So this is the French way of

12    Q.   I want to change subjects.      When did you first encounter                  12   writing the date.    You start with the date, the month, and

13    Tetra Tech or its predecessor subsidiary EBA?                                      13   then the year.    So it's June 12, 2012.

14    A.   Back in 2012 when they became an indirect customer.                           14   Q.   If we can just show a picture of the top of Exhibit 576

15    Q.   What do you mean they became an indirect customer?                            15   so we know exactly what the witness was referring to.

16    A.   Well, an indirect customer is a hand user.      Our direct                    16                In the upper left, uh, it appears in Quebec you

17    customers are integrators.      So we sell our system to                           17   put -- you use more of a European style of dating.      Is that

18    integrators, our direct customer.      They integrate it on video                  18   what you meant?

19    and they resell to an end user like EBA, Tetra Tech.                               19   A.   Yes, that's the French way of writing the date.

20    Q.   And for how long has EBA and Tetra Tech been your                             20   Q.   So it's day, month, and then year; correct?

21    customer?                                                                          21   A.   That's correct.

22    A.   2012.                                                                         22   Q.   And if we can go to the bottom half and see what's being

23    Q.   Just for the record, could you identify Exhibit 576?                          23   purchased and rented.

24    A.   Yes.     This is a June 2012 invoice for the rental of an                     24   A.   Yeah, it's an LCMS system composed of the sensors and

25    LCMS sytem to ICC International Cybermetrics Corporation on                        25   its controller and acquisition software and also data



                           UNITED STATES DISTRICT COURT                                                          UNITED STATES DISTRICT COURT




                                                                       143                                                                                   144


 1    processing software for road surface defects.                                       1   include the access to the data.

 2    Q.   And it says $30,000.      I think it's safe to say this is                     2   Q.   Okay.     Let me ask you some questions.   Why did you offer

 3    not a purchase, but a rental agreement?                                             3   to EBA Tetra Tech your raw data?

 4    A.   Yes, that's correct.                                                           4   A.   Well, because they were a customer, they requested it,

 5    Q.   And what happened next in your relationship with                               5   and I thought if you wanted to build some features that were

 6    Tetra Tech?                                                                         6   not necessarily available in our software.

 7    A.   Well, we worked closely with their integrator and                              7   Q.   And did Tetra Tech and ICC buy any more units from you

 8    Tetra Tech.    And a couple of months later, they decided to                        8   over the years?

 9    purchase the system.                                                                9   A.   Yes.    In 2017 they acquired another system.

10    Q.   And if you could identify Exhibit 578 for the record,                         10   Q.   And throughout this period, did they continue to be your

11    please.                                                                            11   customer?

12    A.   578 you said?                                                                 12   A.   Yes, yes.

13    Q.   We have it on the screen if that helps.                                       13   Q.   And what kind of services was Tetra Tech purchasing from

14    A.   No, I have it in the binder.      I think it's easier.                        14   you from 2012 for the next ten years or so?

15                 Okay.   This is a chain of email that lead to the                     15   A.   Uh, essentially software support plan including the raw

16    purchase of the system by ICC on behalf of EBA Tetra Tech.                         16   data access.

17    If you go to the bottom of that email chain.                                       17   Q.   And did Tetra Tech always pay for continual services

18    Q.   To the invoice?                                                               18   from you?

19    A.   Page 3, page 3.      You can see that Darel Mesher the CEO                    19   A.   Yes, yes.    They were a good customer.

20    of EBA sent an email to its integrator Rob Olenoski.       In this                 20   Q.   And when's the last time you remember Tetra Tech paying

21    email Darel made it clear that he wanted to be able to                             21   you for your services?

22    extract the complete raw elevation data from our system.                           22   A.   Um, it was towards the end of 2020, although they also

23                 So when I saw that, I proposed to make it                             23   had an equipment failure in 2021 that we fixed.

24    available.    You just go to page 2.    So I offered ICC for or                    24   Q.   This equipment failure did that occur before or after

25    EBA to come into a yearly technical support and we will                            25   the litigation?



                           UNITED STATES DISTRICT COURT                                                          UNITED STATES DISTRICT COURT




                                                                             Exhibit 3
                                                                               134
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 38 of 74 Page ID
                                      #:15277
                                                                     145                                                                                      146


 1    A.   Uh, after the litigation.                                                    1   A.      Yes, I did.

 2    Q.   And so you kept dealing with Tetra Tech even after the                       2   Q.      And was there anybody at Pavemetrics who would have

 3    suit was filed; is that correct?                                                  3   preferred that you not participate in helping Tetra Tech?

 4    A.   That's correct.                                                              4   A.      My colleague John Laurent preferred that I didn't

 5    Q.   And why did you continue to service, provide services to                     5   participate.

 6    Tetra Tech even though the litigation had commenced?                              6   Q.      Why did Mr. Laurent object to you serving as an expert

 7    A.   Well, they were a good customer and I was convinced that                     7   and helping Tetra Tech win their case against GREX?

 8    this case would be resolved quickly.                                              8   A.      He didn't want to attract the attention of GREX on to

 9    Q.   And what other interactions have you had with the                            9   Pavemetrics.

10    company Tetra Tech other than what we've discussed?                              10   Q.      Why?    What's your understanding why?

11    A.   In 2016, 2017, Robic, a law firm representing when they                     11   A.      Um, you know, we didn't want to be involved in a

12    were fighting a patent infringement case with GREX contacted                     12   lawsuit.       We wanted to avoid any kind of dispute and we

13    me and I provided prior art and evidence about the use of 3D                     13   thought if -- if the attention -- GREX had sued many other

14    laser system for the inspection of railways.                                     14   companies before and we just didn't want to be involved in

15    Q.   And what is your understanding of how you got involved                      15   any lawsuit.

16    in Tetra Tech's patent litigation against GREX?                                  16   Q.      But you, if I understand the facts, you still helped

17    A.   Robic's lawyer got my name from Darel Mesher who                            17   Tetra Tech even though your partner Mr. Laurent would have

18    recommended me as a potential witness.                                           18   preferred you did not; is that correct?

19    Q.   And Robic is R-o-b-i-c?    It's the name of a law firm in                   19   A.      That's correct, but not as an expert witness.       I helped

20    Canada?                                                                          20   them.    I provided evidence and prior art only.

21    A.   That's correct.                                                             21   Q.      So you didn't then accept serving as an expert witness;

22    Q.   And they were the lawyers for Tetra Tech?                                   22   is that correct?

23    A.   Yes.                                                                        23   A.      Yes, that's correct.

24    Q.   And did you cooperate and provide information and deal                      24   Q.      Instead you just provided information and prior art to

25    with Tetra Tech's lawyer in the 2017 time frame?                                 25   help Tetra Tech; is that correct?



                         UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                     147                                                                                      148


 1    A.   That's correct.                                                              1   Q.      Why didn't it make much sense to you?

 2    Q.   When did you first learn about either of the two patents                     2   A.      Well, after all this dealing with Tetra Tech, um, didn't

 3    that are at issue in this trial?                                                  3   expect it from a customer.

 4    A.   On January 5, 2021, I received a letter from Aaron                           4   Q.      And did you ever ignore this letter?

 5    Parker, uh, partner at Finnegan who wrote to me on behalf of                      5   A.      No, not at all.    I responded within the date Mr. Parker

 6    Tetra Tech.   By the way that letter only mentioned the '293                      6   gave me.

 7    patent.                                                                           7   Q.      If you could identify for the record Exhibit 661.

 8    Q.   Okay.    If we can just call that up.   Can you see on the                   8   A.      Yes.    This is a chain of email that shows my

 9    screen when we put up a document?                                                 9   correspondence with Mr. Parker from Finnegan, Tetra Tech's

10    A.   Yeah.                                                                       10   lawyer.    So the first email at the bottom essentially shows

11    Q.   Exhibit 51.    It's previously admitted the other day.                      11   that on January 5th, yeah, on January 5th, Mr. Parker just

12    A.   It's not on the screen right now.     Okay.   I see it.                     12   sent me the letter that you just showed me.

13    Q.   Is this the January 5, 2021 letter you just referred to?                    13   Q.      Okay.    This is the cover email for Exhibit 51?

14    A.   Yes, it is.                                                                 14   A.      Yes, that's correct.

15    Q.   And what did this letter demand that you do if you                          15   Q.      Okay.    And it's from Aaron Parker to you dated

16    remember?                                                                        16   January 5th at 4:57 p.m.       Do you see that?

17    A.   Their letter requested that we stop making and selling                      17   A.      Yes.

18    LRAIL and it gave us 14 days to respond.                                         18   Q.      And I notice there's some cc's, Nicholas Cerulli, Aaron

19    Q.   And what was your initial reaction upon receiving                           19   Parker, Wanda Whittington.       And the subject is cease and

20    Exhibit 51?                                                                      20   desist letter patent infringement.       Do you see that?

21    A.   Well, I was shocked.    Tetra Tech had been a good                          21   A.      Yes.

22    customer for ten years.    I helped them when they fought                        22   Q.      And do you recall receiving this cover email at the same

23    patent litigation case with GREX.    And now they were asking                    23   time that you received the attachment to the email which is

24    that we stop making and selling the LRAIL.    Didn't make too                    24   Exhibit 51?

25    much sense to me.                                                                25   A.      Yes.



                         UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                           Exhibit 3
                                                                             135
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 39 of 74 Page ID
                                      #:15278
                                                                        149                                                                                    150


 1    Q.      And just looking at this email chain, how many back and                      1                And furthermore, in 2014 we published, well, in

 2    forth emails did you have with Mr. Aaron Parker?                                     2   collaboration with the University of Massachusetts,

 3    A.      Mr. Parker sent me three emails and I responded.    I                        3   Pavemetrics published a paper in a 2014 conference where we

 4    always responded within the days he gave me.                                         4   disclosed the algorithm that we were using for our LRAIL.

 5    Q.      And what did you do after receiving the email and the                        5   That was well before the '293 patent was filed so I was

 6    letter of Exhibit 51?                                                                6   confident we didn't infringe.

 7    A.      I read the patent.   I paid special attention to the                         7   Q.   So it sounds like you know something about reading a

 8    claims and I was convinced that we didn't infringe the                               8   patent because you referred to an independent claim.        How did

 9    patent.                                                                              9   you know about things like independent claims and reading

10    Q.      And why did you know to spend special attention to the                      10   claims and understanding the patent like you did?

11    claims?                                                                             11   A.   In 2014 I worked closely with a law firm and my

12    A.      Sir, can you please repeat the question?                                    12   expertise was in the telecom sector at the time.      And I

13    Q.      Yes.   How did you know to spend special attention on the                   13   teaching lawyers how telecom systems worked and that's when

14    claims?                                                                             14   they taught me about independent and dependent claims.

15    A.      Well, this is what counts; right?    Like that's what the                   15   Q.   And did you write a letter back to Mr. Parker?

16    patent claims.      That's the invention.   So I wanted to know                     16   A.   Of course I did.

17    what was claimed, what invention was claimed.       So I read, uh,                  17   Q.   I'd like to have you identify for the record Trial

18    started with the independent claims and I saw that the patent                       18   Exhibit 660 if we can call that up.

19    required analyzing a 3D map and that 3D map was constructed                         19   A.   Yes.     This is the letter I wrote to Mr. Parker on

20    using an image involving intensity and elevation data                               20   January 19th within the 14 days he gave me.       And if you look

21    together.                                                                           21   at my letter, it says that we will have a U.S. patent

22                   And I knew that our traditional algorithm didn't                     22   attorney study the patent '293 of which we were unaware.

23    analyze and create an image combining intensity and elevation                       23   Q.   So did you write this letter before retaining counsel in

24    data.    Was only about elevation data, our algorithm only                          24   this case?

25    about elevation data.                                                               25   A.   Yes.



                           UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                        151                                                                                    152


 1    Q.      And was it true when you wrote this letter on                                1   January 25th email, what did you do next?

 2    January 19th that you, your company, anyone you know was                             2   A.   I wrote back.    Sorry, sorry.    After that letter, what I

 3    unaware of the '293 patent before January 5th?                                       3   did, okay, we hired you, Mr. Re and Knobbe Marten law firm.

 4    A.      I was unaware of the '293 patent before receiving the                        4   We learned that we didn't have to sit around when Tetra Tech

 5    letter from Mr. Parker and my colleagues John Laurent and                            5   kept sending us letters like that and we decided to file a

 6    Jean-Francois Hebert were not aware of that patent.                                  6   suit for declaration that Pavemetrics doesn't infringe the

 7    Q.      After you sent your January 19th response, did you hear                      7   '293 patent.

 8    from Mr. Parker again?                                                               8   Q.   Okay.     Before we get to the filing of the suit, there's

 9    A.      Yes.   He sent me an email.                                                  9   a few more pieces of correspondence I want to get through.

10    Q.      And if we can go back to Exhibit 661 to look at                             10   Could you identify Trial Exhibit 77 for the record, please?

11    Mr. Parker's email of Monday, January 25, 2021.                                     11   A.   77.     Oh, yeah, you're right.   I'm forgetting about this

12    A.      Yes, this is the email that I received from Mr. Parker.                     12   letter.    Yes, this is a letter I wrote to Mr. Parker on

13    He is requesting that we provide a detailed analysis of                             13   February 1st.    And what it says is that we have conducted a

14    Claim 1 of the '293 patent by February 12, 2021.      Otherwise,                    14   preliminary internal analysis on this '293 patent and that we

15    he will file a complaint against Pavemetrics.       So --                           15   have reached preliminary conclusions that the LRAIL does not

16    Q.      And -- I didn't mean to cut you off.                                        16   infringe the claims of the '293 patent.     I also said that we

17    A.      I was saying essentially, uh, he was threatening us to                      17   were in the process of choosing a U.S. patent attorney and

18    go to court.                                                                        18   that he will respond directly to him in due course.

19    Q.      And did you ever receive from Tetra Tech or its lawyers                     19   Q.   And this was written prior to hiring me and my law firm;

20    any detailed analysis why you infringed Claim 1 at any time?                        20   is that correct?

21    A.      No.                                                                         21   A.   Yes, that's correct.

22    Q.      But it appears they expected you to tell them why                           22   Q.   And after you wrote Exhibit 77, what happened next in

23    Pavemetrics did not infringe; is that correct?                                      23   your correspondence with Mr. Parker?     Do you remember?

24    A.      That's correct.                                                             24   A.   I think there might have been another email that we

25    Q.      And after Mr. Parker sent and you received his                              25   received and that email kind of said that if we didn't stop



                           UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                136
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 40 of 74 Page ID
                                      #:15279
                                                                        153                                                                                       154


 1    making the LRAIL and offering it for sale, uh, that they were                        1   Jean-Francois and they revealed other reasons why he believed

 2    threatening us of going to court.                                                    2   that we didn't infringe Claim 1 of the '293 patent.        And so

 3    Q.      Let's take a look at Exhibit 661, the top portion.                           3   collectively we were all confident that we didn't infringe

 4    A.      Yes.    Yeah, that's the email where Aaron Parker says                       4   the patent.     That's also when we hired you and Knobbe Marten.

 5    that if by February 12th, Pavemetrics doesn't provide a                              5   Q.    And when did you first think that your AI networks were

 6    detailed claims analysis, I will have no choice then filing a                        6   even at issue in this case?

 7    complaint against Pavemetrics.                                                       7   A.    Oh, wow.    Okay.   The patent is 70 pages long.    I read

 8    Q.      In fact he says if by February 12, 2021, Pavemetrics                         8   it.   Nowhere in the patent it mentions artifical

 9    does not provide a detailed analysis on an element-by-element                        9   intelligence.     Nowhere in the patent it mentions neural

10    basis explaining why Pavemetrics LRAIL does not infringe                            10   network.     I was convinced that this was all about

11    Claim 1 of the '293 patent, Tetra Tech will have no choice                          11   conventional algorithms.     Furthermore, our artificial

12    but to proceed with filing the complaint against Pavemetrics                        12   intelligence engine uses publicly available neural networks

13    in the U.S. District Court for patent infringement of the                           13   so I couldn't see it.

14    '293.                                                                               14   Q.    Could you repeat the statement about using a publicly

15                    I want to ask you again did Tetra Tech ever provide                 15   available neural network?

16    to you a detailed analysis on an element-by-element basis why                       16   A.    Yes.    We use public libraries.   You know, there are lots

17    they believed you infringed?                                                        17   of them public neural networks available from Facebook,

18    A.      No, not at that time.                                                       18   Google.    All these companies they make neural networks

19    Q.      And this February 5th email was in response to your                         19   available in the public domain.

20    January 25th email letter of Exhibit 77; correct?                                   20   Q.    So if I understand you, you didn't think your neural

21    A.      That's correct.    I responded by the deadline that they                    21   network was at issue because you used publicly available

22    had given me.                                                                       22   tools and software.

23    Q.      And so now what happened after February 5th when you                        23   A.    That's correct.     And the patent didn't mention

24    received Mr. Parker's final email?                                                  24   artificial intelligence nor neural networks.

25    A.      Well, I also met with my colleague John and                                 25   Q.    And have you ever written to people outside of



                            UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                        155                                                                                       156


 1    Pavemetrics expressing your confidence in this litigation?                           1   A.    Yeah.

 2    A.      Yes.    It came up when a patent -- sorry.   It came up                      2   Q.    And if we can highlight that above the redaction and

 3    when a company showed a desire to acquire Pavemetrics.                               3   I'll read it to the record says, "following a few letters of

 4    Q.      And if you could identify for the record the redacted                        4   intimidation from Tetra Tech's lawyers such as the one

 5    Trial Exhibit 85?                                                                    5   attached to this email."     Let's stop there.

 6    A.      Yes, I have it in front of me.                                               6                 What did you attach to this email?

 7    Q.      What is that?                                                                7   A.    It was one of the email that Mr. Parker sent me.

 8    A.      Do you want to put it on the screen?                                         8   Q.    And isn't it true it was Exhibit 51 which is dated

 9    Q.      Yes.                                                                         9   January 5th and it's referred to in the attachment section

10    A.      Okay.                                                                       10   above.    If we can scroll up, you see where it says

11    Q.      Go slowly, Richard.    It's very difficult to hear you.                     11   attachments?

12                    Is this email from you?                                             12   A.    Yeah, the cease and desist letter.

13    A.      Yes.                                                                        13   Q.    Does that refresh your recollection that it was

14    Q.      And to whom are you writing?                                                14   Exhibit 51 that you were showing to your potential acquirer;

15    A.      I am writing to Martin Theriault who is the president of                    15   correct?

16    Eddyfi NDT.                                                                         16   A.    Yes, that's true.

17    Q.      And why were you writing to Eddyfi NDT?                                     17   Q.    Let's continue where I was reading.    Let's finish the

18    A.      Eddyfi NDT showed an interest in acquiring Pavemetrics                      18   highlighting.     It then says, Pavemetrics brought an action to

19    and they asked me about this lawsuit.       So if you read the                      19   obtain a declaratory judgment that it does not infringe Tetra

20    email, you will see that I am very confident that this                              20   Tech's patent 10,362,293.     Do you see that?

21    lawsuit was just about intimidation from Tetra Tech.                                21   A.    Yes.

22    Q.      Let's go through it slowly.                                                 22   Q.    And what was your intention in bringing this declaratory

23    A.      Okay.                                                                       23   judgment action before this jury?

24    Q.      You are explaining some facts about the dispute between                     24   A.    Well, it was to show that we were very confident in our

25    Pavemetrics and Tetra Tech.       Do you see that?                                  25   position, we were very confident we didn't infringe Tetra



                            UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                137
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 41 of 74 Page ID
                                      #:15280
                                                                        157                                                                                    158


 1    Tech's intellectual property.                                                        1   then say you'd like to reiterate the following regarding

 2    Q.   Are you aware one of the issues being presented in this                         2   intellectual property litigation and you then discuss two

 3    trial is an allegation that you infringed willfully?                                 3   lines down CSX.    Do you see that?

 4    A.   Yes.                                                                            4   A.   Yes.

 5    Q.   Did you at any time ever believe Pavemetrics was                                5   Q.   And you said CSX chose the Pavemetrics LRAIL because it

 6    infringing either the '293 or the '557 patents?                                      6   is superior to all other railroad inspection systems.      This

 7    A.   I was always confident that we didn't infringe those two                        7   will likely have a driving affect with other U.S. railways.

 8    patents.                                                                             8                What were you conveying to your acquirer with that

 9    Q.   Did you ever, ever believe that any customer of yours                           9   statement?

10    was directly infringing by using your LRAIL system?                                 10   A.   Well, CSX was the first Tier 1 customer that acquired

11    A.   Definitely not.                                                                11   our LRAIL system and I was hoping that many more U.S. railway

12    Q.   Let's continue going down this email.                                          12   would do the same.

13                 The next paragraph, let's highlight it.   It's one I                   13   Q.   The next statement says Tetra Tech, a company with a

14    want to show my mother.    Our lawyer is Joseph Re partner at                       14   market capitalization of $6.5 billion also coveted CSX's

15    Knobbe Martens.    Joe's also President of the American                             15   business.    What were you conveying with that statement?

16    Intellectual Property Law Association.    As this dispute is a                      16   A.   Well, I thought at this point the fight was David and

17    significant investment for Pavemetrics, you will find that we                       17   Goliath.     Pavemetrics is a tiny company.   We have managed to

18    have hired the best lawyer to represent us.                                         18   sell our products to CSX and that was all about intimidation

19                 Why were you conveying that to your potential                          19   from that large company.

20    acquirer?                                                                           20   Q.   The next statement says in the face of the loss of this

21    A.   I wanted to give them confidence that we didn't infringe                       21   opportunity, Tetra Tech chose bullying.

22    and if they wanted to learn more, they could contact you                            22                What did you mean by bullying?

23    directly.    I was also trying to show them that we take IP                         23   A.   Intimidation.     It wanted us to go away.

24    very seriously.                                                                     24   Q.   And then a couple lines down, you invite further

25    Q.   Let's continue as we go further down this email.       You                     25   discussion.     Why would you invite further discussion about



                         UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                        159                                                                                    160


 1    the details of the litigation?                                                       1                Do you know that?

 2    A.   I wanted to show that we were confident that Pavemetrics                        2   A.   Yes.

 3    didn't infringe Tetra Tech's intellectual property.                                  3   Q.   And you know in this case, we've been calling that Sale

 4    Q.   And what ultimately happened, the culmination of this                           4   No. 1; right?

 5    discussion with Eddyfi?                                                              5   A.   Yes.

 6    A.   I'm sorry.    Could you please repeat your question?                            6   Q.   And when did you make the Sale No. 1 to AID?

 7    Q.   What you said, if you're too worried about the dispute                          7   A.   December 2020.

 8    going forward, then I understand and we can stop the                                 8   Q.   And how do you know the exact date of the sale?

 9    discussions.    Do you see that?                                                     9   A.   I would need to see the invoice and any payment

10    A.   Yes, that's correct.     You know, sometimes companies want                    10   identification.

11    to acquire another one, it can be afraid of an ongoing                              11   Q.   Okay.     I'd like you to identify what's been marked as

12    litigation.    So I told them if after seeing this lawsuit, if                      12   Trial Exhibit 595.    Could you identify that?

13    they wanted to walk away, I was okay with that.                                     13   A.   Yeah, I have it in front of me.

14    Q.   And what happened?    Did they walk away or did a purchase                     14   Q.   What's that?

15    occur?                                                                              15   A.   This is an invoice to AID on December 23rd, 2020, and

16    A.   Yes, a purchase occurred.                                                      16   the invoice states the payment terms says payable upon

17    Q.   And so now Pavemetrics was recently purchased by what's                        17   receipt.

18    the name of the company they've been bought by?                                     18   Q.   What does payable upon receipt mean?

19    A.   Uh, Gradient.    Eddyfi he change its name.   It's a                           19   A.   It means that the amount is owed when they receive the

20    holding company and Pavemetrics is now a subsidiary of                              20   invoice.

21    Gradient.                                                                           21   Q.   And did they pay upon receiving the invoice?

22    Q.   Okay.     I want to change subjects on you and I want to,                      22   A.   Yes, they did.

23    uh, do you understand that one of the LRAIL sales alleged to                        23   Q.   And if we could look at Exhibit 875, particularly the

24    be a patent infringement is your sale to the engineering firm                       24   second page of this email string to AID.      I'm looking at

25    Advance Infrastructure Design known as AID?                                         25   page 2 of the eight-page Exhibit 875.    There's an email by



                         UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                138
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 42 of 74 Page ID
                                      #:15281
                                                                     161                                                                                        162


 1    you dated Thursday, December 24th, 10:14 a.m.                                     1   customer.    Furthermore, it used the same sensor, the same

 2                 Do you see that?                                                     2   hardware, the same acquisition software.        The only difference

 3    A.   Yes.                                                                         3   is in the processing software where the algorithms are

 4    Q.   So you were working on Christmas Eve it looks like.                          4   different.

 5    A.   Yeah, I never stop.                                                          5   Q.   But the difference in the algorithms in the software

 6    Q.   Okay.    And does this email confirm in your mind that                       6   between the LCMS and the LRAIL causes no change in price; is

 7    payment was made in full by AID on December 24, 2020?                             7   that correct?

 8    A.   Yes, the money was in our bank account when I check on                       8   A.   That's correct.       The same price structure.

 9    December 24th.                                                                    9   Q.   I want to change subjects again on you, and I really

10    Q.   And when did you recognize the sale to AID on your                          10   thank you for being able to do this.      I recognize it was a

11    books?                                                                           11   bit of an imposition, but I'll be brief.

12    A.   December 2020.                                                              12                I see Pavemetrics does a lot of publishing.      Do you

13    Q.   And why did you recognize this sale and receive payment                     13   know notice that?

14    so quickly from AID?                                                             14   A.   Yes.

15    A.   Well, the final invoice had been sent, payment was                          15   Q.   Why does Pavemetrics do so much publishing of their

16    received, and the customer wanted the expense in his                             16   research and development?

17    financial year 2020.                                                             17   A.   My colleague John Laurent is from NOI, the National

18    Q.   Okay.    I'd like to change subjects now.    One issue that                 18   Optical Institute, and it's a research center so John had

19    comes up occasionally is your pricing of your LRAIL system.                      19   been publishing his work for almost 10 years.        Pavemetrics

20                 How does or how did Pavemetrics determine the price                 20   just continued doing the same.

21    you would charge for LRAIL?                                                      21   Q.   And what are some of the other reasons you publish your

22    A.   Well, we had been making the LCMS for road inspection                       22   research for all to see?

23    for multiple years and we just used the same pricing                             23   A.   Uh, we did a lot of work for U.S. -- I don't mean

24    structure as for the road inspection project.     So                             24   U.S. -- for government agency like the Federal Road

25    essentially, the two projects had the same value to the                          25   Administration of the Department of Transportation of the



                         UNITED STATES DISTRICT COURT                                                          UNITED STATES DISTRICT COURT




                                                                     163                                                                                        164


 1    U.S. government, the Federal Railway Administration, the FRA                      1   A.   Oh, you see this is a good questions.        You know, if you

 2    for short.    So the FRA is a good customer and since they're                     2   look at the date our paper was published with the University

 3    our customer, our bids and material are in the public domain.                     3   of Massachusetts, it's well before the '293 patent with a

 4    Q.   What do you mean by public domain?                                           4   time stamp on it.

 5    A.   Uh, I think they would be published all the bids that we                     5   Q.   And did that paper give you confidence that you could

 6    receive.                                                                          6   continue to sell LRAIL despite the intimidation and bullying

 7    Q.   And I notice you don't file lots of patents.                                 7   from Tetra Tech?

 8    A.   Oh, may I go back to the previous questions?      There are                  8   A.   Yes.

 9    another reasons whey we publish a lot.    It kind of shows that                   9                MR. RE:   I have no further questions, Your Honor.

10    we have developed our product and it shows when we've                            10                THE COURT:    Cross-examination?

11    developed it.    The conference paper I mentioned earlier in                     11                MR. BARNEY:    Yes, Your Honor.

12    2014 is a good example of it.    So it shows that we developed                   12                And may I ask your policy on the sequestering of

13    our system.    It shows when we developed it, but we always                      13   witnesses, fact witnesses, during cross-examination?

14    believed we were ahead of everybody in our research and                          14                THE COURT:    Yes, they should be sequestered.

15    development activities.                                                          15                MR. RE:   No, Your Honor, it's too late.     That

16    Q.   I just want to clarify something.    Slow down for a                        16   practice of Rule 615 sequestration has to be invoked prior to

17    second.    One word you were you saying I had a little trouble                   17   the first witness.

18    understanding.    Were you saying the word develop                               18                THE COURT:    I'm not sure what's in our standing

19    d-e-v-e-l-o-p?                                                                   19   orders, but fact witnesses shouldn't be listening to other

20    A.   Yeah.                                                                       20   witnesses.

21    Q.   So by publishing it shows when or by when Pavemetrics                       21                MR. RE:   That is not correct, Your Honor.     That --

22    developed what's in the publication.    Is that what you meant?                  22                THE COURT:    That's my policy.    I don't want fact

23    A.   Yes.                                                                        23   witnesses listening to other fact witnesses.

24    Q.   And what's the benefit of having a fixed date in a                          24                MR. RE:   Your Honor, I feel that we were prejudiced

25    publication showing the world what you have developed?                           25   because if we weren't following Rule 615 of the Federal



                         UNITED STATES DISTRICT COURT                                                          UNITED STATES DISTRICT COURT




                                                                           Exhibit 3
                                                                             139
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 43 of 74 Page ID
                                      #:15282
                                                                           165                                                                                      166


 1    Rules, I would have requested sequestration of their fact                               1   Q.      I want to pick up where Mr. Re left off regarding your

 2    witnesses and I didn't get to do that.          In fact their                           2   receipt of the notice of infringement on January 5, 2021.

 3    witnesses --                                                                            3   Okay?

 4                 THE COURT:    Wait one second.     Counsel, were your                      4   A.      Yes.

 5    fact witnesses --                                                                       5   Q.      Now, your testimony was that you received that letter

 6                 MR. BARNEY:    Yes, they were sequestered,                                 6   and you did your own analysis of the patent and you felt

 7    Your Honor.                                                                             7   based on that analysis, that you did not infringe it; is that

 8                 THE COURT:    That's what I had suspected.     It's a                      8   correct?

 9    pretty standard practice.       I'm surprised it didn't come up                         9   A.      Yes.

10    earlier, but yes, fact witnesses should not be watching other                          10   Q.      Now, it's true that you don't have a law degree; right?

11    fact witnesses testify.                                                                11   A.      This is true.

12                 MR. RE:    Okay.   Just -- no, he's the corporate                         12   Q.      And you don't have formal training in patent law;

13    representative.    The corporate representative gets to stay.                          13   correct?

14    There's only one fact witness.                                                         14   A.      That's correct.

15                 MR. BARNEY:    May I proceed, Your Honor?                                 15   Q.      And you have no formal training in interpreting patents;

16                 THE COURT:    Please.                                                     16   correct?

17                                CROSS-EXAMINATION                                          17   A.      That's correct.

18    BY MR. BARNEY:                                                                         18   Q.      You do, however, have some experience in searching for

19    Q.   Good afternoon, Mr. Habel.                                                        19   patents.       I believe you testified about that with Mr. Re; is

20    A.   Good afternoon, sir.                                                              20   that correct?

21    Q.   I apologize we can't meet face-to-face so you'll just                             21   A.      Correct.

22    have to take my word for it that I'm better looking than                               22   Q.      So one of the things you did when you were a consultant

23    Mr. Re.                                                                                23   in the intellectual property field for two to three years,

24                 MR. RE:    So stipulated.                                                 24   you searched for patents and prior art; correct?

25    BY MR. BARNEY:                                                                         25   A.      That's not exact.    My primary function was to look at



                         UNITED STATES DISTRICT COURT                                                                  UNITED STATES DISTRICT COURT




                                                                           167                                                                                      168


 1    patents and explain how telecommunication systems were                                  1   the US PTO website; correct?

 2    working.                                                                                2   A.      I did that once, yes.

 3    Q.   But you did search for patents as a consultant in the                              3   Q.      Okay.    So I know you've testified about what you did,

 4    intellectual property field; correct?                                                   4   what you did after you received Mr. Parker's letter, but I

 5    A.   That was not my mandate.        My mandate was to explain how                      5   would like to ask you what you did not do.      Okay.

 6    telecom system were working to lawyers.                                                 6   A.      Okay.

 7    Q.   Not my question.       I did not ask you about your mandate.                       7   Q.      You did not take the 10 or 15 minutes that it would have

 8    Like to remind you that you already testified about this in                             8   taken for you to go to the PTO website to search for what

 9    your deposition.       And I believe you testified that while you                       9   other patents were in the family of the '293 patent that was

10    were an intellectual property consultant, you searched for                             10   identified in that letter, did you?

11    patents; isn't that correct?                                                           11   A.      That's correct.

12                 MR. RE:    Your Honor, it's improper impeachment                          12   Q.      And I believe when you were asked about that at your

13    without access to page and line number if he's gonna use the                           13   deposition, your answer was that's because Mr. Parker's

14    deposition in a peremptory way that like.                                              14   letter only identified the '293 patent.      Is that fair?

15                 THE COURT:    No, it's okay.   He's asking him a                          15   A.      That's true.

16    question if that's what he testified.         He can say yes or no                     16   Q.      Now, the fact of the matter is Tetra Tech and its

17    or I don't know.                                                                       17   attorneys at that time did not have access to Pavemetrics

18                 THE WITNESS:    I did search for patents on the US                        18   confidential source code; correct?

19    PTO website.                                                                           19   A.      Yes.

20    BY MR. BARNEY:                                                                         20   Q.      But you did; right?

21    Q.   You know how to search for patents on the US PTO                                  21   A.      Yes.

22    website; correct?                                                                      22   Q.      So the only person in the world really who could tell

23    A.   Yeah, you enter some key words.                                                   23   whether there might be infringement of another patent in the

24    Q.   Sure.     And in fact you also know how to search for                             24   family at that point was you or your colleagues who had

25    trademarks because I believe you searched for trademarks on                            25   access to your confidential source code.



                         UNITED STATES DISTRICT COURT                                                                  UNITED STATES DISTRICT COURT




                                                                                 Exhibit 3
                                                                                   140
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 44 of 74 Page ID
                                      #:15283
                                                                      169                                                                                         170


 1                Do you understand that?                                                1   it's in your binder.        In your binder can you please turn to

 2    A.   First of all, I'm not a patent attorney.     Okay?   I                        2   985.

 3    cannot reach that conclusion on myself.    And Mr. Parker                          3   A.     Yes, I have it.

 4    seemed to know our products well and he just raised the '293                       4   Q.     And let's get that on the screen.      Do you recognize

 5    patent and he focused on Claim 1.                                                  5   that, sir?

 6    Q.   So let me ask you a different question.     If I understand                   6   A.     Yes.

 7    the time line correctly, you sent -- why don't we have                             7   Q.     And what is it?

 8    Exhibit 77 on the screen.    This is the email you responded                       8   A.     It's the invoice I sent to AID on December 23rd, 2020.

 9    back to Mr. Parker dated February 1st.                                             9                 MR. BARNEY:    So I do have a document.     It arose

10                In the email you indicated towards the bottom that                    10   during Mr. Re's direct examination.        It was not in the

11    you are in the process of choosing a U.S. patent attorney who                     11   binder.   So at this time, I'd like to show Mr. Re.

12    will independently assess your allegations of infringement.                       12                 THE COURT:    In evidence.

13                Did I read that correctly?                                            13                 MR. BARNEY:    It's not in evidence yet.    I'd like to

14    A.   Yes, that's correct.                                                         14   move it in.     It's not in Mr. Habel's binder.

15    Q.   So that was February 1st and I will represent to you                         15   Q.     Mr. Habel, you mentioned you sold a system to AID, an

16    that you filed this lawsuit against my client on                                  16   LRAIL system.     Do you recall that?

17    February 11th.   Will you accept my representation?   Does that                   17   A.     Yes.

18    sound correct to you?                                                             18   Q.     And do you recall you delivered that LRAIL system to AID

19    A.   Yes.                                                                         19   on February 23rd, 2021?        Does that sound correct?

20    Q.   So I'm assuming that you hired the Knobbe Martens law                        20   A.     Some bits and pieces were delivered in February.

21    firm some time between February 1st and February 11th.        Does                21   Q.     And does February '21 sound about right?

22    that sound reasonable?                                                            22   A.     Well, the last bits and pieces, yes, but the sensors

23    A.   That's correct.     I think we hired them on February 11th.                  23   were delivered earlier.

24    Q.   Now, Mr. Re was asking you about that AID sale you made.                     24   Q.     Understood.    But if I were to represent to you that

25    I'd like to show you a different exhibit.    I don't believe                      25   Mr. Hafiz who testified earlier in this trial confirmed



                        UNITED STATES DISTRICT COURT                                                              UNITED STATES DISTRICT COURT




                                                                      171                                                                                         172


 1    receipt of the LRAIL system on February 23rd, 2021, would                          1   the '293 patent so I had my hands full.

 2    that about right to you?                                                           2   Q.     Okay, Mr. Habel.      Let's change topics.   Do you know a

 3    A.   No, because what we called the system is the sensors and                      3   person by the name of Mr. Fox-Ivey?

 4    the sensors were picked up on January 4th because their                            4   A.     Yes, Richard Fox-Ivey, he's a consultant working with

 5    carrier had some delays.                                                           5   us.

 6    Q.   So the additional pieces that were necessary to operate                       6   Q.     Thank you.    He's a principal consultant for Pavemetrics?

 7    the LRAIL system were shipped in February.    Is that what                         7   A.     Correct.

 8    you're saying?                                                                     8   Q.     And one of the things he does is he does marketing

 9    A.   Yes, it was metal works and computers.                                        9   reports for Pavemetrics; correct?

10    Q.   Now, at any time after you hired the Knobbe Marten law                       10   A.     He did some marketing reports, that's correct.

11    firm and you already had high-power legal counsel, president                      11   Q.     And you trust the work that Mr. Fox-Ivey does for

12    of the American Intellectual Property Law Association and so                      12   Pavemetrics; correct?

13    forth, did you look into the PTO website and spend ten                            13   A.     Yes, but I don't check all of his work.

14    minutes to make sure that system that you were in the process                     14   Q.     And Mr. Fox-Ivey has a Pavemetrics email address; isn't

15    of delivering to AID did not infringe any other patents?                          15   right?

16    A.   No.                                                                          16   A.     That's correct.      It makes it easier when he interacts

17    Q.   Why not?                                                                     17   with customers.

18    A.   We figured that the lawyers of the Tetra Tech knew about                     18   Q.     And that's my point.      So when he interacts with your

19    their IP portfolio and if there was something I needed to                         19   customers and potential customers he holds himself out as

20    see, they would have raised it to my attention.                                   20   being a representative of Pavemetrics; correct?

21    Q.   Mr. Habel, if it only took ten minutes to check the PTO                      21   A.     He holds himself as being a principal consultant for

22    website for the additional patents in the patent family, why                      22   Pavemetrics.

23    not just spend that ten minutes?                                                  23   Q.     Right.   With a Pavemetrics email address and doesn't he

24    A.   It doesn't take just ten minutes to analyze the patent                       24   also list the corporate Pavemetrics mailing address under his

25    portfolio and you know it.    Took me a while just to analyze                     25   tag line in his correspondence?



                        UNITED STATES DISTRICT COURT                                                              UNITED STATES DISTRICT COURT




                                                                            Exhibit 3
                                                                              141
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 45 of 74 Page ID
                                      #:15284
                                                                      173                                                                                       174


 1    A.   That's true.                                                                   1   this on the screen.       May I do so, Your Honor?

 2    Q.   Likewise, when Pavemetrics gives presentation to the                           2                THE COURT:    Sure.

 3    industry, it identifies Mr. Fox-Ivey as being associated with                       3                MR. BARNEY:    I apologize again, Mr. Habel.   I don't

 4    Pavemetrics; correct?                                                               4   know why it didn't get sent to you.       I'm going to put it on

 5    A.   It identifies him as being a principal consultant for                          5   the screen and I would like you to take a look at it.

 6    Pavemetrics.                                                                        6   Q.   And tell me whether this is the summary of sales

 7    Q.   So changing gears again, I'd like you to look in your                          7   information that you prepared in response to Tetra Tech's

 8    binder and find Exhibit 53.                                                         8   Interrogatory No. 2?

 9    A.   There is no Exhibit 53 in my binder.                                           9   A.   That's correct.

10    Q.   Please ask Ms. Nazareth to give you the cross binder.         I               10                What is the date on it because there were a few

11    apologize, Mr. Habel.      I should have made that clear to you.                   11   versions?

12                THE COURT:    Can I ask counsel is there a set of                      12   Q.   This one I believe is the latest version, the last one

13    binders for me somewhere?                                                          13   you did.

14                MR. BARNEY:    I believe they're on the credenza,                      14   A.   Okay.

15    Your Honor.                                                                        15   Q.   And really I just want to confirm a couple things so we

16                THE WITNESS:    Look at the indexing of this binder,                   16   don't need to dwell on this document.       Can you confirm for

17    it's got numbers going from 1 to 28.      What number is it?                       17   fiscal year 2102, you sold one set of LRAIL hardware to the

18                MR. BARNEY:    I'm looking for Exhibit 53.   Perhaps                   18   University of Massachusetts for the purpose of conducting

19    Ms. Nazareth can help you.                                                         19   research for use on a railway system?

20                THE WITNESS:    It goes from 49 to 57 so it's not                      20   A.   That's correct.

21    there.                                                                             21   Q.   And then after that one sale, Tetra Tech did not make

22                MR. BARNEY:    I apologize for that.   That's part of                  22   another U.S. sale of an LRAIL system until 2020; is that

23    the problem doing zoom examinations.                                               23   correct?

24                Your Honor, I'm hoping this could solve the                            24   A.   Tetra Tech?

25    problem.    Your Honor, Mr. Re has given me a thumb's up to put                    25   Q.   Oh, I'm sorry.       Pavemetrics did not make another sale of



                         UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                      175                                                                                       176


 1    the LRAIL system until 2020; is that correct in the                                 1   A.   That's correct.

 2    United States?                                                                      2   Q.   And this document was produced to us from your corporate

 3    A.   That's correct.      There were consulting fees, but no                        3   files; correct?

 4    system sale.                                                                        4   A.   Yes.

 5    Q.   And what I'd like to do now for the rest of my                                 5                MR. BARNEY:    Your Honor, I move the admission of

 6    questioning of you, Mr. Habel, I'd like to go back in time                          6   Exhibit 73.

 7    and take you back to the year 2014.                                                 7                MR. RE:   No objection.

 8                Hopefully, you have Exhibit 73 in your binder.                          8                THE COURT:    Exhibit 73 is in evidence.

 9    A.   Yes.                                                                           9                          (Exhibit 73 admitted.)

10    Q.   I'm thankful.    Is this a document titled "Rail and                          10   BY MR. BARNEY:

11    Tunnel Inspection Market Overview and Strategy"?                                   11   Q.   If I could go to page 3 of this market overview and

12    A.   Yes.                                                                          12   strategy document.     Mr. Habel, this document says that the

13    Q.   And do you recognize this as a report that was created                        13   document broadly outlines what we know about the global rail

14    by Mr. Fox-Ivey?                                                                   14   and tunnel inspection markets as well as provides a suggested

15    A.   That's what it says at the top.                                               15   plan of attack.    Do you see that?

16                MR. RE:   I object until he lays a proper                              16   A.   Yeah.

17    foundation.                                                                        17   Q.   And what I want to do is go to page 18 where that plan

18    BY MR. BARNEY:                                                                     18   of attack is laid out.       Let's just begin under the words our

19    Q.   Was this document produced by Pavemetrics in this case?                       19   offer.   Let know when you're ready.

20    It's got a Pavemetrics production number?                                          20   A.   Yeah, I have page 18 in front of me.

21    A.   Is the question for me?                                                       21   Q.   The document states that our easiest way in is likely to

22    Q.   Mr. Habel, do you recognize this document?                                    22   be an inspection company (based in Canada or the U.S.) that

23    A.   It's a document that Richard Fox-Ivey prepared for John                       23   is already working with the Tier 1 railroads, but has

24    in November 2014.                                                                  24   antiquated technology we can replace.

25    Q.   And that's John Laurent?                                                      25                Do you see that?



                         UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                             Exhibit 3
                                                                               142
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 46 of 74 Page ID
                                      #:15285
                                                                           177                                                                                     178


 1    A.   Yes.                                                                               1   Q.   And is it titled 2016 LRAIL Market Review and 2017 Plan?

 2    Q.   And you understand what is meant by Tier 1 railroads;                              2   A.   Yes.

 3    right?                                                                                  3   Q.   And, again, it was produced to Tetra Tech in this case

 4    A.   Yes.                                                                               4   from Pavemetrics' business files?

 5    Q.   Those are the big, big railroad companies; right?                                  5   A.   I suspect so.

 6    A.   Correct.                                                                           6                MR. BARNEY:    Your Honor, we move the admission of

 7    Q.   And in the second paragraph or the second one down                                 7   Exhibit 46 into evidence.

 8    underneath that it says, "Our immediate value-add to them                               8                THE COURT:    Any objection?

 9    will be superior imaging technology since we don't yet have                             9                MR. RE:   No objection, Your Honor.

10    all the algorithms for automated distress analysis.          As we                     10                THE COURT:    46 is in evidence.

11    develop and prove our algorithms, we will have a stronger                              11                          (Exhibit 46 admitted.)

12    selling proposition."    Did I read correctly?                                         12   BY MR. BARNEY:

13    A.   That's correct.                                                                   13   Q.   Mr. Habel, can you please turn to page 2 of Exhibit 46.

14    Q.   Okay.    And the third paragraph says, "The other                                 14   And just to look at the agenda of this Power Point, it

15    advantage that we can bring to the market is a                                         15   includes Market Overview, 2016 Marketing Efforts Review,

16    multifunctional system that is priced well below the higher                            16   2017 Marketing Approach, Technology Development Required and

17    accuracy competition (as per feedback John Laurent obtained                            17   Questions for Serge.       Do you see that?

18    from MTM Geismar).    Did I read that correctly?                                       18   A.   Yes.

19    A.   Yes.                                                                              19   Q.   And does that indicate to you that this presentation was

20    Q.   Now, Mr. Habel like you to turn in your binder and find                           20   given at the end of 2016 or the very beginning of 2017?

21    Exhibit 46, please.                                                                    21   A.   I suspect from the title from the front page.

22    A.   Yes, I have it.                                                                   22   Q.   It was in that time frame; correct?

23    Q.   And do you recognize it?                                                          23   A.   Yeah.

24    A.   Boy, it looks like a Power Point with our logo on the                             24   Q.   And if you could turn to page 3, please.

25    front page.                                                                            25   A.   I have it.    Okay.



                         UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                           179                                                                                     180


 1    Q.   So I want to read these bullet points and then I have                              1   processing yet (need to create templates on the fly, need to

 2    some questions.    So the first bullet point says -- actually,                          2   process at 60 miles per hour but currently only 7.2

 3    the third bullet point says, "Market has interest, but we                               3   kilometers per hour) so six PCs needed?"

 4    don't yet have a killer app.    One thing that we do which no                           4                Did I read that correctly?

 5    one else can nor do we have a proven system."                                           5   A.   Yes.

 6                 Did I read that correctly?                                                 6   Q.   Now, for those of us in the U.S. who may not be familiar

 7    A.   Yes.                                                                               7   with kilometers per hour, am I correct that 7.2 kilometers

 8    Q.   And then the next bullet says, "Part of the problem in                             8   per hour is about five miles an hour?

 9    finding a killer app is working around legal issues.          Other                     9   A.   Yes.

10    part is it takes time and integrator feedback to develop and                           10   Q.   And that's a lot slower than 60 miles per hour; correct?

11    validate.    Market is also undecided."                                                11   A.   Correct.

12                 Did I read that correctly?                                                12   Q.   And the next bullet point says, "Technology isn't ready

13    A.   Yes.                                                                              13   for production use yet."      Did I read that correctly?

14    Q.   If you could go to page 5, please.       You see this is a                        14   A.   Yes.

15    slide titled "State of Technology".       Do you see that?                             15   Q.   Now, let's go to page 9, please.         And page 9 is titled

16    A.   Yeah.                                                                             16   "2017 Market Focus Continued".       Do you see that?

17    Q.   And the first bullet point says, "We have done                                    17   A.   Yes.

18    eight-plus demos.    Still haven't hit any out of the park."                           18   Q.   And there's a section that talks about a company called

19                 Did I read that correctly?                                                19   Zetica, do you see that?

20    A.   Yes.                                                                              20   A.   Yeah.

21    Q.   And the next bullet point says, "We haven't processed                             21   Q.   Zetica was a potential client at that time, a potential

22    more than a few hundred miles in total so we still have                                22   customer?

23    plenty to learn."    Did I read that correctly?                                        23   A.   Yes.

24    A.   Yes.                                                                              24   Q.   And it says regarding Zetica, they see the potential,

25    Q.   The next bullet point says, "We haven't done real time                            25   but they also see there is still work to do.        They want real



                         UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                                 Exhibit 3
                                                                                   143
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 47 of 74 Page ID
                                      #:15286
                                                                         181                                                                                      182


 1    time at speed results.      Do you see that?                                          1   Q.      And can you confirm that this is an email exchange?

 2    A.   Yeah.                                                                            2   It's a chain of emails between you and Mr. Fox-Ivey and it

 3    Q.   And real time at speed results means they want results                           3   copies a couple other people.         Do you see that?

 4    faster than five miles per hour; correct?                                             4   A.      Yes.

 5    A.   I think it's what is meant.                                                      5   Q.      And the title of it is Tetra Tech court case.

 6    Q.   They want results that come out at the speed that the                            6                   Do you see that?

 7    trains are actually traveling; correct?                                               7   A.      Yes.

 8    A.   That's correct.                                                                  8   Q.      If you can go down further in the chain from where we

 9    Q.   And let's go to page 10, please.       And at the top of                         9   are now just to see the original question.         Can you confirm

10    page 10 this is under the topic Required Tech Development,                           10   that what was being conveyed in this email was some

11    the first bullet point is "basically we have a bunch of proof                        11   information about the Tetra Tech court case, and in this

12    of concept algorithms."      Do you see that?                                        12   chain of emails, you had a question about who Rail Radar was?

13    A.   Yeah.                                                                           13                   Do you see that?

14    Q.   And then it says, "Now we need to make production ready                         14   A.      That's correct.

15    tools out of them.     Process miles, fix problems, publish new                      15   Q.      At the very top of this email chain, Mr. Fox-Ivey

16    versions; is that right?                                                             16   responds to on October 16, 2017 copying Mr. Laurent and

17    A.   Yeah, that's correct.                                                           17   Mr. Hebert.       And his response is, he answers your question, I

18    Q.   You could put that aside.      I'm now going to move to the                     18   think Tetra Tech owns Rail Radar, but then he adds you might

19    year 2017, Mr. Habel.      I'd like to show you and you can just                     19   also be interested to see Darel's list of patents.

20    look on the screen or turn to Exhibit 14 in your binder.                             20                   Do you see that?

21    It's already in evidence so if we could please have it on the                        21   A.      Yes.

22    screen.   And just to blow up maybe the first part of it.                            22   Q.      And he provided a Google link that listed patents that

23    A.   14 you said?                                                                    23   named as the inventor Darel Mesher?

24    Q.   Yeah.                                                                           24   A.      Yes.    I didn't click on that link.

25    A.   Okay.    I have it.                                                             25   Q.      And you understand that to be Dr. Darel Mesher, the



                         UNITED STATES DISTRICT COURT                                                                 UNITED STATES DISTRICT COURT




                                                                         183                                                                                      184


 1    Chief Technology Officer of Tetra Tech TAS?                                           1   Exhibit 67.

 2    A.   Yes, and I didn't click on the link.                                             2   A.      Yeah.

 3    Q.   So by the date of this email, Pavemetrics knew                                   3   Q.      And do you recognize this?

 4    Dr. Mesher had patents; correct?                                                      4   A.      Yes.    I'd like to see it on the screen just to make

 5    A.   I knew it before.      I didn't --                                               5   sure.

 6    Q.   And you reviewed some of -- I'm sorry.                                           6   Q.      I'll do that, but I have to move it into evidence first.

 7                 MR. RE:   Objection.   I'd like the witness to                           7                   Do you recognize it as an email chain between you

 8    finish.   Just go a little slower.      I went slower --                              8   and other people at Pavemetrics in April of 2017?

 9                 THE COURT:    Counsel, counsel, sit down.     I told you                 9   A.      Yes, 18 of April 2017.

10    before address yourself to the Court.       If you guys want to                      10                   MR. BARNEY:    Your Honor, we move for the admission

11    talk, you can ask for a break and go outside.       I'm not gonna                    11   of Exhibit 67.

12    tell you again.    Sit down.                                                         12                   THE COURT:    Any objection?

13                 Please proceed, Counsel.                                                13                   MR. RE:   No objection.

14    BY MR. BARNEY:                                                                       14                   THE COURT:    Exhibit 67 is in evidence.

15    Q.   Mr. Habel, I apologize for cutting you off.         It's an                     15                             (Exhibit 67 admitted.)

16    artifact of the zoom call that we're on.        Can you please                       16   BY MR. BARNEY:

17    continue your answer?                                                                17   Q.      Okay.    And just to set the table here, we already know a

18    A.   I said I didn't click on that link, but I knew Darel                            18   Canadian law firm called Robic had contacted you to

19    Mesher had patents because when I met with Robic, their                              19   potentially be an expert witness in a litigation between

20    lawyer told me Darel Mesher, but he didn't mention at that                           20   Georgetown Rail called GREX and Tetra Tech; is that correct?

21    time Darel Mesher had patents on work that he had done                               21   A.      Yes.

22    previously well before their LRAIL system, well before the                           22   Q.      And the lawsuit was about Tetra Tech's 3DTAS system;

23    '293 patents.                                                                        23   right?

24    Q.   Okay.    If you could turn in your binder, uh, since                            24   A.      I didn't know the name of the system at the time.

25    you've mentioned the GREX case, please turn in your binder to                        25   Q.      Fair enough.      And you were unsure how to respond to that



                         UNITED STATES DISTRICT COURT                                                                 UNITED STATES DISTRICT COURT




                                                                               Exhibit 3
                                                                                 144
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 48 of 74 Page ID
                                      #:15287
                                                                        185                                                                                    186


 1    law firm's request; is that fair?                                                    1   BY MR. BARNEY:

 2    A.   Yes.                                                                            2   Q.   Okay.

 3    Q.   And so you sent an email out to your team and you wanted                        3   A.   The 3D raw data.     So this is why John said that no, we

 4    their input, you wanted their advice or recommendations as to                        4   don't if they are using our stuff or not.    If they don't use

 5    what you should do; is that correct?                                                 5   it, it might be useless.

 6    A.   I suspect I did.       I know that I seek advices from my                       6   Q.   Thank you.

 7    colleagues.                                                                          7                The next thing he said, however, is also, your C.V.

 8    Q.   Mr. Laurent, if you go down towards the bottom of the                           8   is not 3D vision, it's telecom, and they would probably

 9    email and work our way back up, Mr. Laurent responded to your                        9   discredit you on that in court.    Do you recall that?

10    inquiry and his response was, "I am not sure how our                                10   A.   Yes.

11    testimony can help them if they don't use our stuff."                               11   Q.   Okay.     So let's move up the email chain and Mr. Fox-Ivey

12                 Do you see that?                                                       12   weighed in at some point.    And Mr. Fox-Ivey indicated, um,

13    A.   Yes.                                                                           13   sort of in that first bullet point, they already have their

14    Q.   And it is true, is it not, that Tetra Tech in its 3DTAS                        14   own rail inspection system in play.    If they win the case,

15    system that was at issue in that case did not use                                   15   why would they switch to ours?    Do you see that?

16    Pavemetrics' stuff; right?                                                          16   A.   Yes.

17                 MR. RE:   Lacks foundation.   Mischaracterizes                         17   Q.   So you knew at the time Tetra Tech had a rail inspection

18    testimony.                                                                          18   system on the market; correct?

19                 THE COURT:   He can answer the question if he can.                     19   A.   Okay.     That's what's written there, but it was pure

20                 THE WITNESS:    At that time we just didn't know what                  20   speculation.

21    Tetra Tech were doing.      We were just guessing.   You'll                         21   Q.   You weren't aware that they were competing for rail

22    remember earlier that I said that they asked for raw data                           22   inspection business, uh, for instance with the Rail Canada?

23    access?    So we didn't know what they were doing, what                             23   A.   You know they could have just used our system for it.       A

24    processes were that they might be using our LCMS and that                           24   year earlier Rob Olenoski, their integrator, had told me that

25    they build software using these profiles.                                           25   if it hadn't been of the GREX lawsuit, we would have been



                         UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                        187                                                                                    188


 1    selling many LRAIL to its customer so. . .                                           1   A.   Yes.    And can I comment on that?

 2    Q.   I just want you to listen to my question.       I'm afraid                      2   Q.   Well, let me ask you a question and I'm sure your

 3    we're two ships passing in the night.                                                3   response will include your comment.    Was that an opportunity

 4                 Did you know in April of 2017 that Tetra Tech had a                     4   for you to gather information about a potentially competitive

 5    rail inspection system on the market called 3DTAS?                                   5   product?

 6    A.   No.                                                                             6   A.   No.    We had -- we had been in the dark for a while and I

 7    Q.   Okay.    That's fair enough.                                                    7   wanted to know if they were going to use our LCMS LRAIL

 8    A.   I never heard of the name 3DTAS or if I saw it, I didn't                        8   system.

 9    memorize it the 3DTAS.      The first time I Googled it is when                      9   Q.   And to be fair, what you said in your email at the time

10    we received the '293 patent and the only thing on Google on                         10   is you wanted to know exactly what Tetra Tech is doing for

11    the 3DTAS was that patent.                                                          11   rail inspection.    Weren't those your words?

12    Q.   Now, at the top of your email, you announce your                               12   A.   That's right.    I wanted to know what type of features

13    decision on whether or not you're going to participate in                           13   they had built on our sensors.

14    this lawsuit.    Excuse me.     As an expert as requested by the                    14   Q.   And then what you concluded therefore is I will offer to

15    Robic law firm.                                                                     15   work anonymously.    That's what you decided to do; right?

16                 If I could just blow up that very top email from                       16   A.   That's right because my colleague John didn't want GREX

17    you to your team, you say in the third paragraph, it's not                          17   to pay attention to us.

18    clear that we would sell more LCMS LRAILs to Tetra Tech.         You                18   Q.   Okay.     Mr. Habel, we're going to now move forward one

19    mention the fact that they're paying money for the access to                        19   more year to 2018.    Did there come a time in 2018 or perhaps

20    the raw data.    You mention that they might also be working on                     20   early 2019 when Pavemetrics decided to transition the LRAIL

21    rail applications using our sensors.       Do you see that?                         21   software to deep neural networks?

22    A.   Yes.                                                                           22   A.   That's correct.

23    Q.   And then you say working with Robic on this case would                         23   Q.   And Pavemetrics prepared presentations and papers on the

24    be a good opportunity to know exactly what Tetra Tech is                            24   use of deep neural networks; correct?

25    doing for rail inspection.      Did I read that correctly?                          25   A.   Yes, we did some presentations on DNN.



                         UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                145
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 49 of 74 Page ID
                                      #:15288
                                                                       189                                                                                       190


 1    Q.   If you could turn in your binder to Exhibit 88, please.                        1   Q.      And then in your next paragraph you say is I

 2    A.   Yes.                                                                           2   particularly like the conclusion on the last slide, DNNs, and

 3    Q.   Do you recognize this?                                                         3   that stands for deep neural networks; right?

 4    A.   It's an email from me to Richard Fox-Ivey.                                     4   A.      That's correct.

 5                 MR. BARNEY:    Your Honor, I'd move for the admission                  5   Q.      DNNs like our brain do not follow a well-understood

 6    of Exhibit 88.                                                                      6   algorithm so it is not possible to patent a particular DNN

 7                 THE COURT:    Exhibit 88 any objection?                                7   nor is it possible to infringe upon existing patents with a

 8                 MR. RE:   No objection.                                                8   DNN.    Isn't that what you wrote?

 9                 THE COURT:    Exhibit 88 can come into evidence.                       9   A.      Exactly.

10                           (Exhibit 88 admitted.)                                      10   Q.      Now, who told you that?     Who told you that that was a

11    BY MR. BARNEY:                                                                     11   fact?

12    Q.   If you could look at the bottom of page 2 of this email                       12   A.      My colleague John Laurent has a Master's degree in

13    because you have to build these emails up from the bottom.                         13   Artificial Intelligence and he knew deep neural network very

14    In this email chain, Mr. Fox-Ivey is providing you guys a                          14   well.

15    draft presentation regarding deep learning; right?                                 15   Q.      Does Mr. Laurent have a degree in law?

16    A.   That's correct.                                                               16   A.      No, he has a degree in electrical engineering and a

17    Q.   And he asked for your comments; right?                                        17   Master's degree in Electrical Engineering and he has been

18    A.   Yes.                                                                          18   using deep neural networks for 30 years.

19    Q.   And if you can go all the way up to the bottom of                             19   Q.      I'm not doubting his credentials, sir, but I'm asking

20    page 1, your comment back to Mr. Fox-Ivey was good job.         That               20   does he have any credentials that you know of that would

21    will make our competitor reluctant to start, initiate any IP                       21   allow him to offer this opinion that it's not possible to

22    litigation and will reinsure our potential customers.                              22   infringe a patent with a deep neural network?

23                 Did read that correctly?                                              23   A.      He's not a lawyer.     You're right.

24    A.   That's right.     Everybody was afraid of GREX in the                         24   Q.      And then finally you say, um, if you go down to the

25    industry.                                                                          25   third paragraph, you offer some -- some rephrasing and the



                         UNITED STATES DISTRICT COURT                                                              UNITED STATES DISTRICT COURT




                                                                       191                                                                                       192


 1    reason is it suggests that our existing algorithms are not                          1                  THE COURT:   Exhibit 89 is in evidence.

 2    using DNNs and we want to maintain some ambiguity in order to                       2                           (Exhibit 89 admitted.)

 3    achieve our objectives.      Do you see that?                                       3   BY MR. BARNEY:

 4    A.   Yes.                                                                           4   Q.      Again, this is another one of these big email chains

 5    Q.   And how did maintaining ambiguity regarding your -- the                        5   with several different people involved.        Is that fair?

 6    use of DNNs help you achieve your objectives?                                       6   A.      Yes.

 7    A.   Well, we were at the place where we're transitioning our                       7   Q.      And I'd like to go down to page 3 in the last big

 8    traditional algorithms to artificial intelligence.      I don't                     8   paragraph on page 3.        And just for orientation, this is from

 9    know why I wrote that.      Why did I want to maintain some                         9   Mr. Fox-Ivey.      Do you see that?

10    ambiguity.    It was probably about the time when we would                         10   A.      Yes.

11    shift from conventional to neural network.       You know it's                     11   Q.      He's thanking you and Mr. Laurent for your feedback;

12    really fast when you use DNN so it's not like conventional                         12   right?

13    algorithm.    It goes much faster and at the time, I didn't                        13   A.      Yes.

14    know how fast it would go.      I don't know.   That's only                        14   Q.      And down in that last paragraph, uh, he's got an

15    context I can put around it.                                                       15   explanation and let me just read it, and then I have a

16    Q.   Okay.    So let's move to a different exhibit.     I'd like                   16   question.

17    you to look in your binder and find Exhibit 89.                                    17                  It says, "John, will this be a true statement?      I

18    A.   Yeah.                                                                         18   think that the key premise in our argument is that DNNs are

19    Q.   And do you recognize that exhibit?                                            19   constantly changing at the hidden level so there isn't any

20    A.   Yeah, it's an email from Richard Fox-Ivey to John and                         20   one specific methodology that you can point to as being "our

21    Jean-Francois and Mario Talbot and myself are cc'ed.                               21   method".       Thus we can't patent the whole of the DNN nor can

22                 MR. BARNEY:    Your Honor, at this time we move for                   22   the whole of the DNN infringe on an existing patent.

23    the admission of Exhibit 89.                                                       23                  "At best you could patent one specific DNN

24                 THE COURT:    Any objection?                                          24   configuration that was true at one specific moment in time.

25                 MR. RE:   No objection.                                               25   By the same token, you could argue at one specific time the



                         UNITED STATES DISTRICT COURT                                                              UNITED STATES DISTRICT COURT




                                                                             Exhibit 3
                                                                               146
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 50 of 74 Page ID
                                      #:15289
                                                                       193                                                                                        194


 1    DNN configuration did infringe on someone's IP, but that                            1   A.      Yes, that's correct.       At that time we were afraid of

 2    moment would be fleeting as the DNN configuration would                             2   GREX.    GREX was suing everybody.       It prevented us from

 3    subsequently change as the DNN "learns".                                            3   selling many LRAIL.       It was all about GREX.

 4                 Do you recall reading that analysis from                               4   Q.      Well, you say it was all about GREX, but you say your

 5    Mr. Fox-Ivey?                                                                       5   main objectives were to discourage our competitors plural.

 6    A.   Mr. Fox-Ivey has a degree in philosophy so when he                             6   So who else other than GREX were you trying to discourage

 7    writes technical information and legal stuff, you should take                       7   from initiating IP litigation against you?

 8    it with a grain of salt.                                                            8   A.      Well, there are many, many other rail inspection

 9    Q.   And so you agree with me he's not a lawyer and you don't                       9   equipment suppliers and service providers so we were afraid

10    know where he got this theory that somehow a deep neural                           10   of another GREX.

11    network just can't infringe.                                                       11   Q.      And Tetra Tech was also one of your competitors at that

12    A.   I'm sure he probably got it from the Internet.         And the                12   time, wasn't it?

13    deep neural networks they configure themselves so it's                             13   A.      No, they were our customer.      And I helped them in 2017

14    understanding is that the neural network will configure                            14   in their legal confrontation with GREX.         They were a

15    itself to achieve what it was trained to do.       So the                          15   customer.       A customer that requested my help, help that I

16    configuration of the DNN might be patented, but when he train                      16   provided.

17    it on or -- I don't have a degree in computer vision either.                       17   Q.      So let's go up and see what Mr. Laurent had to say about

18    Q.   Okay.    Let's go to the next page and let's see your                         18   the situation.       Same email chain.    Mr. Laurent responded to

19    comments.    Blow up the email from you back to Mr. Fox-Ivey.                      19   Mr. Fox-Ivey copying you and Mr. Hebert and Mr. Talbot.           And

20                 And your statement is "that although we should make                   20   his comment was if we get sued, it's your fault.

21    sure that the technical content is correct, our main                               21                   Did I read that correctly?

22    objectives are discourage our competitors to initiate IP                           22   A.      Yes, it looks like sarcasm to me.

23    litigation against us and reassure our potential customers                         23   Q.      By the way where is Mr. Fox-Ivey?       I mean, do you know

24    about the IP situation of the LRAIL."                                              24   where he is physically?

25                 Did I read that correctly?                                            25   A.      He's on vacation this week.



                         UNITED STATES DISTRICT COURT                                                               UNITED STATES DISTRICT COURT




                                                                       195                                                                                        196


 1    Q.   Did you ask him --                                                             1   Q.      He then says, and by the way, these are all bold type in

 2    A.   I don't know where physically he is, but I think he's on                       2   the original email.       We need to discuss why it is not

 3    vacation.                                                                           3   selling.    What do we think we know?        Do we know enough?

 4    Q.   Did you ask him in your role as president and CEO of the                       4                   Do you see that?

 5    company to come and testify in this trial?                                          5   A.      Yeah.

 6    A.   No.                                                                            6   Q.      And about four bullet points later, four bullet points

 7    Q.   Okay.    Moving forward to 2019.     And I would like you to                   7   down, one of his question was will having DNN flip the

 8    turn in your binder to Exhibit 3.    It's already in evidence                       8   switch?    Do you see that?

 9    and so we're gonna put it on the screen.                                            9   A.      Yeah.

10    A.   Yes.                                                                          10   Q.      So he's wondering if using this deep neural network is

11    Q.   This is an email, again, from the ever popular                                11   going to flip the switch and make it sell; right?

12    Mr. Fox-Ivey and he is responding to a call that I believe                         12   A.      Yeah.

13    you issued for a brain-storming session concerning LRAIL; is                       13   Q.      And if you continue down that page, he lists several

14    that correct?                                                                      14   LRAIL disadvantages.       Uh, the first one he lists is that it's

15    A.   Yes.                                                                          15   not proven in the industry, but we are doing the three FRA

16    Q.   And the date of this is September 4th, 2019 which I                           16   projects that is exactly for this purpose.         You see that?

17    believe was the day the meeting was scheduled to occur;                            17   A.      Yeah, that's correct.

18    correct?                                                                           18   Q.      And then his next one was not as hi-speed as pure as 2D

19    A.   Yes.                                                                          19   system would be.       You see that?

20    Q.   And what Mr. Fox-Ivey is adding is some bullet points in                      20   A.      Yeah.

21    advance of the meeting.    And his first bullet point in                           21   Q.      And then his last bolded bullet point again was

22    September of 2019 was LRAIL is not selling.       We want to find                  22   emphasizing we need to develop some potential ways to

23    a way to make money from it.                                                       23   increase sales that fit with why it's not selling.

24                 Did I read that correctly?                                            24                   Did I read that correctly?

25    A.   Yes.                                                                          25   A.      Yeah.



                         UNITED STATES DISTRICT COURT                                                               UNITED STATES DISTRICT COURT




                                                                             Exhibit 3
                                                                               147
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 51 of 74 Page ID
                                      #:15290
                                                                           197                                                                                      198


 1    Q.   Oh, and the one right above that under disadvantages is                            1   A.   I'm sorry.    Please repeat the question.

 2    that it's not as hi-resolution and accuracy as some dedicated                           2   Q.   Throughout the years 2016, 2017, 2018, 2019, even 2020,

 3    solutions for geometry rail head ware; correct?                                         3   did you ever suspect that Tetra Tech would assert patents to

 4    A.   Yes, and the technology he's referring here it's some                              4   prohibit the sale of LRAIL?

 5    kind of technology where you walk on the railway and it's                               5   A.   Never, never.    I was really shocked when I received the

 6    very precise.                                                                           6   letter from Mr. Parker.

 7                 MR. BARNEY:    No further questions.                                       7   Q.   And when Mr. Laurent was making the joke about it's your

 8                 Thank you for your time.    I do apologize for the                         8   fault if we get sued, who was at issue in the preceding email

 9    glitchiness.                                                                            9   that created the joke by Mr. Laurent?

10                 THE WITNESS:    You're welcome.                                           10   A.   I think it was Richard Fox-Ivey or myself.

11                 THE COURT:    Counsel, how long do you think your                         11   Q.   No, but who was the company, who was the company at

12    redirect will take?                                                                    12   issue attending the conference in the front row?

13                 MR. RE:   Three minutes.                                                  13   A.   Okay, I'm sorry.     Can you point me to the exhibit?    I

14                              REDIRECT EXAMINATION                                         14   apologize.

15    BY MR. RE:                                                                             15   Q.   It's Exhibit 89.     Remember when Mr. Laurent made the

16    Q.   Mr. Habel, can you hear me?                                                       16   joke or made the statement if we get sued, it's your fault.

17    A.   Yes.                                                                              17                Do you see that?

18    Q.   When did you first believe the DNN or CNN or any neural                           18   A.   Yeah.

19    networks of LRAIL was even at issue in this case?                                      19   Q.   And he's writing to Richard Fox-Ivey.     Do you see that?

20    A.   Oh, it came really late in the case.                                              20   A.   Yeah, was expecting GREX to be in the front row.

21    Q.   Well after the case was filed in 2021.                                            21   Q.   Exactly.    Is this about Tetra Tech at all?

22    A.   That's correct.                                                                   22   A.   Never.

23    Q.   In all the correspondence that Mr. Barney showed you, in                          23   Q.   And Tetra Tech received and requested quotes from you to

24    any of it did you ever suspect that Tetra Tech could be a                              24   buy an LRAIL from you in 2020; isn't that correct?

25    possible plaintiff asserting a patent against you?                                     25   A.   Yes.



                         UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                           199                                                                                      200


 1    Q.   So when was the first time you ever suspected that Tetra                           1   Q.   Mr. Schoettelkotte, welcome back.

 2    Tech had a patent that could in any way relate to LRAIL?                                2   A.   Thank you.

 3    A.   I never thought that the patents related to rail                                   3   Q.   Before we broke for lunch, you were talking about the

 4    inspection and I couldn't see why I received a letter from                              4   Georgia Pacific factors specifically the benefits of the

 5    Mr. Parker that they could have thought our LRAIL infringed                             5   patent technology; correct?

 6    on their intellectual property.       I never thought it.                               6   A.   That's correct.

 7    Q.   And when did you first even think that Tetra Tech was in                           7   Q.   And we were viewing the other documents that set forth

 8    fact a competitor of yours?                                                             8   the benefits associated with that patent technology?

 9    A.   When I received that letter.                                                       9   A.   That's correct.

10                 MR. RE:   I have no further questions, Your Honor.                        10   Q.   Can we put up Slide 19?

11                 THE COURT:    Okay.   Counsel, anything else?                             11                And could you just remind us what you were saying

12                 MR. BARNEY:    Nothing, Your Honor.                                       12   about this slide and what the benefits were?

13                 THE COURT:    The witness is excused.                                     13   A.   Sure.    So we were talking about the Georgia Pacific

14                 We'll take our afternoon break.       We'll come back                     14   factors, specifically, Factors 8 and 9 as well as 14.       And

15    here at ten minutes after 3:00.       Thank you.                                       15   these were some documents that I had identified in the

16                               (Jury not present.)                                         16   marketplace from Tetra Tech, the Federal Railroad

17                 THE COURT:    Be back at ten minutes after 3:00.                          17   Administration, Pavemetrics and ENSCO which are highlighting

18                                (Recess taken.)                                            18   the 2D and 3D scanning capabilities and importance of those

19                 THE COURT:    Okay.   Please have a seat.                                 19   for railroad industry for a number of reasons.

20                 When we broke for lunch, we had a witness on the                          20                Largely, cost savings, return on investment,

21    stand who is now back on the stand.                                                    21   accuracy, getting humans off of the tracks to prevent

22                 Counsel, you can proceed with your direct                                 22   injuries, things of that nature.    Those were all things we

23    examination.                                                                           23   heard Mr. Larson talk about yesterday as part of his

24                      DIRECT EXAMINATION (CONTINUED)                                       24   testimony.

25    BY MS. MATHEW:                                                                         25   Q.   Do the technical factors also consider the availability



                         UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                                 Exhibit 3
                                                                                   148
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 52 of 74 Page ID
                                      #:15291
                                                                      201                                                                                     202


 1    of whether a noninfringing alternative is available?                               1   and, um, excuse me, 9 and 10 rather would have an upward

 2    A.   They do because not only is it important to assess the                        2   impact on the royalty.    Those are the first two, the first

 3    benefits of the technology in terms of what they provide from                      3   two data points are benefits and the last one is lack of a

 4    an economic standpoint, we also want to know whether there                         4   noninfringing alternative.    There would be significant upward

 5    are alternatives that are available.                                               5   impact for these factors based upon the manner of the

 6                 You can imagine when you have something that's                        6   benefits and that there are no alternatives that would be

 7    rare, you say to yourself well, if it's rare, it would be                          7   available for the patents at issue.

 8    more valuable because there are not alternatives for it.       If                  8   Q.   Now, let's turn to the business financial factors.

 9    you can do something, you know, many different ways perhaps,                       9   Which factors are included here?

10    maybe something has less value.                                                   10   A.   Factor 5, Factor 6, 8 and 11 and 13.

11                 Here you'll recall earlier when we talked about the                  11   Q.   Beginning with Factor 5 commercial relationship between

12    second Panduit Factor which was whether acceptable and                            12   the parties, can you please explain that and how that would

13    available alternatives exists, I had told you that that                           13   affect the hypothetical negotiation?

14    factor had been met meaning no alternatives were available                        14   A.   So I view these factors as being, um, some of the more

15    for the patents at issue in this case.                                            15   important.    I mean they're all important, but some of the

16                 Well, I also take that into account here because if                  16   more important factors in this case.    You know, when I'm

17    it is rare, it's rare and you can't recreate the benefits of                      17   evaluating factors in cases, I look at, you know, certain of

18    this technology without infringing, well, that would mean                         18   the factors in some cases that are more important or less

19    that the patents are more valuable so it would add upward                         19   important.    These factors are extremely important here and

20    pressure on the royalty rate.    Rare -- rare things require a                    20   largely because we've seen that Tetra Tech and Pavemetrics

21    premium.                                                                          21   are direct, head-to-head competitors.    We saw that with their

22    Q.   And so can you summarize the overall impact that the                         22   efforts to both make sales to CSX.    So if they're the only

23    technical Georgia Pacific factors have on your analysis of                        23   two players in the market and they're direct, head-to-head

24    the reasonable royalty in this matter?                                            24   competitors, then it gets into a situation where if you are

25    A.   Sure.    So the technical factors that would be Factors 8                    25   the one losing the sale, immediately you begin to think about



                         UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                      203                                                                                     204


 1    well, what does that mean to my margins?    What type of sales                     1   people called a convoy.

 2    and profits do I lose when my direct, head-to-head competitor                      2                Well, from an economic standpoint, if one product

 3    makes the sale and I don't?    And those are the types of                          3   is sold and you have other products that follow along, those

 4    things that from an economics standpoint really kind of come                       4   are called convoyed sales that go with that product.       And in

 5    to bear when you think about the competitive relationship                          5   the Georgia Pacific factors it identifies hey, if you have

 6    between parties.    So this particular factor would have an                        6   convoyed sales that are sold with the patented product, that

 7    upward impact.                                                                     7   can also have an upward impact on the royalty.      And we see

 8                 There's also, and I'm going to take Factors 6, 8                      8   that in this case and we'll talk a little bit about it.

 9    and 11 together.    6, 8 and 11 focus on two things really, the                    9                Finally, Factor 13 is also very important.    It

10    profitability of products that are being sold.    One of the                      10   touches on something that's extremely meaningful.      It's

11    things we want to look at is well, are the products                               11   called apportionment.    Essentially, what we're trying to do

12    successful?    Are they selling in the market and do they drive                   12   is we're trying to take into account all the contributions

13    significant profit premiums?    And if they do, well, then that                   13   that licensee in this case the defendant Pavemetrics brings

14    would put upward pressure on the royalty, but it would also                       14   to the table.    Cause, you know, they run a business and they

15    serve as a data point for consideration as to what someone                        15   have employees and they have software and they have marketing

16    would be willing to pay in order to access that technology.                       16   professionals and engineers.

17    So if you have technology and you can charge a premium price                      17                They certainly are bringing technology to market

18    and generate premium profits, well that would stand to                            18   and so we have to take that into consideration as we're

19    suggest you'd be willing to pay a relatively meaningful                           19   determining what the royalty rate would be.       It's called

20    royalty in order to access that technology and so that's                          20   apportionment and we do that in a number of ways.      Also, a

21    really what Factors 6 and 8 and 11 suggest.                                       21   very important factor.

22                 Factor 6 is just slightly different, though, in                      22   Q.   Thank you.    Let's start with Factors 8 and 11.     Can you

23    that talks about someone called convoyed sales.    The phrase                     23   explain specifically how these factors relate to your

24    actually came from when you think about trucks going down the                     24   analysis?

25    road and you got a bunch of trucks following each other,                          25   A.   Sure.    If we go to the next slide, I think we can make



                         UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                            Exhibit 3
                                                                              149
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 53 of 74 Page ID
                                      #:15292
                                                                        205                                                                                     206


 1    it fairly brief.      So I said a moment ago, we look at                             1                And their operating profits per systems, I looked

 2    profitability as a data point.      So here what we see is this                      2   at two years.    I looked at their last two years and it ranged

 3    is Tetra Tech.     We know that they sold five 3DTAS systems and                     3   anywhere from an operating profit of 70 percent to 75 percent

 4    the revenue that they generated was just over $7 million.                            4   so also premium profits.    This is the type of thing you would

 5    And their revenue per system was $1,407,453 and they                                 5   at to look at to say well, Pavemetrics is also generating

 6    generated a gross profit on those revenues of $735,057 and                           6   premium profits of 70 and 75 percent from this technology.

 7    they generated an operating profit of $422,823.                                      7                So we start to look at not only does it have an

 8                 And the reason that's meaningful, I said earlier                        8   upward impact on the royalty, but those are also data points

 9    that we not only want to take into account that if you drive                         9   that we would like at.    I have a similar slide for

10    premium pricing as well as premium profits for your                                 10   Pavemetrics as well if you would like to talk about that.

11    technology, they're not only data points you would consider                         11   Q.   Um, yes, let's turn to Pavemetrics.    What amount of

12    if you were going to grant a license to someone cause it                            12   profit does it generate on LRAIL as a stand alone without the

13    factors into what do you stand to lose if I license.                                13   software?

14                 Well, in Tetra Tech's case, they stand to lose                         14   A.   So here I'm looking at it without what I'll call

15    revenue of $1.4 million and gross profit of $735,000 and                            15   ancillary or convoyed sales.    So without those ancillary or

16    more.    So the question is what would they be willing to                           16   convoyed sales, LRAIL generates $2,095,000.       Revenue per

17    license given those premium prices and profit.       So that's                      17   system is 349,167, gross profit per system is 293,300 and the

18    Tetra Tech.                                                                         18   operating profit per system is 240,925 to 261,875.      And those

19                 If you go to the next slide, I performed a similar                     19   profit margins are similarly healthy net margins 70 to 75

20    analysis for Pavemetrics with their LRAIL system.       They sold                   20   percent in those years.

21    six LRAILs and generated $2,951,861.      The revenue per system                    21   Q.   And looking at these figures, what is significance of

22    was $491,977.      I also calculated their gross and operating                      22   the profitability as it relates to the George Pacific

23    profit.    Their gross profit was about 80 some percent so                          23   factors?

24    relatively healthy.     So they generated some premium profits                      24   A.   Again, these serve two roles.    They serve as data

25    there.                                                                              25   points.    If you were negotiating a royalty, you would take



                          UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                        207                                                                                     208


 1    these into account, these data points into account in                                1   pressure on the royalty.

 2    determining what you would be willing to license the                                 2   Q.   And finally we have Factor 13.    Can you explain the

 3    technology for not only as a licensee, but a licensor.                               3   importance of this factor?

 4                 Someone's generally generating premium profits, you                     4   A.   So we talked about this a few minutes ago.       Factor 13 is

 5    look at that and you say well, you have to take that into                            5   where the apportionment discussion takes place.       And we have

 6    account in terms of assessing what the royalty rate would be                         6   to take into account well, what types of things does

 7    because the products have been commercially successful.                              7   Pavemetrics bring to the table.    What I'm showing here is

 8    Q.      Let's move to the sixth factor.    In addition to sales                      8   something that relates to the patented technology.

 9    and profits Pavemetrics makes on the LRAIL, does it also                             9                We know the patented technology is a significant

10    generate sales and profits from products sold along with the                        10   aspect of the accused products.    We've seen that in the

11    LRAIL?                                                                              11   documents.    2D, 3D, the ability to read ties, to save money

12    A.      It does.   We called these convoyed sales a few moments                     12   as it relates to, um, reading the ties for purposes of

13    ago.    The additional revenue here you'll see is $142,810.                         13   servicing CSX.    We know it was going to replacing the Aurora

14    The additional gross profit $119,961 and the additional                             14   system that was being offered for Georgetown that about

15    operation profit 98,539 to 107,108.       And this is also on a                     15   $2,250,000 savings alone just on replacing that system.         So

16    per unit basis.     So they make the sales of their products and                    16   we know this feature is very important.

17    they also have convoyed sales that they sell.       So, again, it                   17                So Factor 13 says well, look at the patented

18    goes to showing they're commercially successful with the                            18   features, but we also need to take into account what

19    product and driving premium sales and premium profits.                              19   Pavemetrics brings to the table.

20    Q.      And what is the impact on the royalty rate in this case?                    20   Q.   Did you consider any other documents as you were

21    A.      Mostly it's data points.   Again, these are data points                     21   considering this?

22    that I think the parties would consider.      From an economic                      22   A.   I did.     This is an LRAIL flyer that was put out by

23    standpoint, they're identifying two things.        They're                          23   Pavemetrics, and I thought this was an interesting document

24    identifying, uh, the performance of the products, but also                          24   because it highlights LRAIL AI-Enhanced Railway Inspection

25    because they're commercially successful, that puts upward                           25   System.



                          UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                150
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 54 of 74 Page ID
                                      #:15293
                                                                        209                                                                                       210


 1                 And what it says on the second page, you don't see                      1   factors which would be the licensing factors.       What factors

 2    it here, but what it says on the second page is that the                             2   would you like to discuss here?

 3    LRAIL combines 2D imaging, 3D scanning, image processing and                         3   A.    Um, just Factor 4.    The other factors I reviewed them,

 4    artificial intelligence to automatically scan and inspect the                        4   but they were much less relevant to this particular

 5    entire track area including ballast which is the rocks that                          5   hypothetical negotiation, um, and so Factor 4 is the one I'd

 6    are underneath the ties, the ties, the sleepers, the                                 6   like to talk about.

 7    railheads and the fasteners and it talks about some key                              7   Q.    Okay.    Let's talk about Factor 4 then.     And what does

 8    features.                                                                            8   this factor relate to?

 9                 And one of those key features is combined                               9   A.    So, again, this is in the licensing factors and what it

10    high-resolution 2D imaging and 3D laser profiling.       And so                     10   really says is what is the willingness, what's the

11    what these documents tell me as we talked about today in                            11   willingness of Tetra Tech, the patent owner, to license their

12    other forms is that the technology's extremely important.         As                12   technology.     Some licensors or some owners of patents rather,

13    I spoke with Dr. Morellas, he identified it to me as being                          13   they want to keep their technology to themselves.       They want

14    core and fundamental to these products.                                             14   to commercialize it themselves.     Right?    They invented it.

15                 From that we understand it's important, but we also                    15   They want to commercialize it.     They want to generate profits

16    want to take into account other things that Pavemetrics                             16   and they want to have that as a way to compete.       So some will

17    brings to the table and those are the things that I mentioned                       17   say they don't want to license.

18    earlier such as their people, their resources, their                                18                 Now, here because we're looking at a hypothetical

19    financial capabilities, the Pavemetrics name, growing the                           19   negotiation under Georgia Pacific, we get to take into

20    company, all of the types of resources that they bring to                           20   account the fact that Tetra Tech does not want to license and

21    bear should also be considered.                                                     21   that has upward pressure on the royalty.       Cause they would

22                 And so that would be a downward pressure on the                        22   say no, we don't want to license.     We would prefer not to.

23    royalty rate because we want to give them, Pavemetrics credit                       23   We want to commercialize it ourselves, but Georgia Pacific

24    for everything that they bring to bear in the negotiation.                          24   requires that we come to an agreement.       It requires that we

25    Q.   Now, let's move to the final group of Georgia Pacific                          25   come to an agreement so this factor would have an upward



                         UNITED STATES DISTRICT COURT                                                              UNITED STATES DISTRICT COURT




                                                                        211                                                                                       212


 1    influence because of their desire not to license.                                    1   costs in addition to the incremental profit, this 735,057 for

 2    Q.   And there's one last factor, Factor 15 as well; correct?                        2   the 3DTAS gross profit would be another number we would look

 3    A.   That's correct.                                                                 3   at.   Importantly, they would recognize that Tetra Tech and

 4    Q.   And the last factor, Factor 15 is the hypothetical                              4   Pavemetrics pricing there's a significant disparity.

 5    negotiation.                                                                         5                 Pavemetrics price for the 3DTAS is approximately --

 6    A.   That's correct.                                                                 6   excuse me, for their LRAIL is approximately $600,000 less in

 7    Q.   Can you summarize your opinions as to the appropriate                           7   price than the 3DTAS.     So there would be a significant focus

 8    royalty rate in this case?                                                           8   on that because of that head-to-head competitive

 9    A.   Sure.     So I mentioned a few minutes ago that I thought                       9   relationship.

10    the data points would be very meaningful to a hypothetical                          10                 We'd also look at the operating profit of the

11    negotiation.    And if we show that slide again?                                    11   3DTAS.   And so on the far right-hand side, we're looking at

12                 If you look over to the far right-hand side, you'll                    12   the profits of Tetra Tech and on the left-hand side, you'll

13    remember the 1.1 million.    This was the incremental profit                        13   see LRAIL gross profit of 413,000.     You'll see LRAIL profit

14    that we talked about under lost profits.     As I mentioned,                        14   at 368, and then there's an additional operating profit.

15    this is a number that Tetra Tech would consider because they                        15   You'll remember that I said they provided two operating

16    would say if we give a license to Pavemetrics, we stand to                          16   profits, one at 70 percent and one at 75.      So that range was

17    lose $1.1 million for every sale that they make.                                    17   339 to 368.

18                 So take, for example, CSX.   Both parties are                          18                 And then I also looked at their system only LRAIL

19    competing there.    Tetra Tech wants to win that sale.                              19   profit which is the far left-hand side and that ranges from

20    Pavemetrics takes it with the infringing technology and Tetra                       20   240,000 to 293,000.     I believe, again, these would be data

21    Tech is harmed by the fact that they can't make that sale.                          21   points that the parties would consider in terms of what would

22    So they would have that number in their mind.                                       22   be a reasonable royalty to account for those Factor 8,

23                 They would also have their gross profit in mind;                       23   Factor 11 and 6 data points that we talked about.

24    right?   They would want to consider well, if we're                                 24   Q.    So what's the next step of your analysis?

25    apportioning away and we understand that there might be other                       25   A.    We need to apply the other Georgia Pacific factors to



                         UNITED STATES DISTRICT COURT                                                              UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                151
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 55 of 74 Page ID
                                      #:15294
                                                                        213                                                                                        214


 1    make sure we understand where within the range we would fall.                        1   generated.

 2    I have two slides I'd like to walk through very quickly, if I                        2                Let's go to the next slide.    So we talked a lot

 3    may.                                                                                 3   about the lack of a noninfringing alternative.         Um, we

 4                 And so we talked about Factor 4 just a moment ago.                      4   understand that there's no noninfringing alternatives.

 5    That's on top.      There's a preference not to license and                          5   Again, as I said, I talked to Dr. Morellas, I talked to

 6    instead to commercialize.     That's Tetra Tech's preference.                        6   Mr. Larson.    We heard about how CSX whittled down who they

 7    Upward pressure on the royalty.                                                      7   were looking at.       They said Balfour Beatty they weren't going

 8                 Factor 5 we talked about the intense competition                        8   to be -- they didn't have the technology in order to do what

 9    and there's really two issues here.        One is it's a                             9   needed to be done so it came down to Tetra Tech and

10    head-to-head two player market and so that brings into                              10   Pavemetrics.    That would come into play, no alternatives.

11    account Pavemetrics makes the sale.        Tetra Tech does not.                     11                Benefits of the patents at issue.       We've talked

12                 The other element here and we heard Mr. Keyes talk                     12   about that as well.       And that's not only the core and

13    about this yesterday and that's second line item on five,                           13   fundamental nature of what I talked about with Dr. Morellas,

14    Tetra Tech stands to lose sales and profit by licensing in a                        14   but it's also the fact that this overcame limitations that,

15    limited market.      There's only seven major railroads in this                     15   uh, otherwise, uh, this overcame limitations that otherwise

16    market.    And so once they buy one or two or three of these                        16   other products in the market struggled with.         The one talked

17    products, the market starts to fade in terms of how many                            17   we talked about most recently is the Aurora system which

18    units can be sold.                                                                  18   could only do 6,000 miles a year versus 60,000 to 90,000 by

19                 I think Mr. Keyes said they estimated there was no                     19   the RailAI system.

20    more than 500-unit sales of these types of products in the                          20                And then finally Factor 13, we talked about that as

21    market.    Because it's a smaller market that would be                              21   being we need to make sure we apportion down to give credit

22    something the parties would take into account.       It's a                         22   where credit is due to Pavemetrics.

23    scarcity so that would put upward pressure on the royalty.                          23   Q.      Mr. Schoettelkotte, earlier you talked about how many

24                 Finally, Factor 6, we talked about this.      It's                     24   units, potential units were there.       Could you clarify the

25    convoyed sales.      There's additional sales and profit that's                     25   number that you had mentioned?



                          UNITED STATES DISTRICT COURT                                                               UNITED STATES DISTRICT COURT




                                                                        215                                                                                        216


 1    A.     For lost profits or royalty?                                                  1   would get to these LRAIL system only operating profits.

 2    Q.     Royalty.                                                                      2                Given the impact of the Georgia Pacific factors

 3    A.     For royalty it's one unit and it's a sale that includes                       3   including apportionment, I determined that a reasonable

 4    sale and delivery of a product to AID.                                               4   royalty here would be no less than, no less than $250,000 per

 5    Q.     I'm sorry.    I meant to clarify.    Potential units in                       5   unit.

 6    terms of testimony you had heard earlier today from                                  6   Q.      Mr. Schoettelkotte, did you perform an analysis to

 7    Mr. Keyes?                                                                           7   determine the reasonableness of the royalty rate?

 8    A.     Oh, I'm sorry.    That was 500.   500 units in the market                     8   A.      I did, yes.    This is just a quick summary of my opinion.

 9    across seven railways so it would be a limited market.                               9   Remember there was one sale and then delivery of a

10    Q.     Turning back to the factors, what is the impact of these                     10   Pavemetrics LRAIL to AID.       This is the one unit that would be

11    factors?                                                                            11   at issue so $250,000 times that one unit is obviously

12    A.     If we go to the next slide, please.      So what I've                        12   $250,000 and that would be the royalty.

13    determined is that Tetra Tech would obviously want to focus                         13                Then I performed an analysis to show the

14    on the far right-hand side of this chart in terms of what                           14   reasonableness of this royalty in the concluding section of

15    they would be losing.     And they would not only take into                         15   my presentation.

16    account their incremental profit, their gross profit, they                          16   Q.      What impact does this royalty rate have on price

17    would take into account the significant price difference and                        17   difference?

18    their operating profit, but they would also have to                                 18   A.      So what we see here is this is the price of the 3DTAS

19    understand the profits that Pavemetrics is generating.                              19   and a controller which I understand would perform the

20                 And in order to apportion, in order to apportion,                      20   functions that the LRAIL system provides.       So keep in mind

21    I've given Pavemetrics the benefit of all of their costs not                        21   that Tetra Tech would want to sell the RailAI and all the

22    only to get to a gross profit, but also to get to an                                22   functionality that's there because I understand that they

23    operating profit.      So I'm giving them costs in terms of                         23   believe that the RailAI system comes with a very significant

24    apportionment of not only things like costs of goods sold and                       24   amount of additional technology which allows railroads to be

25    labor, but also administrative costs and other things which                         25   to more effective and more efficient.



                          UNITED STATES DISTRICT COURT                                                               UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                152
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 56 of 74 Page ID
                                      #:15295
                                                                           217                                                                                      218


 1                 If I'm looking on just a component-by-component                            1   Q.   Total past damages?

 2    level, what would be shown here is a 3DTAS and controller                               2   A.   Sure.    So we talked about lost profits to CSX and

 3    which would be used with one of these ATAC cars in order to                             3   3,357,000.    We talked about the reasonable royalty of 250,000

 4    perform a 2D 3D assessment of the ties.          The price of that                      4   for the one unit that went to AID.       So the total past damages

 5    would be $1,407,453.       The comparable price of the LRAIL                            5   for all four units would be $3,607,000.

 6    system is $491,977.       So the price difference is rather                             6   Q.   And this is for past damages; correct?

 7    significant.                                                                            7   A.   That's correct.       To the extent that Pavemetrics was to

 8                 If we go to the next slide, if we were to add the                          8   sell additional units, my understanding is that they would

 9    reasonable royalty that I've calculated, that would if                                  9   either be subject to potential lost profits or a royalty

10    Pavemetrics decided they would increase their price by just                            10   depending on what the Court were to determine.

11    the royalty itself, their price would increase to $714,977                             11                MS. MATHEW:    Thank you, Mr. Schoettelkotte.

12    which would still be significantly less than Tetra Tech's                              12                I will pass the witness.

13    price at $1,407,453.                                                                   13                THE COURT:    Cross-examination.

14                 So I performed that analysis to determine you've                          14                MR. ZOVKO:    Yes, Your Honor.

15    got Tetra Tech who develops this market and is first to the                            15                              CROSS-EXAMINATION

16    market, is the patent owner, sets the price.         They have a                       16   BY MR. ZOVKO:

17    competitor who comes into the market at a lower price.          If                     17   Q.   Good afternoon, Mr. Schoettelkotte.

18    they were to charge a royalty of $250,000, Pavemetrics could                           18   A.   Good afternoon.

19    still compete in the market, I mean, it would still be a                               19   Q.   You're not here to tell the jury whether or not

20    lower price than Tetra Tech from a competitive standpoint.                             20   Pavemetrics infringes; correct?

21                 And from my standpoint, from an economics                                 21   A.   No, I'm not.

22    standpoint, that seems to be a reasonable royalty rate.                                22   Q.   And you're not here to tell the jury whether or not the

23    Q.      Does that complete your analysis of damages in this                            23   patents are valid; correct?

24    case?                                                                                  24   A.   That's correct, I'm not.

25    A.      It does, yes.                                                                  25   Q.   And if the jury finds in fact that Pavemetrics does not



                         UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                           219                                                                                      220


 1    infringe, then damages are zero; correct?                                               1   Q.   And it states revenue about 2.9 million for those six

 2    A.      That is correct.    There would be no reason for my                             2   LRAIL sales; correct?

 3    testimony or Mr. Tregellis.                                                             3   A.   That's correct.

 4    Q.      Likewise, if the jury finds that the patents are                                4   Q.   But there's only four LRAIL sales at issue in this

 5    invalid, then damages are zero; correct?                                                5   trial; correct?

 6    A.      That is correct.                                                                6   A.   That is correct as well.

 7    Q.      And if I understood you in your calculations, uh, with                          7   Q.   Three sales to CSX; right?

 8    respect to damages, you assumed that there was both                                     8   A.   Yes.

 9    infringement and the patents are valid; correct?                                        9   Q.   And just one sale to AID; right?

10    A.      That's correct.                                                                10   A.   I would be happy to explain if you'd like me to.

11    Q.      And you understand the reason I'm up here asking you any                       11   Q.   Just answer my questions.

12    questions about damages, even though Pavemetrics strongly                              12   A.   Yes, you are correct.       I would be happy to explain if

13    believes it doesn't owe Tetra Tech anything, is that we have                           13   you would like me to.

14    an obligation to provide the jury with evidence relating to                            14   Q.   Understood.    If I want an explanation, I'll ask for it.

15    damages.    You understand that; correct?                                              15   Thank you.

16    A.      Well, I don't want to suggest to know why you're                               16   A.   Yes, sir.

17    standing where you are.       Um, I assume you're doing your job                       17   Q.   So you understand there can be no damages on

18    for your client, but I don't know why you're standing there                            18   Pavemetrics' first two sales to CSX; right?

19    other than to speak with me today.       I just don't know.                            19   A.   Yes, that's correct.       I understand that is a legal

20    Q.      Let's pull up Slide 23, please of Mr. Schoettelkotte's                         20   issue.

21    demonstratives.    Sorry.     24.   Thank you.                                         21   Q.   But in this slide for the jury, you did not provide the

22                 Mr. Schoettelkotte, in this slide you created, it                         22   total revenue for Pavemetrics' four LRAIL sales at issue

23    refers to in the middle, there's a box and it says six LRAIL                           23   actually in this trial; right?

24    systems sold; correct?                                                                 24   A.   Well, that would be improper.

25    A.      That's correct.                                                                25   Q.   Yes or no.



                         UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                                 Exhibit 3
                                                                                   153
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 57 of 74 Page ID
                                      #:15296
                                                                        221                                                                                       222


 1    A.   I didn't because that would be improper.                                        1   A.      I am.    That's correct.

 2    Q.   Why would it be improper?                                                       2   Q.      So you can do the math and roughly estimate what the

 3    A.   Because what I'm showing here is I'm showing the                                3   total revenue of the four LRAIL systems at issue in this

 4    profitability associated with the sales that were made by                            4   trial would be?

 5    Pavemetrics.    There's four units at issue and those four                           5   A.      Sure.    If I estimated 491,000 and I rounded up to

 6    units at issue are based upon I understand to be a legal                             6   500,000 and I multiplied times four, it would be roughly

 7    issue.   This is an analysis of the financial performance of                         7   2 million.

 8    Pavemetrics.    It has nothing to do with the royalty base.       It                 8   Q.      Roughly, 2 million.    But your opinion is that

 9    has everything to do with the significant financial                                  9   Pavemetrics should pay Tetra Tech over $3.6 million as a

10    performance of Pavemetrics with the sales of their products.                        10   result of this lawsuit; correct?

11    Q.   And nothing in the slides you just went through would                          11   A.      That's correct.

12    show the jury what Pavemetrics' total revenue is for the four                       12   Q.      And so your opinion is Pavemetrics should pay Tetra Tech

13    sales at issue in this trial; right?                                                13   nearly twice the total amount of money that Pavemetrics has

14    A.   Well, again, it wouldn't, but that would be improper.                          14   received for the four products at issue in this case; right?

15    Q.   Yes or no.                                                                     15   A.      In lost profits and reasonable royalty, that's correct.

16    A.   No, cause it would be improper.                                                16   Q.      Go to the next slide, please.      So now we're on the slide

17    Q.   So the total revenue for the four LRAIL systems at issue                       17   I think you explained relates to just the LRAIL unit itself

18    in this trial would be less than 2.9 million; correct?                              18   and not what you call convoyed sales; correct?

19    A.   Yes.                                                                           19   A.      That's correct.

20    Q.   And what is the total revenue for the four LRAIL sales                         20   Q.      So if we focus on just the LRAIL units at issue in this

21    at issue in this trial?                                                             21   case accused of infringement, six of them including the two

22    A.   I haven't committed that to memory.     It's not of any                        22   not accused of infringement, the total revenue is about

23    significance to my analysis for the reason that I mentioned.                        23   2 million; right?

24    Q.   Well, if we -- you're a financial expert now in this                           24   A.      Can you repeat that?       I'm sorry.

25    case; right?                                                                        25   Q.      The six LRAIL systems that Pavemetrics has sold, two not



                         UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                        223                                                                                       224


 1    at issue in this case, the total revenue you state here is                           1   A.      Portions of it, not all of it.

 2    about $2 million; correct?                                                           2   Q.      Were you there when Mr. Habel explained that the pricing

 3    A.   Yes, 2,095,000, that's correct.                                                 3   of Pavemetrics' LRAIL is based on its historical pricing of

 4    Q.   And what would the total revenue of the four LRAIL                              4   its LCMS system which it sold for many years.        Did you hear

 5    systems at issue in the trial be not including convoyed                              5   that?

 6    sales?                                                                               6   A.      I did.

 7    A.   I will take a similar approach as I did last time.       I                      7   Q.      Let's go to Slide 29, I believe it is.

 8    will round the 349,000 up to 350,000.    I'll multiply that by                       8                   The slides changed because last night they sent us

 9    four and that would be 1.5 million.                                                  9   a version.       We had a new version today.    So if there's a

10    Q.   1.4 million; correct?                                                          10   discrepancy in slides, that's why.         I'll do my best to keep

11    A.   I beg your pardon.    You're correct.                                          11   it going.       It's the slide with the bar graph.   32 of the

12    Q.   I'm not a financial expert, but I do know basic                                12   version that was sent by Mr. Schoettelkotte's representatives

13    arithmetic.    1.4 million compared to, again, 3.6 million you                      13   last night.

14    believe Pavemetrics should pay Tetra Tech; right?                                   14                   And in red you talked about the theoretical

15    A.   Yes.     Based upon lost profits and a reasonable royalty,                     15   possibility or the price difference between Tetra Tech's

16    that's right.                                                                       16   3DTAS and Pavemetrics' LRAIL; right?

17    Q.   So, again, looking at the LRAIL units alone accused of                         17   A.      That's correct.

18    infringement in the case, you believe Tetra Tech should get                         18   Q.      And I believe you suggested that Pavemetrics could

19    over twice the total amount of money Pavemetrics has received                       19   increase its price to make up for the idea of having to pay a

20    at all for those four accused units; correct?                                       20   royalty to Tetra Tech; is that right?

21    A.   In lost profits and reasonable royalty, that is correct.                       21   A.      Um, that wasn't quite what my testimony was.      I'd be

22    Q.   You talked about Pavemetrics' pricing of its LRAIL a                           22   happy to repeat it if you'd like.

23    little bit; is that right?                                                          23   Q.      Sure.

24    A.   That's correct.                                                                24   A.      So the testimony that I provided was Pavemetrics came

25    Q.   Did you listen to Mr. Habel's testimony earlier today?                         25   into the market at a lower price than Tetra Tech.         Tetra



                         UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                154
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 58 of 74 Page ID
                                      #:15297
                                                                        225                                                                                       226


 1    Tech's price was higher.       They came into the market in 2015.                    1   what I've been asked to do is assess what a reasonable

 2    Pavemetrics came into the market to my knowledge in 2018.                            2   royalty is.

 3    Ultimately, if Pavemetrics were to pay a royalty consistent                          3   Q.     And in fact based on the facts of this case, Pavemetrics

 4    with the reasonable royalty that I've determined of $250,000,                        4   actually gave CSX a discount because CSX bought five units, a

 5    it would still be, and they chose to pass that along to a                            5   volume discount; right?

 6    customer, their price would still be well below Tetra Tech's                         6   A.     Can you repeat that?     Your words got mixed up a little

 7    pricing.                                                                             7   bit.   I wanted to hear it one more time, please.

 8    Q.      Are you aware of any instance where Pavemetrics has                          8   Q.     Let's focus on the facts of this case.      In this case

 9    raised the price of its LRAIL?                                                       9   Pavemetrics in fact provided CSX with a volume discount in

10    A.      Um, well, I'm not, but, no, no.    Not in the record, no.                   10   that they gave CSX a lower price because CSX was buying five

11    Q.      And you reviewed thousands of Pavemetrics' documents in                     11   units as opposed to just a single unit; correct?

12    this case; right?                                                                   12   A.     I think they did, yes.    And I believe those were the

13    A.      I think that's correct, yes.                                                13   accused units.

14    Q.      And you reviewed all the testimony from many Pavemetrics                    14   Q.     And you're not aware of any testimony from CSX that CSX

15    witnesses; right?                                                                   15   would have paid more than it did for an LRAIL; correct?

16    A.      I did, yes.                                                                 16   A.     No, I'm not aware of that.    I know that they wanted the

17    Q.      And you heard Mr. Habel as we established earlier                           17   best system out there.     They wanted the system that would be

18    testify today pricing was based on the legacy LCMS system;                          18   the best.      Again, I'm operating in a but for world where

19    right?                                                                              19   they're trying to make a decision to get the best technology

20    A.      I'm not sure I'm aware whether that system is accused or                    20   out there and what that impact would be, but I haven't seen

21    not.    So they came into the market with a different system.                       21   any testimony that's related to what you've said.

22    That system is now called LRAIL.       I understand it is accused                   22   Q.     Right.    They went with the best so they picked the

23    of infringing.    In order to use the technology, they would                        23   LRAIL.   And you're not aware of Mr. Hafiz of AID testifying

24    have to pay a reasonable royalty.       So perhaps they weren't                     24   that AID would have purchased LRAIL if it was priced at a

25    paying a reasonable royalty on their LCMS system, but here                          25   higher price; correct?



                            UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                        227                                                                                       228


 1    A.      I didn't understand the first part of your question.                         1   Q.     And according to you, Pavemetrics sold three LRAIL

 2    That was inconsistent with what I said.       I never suggested                      2   systems to CSX on March 15, 2021; correct?

 3    that so if we start that question over.       You mentioned                          3   A.     Um, I just want to make sure we're being clear.      That

 4    something about they went with LRAIL because they were the                           4   was in the Goods Agreement we looked at.      So when you say

 5    best.    LRAIL was infringing so it's an infringing accused                          5   according to me, I showed the jury a Goods Agreement which

 6    product, but I never said they were the best.        I said CSX was                  6   identified that specific date.      So according to the Goods

 7    looking for the best product.                                                        7   Agreement, that's when that date occurred.      It's not

 8    Q.      And CSX purchased the LRAIL; correct?                                        8   according to me, it's the Goods Agreement.

 9    A.      They did, but that's the accused product.                                    9   Q.     Okay.    But for the purpose of analysis, you had

10    Q.      If there's more explanation needed, I'm sure your                           10   determined whether there were sales of accused units;

11    counsel will do it.       I'm trying to move things along for the                   11   correct?

12    jury.                                                                               12   A.     That's correct.    That's why I looked at the Goods

13    A.      Understood.    I just wanted to make sure the record is                     13   Agreement.

14    clear.                                                                              14   Q.     And you assigned dates to those sales; correct?

15    Q.      And you're not aware, so I'll go back to my question,                       15   A.     Absolutely I did, yes.

16    you're not aware of Mr. Hafiz at AID or anyone else from AID                        16   Q.     And for the three CSX units, you assigned March 15, 2021

17    testifying that AID would have purchased LRAIL at a price                           17   as the date; correct?

18    higher than it in fact did; correct?                                                18   A.     That's correct as well.

19    A.      I haven't seen testimony of that sort.                                      19   Q.     For the AID unit, you assigned December 23rd, 2020, as

20    Q.      Certainly not $600,000 more; correct?                                       20   the date of sale; correct?

21    A.      Well, again, you need to look at the economics before                       21   A.     Well, I don't know that -- there's a legal issue here

22    you make that judgment.                                                             22   that I want to make sure that I'm clear on.        I understand

23    Q.      So this slide identifies the accused LRAIL systems;                         23   that this unit there's an argument for something called

24    correct?                                                                            24   indirect infringement.     It's a legal argument.    It's beyond

25    A.      It does, yes.                                                               25   my purview, but I am aware that the argument is it was sold



                            UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                155
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 59 of 74 Page ID
                                      #:15298
                                                                        229                                                                                    230


 1    on December 23rd, but the indirect infringement through                              1   to complain about.

 2    something called inducement --                                                       2               MR. ZOVKO:   Understood, Your Honor.

 3                MR. ZOVKO:    Well, Your Honor, this is well beyond                      3   Q.   You understand at the end of this trial, the jury will

 4    the scope of his expert report.                                                      4   be instructed on the date that damages can begin in this

 5                THE COURT:    I'll let him finish his answer.                            5   case; right?

 6                Go ahead.                                                                6   A.   Again, that's a legal issue and I will leave that to the

 7                THE WITNESS:    Thank you, sir.                                          7   trier of fact.    I don't want to speak for the trier of fact

 8                The indirect infringement was based upon inducement                      8   so I don't know if I can give you that answer.     I understand

 9    and inducement occurred when the product was delivered.      So                      9   what's being alleged and that's what I provided, but I can't

10    the slide I showed the ladies and gentlemen in the courtroom                        10   tell you how the trier of fact will direct the jury.        Sorry.

11    was not this slide.      It had two dates on it and the second                      11   Q.   So you don't know whether -- do you know whether or not

12    date was the delivery date.        And so that was my                               12   the parties have agreed that that date for the '293 patent is

13    understanding, again, a legal issue, but I wanted to make                           13   January 5, 2021?

14    sure the record was clear this wasn't the slide we talked                           14   A.   I don't have an awareness of that.     My understanding

15    about during my presentation.                                                       15   is -- I've provided my understanding of the allegation and

16                MR. ZOVKO:    Right.                                                    16   I've calculated damages in that form, but those are legal

17    Q.   This was a slide your counsel sent us last night;                              17   issues that you're asking me about and I'm working as an

18    correct?    That we did not object to; right?                                       18   economic expert based upon those ground rules.

19    A.   You're asking me questions that I don't --                                     19   Q.   So we established earlier that according to your

20                THE COURT:    And again, let me stop you for a                          20   analysis, Pavemetrics sold one LRAIL unit to AID.       Can I ask

21    second.    There's some discussions earlier when the witness                        21   you few quick questions about that?     Is that all right?

22    first got on the stand about slides you got last night.      None                   22   A.   Sure, absolutely.

23    of that's appropriate when we have the jury here.       Ask him                     23   Q.   So if after receiving this LRAIL from Pavemetrics, AID

24    questions about opinions in his report, and then you guys can                       24   used that LRAIL every single day for a year, would that

25    squabble all night outside the courtroom about stuff you want                       25   change your opinions at all?



                         UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                        231                                                                                    232


 1    A.   Well, again, this is getting into what I would call a                           1   that he expressed with respect to, I don't know, reasonable

 2    liability issue.    My understanding is, and again, you've                           2   royalties or, um, lost profits or those things that are sort

 3    asked me and I'll do the best I can.       This is a legal issue                     3   of the nuts and bolts of a damages expert report.

 4    and the legal issue is based upon something called indirect                          4               MR. ZOVKO:   And there are some fundamental issues.

 5    infringement.    And I understand as a layman that that                              5   I'll try couple a more questions.

 6    indirect infringement can be triggered when there's an                               6               THE COURT:   Well, okay.   I mean the legal questions

 7    induced infringement.      And that the induced infringement can                     7   that underlie the questions you're asking are gonna be

 8    be a situation where the selling party teaches the customer                          8   decided and instructed to the jury or the jury's gonna make

 9    how to do the infringement --                                                        9   determinations as to whether a sale counts as an infringement

10                MR. ZOVKO:    Your Honor, this is not in his report.                    10   or not.    Um, I think this witness is kind of assuming, he's

11                THE COURT:    I know, but you can go ahead and finish                   11   assuming that these count as infringing sales and he's

12    your answer.                                                                        12   extrapolating damages based on that; is that correct?

13                THE WITNESS:    Thank you, sir.                                         13               THE WITNESS:   Yes, sir.   That is absolutely

14                MR. ZOVKO:    I'm asking him --                                         14   correct.

15                THE COURT:    Hang on.                                                  15               THE COURT:   So attacking his assumption, then

16                THE WITNESS:    So ultimately my understanding as a                     16   obviously if he's wrong about these be infringing sales, then

17    layman is that that inducement takes place when the seller of                       17   they won't be damages.     But if he's right, he's got this

18    the product teaches the purchaser of the product how to                             18   analysis based on that.     So I'd wish you start there.    You're

19    perform the invention.      And I understand in this case this is                   19   perfectly able to do whatever you want to do, but that's why

20    what's been alleged.      I have no opinion on this that when the                   20   we're getting into these areas.

21    product was sold and delivered to AID, at the point in time                         21               MR. ZOVKO:   Can I try one more question?

22    it was delivered, there would be an inducement and that                             22               THE COURT:   Sure, of course.

23    inducement would trigger the infringement.                                          23   BY MR. ZOVKO:

24                THE COURT:    I think we can avoid going off in these                   24   Q.   AID's uses are not relevant to your damages

25    areas if you ask him questions about some of his opinions                           25   calculations; is that fair?



                         UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                156
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 60 of 74 Page ID
                                      #:15299
                                                                       233                                                                                     234


 1    A.   Um, my damages calculation is because there's an                               1   the transcripts from this trial in there.      Do you see a tab

 2    infringement.    If there's no infringement, then my damages                        2   with that?

 3    calculation wouldn't be necessary for the jury.       I understand                  3   A.   I do, yes.

 4    that, again, there's an argument over indirect infringement                         4   Q.   And from Wednesday, August 17th, page 77.      Let me know

 5    and those issues are legal issues.     If the trier of fact                         5   when you get there.

 6    determines that there is no infringement, at that point in                          6                THE COURT:   Counsel, what are you trying to do with

 7    time there would be no damages.     And if there is                                 7   the trial transcript?

 8    infringement, well, then my reasonable royalty for AID in my                        8                MR. ZOVKO:   Well, Mr. Schoettelkotte incorrectly

 9    opinion would be $250,000 per unit.                                                 9   stated Mr. Keyes' testimony so I'm trying to clarify the

10    Q.   All right.    I want to bring up something you mentioned                      10   record.

11    on direct.    You talked about 500 units; is that right?                           11                THE COURT:   Okay.   I mean, I don't think it's

12    A.   That's correct.                                                               12   appropriate to cross-examine him with a transcript from the

13    Q.   And what was that?     Can you clarify that again?                            13   trial about what somebody else said.      You can certainly have

14    A.   Sure.     So during Mr. Keyes testimony, I believe his name                   14   him assume what somebody testified to and move on.       And,

15    is Gary Keyes.    He's an employee of Tetra Tech.     I was in the                 15   again, can I have counsel come up to side bar?

16    courtroom for his testimony yesterday.     And I believe his                       16                (Following proceedings held at side bar:)

17    testimony was that there are in their estimation, Tetra Tech,                      17                THE COURT:   I've told the jury they're not going to

18    500 units of these type of products would be the market for                        18   have transcripts available to them certainly so I really

19    the rail system.    And a limited market, a limited market                         19   don't want to be throwing transcripts around.

20    would be a consideration in terms of the royalty in this case                      20                What are you trying to do?

21    because the smaller the market, the more competitive the                           21                MR. ZOVKO:   He said there are 500 units out there

22    market gets.                                                                       22   and the testimony was maybe 50 units.

23    Q.   Mr. Keyes, do you have a book up there, a cross binder?                       23                THE COURT:   So you can ask him if he's wrong about

24    A.   I do.                                                                         24   that, but, again, the transcript doesn't come into evidence

25    Q.   I'm sorry, Mr. Schoettelkotte.     Could you please turn to                   25   so there's no real way to use it to verify what somebody said



                         UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                       235                                                                                     236


 1    or didn't say.    It's up to the jury to determine what a                           1   Q.   And so the customer relevant to the lost profits

 2    person said or didn't say.     So you can certainly ask him if                      2   analysis who would have purchased a Tetra Tech unit in this

 3    this person said 15 not 500 and how would that change his                           3   but for world you've constructed is CSX; right?

 4    analysis without using the transcript.                                              4   A.   That's right.

 5                 MR. ZOVKO:   Understood, Your Honor.   Thank you.                      5   Q.   And I believe you testified you didn't have access to

 6                          (Side bar concluded.)                                         6   information from CSX because CSX is not a party to this

 7                 THE COURT:   You can proceed, Counsel.                                 7   lawsuit; right?

 8    BY MR. ZOVKO:                                                                       8   A.   Well, I didn't have access to their financial

 9    Q.   Mr. Schoettelkotte, our understanding of Mr. Keyes'                            9   information, but I was able to find it through the SEC.         So

10    testimony is he said there's maybe quote, unquote "maybe" 50                       10   when I say that they didn't produce information, they didn't

11    of these types of units.     Does that change your opinion or                      11   produce.     They didn't produce information such as the type of

12    analysis with respect to this issue?                                               12   information I got from Tetra Tech and Pavemetrics.

13    A.   Um, yeah, I would actually say that if I, first of all,                       13   Q.   Right.     So the fact that CSX wasn't a party to this

14    if I misheard him, then I would apologize to the ladies and                        14   lawsuit doesn't mean that CSX didn't provide information in

15    gentlemen in the courtroom.     But I would say if he said                         15   this lawsuit; right?

16    there's maybe 50, that would suggest that the market is                            16   A.   Oh, I would agree with that.

17    actually more competitive than what I thought I heard.       So 50                 17   Q.   In fact CSX provided information in response to requests

18    would mean that you have two players competing for a smaller                       18   from Tetra Tech's lawyers; correct?

19    market which would make it actually more competitive.      My                      19   A.   I believe that's accurate, yes.

20    apologies for mishearing him, but it would actually make it                        20   Q.   CSX produced thousands of pages of documents; right?

21    more competitive if he said 50.                                                    21   A.   Yes.     Again, I was referring to their financial

22    Q.   Let's turn to your lost profits consideration analysis                        22   performance.

23    at this time.    You're asserting lost profits for only three                      23   Q.   And a CSX employee, Brad Spencer testified on behalf of

24    sales to CSX only; correct?                                                        24   the corporation CSX; right?

25    A.   That's correct, yes.                                                          25   A.   Yes, I recall that.



                         UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                             Exhibit 3
                                                                               157
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 61 of 74 Page ID
                                      #:15300
                                                                       237                                                                                       238


 1    Q.   Now, focusing on Brad Spencer of CSX, you didn't speak                         1   right?

 2    with Brad Spencer before you formed your opinions in this                           2   A.    I believe that was one of the reasons, yes.

 3    lawsuit; correct?                                                                   3   Q.    And Mr. Spencer testified that even after CSX purchased

 4    A.   That's correct.                                                                4   the first two LRAILs from Pavemetrics, Tetra Tech was still

 5    Q.   But you did review Mr. Spencer's deposition; right?                            5   pitching or attempting to sell the RailAI and 3DTAS system to

 6    A.   Yes, I did.                                                                    6   CSX; right?

 7    Q.   You reviewed the entire deposition Mr. Spencer gave?                           7   A.    That's my understanding, yes.

 8    A.   Yeah, you asked me that at my deposition and I agreed                          8   Q.    And Mr. Spencer testified at that time his supervisors

 9    with you.    I did, yes.                                                            9   immediately turned down any proposals from Tetra Tech because

10    Q.   And so you understand that Mr. Spencer testified that                         10   it just too much, CSX didn't have the budget; right?

11    both RailAI and 3DTAS was too expensive for CSX; right?                            11   A.    I think there's something like that.    I know you are

12    A.   I would say that they strongly considered both of them,                       12   trying to summarize his testimony and I'm not suggesting

13    but they had a cheaper product with Pavemetrics.                                   13   you're wrong in those exact words, but I know there was

14    Q.   And you understand then Mr. Spencer testified that Tetra                      14   discussion of that, but I don't know if that was exactly the

15    Tech was not flexible in lowering its price; right?                                15   way he said it.

16    A.   Yes, but I believe he also testified that Tetra Tech had                      16   Q.    Mr. Schoettelkotte, were you here yesterday when I asked

17    come back with numerous proposals to make its arrangements                         17   Mr. Larson of Tetra Tech questions?

18    with CSX more economically reasonable for the purposes of                          18   A.    Yes, I was.

19    their analysis.                                                                    19   Q.    Okay.   So you heard testimony from Mr. Larson that he

20    Q.   Thank you for that, but to keep this moving, just answer                      20   was let go by CSX in June of 2020; right?

21    my question and I'm sure your lawyers will ask you those                           21   A.    That's correct, yes.

22    types of questions.    And we'll keep it going for the jury.                       22   Q.    And you heard that Mr. Larson was part of a large round

23    A.   Okay.    Thank you.                                                           23   of job cuts at CSX at that time; right?

24    Q.   Mr. Spencer also testified you understand the primary                         24   A.    I did, yes, I heard that.

25    reason CSX chose to purchase LRAIL was the cost of the LRAIL;                      25   Q.    Again, that was at the beginning of pandemic; right?



                         UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                       239                                                                                       240


 1    A.   That's my understanding.                                                       1   Q.    You don't recall Mr. Larson's testimony?

 2    Q.   And you heard Mr. Larson testify that CSX had budget                           2   A.    No, I do recall.    I don't know if what you're suggesting

 3    constraints at the time, beginning of pandemic; right?                              3   is exactly what Mr. Larson testified to.     You're summarizing

 4    A.   I understand that was part of the discussion.                                  4   it.   It don't have it in front of me.

 5    Q.   And you heard Mr. Larson testify and we went through                           5   Q.    You concluded that or you talked about in your

 6    emails that established that Mr. Larson had wrote at the time                       6   presentation that this is a two player market; is that right?

 7    that Tetra Tech's price was too expensive for CSX; right?                           7   A.    For this technology, that's correct.

 8    A.   Um, I don't know if he exactly said that.      There were                      8   Q.    And you testified that you believe there's a two

 9    some emails I went through on pricing and I understand                              9   supplier market and there are no other suppliers besides

10    pricing was a concern, but I'm not aware what you just set                         10   Pavemetrics and Tetra Tech, and all sales in this but for

11    forth is what I recall the email saying exactly.     So I'll                       11   world would have gone to Tetra Tech; is that correct?

12    have to take your word for it, but I don't recall that                             12   A.    I want to be careful there.    When you say all sales,

13    specifically.                                                                      13   we're suggesting the three sales to CSX because we've talked

14    Q.   And do you recall that even after Mr. Larson joined                           14   about the same market, the same product and the same

15    Tetra Tech, Mr. Larson had an understanding that Tetra Tech's                      15   customer.

16    product was too expensive for CSX based on discussions he had                      16   Q.    So limiting to the three sales to CSX, what I stated

17    with Mr. Spencer; right?                                                           17   previously that's a fair characterization?

18    A.   Well, I understand that they're still continuing to try                       18   A.    That's what my analysis is focused on.       That's what I

19    to sell to them and I know that they're still communicating.                       19   was asked to review is the relationship between those

20    I believe they think fondly of one another.                                        20   parties.    That's what we've been looking at so I would say

21    Q.   Okay.    Can you answer my question, please?                                  21   that's generally correct.

22    A.   I think I did.    I believe they're still negotiating, but                    22   Q.    And let's take a side tour on the sale that's not part

23    in terms of what you stated, I can't tell you that's exactly                       23   of your lost profits analysis.     That's the AID sale; correct?

24    what Mr. Larson's testimony was.    I know they still haven't                      24   A.    That's correct.

25    purchased and price is a concern.                                                  25   Q.    And you talked about Pavemetrics and Tetra Tech being



                         UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                             Exhibit 3
                                                                               158
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 62 of 74 Page ID
                                      #:15301
                                                                   241                                                                                  242


 1    head-to-head competitors; right?                                                1   Q.   Well, what about CSX could have just not purchased one

 2    A.   That's correct.                                                            2   at all; right?

 3    Q.   And but for the AID sale, Tetra Tech and Pavemetrics are                   3   A.   I'm not aware that that would be an acceptable

 4    not head-to-head competitors; right?                                            4   noninfringing alternative for what we're doing.     That would

 5    A.   Well, I understand that Tetra Tech didn't compete for                      5   put CSX in a position where they're not getting the economic

 6    that sale.    So in a conservative fashion, I have not                          6   benefits of the transaction that occurred here.

 7    incorporated that sale into my analysis because I know that                     7   Q.   And CSX, another option for CSX would be to stick with

 8    they weren't competing for that sale.                                           8   the Georgetown Rail Services that it's been using for a

 9    Q.   And you understand AID is not a Class 1 railroad; right?                   9   while; correct?

10    A.   That's correct.                                                           10   A.   Certainly, they could have done that, but they found

11    Q.   And Tetra Tech promotes its products.     One of its target               11   that to be not acceptable which is why they were looking for

12    markets is Class 1 railroads; right?                                           12   other options.

13    A.   I understand that they're thought of very highly by                       13   Q.   You've seen no documents from CSX or testimony from

14    Class 1 and they're successful there.                                          14   current CSX employees saying that that would not have been

15    Q.   AID is an integrator.    They don't buy rail cars;                        15   acceptable to stay with GREX; right?

16    correct?                                                                       16   A.   Um, I haven't seen anything specifically about GREX.        I

17    A.   I think that's fair.    That's why I assessed that sale as                17   have read the testimony of Mr. Spencer.    I'd be happy to tell

18    a reasonable royalty and not a lost sale.                                      18   you what he said.

19    Q.   So let's go back to the but for world we talked about.                    19   Q.   And so if something's too expensive and there's a budget

20    CSX had other options, though, if Pavemetrics wasn't around;                   20   constraint and there's no other options, you don't have to

21    correct?                                                                       21   buy that; right?

22    A.   Um, Tetra Tech for 2D, 3D surfaces.                                       22   A.   Again, maybe you don't have to buy it, but that's why we

23    Q.   Right.    But there's other options for CSX; right?   They                23   talked about those economic considerations that I raised

24    don't have to purchase from Tetra Tech; correct?                               24   earlier and the return on investment.    So maybe you don't

25    A.   Nothing that would have been acceptable.                                  25   have to buy it, but that's not the reliable result in a but



                         UNITED STATES DISTRICT COURT                                                        UNITED STATES DISTRICT COURT




                                                                   243                                                                                  244


 1    for world calculation.                                                          1   noninfringing, but there's a bigger question.     This factor is

 2    Q.   Please pull up Slide 12.    So staying with lost profits,                  2   acceptable noninfringing alternatives.

 3    element two here is or requirement two here is absence of                       3               When you say would it be noninfringing, I would say

 4    acceptable noninfringing substitutes; right?                                    4   it might be.    It sounds like you're designing something out.

 5    A.   Yes.                                                                       5   But if you were to remove what Dr. Morellas says is the

 6    Q.   And so Tetra Tech must prove to a reasonable certainty                     6   patented technology, it loses its acceptability so it would

 7    that there are no acceptable noninfringing substitutes to                       7   not be something that I would consider reasonable.

 8    have a chance to be entitled for lost profits; is that right?                   8   Q.   Sir, I didn't ask about acceptability in that question.

 9    A.   That's right.    It's more likely than not.                                9   I just asked if it was noninfringing for the purposes of this

10    Q.   And did you -- were you here for Dr. Morellas's                           10   element.    We can address acceptability as well.   I understand

11    testimony?                                                                     11   there's a --

12    A.   I was, yes.                                                               12   A.   We're talking about Factor 2 and you've highlighted it

13    Q.   And do you recall Dr. Morellas talking about two accused                  13   on my slide which is why I'm addressing it so my apologies,

14    functionalities?                                                               14   but I'm, again, just trying to help.    Yes, I understood this

15    A.   I seem to recall that, yes.                                               15   is a factor and there's two important elements of this

16    Q.   And one of those is Fake3D; right?                                        16   factor.    You're correct if you remove those, if you designed

17    A.   I believe that's correct.                                                 17   those out, it would be noninfringing, but it wouldn't have

18    Q.   And the second is mixed image; right?                                     18   the patented technology so it wouldn't be acceptable.

19    A.   I believe that's accurate as well.                                        19   Q.   When you say remove those, you're referring to removing

20    Q.   So if the LRAIL did not have those two accused                            20   Fake3D and mixed image; correct?

21    functionalities, Fake3D and mixed image that would be a                        21   A.   Yes, it's a technical issue which Dr. Morellas is much

22    nonaccused LRAIL system for the purposes of this lawsuit;                      22   more qualified than me to talk about, but if you're

23    correct?                                                                       23   suggesting that to not infringe you would do those things, I

24    A.   Um, well, you're asking me if they removed the                            24   can't speak to that.    But I would say if that was

25    technology at issue and you asked me whether it would be                       25   Dr. Morellas' opinion, I would be on board with whatever he



                         UNITED STATES DISTRICT COURT                                                        UNITED STATES DISTRICT COURT




                                                                         Exhibit 3
                                                                           159
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 63 of 74 Page ID
                                      #:15302
                                                                      245                                                                                      246


 1    said from an infringement stand point.                                               1   formed your opinions in this case; right?

 2    Q.   Are you aware of any customers relating to this lawsuit                         2   A.      No, I didn't believe it was necessary.

 3    that have requested algorithms requiring a Fake3D                                    3   Q.      Did you watch Dr. Mesher's testimony yesterday?

 4    functionality?                                                                       4   A.      I did, yes.

 5    A.   I haven't seen anything like that, no.                                          5   Q.      You did speak with Gary Keyes; right?

 6    Q.   Are you aware of any customers in this lawsuit wanting                          6   A.      I did, yes.

 7    algorithms having a mixed image functionality?                                       7   Q.      And you saw his testimony that he has no technical

 8    A.   Again, you're talking about some specific technology.          I                8   understanding of the asserted patents; right?

 9    think they want the benefits of those things.     I can't speak                      9   A.      Yes, but -- yes.

10    whether they are looking for those specific technologies.       I                   10   Q.      And you spoke with Bill Larson; right?

11    think they want the benefits of what the accused technology                         11   A.      I did.

12    provides.                                                                           12   Q.      And he's on the sales side at Tetra Tech as well?

13    Q.   Can you please answer my question?                                             13   A.      That's correct.

14    A.   I am certainly trying, sir.                                                    14   Q.      On the technical side, it sounds like you spoke with

15    Q.   I'll ask it again.     Are you aware of any customers in                       15   Dr. Morellas before forming your opinions; right?

16    this lawsuit requesting algorithms from Pavemetrics with                            16   A.      I did.

17    mixed image functionality?                                                          17   Q.      And earlier this morning, Dr. Morellas explained clearly

18    A.   No, not in those words.                                                        18   that you had one brief call with him; correct?

19    Q.   Go to Slide 19, please.     Sorry.   The slides got switched                   19   A.      I did have a call with Dr. Morellas.

20    between the two versions.    My apologies.                                          20   Q.      And he characterized it as a very brief call in fact;

21                 Mr. Schoettelkotte, while we're pulling that up,                       21   right?

22    you understand Darel Mesher is the named inventor on the                            22   A.      I heard that, yes.

23    asserted patents; right?                                                            23   Q.      So your understanding of the patented features for the

24    A.   I do.                                                                          24   purpose of your damages analysis is based on a very brief

25    Q.   But you didn't speak with Dr. Mesher at all before you                         25   call with Tetra Tech's technical expert Dr. Morellas; is that



                         UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                      247                                                                                      248


 1    right?                                                                               1   either old technology or aspects that are not in the asserted

 2    A.   Well, that's one of the elements, yes.                                          2   patents; correct?

 3    Q.   And not on discussions with Dr. Mesher; right?                                  3   A.      Yes.   I'd be happy to explain.

 4    A.   That's correct.                                                                 4   Q.      You talked about -- let me just ask you how much -- what

 5    Q.   So this was Slide 6 on this version.      This was a slide                      5   profit would Pavemetrics make on normal products that are not

 6    you went through in the demonstratives.      And you highlighted                     6   what you talked about earlier premium products of LRAIL?

 7    features that you believe are important in demonstrating what                        7   A.      I'm not sure I can answer that question.     I don't know

 8    you were talking about is the patented features and how that                         8   what you're referring to.

 9    plays into the damages analysis; is that right?                                      9   Q.      You talked about premium -- premium versions of LRAIL

10    A.   Yes.                                                                           10   or --

11    Q.   And you talked about LRAIL combines 2D imaging, 3D                             11   A.      No, I didn't.    No, I didn't.   What I talked about was --

12    scanning, image processing; right?                                                  12   Q.      I may have misunderstood.    I'll move on.

13    A.   That's correct.                                                                13   A.      You should.

14    Q.   And artificial intelligence to do certain things like                          14   Q.      Thank you for clarifying.

15    automatically scan and inspect tracks; right?                                       15                  Mr. Schoettelkotte, do you understand that

16    A.   That's correct.                                                                16   Pavemetrics also has a damages expert in this case; right?

17    Q.   Artificial intelligence, you heard Dr. Morellas make                           17   A.      I do, yes.

18    very clear this morning that that's not part of the asserted                        18   Q.      And his name is Christian Tregellis; right?

19    patents; right?                                                                     19   A.      Yes.

20    A.   Of course, yes.                                                                20   Q.      Mr. Tregellis has reviewed your opinions and offered

21    Q.   And 2D imaging and 3D scanning, you heard the other day                        21   opinions himself and has some disagreements with your

22    that Dr. Mesher talked about that as being old technology;                          22   opinions; right?

23    right?                                                                              23   A.      Yes.

24    A.   That's correct.                                                                24   Q.      You understand that Mr. Tregellis will testify next

25    Q.   So in the underlying portion here, this is talking about                       25   week; right?



                         UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                160
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 64 of 74 Page ID
                                      #:15303
                                                                           249                                                                                      250


 1    A.   Yes.                                                                               1   not at issue in the case for a legal issue which I won't get

 2                MR. ZOVKO:    No further questions.                                         2   into because it's not my purview, but it has nothing to do

 3                THE COURT:    Counsel, how much redirect do you have,                       3   with the financial or economic performance of the

 4    if any?                                                                                 4   profitability related to infringing units which is why I used

 5                MS. MATHEW:    Just one question, Your Honor.                               5   all six units.

 6                THE COURT:    Okay.   Go ahead.                                             6                If you were to remove two as counsel suggested, it

 7                MS. MATHEW:    Let's pull up Slide 24.                                      7   would be incomplete and it would be wrong.        And I didn't want

 8                             REDIRECT EXAMINATION                                           8   to mix up the record by taking that position.

 9    BY MS. MATHEW:                                                                          9                MS. MATHEW:     Thank you, Your Honor.

10    Q.   Mr. Schoettelkotte, earlier you were asked about your                             10                No further questions and thank you,

11    inclusion of six LRAIL units in your analysis of Pavemetrics                           11   Mr. Schoettelkotte.

12    profitability?                                                                         12                THE COURT:    Counsel?

13    A.   Yes.                                                                              13                MR. ZOVKO:    No further questions, Your Honor.

14    Q.   Could you explain why you included the six LRAIL units                            14                THE COURT:    The witness is excused.

15    as opposed to the four units that are at issue in this case?                           15                So to the jurors, we'll break and we will come back

16    A.   Yes.   So I mentioned earlier, there's a hypothetical                             16   on Tuesday because the court's dark on Monday.          So I'll ask

17    negotiation that occurs as part of the Georgia Pacific                                 17   you to make sure you're here on time on Tuesday.         We're gonna

18    factors, that's Factor 15.                                                             18   have a long day.       We're gonna try to make sure we can wrap

19                And there's six units because the hypothetical                             19   things up.    Hopefully on Wednesday, you can be starting your

20    negotiation occurs at the time of first infringement and that                          20   deliberations.    So I'll ask you to try to get here on time on

21    was in November 2020 and from November 2020 to today, there                            21   Tuesday.

22    have been six units sold.      I wanted to show the jury what the                      22                Remember, it's a long weekend so I know you're

23    profitability on those six units were because that would be a                          23   gonna to be tempted to talk to all your friends about this

24    full and complete analysis.                                                            24   case, don't do it.      Hold out.     You can do it.   In all

25                Now, I do understand that two of those units are                           25   seriousness, it's just important not to get other people's



                         UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                           251                                                                                      252


 1    opinions.   You know, there could be lots of things that could                          1   about the same thing.       Your Honor, based upon the changes in

 2    come up where somebody might mention something and you go oh,                           2   the slides and the presentation that I just saw, I would like

 3    that reminds me I'm trying to figure out what convolution                               3   just a kind request, if we could just know the damages claim

 4    neural networks do.      Don't do any of that.                                          4   that is being made with respect to each patent.

 5                Try to make sure you limit all of your                                      5                I do not know and I think you might feel the same

 6    conversations to steer clear of the case.        Don't do any                           6   way if they are seeking a reasonable royalty for AID on the

 7    research either.      Those of you that like to go online, like                         7   '293.    And that is leading to a lot of confusion and we've

 8    to look things up, don't do that either.        If you don't                            8   wasted a lot of time if that claim is no longer being made.

 9    understand something, it's the -- it's -- well, the lawyers                             9   I think you may have dropped it.         I don't know if you meant

10    are giving you everything that they're gonna give you.          If                     10   that.    I don't know if a claim is being made for infringement

11    you don't understand it, you don't understand it.       You're not                     11   of the '293 for damages for the sale for AID.          I don't know

12    allowed to do any outside research on it.                                              12   is that what you were gonna raise?

13                So hopefully you'll enjoy your weekend and won't be                        13                MS. LEA:     That was one of the issues I was going to

14    thinking about this case, but if you do, don't talk about it.                          14   raise.    It sounded like counsel dropped that today during

15    Thank you very much.      Thanks for being such a good jury.                           15   Dr. Morellas' testimony.       We had not heard that before and we

16                THE CLERK:    All rise.                                                    16   want to confirm it.

17                             (Jury not present.)                                           17                THE COURT:    As I understand it, there's lost

18                THE COURT:    So we are dark on Monday because I've                        18   profits on three sales under the '293 patent and there's a

19    got criminal things.      We could, um, obviously we're gonna be                       19   reasonable royalty sought for one sale under the '557; is

20    here on Monday if there's issues that we need to discuss or                            20   that correct?

21    resolve, we could potentially meet on Monday or we could just                          21                MR. BARNEY:     That's our case, Your Honor.

22    wait until Tuesday morning at 8:30 if there's anything that                            22                THE COURT:    Okay.

23    comes up.   You probably all have a lot of work to do any way.                         23                MR. RE:    That was not their case until today.

24                Anybody have anything we need to discuss now?                              24                MR. BARNEY:     Incorrect, Your Honor.    We --

25                MR. RE:    I do, Your Honor.   Maybe we're talking                         25                THE COURT:    Again --



                         UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                                 Exhibit 3
                                                                                   161
     Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 65 of 74 Page ID
                                      #:15304
                                                                        253                                                                                                                                                     254


 1                 MR. RE:    Okay.   So I just want the record to be                      1                             THE CLERK:               All rise.

 2    clear, there is no reasonable royalty being sought for the                           2                             This court is adjourned.

 3    AID sale on the '293 and it is simply based on a sale or an                          3                            (Proceedings were concluded at 4:35 p.m.)

 4    induced infringement AID on the '557 only.                                           4

 5                 THE COURT:    From the damages standpoint, yes.                         5

 6                 Okay, Counsel.                                                          6

 7                 MS. LEA:     Just one other small issue, Your Honor,                    7

 8    on the jury instructions.       This is on the prior art                             8

 9    Instruction No. 34.       I understand from Tetra Tech that                          9

10    they're no longer disputing that UML TRV 2014 is prior art so                       10

11    it should come out of the disputed instruction.                                     11

12                 And I just wanted to put that on the record.      I can                12

13    work with their counsel to suggest an additional instruction                        13

14    that is prior art and that's stipulated.                                            14

15                 THE COURT:    Great.                                                   15

16                 MR. CHUNG:    That's correct, Your Honor.     We'll work               16

17    together.                                                                           17

18                 THE COURT:    Thank you.                                               18

19                 So unless we hear from the parties, we'll meet at                      19

20    8:30 Tuesday morning to see if there's any further issues,                          20

21    and we'll go forward there.                                                         21

22                 You might want to check in.    We can give you the                     22

23    time we have.    You probably have your own count on time, but                      23

24    if you want to get our clock, we can provide it to you after                        24

25    we close out today.       Thank you.                                                25



                         UNITED STATES DISTRICT COURT                                                                                   UNITED STATES DISTRICT COURT




                                                                        255                                                                                                                                              256

                                                                                                     $                169:4, 172:1,              255:21                   1970 [1] - 128:20           198:2, 225:2
 1                                                                                                                    183:23, 187:10,           102 [1] - 3:7             1978 [1] - 117:21          2019 [6] - 127:16,
                                                                                          $1,119,000 [2] -            230:12, 252:7,            103 [1] - 3:6             1989 [1] - 140:2            188:20, 195:7,
 2                            CERTIFICATE OF REPORTER                                      123:22, 124:14             252:11, 252:18,           104 [1] - 3:7             199 [1] - 3:10              195:16, 195:22,
                                                                                          $1,407,453 [3] - 205:5,     253:3                     106 [4] - 3:6, 68:15,     1990 [1] - 140:3            198:2
                                                                                           217:5, 217:13            '557 [24] - 12:22, 13:1,     68:16, 69:8              1991 [2] - 92:23, 140:4    2020 [19] - 113:14,
 3                                                                                        $10 [1] - 127:17            14:4, 14:6, 28:7,         107 [1] - 68:18           1996 [1] - 93:5             118:14, 127:16,
                                                                                          $117,000 [1] - 123:20       33:17, 37:21, 38:15,      107,108 [1] - 207:15      19th [3] - 150:20,          132:1, 144:22,
 4    COUNTY OF LOS ANGELES           )                                                   $119,961 [1] - 207:14       44:2, 44:20, 44:24,       108 [1] - 3:10             151:2, 151:7               160:7, 160:15,
                                                                                          $142,810 [1] - 207:13       45:4, 45:12, 45:22,       10:14 [1] - 161:1         1:00 [4] - 4:12, 136:2,     161:7, 161:12,
                                                                                          $2,095,000 [1] -            50:12, 76:21, 76:25,      10th [2] - 61:15, 65:9     136:10, 136:12             161:17, 170:8,
 5                                    )   SS.                                                                         79:14, 79:17, 102:4,                                                            174:22, 175:1,
                                                                                           206:16                                               11 [10] - 58:5, 64:14,    1ST [1] - 1:23
                                                                                          $2,250,000 [1] -            109:10, 157:6,             64:24, 91:9, 202:10,     1st [4] - 152:13, 169:9,    198:2, 198:24,
 6    STATE OF CALIFORNIA             )                                                    208:15                     252:19, 253:4              203:9, 203:21,            169:15, 169:21             228:19, 238:20,
                                                                                          $2,951,861 [1] -          '577 [1] - 77:5              204:22, 212:23                                       249:21
                                                                                                                    '80s [1] - 139:21                                                                2021 [31] - 35:9, 35:15,
 7                                                                                         205:21                                               117 [3] - 56:22, 93:23,              2
                                                                                          $2.25 [1] - 127:24                                     94:6                                                 36:5, 36:11, 36:23,
                                                                                          $231,000 [1] - 123:9                   /              11th [3] - 169:17,        2 [29] - 7:17, 17:2,        37:25, 38:2, 38:3,
 8    I, LAURA ELIAS, OFFICIAL REPORTER, IN AND FOR THE UNITED                            $250,000 [7] - 132:9,                                  169:21, 169:23            60:5, 77:8, 77:12,         38:9, 44:8, 44:12,
                                                                                                                    /s [1] - 255:20             12 [6] - 54:5, 54:14,      85:7, 85:9, 88:5,          44:18, 45:3, 113:8,
                                                                                           216:4, 216:11,
 9    STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA,                        216:12, 217:18,                                       142:13, 151:14,           97:24, 98:12,              113:16, 113:23,
                                                                                           225:4, 233:9                         1                153:8, 243:2              102:23, 105:23,            114:15, 118:14,
                                                                                          $3,357,000 [1] -                                      12/06/2012 [1] - 142:7     106:1, 126:14,             144:23, 147:4,
10    DO HEREBY CERTIFY THAT I REPORTED, STENOGRAPHICALLY, THE                             124:15
                                                                                                                    1 [48] - 4:3, 4:13, 7:17,
                                                                                                                                                12th [1] - 153:5           126:23, 127:18,            147:13, 151:11,
                                                                                                                     19:12, 19:17, 27:14,                                  143:24, 160:25,            151:14, 153:8,
                                                                                          $3,607,000 [1] - 218:5                                13 [9] - 68:19, 68:25,
11    FOREGOING PROCEEDINGS AT THE TIME AND PLACE HEREINBEFORE SET                                                   27:19, 30:25, 35:23,                                  174:8, 178:13,             166:2, 170:19,
                                                                                          $30,000 [1] - 143:2                                    73:18, 202:10,
                                                                                                                     38:15, 41:23, 42:1,                                   189:12, 222:7,             171:1, 197:21,
                                                                                          $350,000 [1] - 141:3                                   204:9, 208:2, 208:4,
                                                                                                                     42:4, 42:9, 42:13,                                    222:8, 222:23,             228:2, 228:16,
12    FORTH; THAT THE SAME WAS THEREAFTER REDUCED TO TYPEWRITTEN                          $357,000 [1] - 123:20                                  208:17, 214:20
                                                                                                                     46:23, 47:1, 55:6,                                    223:2, 244:12              230:13
                                                                                          $422,823 [1] - 205:7                                  137 [1] - 3:15
                                                                                                                     55:12, 57:16, 66:7,                                  2,095,000 [1] - 223:3      2022 [5] - 1:15, 4:1,
                                                                                          $491,977 [2] - 205:22,                                14 [10] - 10:24, 72:19,
13    FORM BY MEANS OF COMPUTER-AIDED TRANSCRIPTION; AND I DO                              217:6
                                                                                                                     66:12, 66:18, 67:3,
                                                                                                                                                 73:23, 74:3, 122:22,     2.3 [2] - 126:23            40:17, 78:6, 255:18
                                                                                                                     67:18, 74:15, 74:16,                                 2.9 [2] - 220:1, 221:18    2040 [1] - 2:9
                                                                                          $600,000 [2] - 212:6,                                  147:18, 150:20,
                                                                                                                     75:2, 81:12, 85:5,                                                              207 [1] - 27:16
14    FURTHER CERTIFY THAT THIS IS A TRUE AND CORRECT TRANSCRIPTION                        227:20                                                181:20, 181:23,          20 [1] - 78:17
                                                                                                                     85:9, 102:18,                                                                   21 [17] - 10:13, 27:19,
                                                                                          $714,977 [1] - 217:11                                  200:14                   20001 [1] - 2:21
                                                                                                                     135:25, 151:14,                                                                  28:5, 28:6, 35:23,
                                                                                          $735,000 [1] - 205:15                                 145 [5] - 72:19, 73:23,   2004 [1] - 140:8
15    OF MY STENOGRAPHIC NOTES.                                                                                      151:20, 153:11,
                                                                                                                                                 74:3, 74:5               2007 [1] - 140:9            38:15, 41:24, 42:1,
                                                                                          $735,057 [1] - 205:6       154:2, 158:10,
                                                                                                                                                146 [1] - 73:18           2008 [1] - 140:13           42:3, 42:6, 42:11,
                                                                                          $762,000 [1] - 123:17      160:4, 160:6, 169:5,
16                                                                                                                                                                        2009 [3] - 139:3,           42:15, 48:9, 48:16,
                                                                                          $993,000 [1] - 123:7       173:17, 176:23,            147 [1] - 73:18
                                                                                                                                                                           140:17, 140:25             118:14, 255:18
                                                                                                                     177:2, 189:20,             14TH [1] - 2:10
                                                                                                                                                                          2010 [1] - 16:19           21-01289-MCS [1] -
17                                                                                                    '              241:9, 241:12,             15 [12] - 78:14, 113:8,
                                                                                                                                                                                                      1:9
                                                                                                                                                 122:23, 128:22,          2012 [5] - 141:14,
                                                                                                                     241:14                                                                          21-1289 [1] - 4:4
                                                                                          '207 [1] - 27:14                                       129:20, 168:7,            141:22, 141:24,
                                                                                                                    1.1 [2] - 211:13,
18    DATE:   AUGUST 21, 2022_________                                                    '21 [1] - 170:21                                       211:2, 211:4, 228:2,      142:13, 144:14            2102 [1] - 174:17
                                                                                                                     211:17                                                                          213)894-0374 [1] -
                                                                                          '293 [51] - 10:18,                                     228:16, 235:3,           2014 [7] - 150:1,
                                                                                                                    1.2 [1] - 125:24                                                                  1:24
19                                                                                          19:12, 27:16, 31:1,     1.4 [5] - 126:22,
                                                                                                                                                 249:18                    150:3, 150:11,
                                                                                                                                                                                                     218 [1] - 3:11
                                                                                            35:23, 36:7, 38:15,                                 15th [2] - 114:15,         163:12, 175:7,
                                                                                                                     127:23, 205:15,                                                                 22 [8] - 54:3, 58:3,
                                                                                            41:20, 41:23, 42:10,                                 131:16                    175:24, 253:10
20        /s/     LAURA MILLER ELIAS                                                        42:14, 46:23, 50:12,
                                                                                                                     223:10, 223:13
                                                                                                                                                16 [5] - 54:2, 54:4,      2015 [4] - 40:24,           58:5, 59:18, 64:14,
                                                                                                                    1.5 [1] - 223:9                                                                   64:23, 77:8, 77:25
                                                                                            51:5, 55:6, 55:15,                                   54:5, 77:13, 182:16       52:25, 118:12, 225:1
                                                                                                                    10 [10] - 31:21, 79:21,                                                          23 [7] - 54:3, 54:5,
21    LAURA MILLER ELIAS, CSR 10019                                                         57:16, 66:7, 66:12,      91:10, 135:21,             165 [1] - 3:15            2016 [5] - 145:11,
                                                                                            66:18, 67:4, 67:18,                                 1713 [1] - 22:24           178:1, 178:15,             54:14, 68:15, 68:17,
                                                                                                                     140:16, 162:19,                                                                  139:19, 219:20
                                                                                            74:15, 91:13, 102:3,                                17th [1] - 234:4           178:20, 198:2
22    FEDERAL OFFICIAL COURT REPORTER                                                                                168:7, 181:9,
                                                                                                                                                                          2017 [14] - 144:9,         23rd [10] - 40:17, 78:6,
                                                                                            109:10, 147:6,           181:10, 202:1              18 [4] - 3:6, 176:17,
                                                                                            150:5, 150:22,                                                                 145:11, 145:25,            113:14, 118:14,
                                                                                                                    10,362,293 [1] -             176:20, 184:9
23                                                                                          151:3, 151:4,                                       19 [7] - 1:15, 4:1,        178:1, 178:16,             160:15, 170:8,
                                                                                                                     156:20                                                                           170:19, 171:1,
                                                                                            151:14, 152:7,                                       10:17, 46:7, 74:16,       178:20, 180:16,
                                                                                                                    100 [4] - 104:13,                                                                 228:19, 229:1
24                                                                                          152:14, 152:16,
                                                                                                                     104:25, 125:25              200:10, 245:19            181:19, 182:16,
                                                                                                                                                                                                     24 [3] - 161:7, 219:21,
                                                                                            153:11, 153:14,                                     19,000 [3] - 51:16,        184:8, 184:9, 187:4,
                                                                                                                    100-day [1] - 126:8                                                               249:7
                                                                                            154:2, 157:6, 164:3,                                 51:20, 51:23              194:13, 198:2
25                                                                                          168:9, 168:14,
                                                                                                                    10019 [2] - 1:22,
                                                                                                                                                                          2018 [4] - 188:19,         240,000 [1] - 212:20
                                                                                                                                                197 [1] - 3:15




                         UNITED STATES DISTRICT COURT                                                                          UNITED STATES DISTRICT COURT




                                                                              Exhibit 3
                                                                                162
 Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 66 of 74 Page ID
                                  #:15305
                                                                                                                                 257                                                                                                                                             258

240,925 [1] - 206:18        3:00 [2] - 199:15,           97:21, 107:24, 108:4                                80 [3] - 57:11, 57:14,                                           Account [1] - 110:18       177:8, 201:19, 217:8       affect [2] - 158:7,        161:14, 169:24,
                                                                                              6                                                                A
249 [1] - 3:10               199:17                     4455 [1] - 1:23                                       205:23                                                          Accounting [1] -          adding [3] - 121:21,         202:13                    170:8, 170:15,
24th [2] - 161:1, 161:9     3D [40] - 23:16, 25:20,     46 [5] - 177:21, 178:7,    6 [8] - 202:10, 203:8,    8038 [1] - 16:6                        a.m [1] - 161:1            110:12                    195:20                     affects [1] - 73:13        170:18, 171:15,
25 [3] - 110:2, 118:12,      40:22, 41:5, 80:21,         178:10, 178:11,            203:9, 203:21,           82 [1] - 33:13                         A.M [1] - 4:1             accounting [2] -          addition [5] - 16:25,       affiliated [1] - 122:17    215:4, 216:10,
 151:11                      80:24, 81:6, 81:8,          178:13                     203:22, 212:23,          835 [3] - 107:24,                      Aaron [6] - 44:11,         110:14, 124:24            109:4, 113:9, 207:8,       afraid [5] - 159:11,       218:4, 220:9,
250,000 [1] - 218:3          97:3, 97:7, 99:3,          474,000 [1] - 123:20        213:24, 247:5             108:4, 119:24                          147:4, 148:15,           accreditation [1] -        212:1                       187:2, 189:24,            226:23, 226:24,
25th [2] - 152:1,            116:9, 116:21,             49 [3] - 48:4, 48:9,       6,000 [2] - 126:18,       841 [1] - 125:4                         148:18, 149:2, 153:4      110:21                   additional [22] - 7:2,       194:1, 194:9              227:16, 227:17,
 153:20                      119:15, 120:8,              173:20                     214:18                   843 [2] - 107:24, 108:4                AARON [1] - 2:16          accuracy [5] - 119:17,     7:5, 7:22, 7:24, 8:2,      Africa [1] - 140:3         228:19, 230:20,
26 [2] - 13:6, 13:10         120:25, 122:18,            491,000 [1] - 222:5        6.5 [1] - 158:14          844 [3] - 107:24,                      abbreviate [1] - 34:2      135:11, 177:17,           42:6, 61:16, 113:10,       afternoon [7] - 137:8,     230:23, 231:21,
261,875 [1] - 206:18         126:6, 133:18,             4:35 [1] - 254:3           60 [2] - 180:2, 180:10     108:5, 114:9                          ability [4] - 53:21,       197:2, 200:21             114:22, 117:9,              138:5, 165:19,            233:8, 240:23,
27 [1] - 96:13               133:22, 134:13,            4:57 [1] - 148:16          60,000 [2] - 126:20,      845 [2] - 107:25, 108:5                 119:15, 122:2,           accurate [2] - 236:19,     124:17, 127:9,              165:20, 199:14,           241:3, 241:9,
28 [3] - 79:21, 79:23,       134:16, 135:3,             4th [2] - 171:4, 195:16     214:18                   848 [2] - 107:25, 108:5                 208:11                    243:19                    171:6, 171:22,              218:17, 218:18            241:15, 252:6,
 173:17                      135:6, 140:14,                                        615 [2] - 164:16,         849 [2] - 107:25, 108:5                able [13] - 16:3, 26:2,   accurately [1] - 134:3     207:13, 207:14,            agency [1] - 162:24        252:11, 253:3, 253:4
                             140:24, 141:6,                                                                                                                                                              212:14, 213:25,                                      AID's [1] - 232:24
29 [3] - 94:11, 100:14,                                            5                164:25                   85 [4] - 66:22, 137:21,                 26:13, 26:15, 34:20,     accusation [1] - 44:12                                agenda [1] - 178:14
 224:7                       145:13, 149:19,                                       660 [3] - 137:21,          137:25, 155:5                          57:21, 64:16, 89:4,      accuse [1] - 64:10         216:24, 218:8,             ago [10] - 52:3,          AIDED [1] - 255:13
293,000 [1] - 212:20         186:3, 186:8,              5 [14] - 35:15, 40:6,       138:1, 150:18            850 [2] - 107:25, 108:5                 122:19, 143:21,          accused [32] - 11:2,       253:13                      109:21, 116:17,          AIPLA [1] - 6:22
293,300 [1] - 206:17         200:18, 208:11,             45:3, 72:19, 73:23,       661 [5] - 137:22,         851 [2] - 107:25, 108:5                 162:10, 232:19,           11:14, 14:7, 18:8,       address [10] - 15:20,        124:13, 131:7,           ALAN [1] - 2:8
2D [20] - 25:17, 116:9,      209:3, 209:10,              74:3, 147:4, 147:13,       138:1, 148:7,            852 [2] - 107:25, 108:5                 236:9                     43:4, 44:3, 46:18,        16:16, 114:1, 118:4,        205:1, 207:13,           Alberta [1] - 142:4
 116:21, 120:8,              217:4, 241:22,              166:2, 179:14,             151:10, 153:3            853 [2] - 107:25, 108:5                absence [2] - 120:3,       47:3, 57:6, 64:12,        132:12, 172:14,             208:4, 211:9, 213:4      alert [1] - 136:1
 120:25, 122:18,             247:11, 247:21              202:10, 202:11,           67 [7] - 79:3, 80:1,                                              243:3                     71:17, 72:1, 75:6,        172:23, 172:24,            agree [14] - 6:1, 6:4,    algorithm [25] - 19:20,
                                                                                                             875 [4] - 137:22,
 126:6, 133:12,             3DTAS [61] - 18:9,           213:8, 230:13              96:1, 184:1, 184:11,                                            absolutely [3] -           112:24, 113:2,            183:10, 244:10              10:4, 48:25, 54:13,       21:17, 21:22, 25:4,
                                                                                                              138:1, 160:23,
 133:22, 135:3,              18:13, 18:17, 18:19,       50 [5] - 234:22,            184:14, 184:15            160:25                                 228:15, 230:22,           113:15, 115:2,           addressing [1] -             58:9, 73:1, 73:15,        26:8, 28:20, 55:22,
 135:5, 196:18,              19:6, 19:11, 19:15,         235:10, 235:16,           689 [5] - 86:14, 87:9,                                            232:13                    208:10, 222:21,           244:13                      75:24, 79:14, 82:21,      55:25, 56:10, 71:6,
                                                                                                             88 [6] - 33:13, 189:1,
 200:18, 208:11,             19:17, 20:2, 20:7,          235:17, 235:21             87:12, 87:19, 102:10                                            academic [1] - 38:23       222:22, 223:17,          adds [2] - 42:6, 182:18      82:22, 193:9, 236:16      91:12, 91:15, 94:20,
                                                                                                              189:6, 189:7, 189:9,
 209:3, 209:10,              21:14, 21:16, 22:14,       500 [6] - 215:8,           6th [1] - 117:22                                                 Academies [1] - 16:22      223:20, 225:20,          adequate [1] - 128:12       agreed [6] - 6:23,         94:21, 95:6, 95:7,
                                                                                                              189:10
 217:4, 241:22,              25:4, 25:24, 27:13,         233:11, 233:18,                                                                            accept [2] - 146:21,       225:22, 226:13,          adjourned [2] - 136:9,       6:24, 130:13,             95:10, 95:13, 95:16,
                                                                                                             89 [5] - 191:17,
                             27:25, 28:4, 28:11,         234:21, 235:3                                                                                                                                   254:2                                                 100:15, 149:22,
 247:11, 247:21
                             28:15, 28:19, 28:25,
                                                                                              7               191:23, 192:1,                         169:17                    227:5, 227:9,                                         131:22, 230:12,
                                                        500,000 [1] - 222:6                                   192:2, 198:15                         acceptability [3] -        227:23, 228:10,          administration [1] -         237:8                     149:24, 150:4,
                             29:7, 29:13, 29:21,                                                                                                                                                         139:14                                                190:6, 191:13
            3                31:18, 32:8, 32:15,
                                                        500-unit [1] - 213:20      7 [1] - 205:4             8:30 [2] - 251:22,                      244:6, 244:8, 244:10      243:13, 243:20,                                      Agreement [7] -
                                                        51 [9] - 14:2, 14:4,       7.2 [2] - 180:2, 180:7     253:20                                acceptable [15] -          245:11                   Administration [4] -         113:8, 114:11,           algorithms [13] - 91:4,
3 [18] - 7:17, 25:23,        33:8, 33:16, 38:14,         147:11, 147:20,           70 [6] - 51:6, 154:7,                                                                      accusing [3] - 46:8,       134:15, 162:25,             228:4, 228:5, 228:7,      95:4, 154:11, 162:3,
                                                                                                             8:34 [1] - 4:1                          120:4, 120:9,
 40:3, 40:6, 73:18,          118:12, 121:18,             148:13, 148:24,            206:3, 206:6,                                                                              53:3, 72:7                163:1, 200:17               228:8, 228:13             162:5, 177:10,
                                                                                                                                                     120:11, 121:4,
 103:1, 105:20,              121:23, 121:25,             149:6, 156:8, 156:14       206:19, 212:16                                                                            achieve [3] - 191:3,      administrative [1] -        agreement [14] - 13:8,     177:11, 181:12,
 105:21, 121:6,              122:17, 123:7,             510 [4] - 14:18, 14:25,
                                                                                                                        9                            132:19, 136:16,
                                                                                                                                                                                                         215:25                                                191:1, 191:8, 245:3,
                                                                                   709 [3] - 85:23, 86:15,                                           201:12, 241:25,           191:6, 193:15                                         114:14, 114:19,
 126:1, 127:18,              123:17, 124:20,             16:16, 16:17               86:23                                                                                     acknowledge [1] -         admissible [1] - 63:19       128:25, 129:4,            245:7, 245:16
                                                                                                             9 [5] - 135:20, 180:15,                 242:3, 242:11,
 143:19, 176:11,             125:12, 126:5,             53 [3] - 173:8, 173:9,     712 [3] - 22:20, 23:17,                                                                     60:16                    admission [5] - 176:5,       129:6, 129:13,           allegation [2] - 157:3,
                                                                                                              200:14, 202:1                          242:15, 243:4,
 178:24, 192:7,              126:19, 126:22,             173:18                     24:19                                                                                     acquire [2] - 155:3,       178:6, 184:10,              129:14, 131:18,           230:15
                                                                                                             90 [2] - 3:6, 105:2                     243:7, 244:2, 244:18
 192:8, 195:8                127:4, 134:11,             54 [2] - 40:2, 40:6        713 [1] - 32:19                                                                             159:11                    189:5, 191:23               131:23, 132:5,           allegations [1] -
                                                                                                             90,000 [2] - 126:20,                   accepted [1] - 119:5
3,357,000 [2] - 117:8,       184:22, 185:14,            565 [3] - 14:18, 15:3,                                                                                                acquired [5] - 22:16,     admit [3] - 40:22,           143:3, 210:24,            169:12
                                                                                   73 [4] - 175:8, 176:6,     214:18                                access [12] - 70:5,
 218:3                       187:5, 187:8, 187:9,        15:22                                                                                                                 23:13, 140:23,            63:22, 73:4                 210:25                   alleged [5] - 11:6,
                                                                                    176:8, 176:9             90012 [1] - 1:24                        144:1, 144:16,
3,607,000 [1] - 117:14       187:11, 205:3,             566 [3] - 14:18, 15:6,                                                                                                 144:9, 158:10            admitted [10] - 78:5,       ahead [8] - 40:9, 69:6,    109:5, 159:23,
                                                                                   735,057 [1] - 212:1       901 [1] - 2:20                          167:13, 168:17,
3-dimensional [1] -          212:2, 212:5, 212:7,        15:22                                                                                                                acquirer [3] - 156:14,     87:12, 114:10,              77:22, 79:22,             230:9, 231:20
                                                                                   75 [4] - 206:3, 206:6,    902 [2] - 107:25, 108:5                 168:25, 185:23,
 134:18                      212:11, 216:18,            57 [1] - 173:20                                                                                                        157:20, 158:8             137:18, 147:11,             163:14, 229:6,           allow [3] - 100:19,
                                                                                    206:19, 212:16           904 [2] - 107:25, 108:5                 187:19, 203:16,
3.6 [2] - 222:9, 223:13      217:2, 224:16,                                                                                                                                                              176:9, 178:11,              231:11, 249:6             129:7, 190:21
                                                        576 [4] - 137:21,          762,000 [1] - 123:10      905 [2] - 107:25, 108:5                 203:20, 236:5, 236:8     acquiring [4] - 20:21,
                             237:11, 238:5                                                                                                                                                               184:15, 189:10,            AI [7] - 34:2, 34:7,      allowed [1] - 251:12
30 [1] - 190:18                                          137:25, 141:23,           77 [8] - 137:21,          906 [2] - 107:25, 108:5                accident [1] - 108:19      21:7, 21:22, 155:18
32 [2] - 55:20, 224:11                                   142:14                     137:25, 152:10,          907 [2] - 107:25, 108:6                accomplishes [2] -        acquisition [5] -          192:2                       51:10, 64:8, 64:12,      allows [4] - 111:20,
339 [1] - 212:17                        4               578 [4] - 137:21,           152:11, 152:22,          908 [2] - 108:1, 108:6                  91:25, 92:3               75:10, 75:11, 142:5,     Advance [1] - 159:25         154:5, 208:24             133:22, 216:24
34 [1] - 253:9                                           137:25, 143:10,            153:20, 169:8, 234:4                                            accordance [1] -           142:25, 162:2            advance [2] - 14:5,         AI-Enhanced [1] -         almost [3] - 127:23,
                            4 [8] - 7:2, 7:17, 98:17,                                                        916 [2] - 108:1, 108:6
349,000 [1] - 223:8                                      143:12                    79 [1] - 33:11                                                    95:20                    act [1] - 44:3             195:21                      208:24                    133:16, 162:19
                             122:11, 210:3,                                                                  92614 [1] - 2:11
349,167 [1] - 206:17                                    595 [3] - 137:21,                                                                           according [5] - 228:1,    action [3] - 108:19,      Advanced [3] -              AID [52] - 14:7, 36:8,    alone [5] - 9:9, 65:10,
                             210:5, 210:7, 213:4                                                             93 [1] - 66:9
                                                                                                                                                                                                                                     36:16, 36:22, 37:16,      206:12, 208:15,
35 [6] - 7:1, 7:11, 7:14,
                            4.73 [1] - 48:20
                                                         137:25, 160:12                       8              94 [2] - 66:14, 66:16                   228:5, 228:6, 228:8,      156:18, 156:23            113:11, 117:10,
 76:5, 76:6, 76:10                                      5th [16] - 35:9, 36:11,                                                                      230:19                   activities [8] - 35:7,     117:15                      37:20, 37:22, 38:9,       223:17
                            4.78 [1] - 48:12                                                                 95 [5] - 58:2, 58:4,
350 [1] - 1:23                                           36:23, 38:3, 44:7,        8 [17] - 28:7, 28:9,                                             account [17] - 123:11,     35:13, 35:14, 52:12,     advancing [1] - 13:16        43:19, 70:15,            alternative [5] -
                            40 [2] - 107:24, 108:4                                                            59:18, 64:14, 64:23
350,000 [1] - 223:8                                      44:8, 44:12, 44:18,        33:17, 37:21, 38:15,                                             161:8, 201:16,            52:19, 139:13,           advantage [2] - 75:18,       113:10, 113:12,           120:24, 201:1,
                            40,000 [2] - 125:25,                                                             96 [4] - 41:16, 58:5,
368 [2] - 212:14,                                        44:20, 148:11,             44:2, 45:22, 76:21,                                              204:12, 205:9,            139:15, 163:15            177:15                      113:20, 115:4,            202:4, 214:3, 242:4
                             126:8                                                                            64:14, 64:24
 212:17                                                  148:16, 151:3,             96:6, 200:14,                                                    207:1, 207:6, 208:6,     activity [1] - 36:21      adverse [2] - 60:18,         115:7, 117:15,           alternatives [13] -
                            41 [6] - 56:9, 93:7,                                                             98,539 [1] - 207:15
37 [1] - 55:24                                           153:19, 153:23,            201:25, 202:10,                                                  208:18, 209:16,          acts [1] - 43:5            63:5                        128:14, 128:15,           120:4, 120:16,
                             99:11, 107:24, 108:4                                                            985 [1] - 170:2
38 [1] - 96:25                                           156:9                      203:8, 203:9,                                                    210:20, 212:22,          actual [4] - 18:20,       advice [1] - 185:4           159:25, 160:6,            121:5, 121:10,
                            413,000 [1] - 212:13                                                             99 [1] - 3:6
39 [6] - 3:6, 8:3, 10:3,                                                            203:21, 204:22,                                                  213:11, 213:22,           18:21, 32:17, 77:19      advices [1] - 185:6          160:15, 160:24,           132:19, 201:5,
                            44 [5] - 84:14, 86:6,                                   212:22                                                                                                                                           161:7, 161:10,            201:8, 201:13,
 10:8, 48:15, 56:3                                                                                                                                   215:16, 215:17           add [5] - 8:16, 123:21,   advises [1] - 16:22




                                      UNITED STATES DISTRICT COURT                                                                                                                      UNITED STATES DISTRICT COURT




                                                                                                                                 259                                                                                                                                             260

 201:14, 202:6,             animation [1] - 93:13        211:25                     191:8, 209:4,            AT [1] - 255:11                         63:16, 63:25, 64:19,      164:11, 165:6,            238:25, 239:3               63:24, 76:4, 76:5,        79:5, 79:11, 79:15,
 214:4, 214:10, 244:2       announce [1] - 187:12       apportionment [5] -         247:14, 247:17           ATAC [2] - 121:22,                      65:8, 65:9, 66:5,         165:15, 165:18,          behalf [4] - 142:1,          138:22, 143:14,           80:2, 80:4, 85:13,
ambiguity [4] - 12:19,      anonymously [1] -            204:11, 204:20,           aside [2] - 120:22,        217:3                                  92:17, 92:19, 101:7,      165:25, 167:20,           143:16, 147:5,              170:1, 170:11,            96:11, 98:3, 98:17,
 191:2, 191:5, 191:10        188:15                      208:5, 215:24, 216:3       181:18                   attach [1] - 156:6                      112:9, 120:16,            170:9, 170:13,            236:23                      170:14, 173:8,            219:23
amend [1] - 56:20           answer [26] - 8:17,         appreciate [1] - 11:20     aspect [3] - 31:16,       attached [1] - 156:5                    143:24, 144:6,            173:14, 173:18,          BEHALF [2] - 2:3, 2:13       173:9, 173:10,           boxcar [3] - 125:19,
AMERICA [1] - 1:1            49:9, 50:10, 55:15,        approach [2] - 59:23,       41:8, 208:10             attachment [2] -                        154:12, 154:15,           173:22, 174:3,           belabor [1] - 122:14         173:16, 175:8,            125:24, 126:7
America [1] - 140:3          58:15, 59:7, 60:8,          223:7                     aspects [1] - 248:1        148:23, 156:9                          154:17, 154:19,           175:18, 176:5,           belief [3] - 24:8, 45:15,    177:20, 181:20,          boxes [7] - 22:19,
American [2] - 157:15,       60:10, 60:17, 73:12,       Approach [1] - 178:16      assassination [1] -       attachments [1] -                       154:21, 201:1,            176:10, 178:6,            84:16                       183:24, 183:25,           32:13, 47:5, 47:7,
 171:12                      99:24, 101:3,              appropriate [28] -          61:10                     156:11                                 201:5, 201:13,            178:12, 183:14,          believes [1] - 219:13        189:1, 191:17,            73:8, 79:18, 80:16
amount [14] - 109:9,         113:25, 114:7,              5:10, 15:15, 17:6,        assert [1] - 198:3        attack [3] - 140:9,                     201:14, 202:7,            184:10, 184:16,          belong [2] - 5:8, 6:12       195:8, 233:23            boy [2] - 11:17, 177:24
 109:14, 115:9,              116:24, 168:13,             25:16, 37:4, 55:2,        asserted [13] - 18:14,     176:15, 176:18                         234:18                    186:1, 189:5,            below [6] - 23:6,           binders [1] - 173:13      Brad [3] - 236:23,
 122:12, 123:24,             183:17, 185:19,             55:4, 55:6, 55:9,          41:8, 49:23, 50:25,      attacking [1] - 232:15                 AVENUE [1] - 2:20          189:11, 191:22,           31:22, 121:24,             bit [14] - 18:8, 18:17,    237:1, 237:2
 125:24, 130:18,             220:11, 229:5,              55:12, 56:13, 57:15,       51:3, 52:24, 53:21,      attempt [1] - 39:14                    avoid [2] - 146:12,        192:3, 197:7,             131:25, 177:16,             23:22, 42:12, 46:16,     brain [2] - 190:5,
 131:10, 132:6,              230:8, 231:12,              68:8, 69:1, 75:22,         64:11, 90:10,            attempting [2] - 89:9,                  231:24                    199:12, 252:21,           225:6                       92:13, 109:24,            195:13
 160:19, 206:11,             237:20, 239:21,             93:14, 93:18,              245:23, 246:8,            238:5                                 aware [17] - 92:17,        252:24                   benefit [4] - 125:11,        113:3, 121:15,           brain-storming [1] -
 216:24, 222:13,             245:13, 248:7               104:16, 105:9,             247:18, 248:1            attend [2] - 57:25,                     151:6, 157:2,            base [7] - 31:19,          125:12, 163:24,             136:5, 162:11,            195:13
 223:19                     answering [4] - 8:5,         109:13, 118:1,            asserting [2] - 197:25,    59:20                                  186:21, 225:8,            31:22, 31:23, 32:6,       215:21                      204:8, 223:23, 226:7     break [11] - 6:23,
analogize [1] - 129:2        8:11, 9:15, 74:1            118:22, 128:8,             235:23                   attendance [1] - 65:11                  225:20, 226:14,           76:21, 76:24, 221:8      benefits [16] - 126:1,      bits [2] - 170:20,         29:12, 78:14, 78:20,
analysis [53] - 18:12,      answers [2] - 83:22,         132:7, 132:8, 211:7,      assertion [1] - 64:4      attended [2] - 17:2,                    226:16, 226:23,          based [36] - 12:25,        132:22, 134:5,              170:22                    135:24, 136:2,
 19:10, 36:6, 84:12,         182:17                      229:23, 234:12            assess [7] - 109:8,        61:15                                  227:15, 227:16,           19:4, 22:16, 23:12,       135:20, 135:21,            blamed [1] - 65:16         136:25, 183:11,
 84:20, 97:10,              antiquated [1] -            approximate [2] -           118:8, 127:4,            attending [1] - 198:12                  228:25, 239:10,           32:21, 34:15, 34:19,      200:4, 200:8,              blindness [1] - 61:2       199:14, 250:15
 109:11, 111:14,             176:24                      32:16, 66:11               131:21, 169:12,          attention [7] - 146:8,                  242:3, 245:2, 245:6,      41:20, 45:4, 53:3,        200:12, 201:3,             blob [1] - 80:9           brief [6] - 54:23,
 115:2, 115:10,             apart [1] - 49:24           April [3] - 184:8,          201:2, 226:1              146:13, 149:7,                         245:15                    69:18, 69:25, 77:4,       201:17, 202:3,             block [1] - 130:17         162:11, 205:1,
 118:4, 124:3,              apartment [1] - 129:3        184:9, 187:4              assessed [2] - 130:2,      149:10, 149:13,                       awareness [1] -            89:4, 89:11, 93:8,        202:6, 214:11,             blow [3] - 181:22,         246:18, 246:20,
 124:22, 125:11,            apologies [3] -             architecture [2] - 68:2,    241:17                    171:20, 188:17                         230:14                    115:5, 117:3,             242:6, 245:9, 245:11        187:16, 193:19            246:24
 127:10, 131:3,              235:20, 244:13,             92:20                     assessing [4] - 19:4,                                            axis [1] - 30:2            120:14, 166:7,           best [13] - 61:19,          blue [2] - 22:8, 22:9     briefly [4] - 39:24,
                                                                                                             attorney [5] - 63:18,
 133:10, 135:1,              245:20                     area [3] - 21:24, 48:2,     20:8, 28:17, 207:6                                                                         176:22, 202:5,            136:17, 157:18,            Board [2] - 16:21, 17:4    53:19, 114:21, 139:5
                                                                                                              150:22, 152:17,
 151:13, 151:20,            apologize [10] - 14:9,       209:5                     assessment [6] -           169:2, 169:11                                    B               221:6, 223:15,            192:23, 224:10,            board [2] - 16:22,        bring [6] - 123:8,
 152:14, 153:6,              102:9, 165:21,             areas [3] - 25:2,           40:20, 41:5, 113:18,                                                                       224:3, 225:18,            226:17, 226:18,             244:25                    177:15, 208:7,
                                                                                                             attorneys [6] - 61:1,
 153:9, 153:16,              173:11, 173:22,             231:25, 232:20             125:19, 134:12,                                                 Bachelor's [1] - 139:8     226:3, 229:8,             226:19, 226:22,            body [1] - 94:4            209:20, 209:24,
                                                                                                              62:5, 62:15, 63:23,
 166:6, 166:7,               174:3, 183:15,             argue [1] - 192:25          217:4                                                           background [2] -           230:18, 231:4,            227:5, 227:6, 227:7,       bold [1] - 196:1           233:10
                                                                                                              70:14, 168:17
 177:10, 193:4,              197:8, 198:14,             argument [9] - 47:23,      assigned [3] - 228:14,                                            110:8, 139:6              232:12, 232:18,           231:3                      bolded [1] - 196:21       bringing [2] - 156:22,
                                                                                                             attract [1] - 146:8
 201:23, 204:24,             235:14                      61:20, 63:7, 115:3,        228:16, 228:19                                                  Balfour [3] - 120:19,      239:16, 246:24,          better [5] - 47:11,         bolts [1] - 232:3          204:17
                                                                                                             attributes [2] - 132:16,
 205:20, 212:24,            app [2] - 179:4, 179:9       192:18, 228:23,           assigning [1] - 26:14                                             120:20, 214:7             252:1, 253:3              105:13, 133:6,                                       brings [4] - 204:13,
                                                                                                              132:24                                                                                                                book [13] - 85:23,
 216:6, 216:13,             apparatus [7] - 20:12,       228:24, 228:25,           assisting [1] - 108:25                                           ballast [1] - 209:5       basic [2] - 6:1, 223:12    133:24, 165:22              85:25, 86:3, 86:5,        208:19, 209:17,
                                                                                                             audience [1] - 94:2
 217:14, 217:23,             20:16, 20:21, 21:7,         233:4                     associated [12] - 24:4,                                          bank [1] - 161:8          basis [3] - 153:10,       between [25] - 23:23,        86:9, 86:16, 87:14,       213:10
                                                                                                             audio [1] - 136:16
 221:7, 221:23,              21:9, 21:20, 22:3          argumentative [1] -         24:5, 31:23, 33:13,                                             Bar [1] - 5:15             153:16, 207:16            24:6, 26:23, 28:22,         87:16, 88:13, 88:25,     broadly [1] - 176:13
                                                                                                             AUG [1] - 4:1
 228:9, 230:20,             Appeals [1] - 117:22         101:17                     59:14, 123:7, 123:8,                                            bar [11] - 6:5, 6:13,     bear [3] - 203:5,          49:13, 50:6, 61:7,          89:5, 102:12, 233:23     broke [3] - 6:23,
                                                                                                             August [3] - 118:12,
 232:18, 235:4,             APPEARANCES [1] -           arithmetic [1] - 223:13     126:25, 132:22,                                                  6:15, 6:21, 27:23,        209:21, 209:24            62:5, 62:19, 63:19,        books [2] - 86:4,          199:20, 200:3
                                                                                                              140:17, 234:4
 235:12, 235:22,             2:1                        arose [1] - 170:9           173:3, 200:8, 221:4                                              60:1, 65:22, 224:11,     BEAR [1] - 2:4             65:3, 65:14, 85:9,          161:11                   broken [2] - 6:19,
                                                                                                             AUGUST [2] - 1:15,
 236:2, 237:19,             appearances [2] - 4:6,      arrangements [1] -         association [1] - 6:16                                            234:15, 234:16,          bears [3] - 43:21,         127:18, 155:24,            born [1] - 110:5           73:21
                                                                                                              255:18
 240:18, 240:23,             4:7                         237:17                    Association [2] -                                                 235:6                     47:1, 47:12               162:6, 169:21,             bothered [2] - 39:20,     brought [2] - 61:6,
                                                                                                             Aurora [6] - 40:22,
 241:7, 246:24,             appellate [1] - 14:9        arrive [1] - 5:5            157:16, 171:12                                                  Barney [3] - 106:18,      Beatty [3] - 120:19,       182:2, 184:7,               44:24                     156:18
                                                                                                              126:16, 126:17,
 247:9, 249:11,             applications [2] -          arrived [1] - 112:18       assume [15] - 14:1,                                               106:25, 197:23            120:20, 214:7             184:19, 202:11,            bottom [16] - 18:25,      budget [3] - 238:10,
                                                                                                              134:25, 208:13,
 249:24                      52:11, 187:21              art [9] - 16:17, 55:16,     35:6, 35:13, 36:10,                                             BARNEY [72] - 2:15,       became [3] - 140:2,        203:6, 224:15,              19:3, 22:20, 23:10,       239:2, 242:19
                                                                                                              214:17
Analyst [1] - 110:19        applied [5] - 26:3,          145:13, 146:20,            37:17, 38:6, 38:7,                                               3:6, 3:15, 4:16,          141:14, 141:15            240:19, 245:20              79:4, 80:2, 127:17,      Buffalo [1] - 11:21
                                                                                                             automated [4] - 39:17,
analyze [6] - 20:2,          82:19, 83:5, 94:10,         146:24, 166:24,            42:18, 42:23, 43:16,                                             17:25, 18:2, 19:9,       bed [6] - 20:8, 21:24,    beyond [4] - 36:17,          127:25, 142:22,          build [4] - 121:19,
                                                                                                              40:19, 41:4, 177:10
 20:5, 119:15,               117:18                      253:8, 253:10,             69:14, 69:22, 128:6,                                             21:1, 21:6, 35:17,        22:3, 25:15, 28:17,       113:25, 228:24,             143:17, 148:10,           144:5, 185:25,
                                                                                                             Automated [1] - 15:7
 149:23, 171:24,            applies [1] - 68:11          253:14                     219:17, 234:14                                                   36:20, 37:6, 37:14,       48:17                     229:3                       169:10, 185:8,            189:13
                                                                                                             automatic [1] - 135:7
 171:25                     apply [11] - 38:21,         article [2] - 16:18,       assumed [1] - 219:8                                               38:25, 47:16, 49:7,      bedroom [2] - 130:16,     bidding [1] - 116:23         189:12, 189:13,          built [2] - 53:15,
                                                                                                             automatically [3] -
analyzing [2] - 109:25,      43:12, 45:5, 75:16,         16:19                     assuming [5] - 42:25,                                             54:11, 59:23, 60:22,      130:17                   bids [2] - 163:3, 163:5      189:19                    188:13
                                                                                                              134:20, 209:4,
 149:19                      92:10, 95:1, 97:10,        artifact [1] - 183:16       43:1, 169:20,                                                    62:1, 64:2, 64:4,        beg [1] - 223:11          big [6] - 105:5, 105:17,    bought [3] - 16:19,       bullet [15] - 179:1,
                                                                                                              247:15
ancillary [2] - 206:15       129:14, 129:23,            artifical [2] - 134:19,     232:10, 232:11                                                   64:15, 69:5, 72:24,      began [1] - 39:17          177:5, 192:4, 192:7         159:18, 226:4             179:2, 179:3, 179:8,
                                                                                                             availability [1] -
AND [4] - 255:8,             129:24, 212:25              154:8                     assumption [8] -                                                  73:20, 77:15, 86:21,     begin [3] - 176:18,       bigger [1] - 244:1          bounding [6] - 32:9,       179:17, 179:21,
                                                                                                              200:25
 255:11, 255:13,            applying [5] - 71:4,        Artificial [1] - 190:13     35:11, 35:19, 35:25,                                             90:13, 90:19, 90:21,      202:25, 230:4            Bill [1] - 246:10            32:12, 79:5, 79:11,       179:25, 180:12,
                                                                                                             available [41] - 40:23,
 255:14                      80:24, 81:8, 97:7,         artificial [16] - 33:22,    36:10, 37:17, 42:20,                                             93:7, 94:11, 94:18,      beginning [14] - 40:2,    billion [3] - 127:17,        96:10, 96:11              181:11, 186:13,
                                                                                                              58:10, 59:13, 59:19,
ANGELES [4] - 1:16,          99:2                                                   45:4, 232:15                                                     96:1, 96:25, 99:5,        54:2, 58:3, 59:18,        127:18, 158:14             box [21] - 19:19,          195:20, 195:21,
                                                         33:24, 34:4, 34:23,                                  60:3, 60:14, 60:16,
 1:24, 4:1, 255:4           apportion [3] -              50:13, 50:16, 51:8,       assumptions [4] -                                                 100:9, 102:8,             68:15, 72:19, 73:18,     Bills [1] - 11:21            19:20, 19:25, 25:1,       196:6, 196:21
                                                                                                              60:19, 60:20, 61:14,
Angeles [1] - 112:18         214:21, 215:20              51:21, 91:1, 135:6,        69:18, 69:25, 89:12,                                             106:19, 106:21,           77:8, 79:21, 139:12,     binary [1] - 57:21           28:9, 29:15, 32:9,       bullying [3] - 158:21,
                                                                                                              61:17, 62:4, 62:7,
angle [1] - 18:24           apportioning [1] -                                      89:14                                                            107:2, 137:24,            178:20, 202:11,          binder [23] - 40:1,          32:12, 32:14, 79:4,       158:22, 164:6
                                                         154:11, 154:24,                                      62:11, 62:17, 63:14,




                                      UNITED STATES DISTRICT COURT                                                                                                                      UNITED STATES DISTRICT COURT




                                                                                                                                        Exhibit 3
                                                                                                                                          163
 Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 67 of 74 Page ID
                                  #:15306
                                                                                                                               261                                                                                                                                              262

bunch [2] - 181:11,         Canadian [1] - 184:18      204:8, 204:13,             chains [1] - 192:4        15:6, 15:11, 16:11,                    150:9, 150:10,             49:22, 50:1, 50:3,        committed [1] -            151:15, 153:7,             38:19, 70:9, 100:10,
 203:25                     candidates [1] - 27:23     205:14, 207:20,            chance [4] - 4:19,        17:8, 253:16                           150:14, 152:16,            50:7, 50:10, 55:21,        221:22                    153:12                     111:20, 152:15
burden [7] - 43:22,         cannot [3] - 50:10,        211:8, 217:24,              13:8, 140:6, 243:8      Chung [1] - 12:18                       153:6                      55:25, 56:6, 56:16,       communicating [1] -       complete [7] - 49:9,       condition [2] - 134:20,
 43:25, 47:1, 47:12,         99:24, 169:3              221:25, 222:14,            change [15] - 100:20,    circle [4] - 79:15,                    Claims [2] - 35:23,         56:18, 56:19, 57:18,       239:19                    82:25, 83:2, 124:3,        138:7
 61:23, 76:18               capabilities [3] -         222:21, 223:1,              101:2, 101:5,            79:17, 80:12, 80:14                    38:15                      59:12, 60:13, 61:3,       communication [8] -        143:22, 217:23,           condition's [1] - 19:4
business [10] - 110:1,       121:1, 200:18,            223:18, 225:12,             123:15, 141:12,         circled [1] - 30:6                     clamor [1] - 119:7          63:2, 63:13, 64:10,        20:17, 21:10, 65:3,       249:24                    conduct [1] - 111:14
 110:25, 130:9,              209:19                    226:3, 226:8, 230:5,        159:19, 159:22,         circles [1] - 96:2                     clamoring [1] - 132:17      66:10, 66:17, 66:23,       74:17, 74:24, 75:3,      completed [1] -            conducted [1] -
 130:25, 140:12,            capable [1] - 46:4         231:19, 233:20,             161:18, 162:6,          Circuit [2] - 5:14,                    clarify [6] - 36:22,        71:11, 71:20, 78:8,        75:7, 75:9                109:11                     152:13
 158:15, 178:4,             capacity [7] - 121:8,      246:1, 248:16,              162:9, 172:2, 193:3,     117:22                                 163:16, 214:24,            78:10, 92:14, 92:15,      companies [7] -           completely [10] -          conducting [1] -
 186:22, 202:8,              121:12, 122:4,            249:15, 250:1,              230:25, 235:3,          circuit [5] - 6:5, 6:13,                215:5, 233:13, 234:9       92:18, 94:22, 95:3,        121:1, 125:1,             80:23, 81:8, 81:17,        174:18
 204:14                      122:6, 122:9, 122:10      250:24, 251:6,              235:11                   6:15, 6:21, 9:10                      clarifying [3] - 6:9,       95:9, 95:12, 95:19,        132:18, 146:14,           82:19, 97:6, 97:19,       confer [2] - 10:3,
Business [1] - 110:10       capitalization [1] -       251:14, 252:21,            changed [2] - 52:1,      circumstances [1] -                     142:8, 248:14              106:16, 168:18,            154:18, 159:10,           99:2, 101:15, 104:6,       65:20
buy [8] - 126:2, 144:7,      158:14                    252:23                      224:8                    60:23                                 clarity [1] - 12:20         168:25                     177:5                     104:12                    conference [8] -
 198:24, 213:16,            capturing [1] - 135:3     CASE [1] - 1:8              changes [2] - 134:21,    City [6] - 11:22, 11:23,               Class [3] - 241:9,         collaboration [1] -        company [27] - 45:17,     complicated [1] -           12:14, 14:13, 17:4,
 241:15, 242:21,            car [1] - 18:21           cases [2] - 202:17,          252:1                    11:25, 12:4, 140:8,                    241:12, 241:14             150:2                      64:11, 113:10,            12:12                      56:24, 99:22, 150:3,
 242:22, 242:25             career [2] - 38:23,        202:18                     changing [2] - 173:7,     140:10                                clear [15] - 7:7, 7:8,     colleague [5] - 146:4,      120:19, 120:22,          component [2] - 217:1       163:11, 198:12
buying [1] - 226:10          110:21                   categories [1] -             192:19                  claim [43] - 8:6, 8:7,                  77:15, 82:3, 100:15,       153:25, 162:17,            123:12, 126:15,          component-by-              conferred [1] - 107:20
BY [47] - 2:5, 2:15, 3:6,   careful [1] - 240:12       132:12                     character [1] - 61:10     8:11, 8:18, 9:16,                      143:21, 173:11,            188:16, 190:12             127:14, 127:21,           component [1] -           confers [1] - 6:4
 3:10, 3:11, 3:15,          carefully [2] - 20:2,     causes [1] - 162:6          characterization [2] -    22:9, 31:6, 31:9,                      187:18, 227:14,           colleagues [4] -            135:8, 139:3,             217:1                     confidence [3] -
 3:15, 18:2, 21:6,           28:11                    causing [4] - 43:5,          47:22, 240:17            31:12, 31:13, 31:16,                   228:3, 228:22,             139:4, 151:5,              139:12, 139:17,          components [2] -            155:1, 157:21, 164:5
 39:7, 49:19, 54:16,        carrier [1] - 171:5        43:11, 43:18, 44:4         characterize [1] -        42:16, 45:23, 45:25,                   229:14, 247:18,            168:24, 185:7              145:10, 151:2,            75:17, 121:21             confident [7] - 150:6,
 59:8, 65:24, 69:9,         carry [2] - 34:16,        cc'ed [1] - 191:21           59:22                    46:4, 46:5, 46:18,                     251:6, 253:2              collect [1] - 126:8         155:3, 158:13,           composed [1] -              154:3, 155:20,
 74:6, 78:2, 79:2,           61:23                    cc's [1] - 148:18           characterized [1] -       46:23, 47:2, 47:9,                    clearly [3] - 122:8,       collected [1] - 19:1        158:17, 158:19,           142:24                     156:24, 156:25,
 79:25, 87:13, 90:21,       cars [4] - 121:22,        cease [2] - 148:19,          246:20                   48:6, 48:24, 50:25,                    122:9, 246:17             collectively [1] - 154:3    159:18, 159:20,          comprehensive [2] -         157:7, 159:2
 99:10, 100:13,              121:23, 217:3,            156:12                     charge [5] - 12:14,       53:7, 56:17, 57:16,                   CLERK [13] - 4:3,          collects [1] - 134:12       176:22, 180:18,           6:18, 6:21                confidential [2] -
 102:14, 103:22,             241:15                   center [4] - 32:22,          14:13, 161:21,           67:20, 68:12, 71:5,                    17:17, 78:15, 78:23,      college [1] - 139:7         195:5, 198:11,           computation [3] -           168:18, 168:25
 104:21, 106:13,            case [108] - 4:4, 5:19,    84:21, 85:2, 162:18         203:17, 217:18           80:19, 81:12, 88:15,                   107:7, 107:9,             column [2] - 19:15,         209:20                    102:21, 103:1, 103:2      configuration [27] -
 108:9, 138:4,               5:22, 12:21, 12:25,      Central [1] - 140:3         chart [2] - 22:9,         90:7, 91:25, 92:4,                     107:13, 136:7,             85:3                      comparable [1] -          computations [3] -          70:16, 70:19, 70:22,
 165:18, 165:25,             13:16, 13:22, 14:3,      CENTRAL [2] - 1:2,           215:14                   94:18, 100:3,                          137:8, 137:11,            combination [10] -          217:5                     103:5, 103:7, 103:10       70:25, 71:9, 71:14,
 167:20, 175:18,             14:6, 15:1, 18:8,         255:9                      cheaper [1] - 237:13      104:11, 150:8,                         137:15, 251:16,            22:21, 24:2, 24:16,       compare [2] - 127:6,      computer [15] - 18:22,      71:18, 72:13, 72:15,
 176:10, 178:12,             19:14, 26:3, 30:18,      CEO [2] - 143:19,           check [5] - 47:5,         252:3, 252:8, 252:10                   254:1                      24:20, 25:11, 25:25,       129:2                     34:9, 34:24, 52:1,         72:21, 73:5, 73:6,
 183:14, 184:16,             35:8, 39:18, 43:14,       195:4                       161:8, 171:21,          Claim [51] - 19:12,                    click [3] - 182:24,         26:20, 53:21, 72:11,      compared [2] - 127:5,      52:9, 52:25, 57:12,        73:9, 73:11, 73:12,
 186:1, 189:11,              49:13, 50:22, 52:9,      certain [5] - 100:18,        172:13, 253:22           19:17, 26:1, 27:14,                    183:2, 183:18              134:16                     223:13                    57:20, 72:17, 75:10,       74:10, 94:13, 94:15,
 192:3, 197:15,              65:2, 81:7, 84:23,        114:3, 122:20,             checked [1] - 47:6        27:18, 27:19, 28:5,                   client [3] - 169:16,       combine [3] - 133:9,       comparing [2] - 27:24,     75:12, 139:22,             95:23, 100:16,
 199:25, 218:16,             86:1, 89:1, 89:15,        202:17, 247:14             checkmark [1] - 27:20     28:6, 28:7, 28:9,                      180:21, 219:18             133:18, 134:19             28:20                     193:17                     100:23, 101:5,
 232:23, 235:8,              101:14, 104:17,          certainly [12] - 12:15,     checkmarks [2] -          30:25, 33:17, 37:21,                  clients [1] - 108:25       combined [3] - 23:9,       compensate [1] -          COMPUTER [1] -              101:7, 192:24,
 249:9, 255:13               109:6, 109:7,             47:22, 107:15,              22:8, 22:9               38:15, 41:23, 41:24,                  clip [1] - 69:8             23:20, 209:9               128:12                    255:13                     193:1, 193:2, 193:16
                             109:10, 109:14,           112:5, 122:1,              Chief [2] - 142:3,        42:1, 42:3, 42:4,                     Clip [4] - 69:8, 74:5,     combines [2] - 209:3,      compete [3] - 210:16,     COMPUTER-AIDED             configure [2] - 193:13,
           C                 109:17, 109:20,           204:17, 227:20,             183:1                    42:6, 42:9, 42:11,                     77:25, 79:23               247:11                     217:19, 241:5             [1] - 255:13               193:14
                             111:15, 112:6,            234:13, 234:18,            children [2] - 110:3,     42:13, 42:15, 44:2,                   clock [1] - 253:24         combining [2] - 135:5,     competing [4] -           computers [1] - 171:9      configured [8] -
C.V [1] - 186:7              112:13, 112:25,           235:2, 242:10,                                       45:22, 46:23, 46:25,                  close [5] - 12:16, 73:2,    149:23                     186:21, 211:19,          computing [2] -             21:17, 71:9, 73:13,
                                                                                   140:6
CA [1] - 2:11                115:4, 115:9,             245:14                                               48:9, 48:16, 55:6,                     133:16, 140:5,            coming [4] - 14:10,         235:18, 241:8             103:12, 105:14             94:19, 95:20,
                                                                                  choice [3] - 72:5,
calculate [3] - 32:20,       115:19, 116:5,           certainty [2] - 38:19,                                55:12, 57:16, 66:7,                    253:25                     23:19, 84:25, 118:19      competition [2] -         concept [4] - 6:12,         100:15, 100:17,
                                                                                   153:6, 153:11
 115:18, 128:16              116:16, 117:5,            243:6                                                66:12, 66:18, 67:3,                   closely [3] - 63:23,       commenced [1] -             177:17, 213:8             13:17, 129:9, 181:12       101:6
                                                                                  choices [1] - 49:11
calculated [8] - 25:18,      117:21, 124:11,          CERTIFICATE [1] -                                     67:18, 74:15, 74:16,                   143:7, 150:11              145:6                     competitive [8] -         concepts [1] - 13:20       confirm [7] - 61:13,
                                                                                  choosing [2] - 152:17,
 81:19, 117:12,              125:3, 127:13,            255:2                                                75:2, 76:21, 81:11,                   CNet [4] - 57:2, 57:6,     comment [8] - 12:17,        188:4, 203:5, 212:8,     concern [2] - 239:10,       161:6, 174:15,
                                                                                   169:11
 128:13, 131:11,             127:14, 128:7,           certifications [1] -                                  96:5, 151:14,                          99:17, 99:21               31:21, 32:20, 33:11,       217:20, 233:21,           239:25                     174:16, 182:1,
                                                                                  chose [8] - 43:7,
 205:22, 217:9,              128:19, 128:20,           110:16                                               151:20, 153:11,                       CNN [1] - 197:18            188:1, 188:3,              235:17, 235:19,          concerning [1] -            182:9, 252:16
                                                                                   57:24, 58:24, 88:25,
 230:16                      128:21, 130:20,          Certified [2] - 110:18,                               154:2, 169:5                          CNN's [1] - 26:4            189:20, 194:20             235:21                                              confirmed [4] - 61:14,
                                                                                   158:5, 158:21,                                                                                                                                  195:13
calculating [1] - 28:21      131:21, 132:20,           110:19                                              claimed [4] - 63:9,                                               comments [5] - 11:20,      competitor [4] -                                      61:17, 65:7, 170:25
                                                                                   225:5, 237:25                                                  co [2] - 139:3, 140:19                                                          conclude [1] - 119:25
calculation [4] - 84:3,      145:8, 145:12,           CERTIFY [2] - 255:10,                                 91:13, 149:17                         co-founded [2] -            32:5, 134:7, 189:17,       189:21, 199:8,           concluded [9] - 65:22,     confirms [1] - 88:10
                                                                                  chosen [1] - 63:10
 233:1, 233:3, 243:1         146:7, 147:23,            255:14                                              claims [27] - 18:14,                                               193:19                     203:2, 217:17                                       confrontation [1] -
                                                                                  Christian [1] - 248:18                                           139:3, 140:19                                                                   117:4, 117:5, 120:2,
calculations [5] -           150:24, 154:6,           Cerulli [1] - 148:18                                  27:14, 28:6, 36:7,                                               commercial [2] -           competitors [8] -          120:20, 188:14,            194:14
                                                                                  Christmas [1] - 161:4                                           Coaster [1] - 11:18
 83:10, 83:14, 85:18,        160:3, 175:19,           CERULLI [1] - 2:17                                    41:8, 41:11, 41:24,                                               108:24, 202:11             131:1, 193:22,            235:6, 240:5, 254:3       confuse [1] - 8:23
                                                                                  CHRISTY [1] - 2:5                                               code [56] - 20:5,
 219:7, 232:25               178:3, 182:5,            chain [12] - 143:15,                                  45:2, 49:23, 55:22,                                              commercialize [4] -         194:5, 194:11,           concluding [1] -           confusing [1] - 10:25
                                                                                  CHUNG [22] - 2:19,                                               22:18, 22:23, 23:1,
CALIFORNIA [6] - 1:2,        182:11, 183:25,           143:17, 148:8,                                       55:25, 71:17, 72:8,                                               210:14, 210:15,            202:21, 202:24,           216:14                    confusion [1] - 252:7
                                                                                   6:3, 6:15, 9:7, 9:19,                                           29:14, 32:17, 33:11,
 1:16, 1:24, 4:1,            185:15, 186:14,           149:1, 182:2, 182:8,                                 90:10, 91:5, 91:7,                     33:12, 34:15, 38:13,       210:23, 213:6              241:1, 241:4             conclusion [5] -           Congress [1] - 16:23
                                                                                   9:21, 10:11, 10:13,
 255:6, 255:9                187:23, 197:19,           182:12, 182:15,                                      99:25, 149:8,                                                    commercially [3] -         compiling [1] - 58:11                                conjunction [1] -
                                                                                   10:15, 10:17, 10:24,                                            45:1, 48:6, 48:12,                                                              88:18, 109:13,
Canada [3] - 145:20,         197:20, 197:21,           184:7, 186:11,                                       149:11, 149:14,                        48:20, 49:4, 49:12,        207:7, 207:18,            complain [1] - 230:1       121:2, 169:3, 190:2        16:21
                                                                                   11:8, 11:10, 13:23,
 176:22, 186:22              201:15, 202:16,           189:14, 194:18                                       149:16, 149:18,                        49:14, 49:15, 49:20,       207:25                    complaint [3] -                                      connects [1] - 75:11
                                                                                   14:16, 14:25, 15:3,                                                                                                                            conclusions [5] -




                                     UNITED STATES DISTRICT COURT                                                                                                                      UNITED STATES DISTRICT COURT




                                                                                                                               263                                                                                                                                              264

consecutive [1] - 88:5      contained [1] - 37:9       26:7, 26:12, 26:17,         48:7, 48:8, 48:10,       98:22, 99:14, 99:17,                   219:2, 219:5, 219:6,       237:25                     7:16, 7:19, 8:1, 8:9,     185:19, 189:7,             173:10, 218:13,
conservative [1] -          contains [5] - 23:25,      34:5, 34:8, 34:11,          48:13, 48:14, 48:17,     99:18, 99:19,                          219:9, 219:10,            costly [2] - 135:13,        8:21, 9:2, 9:14, 9:20,    189:9, 191:24,             233:23, 234:12
 241:6                       24:8, 33:25, 42:3,        51:24, 53:4, 53:12,         48:18, 48:20, 48:21,     100:17, 100:25,                        219:15, 219:24,            135:17                     10:1, 10:12, 10:14,       192:1, 197:11,            cross-examination [6]
consider [18] - 5:17,        71:12                     57:10, 66:1, 66:24,         48:24, 49:23, 50:13,     101:21, 101:23,                        219:25, 220:2,            costs [11] - 122:25,        10:16, 10:21, 11:6,       199:11, 199:13,            - 39:2, 47:25, 79:1,
 5:18, 7:23, 19:16,         content [1] - 193:21       67:6, 67:9, 67:19,          50:17, 50:18, 50:20,     102:1, 102:2, 102:4,                   220:3, 220:5, 220:6,       123:8, 123:9,              11:9, 11:12, 11:19,       199:17, 199:19,            164:10, 164:13,
 41:11, 54:14, 125:1,       contentions [1] -          69:15, 91:1, 93:3,          50:23, 51:1, 51:6,       102:5, 102:20,                         220:12, 220:19,            123:11, 123:12,            12:2, 12:6, 12:15,        218:13, 229:5,             218:13
 128:23, 129:20,             10:14                     93:5, 93:9, 94:9            51:14, 51:15, 51:16,     102:22, 102:25,                        221:18, 222:1,             123:14, 212:1,             12:23, 13:2, 13:21,       229:20, 231:11,           CROSS-
 132:13, 200:25,            context [4] - 77:16,      convoy [1] - 204:1           51:24, 51:25, 52:3,      103:3, 103:6,                          222:10, 222:11,            215:21, 215:23,            13:24, 14:8, 14:11,       231:15, 231:24,            EXAMINATION [3] -
 205:11, 207:22,             79:14, 79:17, 191:15     convoyed [10] -              52:6, 52:11, 52:12,      103:11, 104:4,                         222:15, 222:18,            215:24, 215:25             14:14, 14:23, 15:2,       232:6, 232:15,             39:6, 165:17, 218:15
 208:20, 211:15,            continual [1] - 144:17     203:23, 204:4,              52:16, 53:1, 53:5,       104:9, 105:19,                         222:19, 223:2,            COUNSEL [1] - 2:1           15:5, 15:9, 15:13,        232:22, 234:6,            cross-examine [1] -
 211:24, 212:21,            continue [11] - 17:22,     204:6, 206:15,              53:10, 53:13, 53:14,     109:12, 114:2,                         223:3, 223:10,            Counsel [18] - 17:24,       15:18, 16:4, 16:9,        234:11, 234:17,            234:12
 244:7                       79:1, 136:4, 144:10,      206:16, 207:12,             53:15, 53:18, 53:22,     114:4, 114:5, 115:9,                   223:11, 223:20,            20:23, 37:13, 40:16,       16:14, 17:5, 17:9,        234:23, 235:7,            CSR [2] - 1:22, 255:21
consideration [9] -          145:5, 156:17,            207:17, 213:25,             53:24, 54:22, 55:3,      120:4, 122:12,                         223:21, 223:24,            54:7, 77:14, 77:23,        17:14, 17:16, 17:19,      249:3, 249:6,             CSX [78] - 36:3, 95:18,
 7:24, 8:3, 9:25,            157:12, 157:25,           222:18, 223:5               55:7, 55:8, 55:10,       138:7, 138:14,                         224:17, 225:13,            78:13, 86:20, 90:18,       20:23, 21:4, 36:19,       250:12, 250:14,            113:6, 113:7,
 24:24, 125:21,              164:6, 183:17,           cooperate [1] - 145:24       55:13, 55:18, 55:22,     141:9, 142:20,                         226:11, 226:15,            102:7, 107:3, 111:7,       36:24, 37:3, 37:12,       251:18, 252:17,            113:17, 114:16,
 203:15, 204:18,             196:13                   coordinates [8] -            56:1, 56:2, 56:4,        142:21, 143:4,                         226:25, 227:8,             137:23, 138:2,             39:2, 39:5, 40:6,         252:22, 252:25,            116:24, 117:6,
 233:20, 235:22             continued [1] - 162:20     31:19, 31:24, 31:25,        56:7, 56:11, 56:14,      145:3, 145:4,                          227:18, 227:20,            183:13, 235:7, 253:6       40:9, 40:16, 47:21,       253:5, 253:15,             117:14, 120:18,
considerations [5] -        CONTINUED [1] -            32:13, 76:22, 76:25,        56:15, 56:17, 56:22,     145:21, 146:18,                        227:24, 228:2,            counsel [46] - 4:6,         49:8, 54:7, 54:10,        253:18, 255:9,             121:20, 122:3,
 7:3, 7:5, 7:22, 9:22,       199:24                    77:4, 96:15                 56:25, 57:1, 57:3,       146:19, 146:22,                        228:11, 228:12,            13:9, 16:10, 17:6,         54:13, 58:19, 59:3,       255:22                     122:7, 123:23,
 242:23                     Continued" [1] -          copies [1] - 182:3           57:7, 57:8, 57:12,       146:23, 146:25,                        228:14, 228:17,            36:25, 54:13, 58:16,       59:6, 59:21, 59:24,      Court [11] - 9:8, 12:10,    124:15, 125:11,
considered [6] - 25:7,       180:16                   copy [2] - 17:4, 86:19       57:13, 57:16, 57:17,     147:1, 148:14,                         228:18, 228:20,            61:16, 62:23, 62:24,       60:2, 60:7, 60:11,        14:1, 14:3, 81:13,         125:20, 125:23,
 124:21, 125:6,             continues [3] - 13:11,    copying [2] - 182:16,        57:20, 57:25, 58:1,      151:23, 151:24,                        229:18, 232:12,            63:19, 65:6, 65:10,        60:21, 61:19, 61:25,      89:8, 89:10, 117:22,       125:25, 126:2,
 132:13, 209:21,             121:23, 124:16            194:19                      58:25, 59:10, 66:1,      152:20, 152:21,                        232:14, 233:12,            65:23, 69:4, 72:23,        62:6, 62:10, 62:16,       153:13, 183:10,            127:10, 127:12,
 237:12                     continuing [2] - 54:3,    core [2] - 209:14,           66:3, 66:7, 66:12,       153:20, 153:21,                        235:24, 235:25,            78:19, 78:25, 90:24,       62:24, 63:12, 64:3,       218:10                     127:16, 158:3,
considering [2] - 33:4,      239:18                    214:12                      66:13, 66:19, 66:25,     154:23, 156:15,                        236:18, 237:3,             92:13, 94:12, 97:5,        64:13, 64:21, 65:12,     court's [7] - 94:18,        158:5, 158:10,
 208:21                     contradiction [1] -       corporate [5] - 138:11,      67:1, 67:4, 67:11,       159:10, 162:7,                         237:4, 238:21,             101:17, 107:18,            65:20, 65:23, 68:16,      95:21, 97:6, 99:1,         158:18, 202:22,
consistent [10] - 11:4,      8:12                      165:12, 165:13,             67:15, 67:16, 67:18,     162:8, 164:21,                         240:7, 240:11,             108:2, 111:17,             68:21, 68:24, 69:3,       104:10, 104:14,            208:13, 211:18,
 54:15, 60:8, 64:24,                                   172:24, 176:2               67:22, 67:23, 67:25,     166:8, 166:13,                         240:21, 240:23,            135:23, 137:3,             69:6, 72:20, 72:23,       250:16                     214:6, 218:2, 220:7,
                            contradictory [2] -
 65:13, 68:11, 96:22,                                 Corporation [1] -            68:1, 68:3, 68:4,        166:14, 166:16,                        240:24, 241:2,             150:23, 165:4,             73:1, 73:19, 73:22,      Court's [6] - 12:21,        220:18, 226:4,
                             9:4, 9:17
 104:10, 119:20,                                       141:25                      68:6, 68:7, 68:9,        166:17, 166:20,                        241:10, 241:16,            171:11, 173:12,            74:4, 76:12, 77:10,       12:24, 14:5, 31:12,        226:9, 226:10,
                            contradicts [1] - 89:5
 225:3                                                corporation [1] -            69:13, 69:19, 69:23,     166:21, 166:24,                        241:21, 241:24,            183:9, 197:11,             77:12, 77:14, 77:22,      80:19, 92:11               226:14, 227:6,
                            contribute [1] - 98:9
constantly [1] -                                       236:24                      70:1, 70:2, 70:12,       167:4, 167:11,                         242:9, 243:17,             199:11, 199:22,            78:13, 78:17, 78:25,     courtroom [5] -             227:8, 228:2,
                            contributing [8] -
 192:19                                               CORRECT [1] -                70:16, 70:20, 70:23,     167:22, 168:1,                         243:23, 244:16,            227:11, 229:17,            79:22, 86:20, 86:22,      112:15, 229:10,            228:16, 235:24,
                             83:10, 83:13, 84:2,
constraint [1] - 242:20                                255:14                      71:1, 71:10, 71:18,      168:11, 168:18,                        244:20, 246:13,            234:6, 234:15,             86:25, 87:3, 87:5,        229:25, 233:16,            236:3, 236:6,
                             84:8, 85:17, 98:14,
constraints [1] - 239:3                               correct [466] - 5:3, 5:4,    71:22, 71:24, 72:2,      169:14, 169:18,                        246:18, 247:4,             249:3, 250:6,              87:7, 87:10, 90:14,       235:15                     236:13, 236:14,
                             98:21, 98:24
constructed [2] -                                      6:14, 13:2, 13:23,          72:8, 72:22, 73:5,       169:23, 170:19,                        247:13, 247:16,            250:12, 252:14,            90:18, 99:7, 100:11,     Courts [1] - 111:2          236:17, 236:20,
                            contributions [1] -
 149:19, 236:3                                         14:8, 19:8, 20:1,           73:14, 74:7, 74:9,       172:7, 172:9,                          247:24, 248:2,             253:13                     101:17, 102:7,           courts [1] - 111:3          236:23, 236:24,
                             204:12
construction [17] -                                    22:25, 23:5, 23:14,         74:18, 74:22, 75:4,      172:10, 172:12,                        252:20, 253:16            count [3] - 51:18,          102:9, 102:14,           cover [6] - 50:19,          237:1, 237:11,
                            control [3] - 122:17,
 31:13, 71:5, 80:19,                                   26:9, 26:22, 27:11,         75:5, 75:8, 75:16,       172:16, 172:20,                       correctly [19] - 47:20,     232:11, 253:23             103:17, 103:20,           86:18, 130:7, 141:5,       237:18, 237:25,
                             122:19, 123:18
 80:23, 81:2, 92:11,                                   27:21, 29:18, 29:20,        75:23, 76:2, 76:16,      173:4, 174:9,                          94:24, 97:8, 169:7,       counted [1] - 51:17         104:19, 104:21,           148:13, 148:22             238:3, 238:6,
                            controller [6] - 126:5,
 94:19, 95:1, 95:21,                                   30:4, 30:10, 30:24,         76:19, 76:22, 76:23,     174:20, 174:23,                        169:13, 177:12,           counts [2] - 149:15,        106:6, 106:8,            coveted [1] - 158:14        238:10, 238:20,
                             126:22, 127:5,
 97:6, 97:10, 97:12,                                   32:4, 32:7, 32:23,          77:1, 78:6, 78:8,        175:1, 175:3, 176:1,                   177:18, 179:6,             232:9                      106:11, 106:18,          crack [3] - 29:3, 29:9      238:23, 239:2,
                             142:25, 216:19,
 97:16, 99:1, 100:14,                                  34:3, 34:6, 34:10,          78:11, 79:9, 79:12,      176:3, 177:6,                          179:12, 179:19,           County [1] - 11:24          106:20, 106:22,          create [5] - 23:9,          239:7, 239:16,
                             217:2
 104:11, 104:14                                        34:17, 39:11, 39:12,        79:15, 79:18, 80:2,      177:13, 178:22,                        179:23, 180:4,            COUNTY [1] - 255:4          106:25, 107:3,            23:21, 33:6, 149:23,       240:13, 240:16,
                            convenient [1] - 4:11
                                                       39:14, 39:15, 39:18,        80:3, 80:5, 80:7,        180:7, 180:10,                         180:13, 187:25,           couple [7] - 26:6,          107:6, 107:12,            180:1                      241:20, 241:23,
construed [2] - 81:13,      conventional [3] -
                                                       39:21, 40:20, 40:21,        80:8, 80:10, 80:17,      180:11, 181:4,                         189:23, 193:25,            140:19, 143:8,             107:18, 107:23,          created [4] - 118:17,       242:1, 242:5, 242:7,
 94:20                       154:11, 191:11,
                                                       40:24, 40:25, 41:2,         81:9, 81:10, 81:13,      181:7, 181:8,                          194:21, 195:24,            158:24, 174:15,            108:2, 108:4, 111:7,      175:13, 198:9,             242:13, 242:14
consultant [7] -             191:12
                                                       41:3, 41:5, 41:8,           81:14, 81:22, 82:3,      181:17, 182:14,                        196:24                     182:3, 232:5               111:9, 114:2, 114:7,      219:22                    CSX's [2] - 126:13,
 166:22, 167:3,             conversations [2] -
                                                       41:9, 41:18, 41:21,         82:6, 82:7, 82:9,        183:4, 184:20,                        correspond [1] - 23:3      course [8] - 5:17,          135:23, 136:9,           creating [1] - 24:25        158:14
 167:10, 172:4,              78:18, 251:6
                                                       41:22, 41:24, 42:1,         82:12, 82:13, 82:16,     185:5, 186:18,                        correspondence [5] -        18:18, 42:13, 58:16,       136:13, 136:15,          credentials [2] -          culmination [1] -
 172:6, 172:21, 173:5       conveyed [1] - 182:10
                                                       42:2, 42:4, 42:5,           82:20, 83:3, 83:6,       188:22, 188:24,                        148:9, 152:9,              150:16, 152:18,            136:21, 136:24,           190:19, 190:20             159:4
Consultants [1] -           conveying [3] -
                                                       42:7, 42:11, 42:15,         83:7, 83:18, 83:24,      189:16, 190:4,                         152:23, 172:25,            232:22, 247:20             137:19, 137:23,                                     cumbersome [1] -
 142:4                       157:19, 158:8,                                                                                                                                                                                       credenza [1] - 173:14
                                                       43:12, 43:22, 43:23,        84:4, 84:12, 84:14,      193:21, 194:1,                         197:23                    court [8] - 94:20,          137:25, 164:10,                                      135:16
consulted [1] - 16:25        158:15                                                                                                                                                                                               credit [3] - 209:23,
                                                       44:13, 44:15, 44:18,        84:18, 84:19, 84:22,     195:14, 195:18,                       corresponding [1] -         128:21, 151:18,            164:14, 164:18,                                     curative [2] - 65:15,
consulting [2] -            convinced [3] - 145:7,                                                                                                                                                                                 214:21, 214:22
                                                       44:19, 44:21, 45:5,         85:5, 85:7, 85:10,       196:17, 197:3,                         22:2                       153:2, 182:5,              164:22, 165:4,                                       65:18
 108:17, 175:3               149:8, 154:10                                                                                                                                                                                        criminal [1] - 251:19
                                                       45:9, 45:10, 45:12,         85:15, 85:20, 85:23,     197:22, 198:24,                       cost [11] - 123:20,         182:11, 186:9, 254:2       165:8, 165:16,                                      cure [2] - 61:10, 61:24
contact [3] - 140:5,        convolution [9] -                                                                                                                                                                                     CROSS [4] - 3:3, 39:6,
                                                       45:23, 46:1, 46:2,          86:7, 86:11, 87:17,      200:5, 200:6, 200:9,                   125:10, 125:13,                                       167:15, 170:12,                                     current [3] - 126:13,
 142:2, 157:22               33:21, 67:22, 68:11,                                                                                                                            COURT [212] - 1:1,                                    165:17, 218:15
                                                       46:5, 46:9, 46:14,          87:18, 88:11, 88:15,     211:2, 211:3, 211:6,                   125:20, 126:24,                                       173:12, 174:2,                                       126:15, 242:14
contacted [2] -              84:21, 88:4, 93:17,                                                                                                                              1:23, 3:7, 4:8, 4:15,                               cross [11] - 39:2, 40:1,
                                                       46:15, 46:23, 47:3,         88:16, 89:1, 89:2,       218:6, 218:7,                          127:1, 127:24,                                        176:8, 178:8,                                       curriculum [1] -
 145:12, 184:18              94:1, 94:5, 251:3                                                                                                                                4:17, 5:8, 5:12, 5:22,                               47:25, 58:11, 79:1,
                                                       47:4, 47:12, 47:15,         89:13, 89:18, 89:22,     218:20, 218:23,                        134:24, 200:20,                                       178:10, 183:9,                                       110:15
contain [1] - 138:17                                                                                                                                                          6:1, 6:11, 7:10, 7:13,                               164:10, 164:13,
                            convolutional [21] -                                   90:4, 90:7, 96:17,       218:24, 219:1,                                                                               184:12, 184:14,




                                     UNITED STATES DISTRICT COURT                                                                                                                      UNITED STATES DISTRICT COURT




                                                                                                                                      Exhibit 3
                                                                                                                                        164
Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 68 of 74 Page ID
                                 #:15307
                                                                                                                              265                                                                                                                                               266

customer [27] - 116:1,     183:18, 183:20,           113:17, 118:16,           degree [13] - 38:19,        117:10, 117:16,                       diagrams [1] - 102:15       75:15, 76:1, 76:15         193:1, 193:2, 193:3,      177:7, 182:8, 183:9,       62:4, 62:17, 63:2,
 141:14, 141:15,           183:21, 245:22            228:14, 229:11             110:10, 139:7,             159:25                                died [1] - 140:9           discount [3] - 226:4,       193:16, 196:7,            183:12, 185:8,             63:6, 63:13, 78:19,
 141:16, 141:18,          Darel's [1] - 182:19      dating [1] - 142:17         139:8, 140:1,             designated [1] - 111:9                 difference [11] -           226:5, 226:9               197:18                    190:24, 192:7,             112:15, 119:21,
 141:21, 144:4,           dark [3] - 188:6,         David [1] - 158:16          166:10, 190:12,           designed [2] - 134:17,                  28:22, 49:13, 50:2,       discourage [3] -           DNNs [5] - 190:2,          192:14, 196:7,             120:18, 122:3,
 144:11, 144:19,           250:16, 251:18           days [7] - 61:3, 61:16,     190:15, 190:16,            244:16                                 92:7, 162:2, 162:5,        193:22, 194:5, 194:6       190:5, 191:2, 191:6,      196:13, 203:24,            124:19, 140:1,
 145:7, 147:22,           data [101] - 19:1,         64:20, 125:25,             190:17, 193:6,            designing [1] - 244:4                   215:17, 216:17,           discover [1] - 111:17       192:18                    214:6, 214:9,              140:9, 164:13,
 148:3, 157:9,             20:16, 20:22, 21:8,       147:18, 149:4,             193:17                    desire [2] - 155:3,                     217:6, 224:15             discovery [8] - 61:7,      DO [2] - 255:10,           214:21, 238:9              170:10, 229:15,
 158:10, 161:16,           21:9, 21:19, 21:20,       150:20                    delays [1] - 171:5          211:1                                 differences [3] -           62:10, 62:18, 63:4,        255:13                   Downstate [5] - 11:22,      233:14, 252:14
 162:1, 163:2, 163:3,      21:23, 22:3, 22:17,      DC [1] - 2:21              delete [1] - 9:21          desist [2] - 148:20,                    49:25, 50:5, 50:6          63:11, 64:9, 65:14,       Doctor [15] - 19:10,       11:23, 12:1, 12:3         dwell [3] - 37:10,
 180:22, 187:1,            22:19, 22:22, 23:4,      DCNN [3] - 35:22,          deliberations [1] -         156:12                                different [36] - 5:21,      111:17                     22:14, 25:3, 25:23,      downward [1] -              47:19, 174:16
 194:13, 194:15,           23:7, 23:13, 23:17,       35:23, 72:12               250:20                    despite [1] - 164:6                     18:24, 23:20, 24:18,      discredit [1] - 186:9       26:6, 27:12, 33:15,       209:22
 225:6, 231:8, 236:1,      23:18, 23:19, 24:1,      deadline [1] - 153:21      deliver [1] - 134:17       detail [2] - 13:5, 131:9                25:2, 26:13, 26:16,       discrepancy [1] -           33:19, 35:4, 37:15,      dr [3] - 76:14, 97:12,                E
 240:15                    24:3, 24:15, 24:16,      deal [3] - 15:14, 116:3,   delivered [13] - 36:8,     detailed [5] - 151:13,                  31:3, 31:4, 48:5,          224:10                     37:19, 38:12, 38:17,      106:14
customers [12] -           24:20, 24:24, 25:12,      145:24                     36:16, 37:16, 59:13,       151:20, 153:6,                         48:19, 49:14, 49:25,      discuss [8] - 13:8,         38:25, 52:16             Dr [80] - 17:22, 18:3,     early [1] - 188:20
 16:18, 16:19, 71:12,      25:20, 26:19, 26:21,     dealing [3] - 128:7,        71:11, 113:15,             153:9, 153:16                          53:4, 53:12, 53:15,        14:14, 131:9, 158:2,      doctor [1] - 49:6          23:15, 23:23, 24:6,       ease [1] - 130:9
 141:17, 172:17,           28:21, 28:22, 29:13,      145:2, 148:2               170:18, 170:20,           details [3] - 54:25,                    53:16, 55:10, 55:11,       196:2, 210:2,             Doctrine [3] - 13:13,      26:23, 27:2, 30:11,       easier [2] - 143:14,
 172:19, 189:22,           29:16, 29:23, 29:24,     December [12] -             170:23, 229:9,             109:23, 159:1                          57:9, 58:13, 65:2,         251:20, 251:24             13:16, 13:25              30:21, 37:1, 39:8,         172:16
 193:23, 245:2,            30:16, 30:18, 30:22,      61:15, 65:9, 113:14,       231:21, 231:22            detect [3] - 26:16,                     71:12, 84:24, 94:10,      discussed [2] - 49:22,     doctrine [1] - 13:18       39:21, 40:19, 46:20,      easiest [1] - 176:21
 245:6, 245:15             30:23, 31:6, 31:7,        160:7, 160:15,            delivering [1] - 171:15     32:9, 134:21                           100:22, 100:25,            145:10                    document [19] - 15:3,      50:15, 51:14, 52:21,      easily [1] - 134:23
cut [1] - 151:16           31:10, 31:13, 32:9,       161:1, 161:7, 161:9,      delivery [7] - 113:23,     detecting [2] - 27:23,                  136:6, 162:4, 169:6,      discussing [3] -            51:10, 100:5, 125:7,      52:22, 54:17, 58:23,      East [1] - 11:18
cuts [1] - 238:23          32:10, 32:16, 33:6,       161:12, 170:8,             114:1, 115:6,              96:6                                   169:25, 191:16,            10:17, 27:9, 51:8          127:3, 133:7, 147:9,      61:1, 61:8, 61:11,        easy [1] - 142:11
cutting [1] - 183:15       33:7, 33:10, 53:22,       228:19, 229:1              128:14, 215:4,            detection [3] - 39:17,                  192:5, 201:9,             discussion [11] - 48:9,     170:9, 174:16,            61:18, 65:25, 68:22,      EBA [9] - 141:13,
CV [2] - 1:9, 4:4          60:13, 63:13, 68:9,      decide [3] - 4:9, 15:19,    216:9, 229:12              119:17, 135:10                         203:22, 225:21             55:5, 60:1, 130:9,         175:10, 175:19,           69:10, 70:6, 70:20,        141:19, 141:20,
Cybermetrics [1] -         69:2, 72:11, 72:12,       89:10                     demand [9] - 118:5,        detects [1] - 28:16                    differential [1] - 25:18    134:25, 158:25,            175:22, 175:23,           71:22, 72:3, 73:4,         142:1, 142:3,
 141:25                    79:5, 79:11, 80:21,      decided [6] - 143:8,        118:7, 118:10,            determinations [1] -                   differently [1] - 5:15      159:5, 208:5,              176:2, 176:12,            74:8, 74:19, 74:22,        143:16, 143:20,
                           80:24, 81:7, 81:9,        152:5, 188:15,             119:2, 119:6,              232:9                                 difficult [2] - 140:10,     238:14, 239:4              176:13, 176:21,           75:16, 76:2, 78:3,         143:25, 144:3
           D               83:4, 88:6, 93:19,        188:20, 217:10,            119:18, 121:9,            determine [14] -                        155:11                    discussions [7] -           208:23                    78:18, 79:3, 80:21,       economic [8] -
                           96:11, 97:3, 97:7,        232:8                      147:15                     28:12, 70:22, 71:9,                   dimensional [6] -           112:12, 112:13,           documents [18] -           81:16, 82:17, 86:16,       109:20, 201:4,
dad [1] - 140:8            97:25, 99:3, 99:20,      decision [2] - 187:13,     demonstrating [1] -         99:13, 100:17,                         20:21, 21:8, 21:18,        120:14, 159:9,             62:22, 100:1,             88:8, 88:18, 90:22,        204:2, 207:22,
damage [2] - 109:9,        106:4, 131:2,             226:19                     247:7                      101:5, 119:1,                          21:23, 22:16, 23:13        229:21, 239:16,            111:22, 111:25,           91:11, 93:8, 100:1,        230:18, 242:5,
 128:16                    134:13, 142:5,           declaration [1] - 152:6    demonstratives [5] -        122:21, 132:6,                        DIRECT [5] - 3:3, 18:1,     247:3                      114:17, 125:5,            100:8, 101:4,              242:23, 250:3
damages [52] - 10:17,      142:25, 143:22,          declaratory [2] -           41:16, 91:10, 91:11,       161:20, 216:7,                         108:8, 138:3, 199:24      disparity [1] - 212:4       132:21, 134:3,            101:20, 103:23,           economically [1] -
 10:19, 12:18, 12:19,      144:1, 144:3,             156:19, 156:22             219:21, 247:6              217:14, 218:10,                       direct [18] - 13:10,       dispute [17] - 19:23,       134:5, 138:16,            106:23, 109:21,            237:18
 12:21, 12:25, 14:2,       144:16, 149:20,          dedicated [1] - 197:2      demos [1] - 179:18          235:1                                  13:12, 15:12, 37:10,       22:6, 22:10, 22:12,        200:7, 200:15,            112:13, 120:15,           economics [5] -
 14:3, 53:17, 90:3,        149:24, 149:25,          deep [12] - 99:12,         denying [1] - 60:4         determined [11] -                       37:16, 73:25,              26:23, 27:8, 28:10,        208:11, 208:20,           131:4, 182:25,             110:14, 124:24,
 90:6, 90:11, 109:11,      185:22, 186:3,            99:16, 188:21,            Department [2] -            115:8, 117:10,                         113:19, 123:16,            44:15, 61:7, 62:10,        209:11, 225:11,           183:4, 209:13,             203:4, 217:21,
 109:14, 109:25,           187:20, 202:3,            188:24, 189:15,            15:23, 162:25              117:17, 120:14,                        141:16, 141:18,            62:18, 62:19, 63:4,        236:20, 242:13            214:5, 214:13,             227:21
 110:25, 111:5,            203:15, 205:2,            190:3, 190:13,            dependent [1] -             121:9, 122:9,                          170:10, 199:22,            146:12, 155:24,           DOE [1] - 13:22            243:10, 243:13,           Eddyfi [5] - 155:16,
 111:10, 115:9,            205:11, 206:8,            190:18, 190:22,            150:14                     127:19, 215:13,                        202:21, 202:23,            157:16, 159:7             domain [3] - 154:19,       244:5, 244:21,             155:17, 155:18,
 115:14, 115:18,           206:24, 207:1,            193:10, 193:13,           Deposition [1] - 74:5       216:3, 225:4, 228:10                   203:2, 230:10,            disputed [5] - 19:25,       163:3, 163:4              244:25, 245:25,            159:5, 159:19
 117:5, 117:6,             207:21, 211:10,           196:10                                                                                       233:11                     21:14, 28:2, 29:11,       done [15] - 4:13, 23:6,    246:3, 246:15,            edge [9] - 27:4, 31:23,
                                                                               deposition [33] -          determines [1] - 233:6
 117:13, 117:25,           212:20, 212:23                                                                                                        directly [8] - 14:5,        253:11                     24:12, 36:13, 36:14,      246:17, 246:19,            31:25, 32:1, 32:3,
                                                    Deep [4] - 57:2, 57:6,      39:20, 39:25, 40:14,      determining [6] -
 128:7, 128:9,            DATE [1] - 255:18                                                                                                       37:21, 63:10, 77:20,      disputes [3] - 109:4,       84:11, 115:11,            246:25, 247:3,             76:22, 76:24, 77:4
                                                     99:17, 99:21               54:2, 58:2, 59:3,          29:8, 115:23,
 217:23, 218:1,           date [33] - 14:3, 35:9,                               59:18, 61:14, 63:13,                                              106:10, 152:18,            110:1, 111:1               128:24, 129:9,            247:17, 247:22,           Edmonton [1] - 142:4
                                                    default [4] - 72:2,                                    118:22, 128:23,
 218:4, 218:6, 219:1,      35:25, 36:13, 37:18,                                 64:14, 64:23, 65:5,                                               157:10, 157:23            disputing [1] - 253:10      136:17, 179:17,           252:15                    education [1] - 110:13
                                                     72:4, 101:8, 101:11                                   204:19, 207:2
 219:5, 219:8,             37:23, 40:16, 44:7,                                  65:13, 68:14, 70:11,                                             disadvantages [2] -        distinction [1] -           179:25, 183:21,          draft [3] - 16:25, 17:2,   educational [2] -
                                                    defects [2] - 142:6,                                  develop [4] - 163:18,
 219:12, 219:15,           45:5, 52:14, 113:19,                                 72:19, 74:7, 77:8,                                                196:14, 197:1              118:21                     214:9, 242:10             189:15                     110:8, 139:5
                                                     143:1                                                 177:11, 179:10,
 220:17, 230:4,            113:23, 114:15,                                      77:16, 77:21, 78:5,                                              disagree [8] - 23:19,      distress [3] - 28:16,      door [3] - 60:22, 61:9,   draw [1] - 38:18           effect [1] - 141:10
                                                    DEFENDANT [2] -                                        196:22
 230:16, 232:3,            142:7, 142:8,                                        79:21, 112:4, 112:5,                                              24:1, 64:4, 81:17,         96:6, 177:10               62:3                     drive [2] - 203:12,        effective [1] - 216:25
                                                     1:10, 2:13                                           DEVELOP [1] - 163:19
 232:12, 232:17,           142:12, 142:19,                                      112:8, 138:22,                                                    85:16, 88:19, 90:10,                                 doubt [1] - 82:8           205:9                     efficient [1] - 216:25
                                                    defendant [1] - 204:13                                developed [6] -                                                   distresses [1] - 19:5
 232:24, 233:1,            148:5, 160:8,                                        167:9, 167:14,                                                    104:5                                                doubting [1] - 190:19     drives [1] - 111:19        Efforts [1] - 178:15
                                                    define [2] - 83:19,                                    163:10, 163:11,                                                  DISTRICT [5] - 1:1,
 233:2, 233:7,             163:24, 164:2,                                       168:13, 237:5,                                                   disagreement [5] -                                    down [35] - 22:1,         driving [2] - 158:7,       efforts [1] - 202:22
                                                     93:18                                                 163:12, 163:13,                                                   1:2, 1:4, 255:9
 246:24, 247:9,            174:10, 183:3,                                       237:7, 237:8                                                      23:23, 24:5, 27:2,                                    29:12, 33:20, 39:14,      207:19
                                                    defined [2] - 27:6,                                    163:22, 163:25                                                   District [2] - 111:2,                                                           eight [7] - 61:3, 64:20,
 248:16, 252:3,            195:16, 228:6,                                      depth [2] - 29:3,                                                  30:11, 30:13                                          42:12, 69:17, 83:22,     dropped [2] - 252:9,
                                                     81:7                                                 Development [2] -                                                  153:13                                                                          87:10, 87:11, 93:1,
 252:11, 253:5             228:7, 228:17,                                       133:19                                                           disagreements [1] -                                    89:4, 98:17, 114:20,      252:14
                                                    defining [4] - 25:16,                                  178:16, 181:10                                                   DIVISION [1] - 1:2                                                               160:25, 179:18
DANIEL [1] - 2:19          228:20, 229:12,                                                                                                        248:21                                                120:22, 121:23,          due [3] - 33:9, 152:18,
                                                     55:12, 56:13, 57:15       describe [1] - 94:3        development [5] -                                                 DLA [1] - 138:10                                                                eight-page [1] -
Darel [11] - 40:11,        230:4, 230:12                                                                                                         disclose [2] - 91:4,                                   130:1, 135:17,            214:22
                                                    definitely [2] - 5:19,     described [1] - 86:12       5:20, 58:12, 139:14,                                             DNN [13] - 188:25,                                                               160:25
 142:3, 143:19,           dated [4] - 148:15,                                                                                                     91:12                                                 135:18, 157:12,          during [26] - 4:14, 6:3,
                                                     157:11                    describes [1] - 57:2        162:16, 163:15                                                    190:6, 190:8,                                                                  eight-plus [1] - 179:18
 143:21, 145:17,           156:8, 161:1, 169:9                                                                                                   disclosed [1] - 150:4                                  157:25, 158:3,            15:12, 48:4, 49:1,
                                                    definition [2] - 27:4,     describing [1] - 125:9     develops [1] - 217:15                                              191:12, 192:21,                                                                either [11] - 45:21,
 182:23, 182:25,          dates [5] - 113:16,                                                                                                    disconnected [3] -                                     158:24, 163:16,           57:24, 59:11, 60:13,
                                                     81:3                      Design [4] - 113:11,       deviation [1] - 46:19                                              192:22, 192:23,                                                                 46:6, 67:14, 130:11,




                                    UNITED STATES DISTRICT COURT                                                                                                                      UNITED STATES DISTRICT COURT




                                                                                                                              267                                                                                                                                               268

 147:2, 157:6,             157:12, 157:25,           17:11, 167:23              178:10, 181:21,            23:17, 24:19, 32:19,                   65:4, 81:16, 89:17,       Facebook [1] - 154:17        130:7, 130:10,          feature [12] - 22:3,         150:5, 169:16,
 193:17, 218:9,            160:24, 160:25,          entered [2] - 118:16,       184:6, 184:14,             56:22, 85:23, 86:14,                   89:21, 90:3, 90:11,       facilitate [1] - 137:16      130:25, 131:2,            24:23, 25:15, 31:19,       197:21
 248:1, 251:7, 251:8       161:6, 169:8,             130:11                     189:9, 192:1, 195:8,       86:15, 86:23, 87:12,                   109:20, 109:22,           fact [41] - 28:13, 37:3,     131:4, 131:9,             31:23, 48:17, 76:22,     files [23] - 57:19,
elaborate [1] - 23:22      169:10, 172:14,          entire [4] - 86:16,         219:14, 234:24             87:19, 93:23, 94:6,                    111:5, 111:10,              57:17, 59:19, 83:14,       132:10, 132:11,           76:25, 77:4, 119:19,       57:21, 59:14, 66:1,
electrical [1] - 190:16    172:23, 182:1,            139:17, 209:5, 237:7      exact [6] - 41:15, 60:6,    96:13, 102:10,                         113:25, 114:1,              84:8, 88:20, 89:16,        132:13, 132:14,           126:6, 208:16              69:13, 70:16, 70:19,
Electrical [2] - 139:8,    182:10, 182:15,          entitled [2] - 117:7,       61:13, 160:8,              114:9, 119:24,                         133:15, 146:6,              89:20, 94:4, 122:3,        132:15, 200:4,          features [13] - 19:2,        70:22, 71:9, 72:21,
 190:17                    183:3, 184:7, 185:3,      243:8                      166:25, 238:13             125:4, 141:23,                         146:19, 146:21,             153:8, 164:13,             200:14, 200:25,           27:4, 116:21,              82:1, 82:5, 89:13,
element [12] - 43:22,      185:9, 186:11,           enumerated [1] - 9:11      exactly [17] - 32:18,       142:14, 143:10,                        184:19, 187:14,             164:19, 164:22,            201:23, 201:25,           132:16, 132:24,            89:17, 89:25, 90:2,
 86:11, 88:7, 88:11,       187:12, 187:16,          environment [1] -           46:18, 47:3, 61:9,         147:11, 147:20,                        221:24, 223:12,             164:23, 165:1,             202:5, 202:8, 202:9,      144:5, 188:12,             94:13, 94:16, 95:23,
 115:13, 153:9,            188:9, 189:4,             52:18                      81:18, 94:8, 142:15,       148:7, 148:13,                         229:4, 230:18,              165:2, 165:5,              202:14, 202:16,           208:18, 209:8,             101:5, 101:7, 176:3,
 153:16, 213:12,           189:12, 189:14,          equal [2] - 88:4, 118:9     187:24, 188:10,            148:24, 149:6,                         232:3, 246:25,              165:10, 165:11,            202:17, 202:18,           209:9, 246:23,             178:4
 243:3, 244:10             191:20, 192:4,           equipment [3] -             190:9, 196:16,             150:18, 151:10,                        248:16                      165:14, 167:24,            202:19, 204:5,            247:7, 247:8             filing [3] - 152:8,
element-by-element         193:19, 194:18,           144:23, 144:24,            198:21, 238:14,            152:10, 152:22,                       expert's [2] - 62:17,        168:16, 187:19,            204:23, 205:13,         February [22] - 37:25,       153:6, 153:12
 [2] - 153:9, 153:16       195:11, 196:2,            194:9                      239:8, 239:11,             153:3, 153:20,                         63:3                        190:11, 199:8,             206:23, 210:1,            38:2, 38:9, 113:16,      filings [1] - 112:11
elements [7] - 28:5,       198:8, 239:11            Equivalence [3] -           239:23, 240:3              155:5, 156:8,                         expertise [3] - 36:18,       210:20, 211:21,            210:3, 210:9,             113:23, 151:14,          filter [14] - 82:11,
 28:8, 83:4, 88:5,        emails [11] - 62:22,       13:13, 13:17, 13:25       examination [9] -           156:14, 160:12,                        45:1, 150:12                214:14, 218:25,            212:25, 215:10,           152:13, 153:5,             85:20, 86:10, 88:5,
 88:7, 244:15, 247:2       63:19, 63:22, 63:23,     especially [1] - 54:14      15:12, 39:2, 47:25,        160:23, 160:25,                       experts [3] - 112:17,        226:3, 226:9,              215:11, 216:2,            153:8, 153:19,             88:6, 88:11, 102:16,
elevation [58] - 20:22,    149:2, 149:3, 182:2,     ESQ [9] - 2:5, 2:6, 2:7,    79:1, 164:10,              169:8, 173:8, 173:9,                   117:25, 132:20              227:18, 230:7,             249:18                    153:23, 169:9,             104:22, 104:25,
 21:18, 21:23, 22:16,      182:12, 189:13,           2:8, 2:15, 2:16, 2:17,     164:13, 170:10,            173:18, 175:8,                        experts's [1] - 64:22        230:10, 233:5,           facts [9] - 62:19,          169:15, 169:17,            105:8, 105:18,
 22:19, 22:21, 23:4,       239:6, 239:9              2:18, 2:19                 199:23, 218:13             176:6, 176:8, 176:9,                  explain [25] - 15:17,        236:13, 236:17,            89:14, 114:4, 114:6,      169:21, 169:23,            105:23, 106:1,
 23:8, 23:12, 23:18,      embedded [2] - 18:21,     essence [1] - 115:11       EXAMINATION [15] -          177:21, 178:7,                         15:19, 18:16, 19:10,        246:20                     131:21, 146:16,           170:19, 170:20,            106:15
 24:1, 24:3, 24:7,         19:17                    essentially [12] - 61:1,    18:1, 39:6, 90:20,         178:11, 178:13,                        26:10, 37:5, 37:9,        factor [35] - 5:18, 6:6,     155:24, 226:3, 226:8      170:21, 171:1, 171:7     filter's [2] - 105:5,
 24:9, 24:15, 24:20,      emitted [1] - 20:20        105:11, 110:20,            99:9, 102:13,              181:20, 184:1,                         60:23, 64:6, 93:23,         6:10, 7:6, 7:7, 8:6,     fade [1] - 213:17         fed [1] - 9:10               105:20
 24:21, 25:11, 25:15,     emitting [5] - 20:12,      115:21, 124:6,             103:21, 104:20,            184:11, 184:15,                        93:25, 111:13,              8:17, 9:9, 118:1,        failure [3] - 65:17,      Federal [6] - 5:14,        filters [3] - 67:21,
 25:20, 26:19, 26:21,      20:13, 20:21, 21:5,       125:11, 129:15,            106:12, 108:8,             189:1, 189:6, 189:7,                   117:20, 128:4,              118:3, 118:4, 120:1,       144:23, 144:24            134:15, 162:24,            88:5, 94:10
 28:21, 28:22, 29:13,      21:7                      144:15, 148:10,            138:3, 165:17,             189:9, 189:10,                         130:6, 142:8, 167:1,        120:2, 120:3, 120:6,     fair [9] - 168:14,          163:1, 164:25,           final [12] - 4:17, 10:9,
 29:16, 29:19, 29:22,     emphasizing [1] -          151:17, 161:25,            197:14, 199:24,            191:17, 191:23,                        167:5, 202:12,              121:6, 121:13,             184:25, 185:1,            200:16                     12:14, 14:2, 17:4,
 30:16, 30:17, 30:18,      196:22                    204:11                     218:15, 249:8              192:1, 192:2, 195:8,                   204:23, 208:2,              122:10, 130:3,             187:7, 188:9, 192:5,    FEDERAL [2] - 1:23,          23:9, 23:21, 65:18,
 30:22, 30:23, 31:6,      employed [1] - 59:16      established [4] -          examinations [1] -          198:15                                 220:10, 220:12,             131:16, 201:14,            232:25, 240:17,           255:22                     122:11, 153:24,
 31:7, 32:21, 32:25,      employee [2] - 233:15,     50:12, 225:17,             173:23                    exhibits [10] - 14:17,                  248:3, 249:14               202:10, 203:6,             241:17                  federal [4] - 6:5, 6:13,     161:15, 209:25
 33:1, 33:10, 49:16,       236:23                    230:19, 239:6             examine [1] - 234:12        14:18, 14:19, 14:24,                  explained [8] - 62:3,        203:22, 204:21,          fairly [1] - 205:1          6:15, 6:21               finally [8] - 112:12,
 53:22, 72:11, 80:21,     employees [2] -           estimate [1] - 222:2       examined [1] - 91:7         16:11, 17:12,                          64:6, 81:20, 82:17,         207:8, 208:3, 210:8,     Fake3D [7] - 35:22,       fee [1] - 129:18             131:5, 135:5,
 80:24, 81:6, 81:9,        204:15, 242:14                                      examining [1] - 19:14       107:20, 137:17,                        85:16, 222:17,              210:25, 211:2,             71:16, 101:9,           feedback [3] - 177:17,       190:24, 204:9,
                                                    estimated [3] - 32:20,
 97:3, 97:7, 99:3,        empty [1] - 110:6                                    example [14] - 8:13,        137:25, 138:17                         224:2, 246:17               211:4, 213:8, 244:1,       243:16, 243:21,           179:10, 192:11             208:2, 213:24,
                                                     213:19, 222:5
 133:19, 143:22,          enabled [1] - 72:2                                    41:4, 71:16, 76:24,       Exhibits [4] - 15:22,                  explaining [3] - 94:7,       244:15, 244:16             244:20, 245:3           fees [1] - 175:3             214:20
                                                    estimation [1] -
 149:20, 149:23,          enables [2] - 55:16,                                  77:3, 98:23, 105:20,       107:24, 108:4,                         153:10, 155:24            Factor [28] - 115:16,      fall [2] - 36:1, 213:1    felt [1] - 166:6           finance [4] - 110:13,
                                                     233:17
 149:24, 149:25            110:9                                                109:1, 119:18,             137:21                                explains [1] - 82:8          116:14, 117:19,          false [7] - 119:16,       few [16] - 15:18, 35:6,      124:24, 139:15,
                                                    European [1] - 142:17
elevations [3] - 21:8,    enclosed [4] - 22:19,                                 126:8, 129:2,             exist [2] - 50:16, 72:21               explanation [5] -            121:3, 121:6,              119:22, 135:10,           52:2, 52:11, 90:24,        140:12
                                                    evaluate [1] - 125:22
 29:2, 33:9                25:1, 29:15, 32:11                                   163:12, 211:18            existence [1] - 43:7                    45:18, 46:16,               122:11, 124:9,             135:12, 135:16            102:10, 112:20,          financial [25] - 37:2,
                                                    evaluated [1] - 126:17
ELIAS [4] - 1:22,         encompass [1] -                                      examples [1] - 77:18       existing [3] - 190:7,                   192:15, 220:14,             135:20, 201:12,          familiar [4] - 46:11,       123:14, 152:9,             108:18, 111:23,
                                                    evaluates [1] - 116:22
 255:8, 255:20,            55:10                                               except [1] - 93:25          191:1, 192:22                          227:10                      202:10, 202:11,            70:19, 93:2, 180:6        156:3, 174:10,             112:11, 122:14,
                                                    evaluating [4] -
 255:21                   encounter [1] - 141:12                               exception [3] - 14:22,     exists [3] - 72:14,                    expressed [5] - 35:5,        204:9, 208:2, 208:4,     family [4] - 11:16,         179:22, 207:12,            123:2, 123:19,
                                                     115:22, 116:18,
eliminating [1] -         end [5] - 125:8,                                      15:25, 16:5                73:5, 201:13                           47:25, 64:22, 96:23,        208:17, 210:3,             168:9, 168:24,            208:4, 211:9, 230:21       127:7, 127:11,
                                                     120:18, 202:17
 119:23                    141:19, 144:22,                                     exchange [1] - 182:1       expect [4] - 4:12, 15:9,                232:1                       210:5, 210:7, 211:2,       171:22                  field [5] - 117:24,          127:12, 127:14,
                                                    evaluation [1] - 111:5
email [62] - 61:12,        178:20, 230:3                                       exclusive [2] - 140:24,     96:10, 148:3                          expressing [1] - 155:1       211:4, 212:22,           fan [1] - 11:21             125:21, 139:22,            127:16, 127:20,
                                                    Eve [1] - 161:4
 61:17, 111:25,           endeavor [1] - 38:22                                  141:2                     expected [1] - 151:22                  extent [4] - 14:20,          212:23, 213:4,           fans [1] - 12:6             166:23, 167:4              131:2, 131:20,
                                                    event [1] - 123:13
 119:9, 119:11,           energy [1] - 20:13                                   excuse [11] - 16:14,       expecting [1] - 198:20                  16:12, 124:16, 218:7        213:24, 214:20,          far [8] - 28:2, 52:19,    fight [1] - 158:16           161:17, 202:8,
                                                    eventually [1] - 52:20
 143:15, 143:17,          engine [1] - 154:12                                   25:6, 36:21, 53:6,        expense [1] - 161:16                   extract [1] - 143:22         244:12, 249:18             64:24, 92:17,           fighting [1] - 145:12        209:19, 221:7,
                                                    evidence [40] - 12:11,
 143:20, 143:21,          engineering [3] -                                     77:2, 91:10, 108:19,      expensive [4] -                        extrapolating [1] -        factoring [1] - 115:14       211:12, 212:11,         figure [2] - 10:3, 251:3     221:9, 221:24,
                                                     12:14, 12:16, 45:11,
 148:8, 148:10,            38:22, 159:24,                                       125:17, 187:14,            237:11, 239:7,                         232:12                    Factors [6] - 124:4,         212:19, 215:14          Figure [1] - 17:2            223:12, 236:8,
                                                     45:14, 48:22, 57:5,
 148:13, 148:22,           190:16                                               202:1, 212:6               239:16, 242:19                        extremely [3] -              200:14, 201:25,          fashion [2] - 120:9,      figured [1] - 171:18         236:21, 250:3
                                                     63:21, 64:9, 70:1,
 148:23, 149:1,           Engineering [3] -                                    excused [3] - 106:20,      experience [4] -                        202:19, 204:10,             203:8, 203:21,             241:6                   figures [1] - 206:21       financial-
                                                     70:3, 75:6, 75:14,
 149:5, 151:9,             139:9, 142:4, 190:17                                 199:13, 250:14             34:19, 50:1, 92:22,                    209:12                      204:22                   fast [2] - 191:12,        file [16] - 71:1, 71:15,     transactional-type
                                                     87:11, 87:25, 89:22,
 151:11, 151:12,          engineers [1] - 204:16                               exercises [1] - 125:23      166:18                                                           factors [60] - 5:15,         191:14                    71:18, 72:13, 73:5,        [1] - 108:18
                                                     101:14, 101:15,
                                                                                                                                                                              5:16, 5:17, 6:17, 7:8,
 152:1, 152:24,           engines [1] - 53:15        101:16, 103:23,           exhibit [9] - 86:14,       expert [41] - 37:1,                               F                                          fasteners [1] - 209:7       73:6, 73:10, 73:12,      fine [2] - 7:21, 8:20
 152:25, 153:4,                                                                 86:22, 87:1, 87:7,         37:4, 43:13, 46:13,                                                7:21, 8:4, 8:10, 8:13,   faster [2] - 181:4,         74:10, 74:13,            finish [4] - 156:17,
                          Enhanced [1] - 208:24      106:14, 107:22,
 153:19, 153:20,                                                                169:25, 184:14,            53:17, 62:5, 62:11,                   face [4] - 15:6, 158:20,     8:25, 9:3, 9:11, 9:15,     191:13                    100:17, 100:24,            183:8, 229:5, 231:11
                          enjoy [1] - 251:13         108:6, 109:7, 138:1,
 153:24, 155:12,                                                                191:16, 191:19,            62:16, 62:21, 62:25,                    165:21                     9:17, 9:24, 118:2,       fault [3] - 194:20,         151:15, 152:5, 163:7     FINNEGAN [1] - 2:14
                          ENSCO [2] - 135:8,         145:13, 146:20,
 155:20, 156:5,                                                                 198:13                     63:4, 63:12, 63:15,                   face-to-face [1] -           124:7, 125:2,              198:8, 198:16           filed [8] - 40:23, 45:7,   Finnegan [3] - 39:23,
                           200:17                    170:12, 170:13,
 156:6, 156:7,                                                                 Exhibit [67] - 22:24,       63:18, 64:22, 65:3,                     165:21                     128:22, 129:21,          favor [2] - 5:18, 5:19      52:11, 52:24, 145:3,       147:5, 148:9
                          enter [3] - 14:18,         176:8, 178:7,




                                    UNITED STATES DISTRICT COURT                                                                                                                      UNITED STATES DISTRICT COURT




                                                                                                                                     Exhibit 3
                                                                                                                                       165
 Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 69 of 74 Page ID
                                  #:15308
                                                                                                                                 269                                                                                                                                               270

firm [14] - 65:16,          fly [1] - 180:1            foundation [5] -           Frakes [7] - 23:23,        gears [2] - 18:9, 173:7                 250:23, 251:10,            205:15, 205:22,            77:10, 231:15              146:19, 147:22,           holds [2] - 172:19,
  108:15, 108:17,           flyer [1] - 208:22          14:21, 16:12, 17:6,         24:6, 26:23, 27:2,       gee [1] - 72:15                         251:19, 252:12             205:23, 206:17,           happy [7] - 61:12,          194:13                     172:21
  108:21, 145:11,           focus [12] - 50:5, 98:2,    175:17, 185:17              30:11, 81:16, 82:17      Geismar) [1] - 177:18                  goods [2] - 114:14,         207:14, 211:23,            131:14, 220:10,           helpful [1] - 129:1        home [3] - 129:3,
  145:19, 150:11,             108:20, 110:22,          foundation's [1] -         Frakes' [2] - 23:15,       general [1] - 64:8                      215:24                     212:2, 212:13,             220:12, 224:22,           helping [2] - 146:3,        129:7, 130:16
  152:3, 152:19,              114:13, 119:6,            15:15                       30:21                    generally [5] - 7:14,                  Goods [7] - 113:8,          215:16, 215:22             242:17, 248:3              146:7                     homes [1] - 130:17
  159:24, 169:21,             125:16, 203:9,           foundational [1] -         frame [3] - 122:4,          14:23, 119:5, 207:4,                   114:11, 228:4,            ground [1] - 230:18        hardware [9] - 19:7,       helps [2] - 41:12,         Honor [110] - 5:3, 6:3,
  171:11, 184:18,             212:7, 215:13,            16:7                        145:25, 178:22            240:21                                 228:5, 228:6, 228:8,      grounds [1] - 64:25         21:13, 74:20, 75:25,       143:13                     6:20, 7:12, 7:15, 9:1,
  187:15                      222:20, 226:8            founded [2] - 139:3,       framework [1] -            generate [5] - 123:5,                   228:12                    group [1] - 209:25          76:1, 94:23, 95:15,       HENDERSON [1] -             9:7, 9:8, 10:11,
firm's [1] - 185:1          Focus [1] - 180:16          140:19                      115:18                    203:18, 206:12,                       Google [3] - 154:18,       grouped [1] - 132:11        162:2, 174:17              2:14                       10:15, 11:11, 13:23,
first [67] - 12:17,         focused [5] - 110:22,      four [31] - 32:13, 79:7,   Francois [6] - 139:4,       207:10, 210:15                         182:22, 187:10            grow [1] - 140:7           harm [1] - 109:20          HEREBY [1] - 255:10         14:18, 15:16, 16:12,
  18:12, 27:20, 33:4,         112:3, 115:12,            79:8, 85:4, 96:15,          140:15, 140:17,          generated [6] - 205:4,                 Googled [1] - 187:9        growing [1] - 209:19       harmed [1] - 211:21        HEREINBEFORE [1] -          16:17, 17:11, 17:25,
  35:21, 36:2, 36:12,         169:5, 240:18             103:24, 104:2,              151:6, 154:1, 191:21      205:6, 205:7,                         gotcha [1] - 8:1           GRX [3] - 41:1, 41:4,      hate [1] - 73:20            255:11                     36:18, 37:6, 39:3,
  39:23, 40:2, 44:23,       focuses [1] - 103:1         104:7, 113:1, 113:4,      French [2] - 142:11,        205:21, 205:24,                       government [3] - 16:5,      41:11                     head [16] - 61:2,          heretofore [1] - 4:7        39:4, 40:5, 40:8,
  46:13, 48:25, 56:3,       focusing [3] - 109:20,      118:1, 123:14,              142:19                    214:1                                  162:24, 163:1             guess [3] - 6:5, 93:25,     197:3, 202:21,            hi [3] - 90:23, 196:18,     40:18, 47:16, 47:18,
  56:7, 68:16, 68:22,         135:9, 237:1              124:7, 196:6, 218:5,      FRIDAY [2] - 1:15, 4:1     generates [2] - 73:9,                  gradient [39] - 25:17,      103:5                      202:23, 203:2,             197:2                      48:3, 49:7, 54:9,
  77:10, 92:21, 93:4,       follow [7] - 19:15,         220:4, 220:22,            friends [2] - 140:2,        206:16                                 25:19, 27:1, 27:3,        guessing [1] - 185:21       212:8, 213:10,            hi-resolution [1] -         58:14, 58:22, 59:17,
  98:8, 115:13, 118:3,        26:6, 90:24, 103:19,      221:5, 221:12,              250:23                   generating [6] - 22:15,                 27:5, 27:7, 54:22,        guidance [2] - 9:7,         241:1, 241:4               197:2                      59:23, 60:5, 60:10,
  119:25, 120:2,              106:9, 190:5, 204:3       221:17, 221:20,           front [9] - 50:23,          23:12, 127:23,                         55:2, 55:7, 55:9,          9:10                      head-to-head [7] -         hi-speed [1] - 196:18       61:22, 62:1, 63:5,
  121:17, 122:25,           follow-up [3] - 26:6,       222:3, 222:6,               155:6, 160:13,            206:5, 207:4, 215:19                   55:12, 55:18, 56:13,      guided [2] - 128:9,         202:21, 202:23,           hid [1] - 63:9              64:2, 68:13, 68:18,
  123:6, 125:17,              90:24, 106:9              222:14, 223:4,              176:20, 177:25,          gentleman [1] - 119:9                   57:15, 68:8, 69:1,         128:16                     203:2, 212:8,             hidden [2] - 63:7,          68:25, 69:7, 72:18,
  125:18, 126:24,           followed [2] - 19:13,       223:9, 223:20,              178:21, 198:12,          gentlemen [2] -                         80:20, 80:24, 81:5,       guides [1] - 128:17         213:10, 241:1, 241:4       192:19                     72:22, 73:17, 73:20,
  127:8, 131:24,              33:4                      249:15                      198:20, 240:4             229:10, 235:15                         81:8, 82:19, 83:5,        guys [3] - 183:10,         heads [1] - 10:7           hiding [1] - 64:10          74:2, 76:10, 77:7,
  132:1, 132:2,             follower [1] - 118:18      Four [4] - 115:16,         full [6] - 51:3, 107:14,   geometry [1] - 197:3                    84:3, 84:8, 84:23,         189:14, 229:24            healthy [2] - 205:24,      high [7] - 18:16,           77:13, 77:15, 77:20,
  132:12, 137:6,            following [9] - 38:13,      116:14, 117:19,             134:12, 161:7,           George [1] - 206:22                     85:18, 93:14, 93:18,                                  206:19                     104:15, 134:13,            79:20, 86:13, 86:21,
  137:13, 140:17,                                       124:9                                                                                        94:7, 97:2, 97:7,                                                                                           87:9, 90:13, 90:19,
  141:12, 147:2,
                              60:1, 92:11, 137:17,                                  172:1, 249:24            Georgetown [8] -                                                             H               hear [10] - 10:22,          134:16, 134:19,
                                                                                                                                                                                                                                                                 99:8, 100:9, 102:8,
                              156:3, 158:1,            Four-Factor [4] -          full-width [1] - 134:12     40:22, 41:1, 126:16,                   97:21, 98:9, 98:12,                                   11:12, 52:21,              171:11, 209:10
  148:10, 154:5,              164:25, 203:25,           115:16, 116:14,           fully [1] - 134:11          135:1, 135:2,                          98:14, 98:21, 98:24,      H-a-b-e-l [1] - 137:14      112:16, 151:7,            high-power [1] -            106:7, 106:19,
  158:10, 164:17,             234:16                    117:19, 124:9             function [3] - 26:4,        184:20, 208:14,                        99:2                      HABEL [1] - 3:14            155:11, 197:16,            171:11                     106:24, 107:4,
  169:2, 179:2,             follows [1] - 66:24        four-factor [1] - 118:1      105:8, 166:25             242:8                                 Gradient [2] - 159:19,     Habel [24] - 137:7,         224:4, 226:7, 253:19      high-resolution [3] -       107:10, 107:19,
  179:17, 181:11,           fondly [1] - 239:20        fourth [1] - 6:6           functionalities [3] -      Georgia [13] - 128:19,                  159:21                     137:14, 137:18,           heard [28] - 11:22,         134:13, 134:16,            108:3, 111:4, 111:8,
  181:22, 184:6,            FOR [4] - 3:2, 3:12,       Fox [27] - 119:10,           71:13, 243:14,            129:20, 132:10,                       graduated [1] - 110:10      138:5, 138:15,             25:10, 33:22, 50:15,       209:10                     113:24, 137:5,
  186:13, 187:9,              255:8, 255:9              119:11, 172:3,              243:21                    200:4, 200:13,                        graduating [1] - 110:4      138:24, 165:19,            52:4, 64:2, 70:11,                                    137:17, 137:24,
                                                                                                                                                                                                                                     high-speed [1] -
  195:21, 196:14,           FOREGOING [1] -             172:4, 172:11,            functionality [11] -        201:23, 204:5,                        grain [1] - 193:8           170:15, 171:21,            112:4, 112:6, 119:9,                                  164:9, 164:11,
                                                                                                                                                                                                                                      134:19
  197:18, 199:1,              255:11                    172:14, 173:3,              71:19, 71:21, 72:1,       209:25, 210:19,                       grant [1] - 205:12          172:2, 173:11,             119:20, 124:19,                                       164:15, 164:21,
                                                                                                                                                                                                                                     higher [5] - 124:20,
  199:7, 202:2,                                         175:14, 175:23,             72:9, 73:16, 75:18,       210:23, 212:25,                       graph [1] - 224:11          174:3, 175:6,              187:8, 200:23,                                        164:24, 165:7,
                            forgetting [1] - 152:11                                                                                                                                                                                   177:16, 225:1,
  217:15, 220:18,                                       182:2, 182:15,              100:20, 216:22,           216:2, 249:17                         graphic [1] - 101:1         175:22, 176:12,            213:12, 214:6,                                        165:15, 167:12,
                            forgot [1] - 25:7                                                                                                                                                                                         226:25, 227:18
  227:1, 229:22,                                        186:11, 186:12,             245:4, 245:7, 245:17     Giants' [2] - 11:21,                   graphical [2] - 72:16,      177:20, 178:13,            215:6, 225:17,                                        173:15, 173:24,
                            form [4] - 6:9, 70:4,                                                                                                                                                                                    highlight [2] - 156:2,
  235:13, 238:4,                                        189:4, 189:14,            functions [6] - 33:3,       12:6                                   73:8                       181:19, 183:15,            235:17, 238:19,                                       173:25, 174:1,
                              70:6, 230:16                                                                                                                                                                                            157:13
  249:20                                                189:20, 191:20,             34:16, 34:19, 34:20,                                            graphics [1] - 18:23        188:18, 197:16,            238:22, 238:24,                                       176:5, 178:6, 178:9,
                            FORM [1] - 255:13                                                                gist [1] - 103:15                                                                                                       highlighted [6] -
fiscal [1] - 174:17                                     192:9, 193:5, 193:6,        70:23, 216:20                                                   great [4] - 4:15, 13:21,    224:2, 225:17              239:2, 239:5,                                         184:10, 189:5,
                            formal [2] - 166:12,                                                             given [9] - 10:5, 37:17,                                                                                                 30:14, 32:12,
fit [2] - 36:12, 196:23                                 193:19, 194:19,           fundamental [3] -                                                  136:13, 253:15            Habel's [2] - 170:14,       246:22, 247:17,                                       191:22, 199:10,
                              166:15                                                                          57:18, 153:22,                                                                                                          121:16, 121:17,
fits [1] - 6:6                                          194:23, 195:12,             209:14, 214:13,                                                                             223:25                     247:21, 252:15                                        199:12, 218:14,
                            formally [1] - 110:13                                                             173:25, 178:20,                       greater [3] - 103:25,                                                             244:12, 247:6
fitting [1] - 33:7                                      195:20, 198:10,             232:4                                                                                      Hafiz [4] - 70:15,         hearing [1] - 112:21                                   229:3, 230:2,
                            formed [2] - 237:2,                                                               205:17, 215:21,                        104:2, 134:17                                                                   highlighting [2] -
five [8] - 118:12,                                      198:19                                                                                                                  170:25, 226:23,           hearsay [5] - 14:19,                                   231:10, 235:5,
                              246:1                                               funded [1] - 139:16         216:2                                 green [9] - 32:12,                                                                156:18, 200:17
  136:10, 180:8,                                       Fox-Ivey [27] - 119:10,                                                                                                  227:16                     14:21, 15:25, 16:4,                                   249:5, 250:9,
                            forming [4] - 41:10,                                  funny [3] - 11:13,         glitchiness [1] - 197:9                 84:21, 85:2, 85:13,                                                             highlights [1] - 208:24
  181:4, 205:3,                                         119:11, 172:3,                                                                                                         Hafiz' [1] - 70:17          17:7                                                  250:13, 251:25,
                              127:11, 129:21,                                       26:10, 110:3             global [1] - 176:13                     97:22, 98:17,                                                                   highly [1] - 241:13
  213:13, 226:4,                                        172:4, 172:11,                                                                                                         half [5] - 33:5, 101:14,   heart [1] - 140:9                                      252:1, 252:21,
                              246:15                                              FURTHER [4] -              goal [1] - 136:12                       102:15, 102:18,                                                                 himself [3] - 172:19,
  226:10                                                172:14, 173:3,                                                                                                          101:16, 142:22            Hebert [5] - 139:4,                                    252:24, 253:7,
                            forms [1] - 209:12                                      103:21, 104:20,          Goliath [1] - 158:17                    104:8                                                                            172:21, 248:21
fix [3] - 9:20, 10:22,                                  175:14, 175:23,                                                                                                        halves [1] - 32:22          140:15, 151:6,                                        253:16
                            FORTH [1] - 255:12                                      106:12, 255:14           gonna [33] - 4:9, 10:2,                GREX [21] - 145:12,                                                              hired [7] - 39:10,
  181:15                                                182:2, 182:15,                                                                                                                                     182:17, 194:19                                       Honor's [1] - 9:9
                            forth [13] - 27:24,                                   furthermore [3] -           13:18, 35:4, 47:19,                    145:16, 146:7,            hand [11] - 18:22,                                     152:3, 154:4,
fixed [6] - 27:6,                                       186:11, 186:12,                                                                                                         98:18, 107:7,             Held [3] - 108:15,                                    HONORABLE [1] - 1:4
                              37:7, 60:25, 91:5,                                    150:1, 154:11, 162:1      52:20, 63:14, 73:23,                   146:8, 146:13,                                                                   157:18, 169:20,
  123:12, 123:14,                                       189:4, 189:14,                                                                               147:23, 183:25,            122:16, 137:9,             108:16, 108:17                                       hopefully [3] - 175:8,
                              93:11, 93:19, 94:16,                                future [2] - 124:17,        87:6, 98:3, 102:9,                                                                                                      169:23, 171:10
  142:10, 144:23,                                       189:20, 191:20,                                                                              184:20, 186:25,            141:16, 211:12,           held [2] - 60:5, 234:16                                250:19, 251:13
                              128:22, 134:5,                                        126:14                    121:22, 123:3,                                                                                                         hiring [1] - 152:19
  163:24                                                192:9, 193:5, 193:6,                                                                         188:16, 189:24,            212:11, 212:12,           hello [1] - 90:22                                     hoping [2] - 158:11,
                              149:2, 171:13,                                                                  129:4, 129:6, 129:8,                                                                                                   histogram [2] - 33:1,
fleeting [1] - 193:2                                    193:19, 194:19,                                                                                                                                                                                          173:24
flexible [3] - 55:10,
                              200:7, 239:11
                                                        194:23, 195:12,
                                                                                             G                129:16, 129:18,                        194:2, 194:3, 194:4,       212:19, 215:14            help [9] - 112:1,           33:2
                                                                                                                                                                                                                                                                hour [9] - 4:12, 4:14,
                            forward [6] - 127:9,                                                              129:22, 136:18,                        194:6, 194:10,            handed [1] - 40:1           122:19, 146:25,           historical [1] - 224:3
  55:17, 237:15                                         195:20, 198:10,           Gary [2] - 233:15,                                                 194:14, 198:20,           hands [1] - 172:1           173:19, 185:11,                                       180:2, 180:3, 180:7,
                              128:1, 159:8,                                                                   137:2, 167:13,                                                                                                         hit [1] - 179:18
flip [2] - 196:7, 196:11                                198:19                     246:5                                                             242:15, 242:16            handshake [1] -             191:6, 194:15,                                        180:8, 180:10, 181:4
                              188:18, 195:7,                                                                  183:11, 195:9,                                                                                                         hold [4] - 12:10,
FLOOR [1] - 2:10                                       FRA [3] - 163:1, 163:2,    gather [1] - 188:4          232:7, 232:8,                         grid [1] - 30:3             131:25                     244:14                                               hours [3] - 35:6,
                              253:21                                                                                                                                                                                                  12:13, 54:7, 250:24
flows [1] - 14:4                                        196:15                    gathered [1] - 21:19        250:17, 250:18,                       gross [11] - 205:6,        hang [3] - 68:21,          helped [4] - 146:16,                                   57:11, 57:14
                            fought [1] - 147:22                                                                                                                                                                                      holding [1] - 159:20




                                      UNITED STATES DISTRICT COURT                                                                                                                       UNITED STATES DISTRICT COURT




                                                                                                                                 271                                                                                                                                               272

house [4] - 110:5,           24:10, 24:17, 24:19,      impression [1] - 62:11     independently [1] -          134:21                                 45:12, 46:4, 46:8,       Instruction [10] - 7:1,    interact [2] - 68:9,       investigatory [1] -          157:2, 179:9, 213:9,
 129:4, 130:14,              26:5, 26:14, 26:16,       improper [8] - 54:11,        169:12                   infringe [37] - 11:6,                    53:3, 67:18, 71:17,        7:11, 7:14, 10:3,          69:2                       108:19                     230:17, 232:4,
 130:16                      35:23, 72:1, 73:13,         72:25, 167:12,           INDEX [1] - 3:1              38:11, 42:9, 42:13,                    75:20, 75:22, 100:6,       10:13, 13:6, 13:10,      interactions [1] -         investment [9] -             233:5, 251:20,
Houston [1] - 110:11         80:15, 93:16, 96:19,        220:24, 221:1,           indexing [1] - 173:16        43:4, 43:17, 43:19,                    120:4, 120:11,             14:2, 14:4, 253:9          145:9                      125:1, 127:6, 127:8,       252:13, 253:20
human [3] - 34:8,            104:6, 104:12,              221:2, 221:14,           indicate [3] - 7:3,          46:4, 64:8, 75:2,                      120:16, 121:4,           instruction [26] - 4:21,   interacts [2] - 172:16,      127:20, 127:22,          IT [1] - 138:11
 34:12, 34:18                149:20, 149:23,             221:16                     7:24, 178:19               81:11, 99:23, 100:8,                   123:25, 157:6,             4:22, 5:2, 5:9, 5:12,      172:18                     134:17, 157:17,          it'd [1] - 5:10
humans [1] - 200:21          209:3, 243:18,            improve [3] - 119:17,      indicated [2] - 169:10,      116:7, 120:10,                         157:10, 201:18,            6:4, 6:12, 6:13, 6:17,   interest [2] - 155:18,       200:20, 242:24           item [2] - 113:14,
hundred [3] - 50:8,          243:21, 244:20,             133:3, 135:10              186:12                     149:8, 150:6,                          211:20, 225:23,            6:22, 6:23, 6:25, 7:5,     179:3                    invite [2] - 158:24,         213:13
 50:10, 179:22               245:7, 245:17,            improved [1] - 133:3       indication [1] - 5:7         151:23, 152:6,                         227:5, 232:11,             7:18, 7:22, 8:3, 8:10,   interested [2] - 118:6,      158:25                   Item [1] - 4:3
hundreds [1] - 49:3          247:12                    improves [1] - 72:12       indirect [12] - 113:21,      152:16, 153:10,                        232:16, 250:4              8:20, 8:24, 10:7,          182:19                   invoice [11] - 141:24,     itself [7] - 34:24,
hypothetical [13] -         images [8] - 23:16,        IN [1] - 255:8               115:5, 141:14,             154:2, 154:3,                        initial [2] - 127:24,        13:15, 65:16, 65:18,     interesting [2] -            142:1, 142:4,              126:3, 126:24,
 77:18, 130:5, 131:6,        101:9, 101:12,            Inc [2] - 4:5                141:15, 141:16,            156:19, 156:25,                        147:19                     253:11, 253:13             118:15, 208:23             143:18, 160:9,             127:25, 193:15,
 131:12, 131:16,             104:15, 119:15,           INC [2] - 1:6, 1:9           228:24, 229:1,             157:7, 157:21,                       initiate [2] - 189:21,     instructions [12] -        interface [3] - 72:16,       160:15, 160:16,            217:11, 222:17
 131:17, 202:13,             135:3, 135:5              include [20] - 6:4,          229:8, 231:4, 231:6,       159:3, 166:7,                          193:22                     4:18, 6:18, 7:2,           73:9, 101:2                160:20, 160:21,          Ivey [27] - 119:10,
 210:5, 210:18,             imagine [1] - 201:6          6:24, 7:5, 7:19, 9:11,     233:4                      171:15, 190:7,                       initiating [1] - 194:7       10:10, 10:19, 11:5,      interfaced [1] - 75:13       161:15, 170:8              119:11, 172:3,
 211:4, 211:10,             imaging [7] - 134:16,        17:1, 19:6, 20:10,       indirectly [2] - 43:3,       190:22, 192:22,                      injuries [1] - 200:22        11:11, 12:19, 13:5,      internal [2] - 9:23,       invoices [2] - 111:24,       172:4, 172:11,
 249:16, 249:19              135:6, 177:9, 209:3,        20:12, 20:16, 21:16,       43:17                      193:1, 193:11,                       innovation [4] - 53:24,      38:10, 65:19, 253:8        152:14                     114:24                     172:14, 173:3,
                             209:10, 247:11,             21:22, 22:1, 23:17,      individuals [3] -            219:1, 244:23                          54:1, 54:18, 54:21       integrate [1] - 141:18     International [1] -        invoked [1] - 164:16         175:14, 175:23,
            I                247:21                      30:22, 34:4, 111:25,       89:16, 89:20, 128:22     infringed [11] - 37:21,                innovations [1] -          integrated [1] - 134:11      141:25                   involved [12] - 16:1,        182:2, 182:15,
                            immediate [2] -              115:1, 144:1, 188:3      induced [5] - 38:6,          42:10, 42:15, 44:1,                    53:23                    integrator [5] - 143:7,    Internet [1] - 193:12        16:7, 63:17, 65:3,         186:11, 186:12,
i.e [1] - 88:7               125:20, 177:8             included [9] - 5:14,         38:8, 231:7, 253:4         46:1, 46:25, 75:21,                  INO [2] - 141:8, 141:10      143:20, 179:10,          interpret [1] - 88:20        108:25, 109:4,             189:4, 189:14,
ICC [4] - 141:25,           immediately [2] -            6:16, 18:18, 29:25,      inducement [8] -             151:20, 153:17,                      input [16] - 26:17,          186:24, 241:15           interpretation [1] -         111:15, 134:10,            189:20, 191:20,
  143:16, 143:24,            202:25, 238:9               35:22, 36:7, 37:16,        115:6, 229:2, 229:8,       157:3, 199:5                           29:13, 29:22, 30:18,     integrators [2] -            88:12                      145:15, 146:11,            192:9, 193:5, 193:6,
  144:7                     impact [11] - 201:22,        202:9, 249:14              229:9, 231:17,           infringement [77] -                      31:9, 31:18, 32:16,        141:17, 141:18           interpreting [1] -           146:14, 192:5              193:19, 194:19,
idea [5] - 26:1, 40:7,       202:2, 202:5, 203:7,      includes [8] - 5:13,         231:22, 231:23             13:1, 13:10, 13:11,                    76:25, 77:4, 80:5,       Intellectual [2] -           166:15                   involving [1] - 149:20       194:23, 195:12,
  67:21, 68:5, 224:19        204:7, 206:8,               30:15, 75:25,            indulging [1] - 106:23       13:12, 13:13, 13:20,                   80:7, 88:6, 96:16,         157:16, 171:12           interrogatories [1] -      IP [7] - 157:23, 171:19,     195:20, 198:10,
identification [3] -         207:20, 215:10,             111:21, 111:22,          industry [8] - 19:4,         14:7, 35:10, 37:10,                    185:4                    intellectual [16] -          37:7                       189:21, 193:1,             198:19
  10:25, 19:2, 160:10        216:2, 216:16,              118:1, 178:15, 215:3       41:1, 93:22, 135:13,       37:16, 38:6, 38:8,                   inputting [1] - 76:21        108:20, 108:23,          Interrogatory [1] -          193:22, 193:24,          iwd.Rng0 [1] - 29:17
identified [19] - 31:25,     226:20                    including [10] - 25:16,      173:3, 189:25,             39:10, 43:5, 43:11,                  inquiry [1] - 185:10         109:1, 109:25,             174:8                      194:7
  36:18, 48:5, 48:22,       impacted [1] - 130:3         57:9, 89:16, 125:1,        196:15, 200:19             43:22, 44:4, 46:9,                   inside [3] - 67:2,           110:23, 110:25,          interviewed [1] -          irrelevant [1] - 90:12                J
  55:21, 55:24, 56:6,       impactful [1] - 123:13       139:17, 144:15,          inference [1] - 63:6         46:11, 46:17, 47:24,                   99:12, 104:22              111:10, 129:10,                                     IRVINE [1] - 2:11
                                                                                                                                                                                                            39:22
  56:16, 66:14, 79:7,       impeach [2] - 68:15,         209:5, 216:3,            influence [1] - 211:1        52:8, 63:8, 64:12,                   inspect [3] - 134:20,        130:20, 157:1,                                      IS [1] - 255:14            J.S [2] - 108:15,
                                                                                                                                                                                                          intimidation [5] -
  86:17, 114:23,             73:17                       222:21, 223:5            information [52] -           65:17, 72:2, 72:7,                     209:4, 247:15              158:2, 159:3,                                       isolation [1] - 75:17        108:16
                                                                                                                                                                                                            155:21, 156:4,
  123:19, 133:2,            impeachment [5] -          inclusion [1] - 249:11       22:2, 37:7, 38:18,         75:4, 75:8, 76:19,                   inspected [1] - 65:7         166:23, 167:4,                                      issue [55] - 4:22, 6:5,    j.S [1] - 108:17
                                                                                                                                                                                                            158:18, 158:23,
  168:10, 168:14,            54:8, 54:11, 64:25,       incomplete [1] - 250:7       42:21, 57:8, 57:23,        90:7, 91:20, 92:1,                   inspection [20] -            167:10, 199:6                                         12:9, 12:11, 12:20,      JAMES [1] - 2:15
                                                                                                                                                                                                            164:6
  200:15, 209:13,            72:25, 167:12             inconsistency [2] -          58:6, 58:9, 58:24,         92:5, 92:8, 109:5,                     57:11, 57:19,            Intelligence [1] -                                      13:17, 23:24, 37:4,      January [27] - 35:9,
                                                                                                                                                                                                          introduce [4] - 86:13,
  228:6                     implemented [1] -            72:25, 73:21               59:9, 59:19, 60:11,        109:9, 109:17,                         114:22, 126:13,            190:13                                                59:24, 60:2, 63:10,        35:15, 36:11, 36:23,
                                                                                                                                                                                                            86:16, 86:17, 108:10
identifies [5] - 10:19,      67:13                     inconsistent [3] -           60:14, 60:16, 63:14,       112:25, 113:19,                        126:15, 134:18,          intelligence [18] -                                     63:11, 64:21, 65:14,       38:3, 44:7, 44:8,
                                                                                                                                                                                                          introduced [2] -
  173:3, 173:5, 204:5,      implication [1] - 60:18      54:12, 100:4, 227:2        63:25, 64:15, 65:7,        113:21, 113:22,                        145:14, 158:6,             33:22, 33:24, 34:4,                                   111:21, 114:23,            44:12, 44:18, 44:20,
                                                                                                                                                                                                            52:18, 140:18
  227:23                    importance [6] - 55:1,                                  69:16, 70:7, 84:25,        115:5, 128:11,                         161:22, 161:24,            34:23, 50:13, 50:16,                                  147:3, 154:6,              45:3, 147:4, 147:13,
                                                       incorporated [1] -                                                                                                                                 introducing [1] -
identify [15] - 26:3,        113:17, 119:23,                                        94:4, 105:12,              131:24, 145:12,                        176:14, 176:22,            51:8, 51:21, 91:1,                                    154:21, 161:18,            148:11, 148:16,
                                                         241:7                                                                                                                                              137:4
  26:5, 26:13, 49:6,         132:16, 200:18,                                        111:13, 111:16,            148:20, 153:13,                        186:14, 186:17,            134:20, 135:6,                                        185:15, 197:19,            150:20, 151:2,
                                                       incorrect [2] - 43:10,                                                                                                                             invalid [1] - 219:5
  57:14, 123:6,              208:3                                                  111:18, 111:19,            159:24, 166:2,                         186:22, 187:5,             154:9, 154:12,                                        198:8, 198:12,             151:3, 151:7,
                                                         252:24                                                                                                                                           invalidate [1] - 41:12
  137:19, 141:23,           important [23] - 13:7,                                  111:24, 112:1,             168:23, 169:12,                        187:25, 188:11,            154:24, 191:8,                                        201:15, 202:7,             151:11, 152:1,
                                                       incorrectly [1] - 234:8                                                                                                                            invalidity [1] - 15:1
  143:10, 148:7,             60:19, 116:3,                                          112:9, 112:10,             219:9, 222:21,                         194:8, 199:4               209:4, 247:14,                                        214:11, 216:11,            153:20, 156:9,
                                                       increase [4] - 196:23,                                                                                                                             invent [5] - 8:14,
  150:17, 152:10,            125:10, 125:21,                                        112:11, 122:14,            222:22, 223:18,                      Inspection [4] - 15:8,       247:17                                                220:4, 220:20,             166:2, 171:4, 230:13
                                                         217:10, 217:11,                                                                                                                                    40:19, 101:20,
  155:4, 160:11,             127:3, 127:7, 131:3,                                   122:20, 123:2,             228:24, 229:1,                         126:4, 175:11,           intend [1] - 37:10                                      220:22, 221:5,           Jean [6] - 139:4,
                                                         224:19                                                                                                                                             101:24, 101:25
  160:12                     201:2, 202:15,                                         123:19, 127:13,            229:8, 231:5, 231:6,                   208:24                   intense [1] - 213:8                                     221:6, 221:7,              140:15, 140:17,
                                                       increasing [1] -                                                                                                                                   invented [2] - 101:23,
identifying [7] - 22:2,      202:16, 202:18,                                        131:10, 145:24,            231:7, 231:9,                        inspections [2] - 65:8,    intensity [28] - 20:22,                                 221:13, 221:17,            151:6, 154:1, 191:21
                                                         127:25                                                                                                                                             210:14
  25:14, 29:1, 48:16,        202:19, 204:9,                                         146:24, 174:7,             231:23, 232:9,                         133:4                      21:8, 21:18, 21:23,                                   221:21, 222:3,           Jean-Francois [6] -
                                                       incremental [12] -                                                                                                                                 inventing [1] - 5:24
  66:10, 207:23,             204:21, 208:16,                                        182:11, 188:4,             233:2, 233:4, 233:6,                                              22:19, 22:21, 23:4,                                   222:14, 222:20,            139:4, 140:15,
                                                         122:25, 123:9,                                                                             instance [4] - 34:11,                                 invention [18] - 4:23,
  207:24                     209:12, 209:15,                                        193:7, 236:6, 236:9,       233:8, 245:1,                                                     23:8, 23:17, 24:2,                                    223:1, 223:5,              140:17, 151:6,
                                                         123:10, 123:15,                                                                              94:6, 186:22, 225:8                                   4:25, 5:5, 5:6, 5:13,
ignore [1] - 148:4           244:15, 247:7,                                         236:10, 236:11,            249:20, 252:10,                                                   24:9, 24:13, 24:14,                                   228:21, 229:13,            154:1, 191:21
                                                         123:18, 123:21,                                                                            instead [3] - 129:13,                                   6:24, 7:3, 7:6, 7:20,
illustration [3] - 97:20,    250:25                                                 236:12, 236:14,            253:4                                                             24:21, 24:24, 25:2,                                   230:6, 231:2, 231:3,     JENCY [1] - 2:18
                                                         123:22, 124:13,                                                                              146:24, 213:6                                         7:25, 8:8, 8:13, 8:17,
  97:21, 104:8              importantly [2] -                                       236:17                   infringements [1] -                                                 26:21, 30:23, 31:7,                                   231:4, 235:12,           job [3] - 189:20,
                                                         211:13, 212:1,                                                                             Institute [3] - 140:14,                                 9:18, 102:1, 149:16,
image [39] - 18:20,          120:10, 212:3                                        Infrastructure [5] -         90:10                                                             31:10, 31:13, 49:15,                                  243:25, 244:21,            219:17, 238:23
                                                         215:16                                                                                       140:22, 162:18                                        149:17, 231:19
  20:22, 21:8, 22:21,       imposition [1] -                                        15:8, 113:11,            infringer [1] - 116:4                                               53:22, 72:11,                                         249:15, 250:1, 253:7     jobs [1] - 61:6
                                                       indeed [1] - 20:3                                                                            instruct [1] - 47:23                                  inventor [3] - 39:21,
  23:6, 23:8, 23:9,          162:11                                                 117:10, 117:15,          infringes [5] - 35:23,                                              133:13, 149:20,                                     issued [1] - 195:13        Joe's [1] - 157:15
                                                       independent [5] -                                                                            instructed [4] - 37:20,                                 182:23, 245:22
  23:16, 23:20, 23:21,      impossible [2] -                                        159:25                     45:19, 88:14, 218:20                                              149:23                                              issues [14] - 10:9,        John [21] - 16:1,
                                                         8:19, 149:18, 150:8,                                                                         58:15, 230:4, 232:8                                 investigation [1] -
  23:25, 24:2, 24:8,         42:10, 42:14                                         infrastructure [1] -       infringing [25] - 44:1,                                           intention [1] - 156:22                                  15:14, 15:20, 114:6,       139:4, 139:20,
                                                         150:9, 150:14                                                                              instructing [1] - 48:1                                  38:17




                                      UNITED STATES DISTRICT COURT                                                                                                                       UNITED STATES DISTRICT COURT




                                                                                                                                        Exhibit 3
                                                                                                                                          166
 Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 70 of 74 Page ID
                                  #:15309
                                                                                                                               273                                                                                                                                             274

  140:5, 140:11,            237:20, 237:22               63:5, 63:17, 65:6,        255:8, 255:20,           185:24, 187:18,                       less [14] - 29:2, 103:7,     219:4                    lit [1] - 133:17            92:14, 101:1, 101:4,    lower [5] - 124:2,
  140:15, 140:17,          kept [2] - 145:2, 152:5       65:24, 68:13, 68:18,      255:21                   188:7, 224:4,                           103:9, 128:10,           Liminae [1] - 60:5         literal [7] - 13:11,        114:3, 121:18,            217:17, 217:20,
  141:7, 146:4, 151:5,     key [5] - 60:15,              68:25, 69:7, 69:9,      Laurent [25] - 15:12,      225:18, 225:25                          128:13, 128:18,          limit [2] - 79:19, 251:5     13:12, 13:18, 13:20,      134:3, 206:1, 206:2,      224:25, 226:10
  153:25, 162:17,           167:23, 192:18,              72:18, 72:22, 73:3,       16:1, 16:25, 139:4,    LEA [21] - 2:5, 5:14,                     201:10, 202:18,          Limitation [2] - 31:16,      46:9, 46:11, 46:17        212:18, 228:4,          lowering [1] - 237:15
  162:18, 175:23,           209:7, 209:9                 73:17, 74:2, 74:6,        139:20, 140:15,          5:25, 6:20, 7:12,                       210:4, 212:6, 216:4,       93:19                    literally [4] - 34:24,      228:12                  LRAIL [169] - 11:1,
  175:25, 177:17,          Keyes [10] - 112:8,           76:10, 76:13, 77:7,       141:7, 146:4, 146:6,     7:15, 7:17, 7:21, 8:2,                  217:12, 221:18           limitation [18] - 21:3,      47:14, 75:2, 81:12      looking [40] - 4:24,        11:2, 11:3, 11:4,
  186:3, 188:16,            112:14, 121:14,              77:13, 77:20, 77:25,      146:17, 151:5,           8:16, 9:1, 15:16,                     lesson [1] - 21:1            22:15, 25:4, 25:8,       litigation [13] -           18:23, 23:16, 24:13,      11:7, 12:11, 18:7,
  190:12, 191:20,           213:12, 213:19,              78:2, 79:2, 79:20,        162:17, 175:25,          15:21, 16:6, 16:17,                   letter [32] - 35:10,         26:24, 27:9, 27:22,        144:25, 145:1,            35:8, 41:17, 45:1,        19:14, 27:10, 34:12,
  192:17                    215:7, 233:14,               79:23, 79:25, 86:13,      177:17, 182:16,          17:11, 17:15, 62:8,                     44:12, 44:20, 45:3,        28:10, 29:11, 30:15,       145:6, 145:16,            49:3, 58:16, 61:3,        35:21, 36:1, 36:8,
join [1] - 58:25            233:15, 233:23,              86:24, 87:2, 87:4,        185:8, 185:9,            62:13, 252:13, 253:7                    45:8, 147:4, 147:6,        32:15, 56:17, 56:21,       147:23, 155:1,            76:5, 102:15,             36:12, 36:16, 37:9,
joined [1] - 239:14         246:5                        87:6, 87:9, 87:13,        190:12, 190:15,        lead [1] - 143:15                         147:13, 147:15,            68:12, 91:25, 92:4,        158:2, 159:1,             102:18, 109:2,            37:15, 37:20, 37:22,
joint [1] - 27:23          Keyes' [2] - 234:9,           90:16, 99:8, 99:10,       192:11, 194:17,        leading [2] - 36:17,                      147:17, 148:4,             97:1, 100:2                159:12, 184:19,           113:19, 113:23,           38:9, 39:14, 41:21,
joke [3] - 198:7, 198:9,    235:9                        100:13, 101:19,           194:18, 198:7,           252:7                                   148:12, 148:20,          limitations [20] -           189:22, 193:23,           115:14, 123:3,            42:9, 42:13, 44:1,
  198:16                   kids [1] - 110:4              102:6, 103:19,            198:9, 198:15          leads [1] - 24:23                         149:6, 150:15,             18:13, 19:11, 19:16,       194:7                     123:12, 123:19,           46:25, 47:2, 48:23,
JOSEPH [1] - 2:6           killer [2] - 179:4, 179:9     103:22, 104:18,         Law [2] - 157:16,        learn [3] - 147:2,                        150:19, 150:21,            19:19, 19:22, 19:24,     LLP [1] - 2:4               126:5, 132:15,            49:20, 49:21, 50:7,
Joseph [1] - 157:14        kilometers [3] - 180:3,       106:7, 106:9,             171:12                   157:22, 179:23                          150:23, 151:1,             20:3, 21:13, 22:5,       lodge [1] - 47:16           133:5, 134:8,             55:21, 56:17, 57:6,
judge [1] - 117:22          180:7                        106:13, 106:17          law [24] - 5:22, 6:2,    learned [5] - 21:1,                       151:5, 152:2,              28:12, 33:17, 33:18,     logo [1] - 177:24           135:21, 149:1,            57:7, 57:11, 68:6,
JUDGE [1] - 1:4            kind [18] - 10:6, 26:10,    large [5] - 112:19,         43:9, 43:14, 43:16,      131:4, 132:20,                          152:12, 153:20,            48:6, 48:24, 49:2,       longitudinal [4] -          160:24, 165:22,           69:12, 69:18, 70:15,
Judge [1] - 117:23          55:5, 59:15, 102:16,         112:21, 126:12,           43:24, 47:18, 47:19,     135:12, 152:4                           156:12, 166:5,             74:21, 91:6, 100:4,        29:22, 30:2, 30:21,       173:18, 206:14,           70:23, 70:25, 71:8,
judge's [1] - 71:4          110:21, 122:19,              158:19, 238:22            47:22, 47:23, 48:2,    learning [1] - 189:15                     168:4, 168:10,             214:14, 214:15             31:5                      206:21, 210:18,           71:9, 72:6, 72:13,
judgment [3] - 156:19,      130:12, 130:18,            largely [2] - 200:20,       145:11, 145:19,        learns" [1] - 193:3                       168:14, 198:6,           limited [5] - 10:18,       Look [1] - 25:10            212:11, 214:7,            72:21, 73:5, 73:11,
  156:23, 227:22            133:11, 144:13,              202:20                    150:11, 152:3,         lease [8] - 125:12,                       199:4, 199:9               213:15, 215:9,           look [89] - 7:1, 24:21,     217:1, 223:17,            73:12, 73:13, 75:6,
jump [1] - 104:19           146:12, 152:25,            Larson [22] - 112:7,        152:19, 166:10,          125:19, 125:24,                       letters [2] - 152:5,         233:19                     28:11, 29:11, 39:25,      227:7, 240:20,            76:14, 77:2, 77:19,
June [3] - 141:24,          163:9, 197:5, 203:4,         112:14, 119:21,           166:12, 169:20,          126:7, 126:9, 129:6,                    156:3                    limiting [1] - 240:16        40:2, 41:14, 41:16,       242:11, 245:10            79:12, 81:11, 81:12,
  142:13, 238:20            232:10, 252:3                120:15, 120:17,           171:10, 184:18,          129:7, 129:13                         level [4] - 13:5, 18:16,   line [42] - 10:17,           46:7, 47:8, 48:4,       looks [6] - 24:21,          81:25, 82:5, 82:9,
jurisdiction [1] - 75:23   Knobbe [7] - 49:1,            125:7, 125:15,            185:1, 187:15,         least [12] - 12:10,                       192:19, 217:2              10:24, 27:20, 31:21,       48:15, 54:2, 55:20,       102:23, 133:17,           83:11, 89:4, 95:3,
jurors [6] - 10:6, 12:3,    59:12, 152:3, 154:4,         131:5, 135:1,             190:15                   12:13, 20:17, 20:19,                  liability [1] - 231:2        33:11, 40:3, 54:3,         55:24, 56:3, 57:22,       161:4, 177:24,            95:18, 99:19,
  17:16, 17:20,             157:15, 169:20,              135:12, 200:23,         lawsuit [20] - 45:8,       20:25, 21:10, 21:11,                  libraries [1] - 154:16       58:3, 58:4, 58:5,          58:2, 59:10, 59:15,       194:22                    100:17, 100:24,
  136:24, 250:15            171:10                       214:6, 238:17,            45:18, 146:12,           21:16, 21:19, 62:17,                  license [21] - 129:12,       59:1, 59:18, 64:6,         63:23, 64:13, 65:25,    LOS [4] - 1:16, 1:24,       101:6, 114:22,
jury [48] - 4:17, 5:16,    KNOBBE [1] - 2:4              238:19, 238:22,           146:15, 155:19,          74:23, 74:24                            129:14, 129:18,            64:14, 64:23, 64:24,       66:9, 66:14, 67:6,        4:1, 255:4                118:13, 118:19,
  7:1, 7:7, 7:23, 8:23,    knowledge [5] - 38:6,         239:2, 239:5, 239:6,      155:21, 159:12,        leave [5] - 10:2,                         130:22, 132:4,             68:15, 68:17, 68:19,       67:9, 67:14, 68:16,     Los [1] - 112:18            119:13, 124:21,
  9:22, 10:5, 12:22,        42:18, 42:23, 45:5,          239:14, 239:15,           169:16, 184:22,          118:24, 130:4,                          140:13, 140:24,            68:24, 72:19, 73:18,       68:21, 71:8, 74:15,     lose [6] - 123:24,          126:6, 132:22,
  13:4, 13:18, 14:15,       225:2                        240:3, 246:10             186:25, 187:14,          136:5, 230:6                            141:2, 141:4,              73:23, 74:3, 74:18,        74:16, 74:18, 76:4,       203:2, 205:13,            133:8, 147:18,
  17:10, 17:18, 18:17,     known [3] - 41:1,           Larson's [2] - 239:24,      222:10, 236:7,         leaving [1] - 11:3                        141:10, 205:12,            77:8, 77:12, 79:21,        76:5, 77:10, 79:3,        205:14, 211:17,           147:24, 150:4,
  47:23, 58:12, 60:19,      139:20, 159:25               240:1                     236:14, 236:15,        leeway [1] - 47:18                        205:13, 205:17,            88:3, 127:17,              82:5, 88:2, 89:24,        213:14                    152:15, 153:1,
  78:16, 78:24, 90:9,                                  laser [9] - 133:13,         237:3, 243:22,         left [16] - 18:22, 18:25,                 207:2, 210:11,             127:25, 133:11,            94:18, 95:23, 97:20,    loses [1] - 244:6           153:10, 157:10,
                                                         133:17, 134:18,           245:2, 245:6, 245:16                                                                                                                           losing [2] - 202:25,        158:5, 158:11,
  136:1, 136:8,                        L                                                                    31:25, 32:1, 32:25,                     210:17, 210:20,            133:14, 167:13,            99:11, 99:12,
                                                                                                                                                                                                                                                              159:23, 161:19,
  136:21, 136:23,                                        134:19, 140:14,         lawyer [13] - 14:9,        85:2, 98:18, 116:11,                    210:22, 211:1,             169:7, 172:25,             100:14, 100:16,           215:15
  156:23, 199:16,          labor [2] - 123:16,           140:24, 141:6,            44:11, 138:11,           116:25, 120:13,                         211:16, 213:5              213:13                     100:23, 111:17,         loss [2] - 111:24,          161:21, 162:6,
  218:19, 218:22,            215:25                      145:14, 209:10            138:12, 138:13,          122:16, 133:2,                        licensed [1] - 110:18      lines [11] - 40:6, 49:4,     111:19, 112:10,           158:20                    164:6, 170:16,
  218:25, 219:4,           lack [3] - 133:24,          laser-like [1] - 133:17     145:17, 145:25,          142:16, 166:1,                        licensee [4] - 129:12,       50:9, 54:4, 54:5,          114:24, 117:5,          lost [34] - 115:12,         170:18, 171:1,
  219:14, 220:21,            202:3, 214:3              last [29] - 4:18, 12:9,     148:10, 157:14,          212:12, 212:19                          140:23, 204:13,            54:14, 68:20,              117:25, 119:1,            115:13, 115:17,           171:7, 174:17,
  221:12, 227:12,          lacks [1] - 185:17            33:8, 38:13, 59:11,       157:18, 183:20,        left-hand [5] - 18:22,                    207:3                      125:18, 141:5,             119:4, 124:23,            117:1, 117:7,             174:22, 175:1,
  228:5, 229:23,           ladies [2] - 229:10,          61:15, 74:18, 74:20,      190:23, 193:9            98:18, 122:16,                        licenses [1] - 130:11        158:3, 158:24              125:17, 130:15,           117:12, 117:14,           178:1, 183:22,
  230:3, 230:10,             235:14                      74:22, 81:24, 92:25,    lawyers [12] - 39:10,      212:12, 212:19                        licensing [7] - 128:23,    link [5] - 63:10,            131:21, 133:22,           117:17, 117:25,           187:1, 188:7,
  232:8, 233:3,            laid [3] - 15:15, 16:12,      137:13, 144:20,           50:25, 62:20,          legacy [2] - 134:23,                      128:25, 130:9,             182:22, 182:24,            133:23, 150:20,           118:22, 124:8,            188:20, 193:24,
  234:17, 235:1,             176:18                      170:22, 174:12,           145:22, 150:13,          225:18                                  130:10, 210:1,             183:2, 183:18              151:10, 153:3,            124:10, 124:15,           194:3, 195:13,
  237:22, 249:22,          landlord [1] - 129:5          190:2, 192:7,             151:19, 156:4,                                                   210:9, 213:14            list [8] - 5:15, 8:4,        160:23, 164:2,            124:17, 124:22,           195:22, 196:14,
                                                                                                          legal [23] - 5:23, 6:12,
  251:15, 251:17,          language [7] - 5:13,          192:14, 196:21,           167:6, 171:18,                                                 licensor [2] - 129:11,       62:21, 107:11,             166:25, 171:13,           128:8, 128:12,            197:19, 198:4,
                                                                                                            8:22, 10:4, 100:10,
  253:8                      6:6, 7:20, 9:5, 51:1,       202:3, 206:2, 211:2,      236:18, 237:21,                                                  207:3                      107:20, 107:23,            173:7, 173:16,            128:15, 211:14,           198:24, 199:2,
                                                                                                            114:6, 115:3,
                             57:16, 128:9                211:4, 223:7, 224:8,      251:9                                                          licensors [1] - 210:12       172:24, 182:19             174:5, 178:14,            215:1, 218:2, 218:9,      199:5, 205:20,
jury's [1] - 232:8                                                                                          171:11, 179:9,
                           LAQUER [71] - 2:8,            224:13, 229:17,         lay [1] - 14:21                                                  life [1] - 140:10          listed [4] - 8:10, 8:25,     181:20, 189:12,           222:15, 223:15,           206:12, 206:16,
                                                                                                            193:7, 194:14,
                                                         229:22                  layer [1] - 88:6                                                                              85:22, 182:22              191:17, 202:17,           223:21, 232:2,            207:9, 207:11,
           K                 3:6, 36:17, 36:25,
                                                       lastly [1] - 116:23       layers [1] - 94:9
                                                                                                            220:19, 221:6,                        light [10] - 20:12,
                                                                                                                                                                                                                                    235:22, 235:23,           208:22, 208:24,
                             39:3, 39:7, 40:5,                                                              228:21, 228:24,                         20:13, 20:20, 20:21,     listen [2] - 187:2,          203:11, 205:1,
Karami [9] - 85:23,                                    late [3] - 139:21,        layman [3] - 133:15,                                               21:4, 21:5, 21:7,          223:25                     206:5, 206:7, 207:5,      236:1, 240:23,            209:3, 212:6,
                             40:8, 40:10, 40:18,                                                            229:13, 230:6,
 85:25, 86:3, 86:5,                                      164:15, 197:20            231:5, 231:17                                                    49:18, 104:5, 133:14     listening [4] - 73:7,        208:17, 211:12,           241:18, 243:2,            212:13, 212:18,
                             48:3, 49:10, 49:19,                                                            230:16, 231:3,
 86:9, 87:14, 87:16,                                   lately [2] - 60:12,       lays [1] - 175:16                                                                             137:1, 164:19,             212:2, 212:10,            243:8, 252:17             216:1, 216:10,
                             54:9, 54:16, 58:14,                                                            231:4, 232:6, 233:5,                  likely [5] - 124:17,
 88:10, 89:5                                             64:16                   LCMS [11] - 141:6,                                                                            164:23                     227:21, 251:8           loud [1] - 11:16            216:20, 217:5,
                             58:22, 59:8, 59:17,                                                            250:1                                   129:8, 158:7,
keep [5] - 210:13,                                     latest [1] - 174:12         141:25, 142:24,                                                                           lists [2] - 196:13,        looked [15] - 81:25,      love [1] - 12:8             219:23, 220:2,
                             60:4, 60:10, 60:15,                                                          legally [1] - 116:6                       176:21, 243:9
 216:20, 224:10,                                       LAURA [4] - 1:22,           161:22, 162:6,                                                                              196:14                     89:17, 89:21, 90:1,     low [2] - 24:14, 25:1       220:4, 220:22,
                             61:11, 61:22, 62:22,                                                         length [1] - 27:24                      likewise [2] - 173:2,
                                                                                                                                                                                                                                                              221:17, 221:20,




                                     UNITED STATES DISTRICT COURT                                                                                                                      UNITED STATES DISTRICT COURT




                                                                                                                               275                                                                                                                                             276

  222:3, 222:17,            113:8, 114:15,              157:15, 169:20           meant [8] - 27:16,        247:3, 247:22                           35:25, 161:6,              61:8, 61:11, 61:18,        11:8, 11:10, 11:16,       178:6, 178:9,             108:12, 137:12,
  222:20, 222:25,           228:2, 228:16              Martin [1] - 155:15        121:22, 142:18,         Mesher's [1] - 246:3                     211:22, 211:23,            65:25, 68:22, 69:10,       11:20, 12:3, 12:8,        178:12, 183:7,            137:13, 137:14,
  223:4, 223:17,           margins [3] - 203:1,        mask [6] - 80:7, 80:9,     163:22, 177:2,          met [15] - 46:18,                        216:20                     70:6, 70:20, 71:22,        12:17, 12:24, 13:3,       183:14, 184:10,           145:17, 145:19,
  223:22, 224:3,            206:19                      80:14, 80:17, 96:17,      181:5, 215:5, 252:9      47:14, 107:20,                         minus [1] - 29:3            72:3, 73:4, 74:8,          13:23, 14:1, 14:9,        184:13, 184:16,           159:18, 159:19,
  224:16, 225:9,           Mario [1] - 191:21           96:19                    measure [5] - 109:8,      117:2, 120:2, 121:4,                   minute [1] - 128:6          74:19, 74:22, 75:16,       14:12, 14:16, 14:25,      185:17, 186:1,            172:3, 184:24,
  225:22, 226:15,          MARK [1] - 1:4              masks [1] - 80:15          109:13, 110:3,           121:13, 122:10,                        minutes [16] - 15:4,        76:2, 76:14, 78:3,         15:3, 15:11, 16:11,       189:5, 189:8,             187:8, 209:19,
  226:23, 226:24,          marked [1] - 160:11         Massachusetts [3] -        115:9, 128:15            124:7, 140:1,                           15:18, 15:21, 15:22,       78:18, 79:3, 80:21,        17:8, 17:25, 18:2,        189:11, 191:22,           233:14, 248:18
  227:4, 227:5, 227:8,     Market [5] - 175:11,         150:2, 164:3, 174:18     measurement [2] -         140:11, 140:16,                         78:14, 136:10,             86:16, 88:8, 88:18,        19:9, 21:1, 21:6,         191:25, 192:3,           named [5] - 32:11,
  227:17, 227:23,           178:1, 178:15,             master's [1] - 140:1       133:20, 134:23           153:25, 183:19,                         168:7, 171:14,             90:22, 91:11, 93:8,        36:17, 36:20, 36:25,      197:7, 197:13,            39:21, 119:9,
  228:1, 230:20,            179:3, 180:16              Master's [5] - 110:12,    measurements [2] -        201:14                                  171:21, 171:23,            97:12, 100:1, 100:8,       37:6, 37:14, 38:25,       197:15, 199:10,           182:23, 245:22
  230:23, 230:24,          market [67] - 115:15,        139:8, 139:9,             19:3, 25:18             metal [1] - 171:9                        171:24, 197:13,            101:4, 101:20,             39:3, 39:7, 40:5,         199:12, 218:14,          names [2] - 30:5,
  237:25, 243:20,           115:21, 115:22,             190:12, 190:17           measures [1] - 133:13    method [5] - 45:23,                      199:15, 199:17,            103:23, 106:14,            40:8, 40:10, 40:18,       218:16, 229:3,            32:25
  243:22, 247:11,           115:24, 115:25,            material [3] - 113:9,     medical [1] - 138:7       45:25, 46:1, 46:4,                      208:4, 211:9               106:23, 109:21,            47:16, 48:3, 49:7,        229:16, 230:2,           narrow [1] - 27:7
  248:6, 248:9,             116:4, 116:5, 116:6,        123:16, 163:3            meet [11] - 6:3, 10:3,    46:5                                   mischaracterization         112:13, 120:15,            49:10, 49:19, 54:9,       231:10, 231:14,          National [4] - 16:22,
  249:11, 249:14            116:8, 116:10,             materials [1] - 138:15     12:5, 28:6, 33:18,      method" [1] - 192:21                     [1] - 47:17                131:4, 209:13,             54:11, 54:16, 58:14,      232:4, 232:21,            140:14, 140:21,
LRAIL's [6] - 81:20,        116:12, 116:15,            math [1] - 222:2           65:20, 99:1, 120:21,    methodologies [1] -                     mischaracterizes [1] -      214:5, 214:13,             58:22, 59:8, 59:17,       232:23, 234:8,            162:17
  83:8, 89:12, 100:16,      116:19, 117:1,             mathematical [1] -         165:21, 251:21,          69:12                                   185:17                     243:13, 244:5,             59:23, 60:4, 60:10,       234:21, 235:5,           nature [7] - 110:14,
  101:8, 101:11             117:4, 117:18,              102:21                    253:19                  methodology [1] -                       misheard [1] - 235:14       244:21, 246:15,            60:15, 60:22, 61:11,      235:8, 249:2,             122:23, 123:17,
LRAILs [3] - 187:18,        118:17, 118:18,            Mathew [1] - 131:6        meeting [5] - 15:3,       192:20                                 mishearing [1] -            246:17, 246:19,            61:22, 62:1, 62:22,       250:13, 251:25,           124:25, 130:1,
  205:21, 238:4             118:19, 118:23,            MATHEW [16] - 2:18,        15:21, 15:22,           middle [4] - 85:3,                       235:20                     246:25, 247:17             63:5, 63:17, 64:2,        252:21, 252:23,           200:22, 214:13
LRAILs' [1] - 70:22         120:8, 120:9, 121:5,        3:10, 107:4, 107:10,      195:17, 195:21           88:21, 102:24,                         miss [1] - 105:24          MORELLAS [1] - 3:5          64:4, 64:15, 65:6,        252:24, 253:1,           Nazareth [4] - 138:10,
lunch [10] - 4:12, 4:14,    123:8, 124:9,               107:19, 107:24,          meets [8] - 19:11,        219:23                                 misunderstood [1] -        Morellas' [2] - 244:25,     65:15, 65:24, 68:13,      253:16                    138:12, 173:10,
  17:12, 17:13, 17:14,      124:25, 127:5,              108:9, 111:4,             21:14, 28:5, 33:16,     might [31] - 7:8, 10:1,                  248:12                     252:15                     68:18, 68:25, 69:5,      MS [35] - 3:10, 5:14,      173:19
  135:24, 136:14,           132:24, 133:6,              111:12, 114:9,            47:3, 55:21, 55:25,      13:7, 43:14, 51:17,                    mix [1] - 250:8            Morellas's [1] - 243:10     69:7, 69:9, 72:18,        5:25, 6:20, 7:12,        NDT [3] - 155:16,
  199:20, 200:3             158:14, 176:11,             199:25, 218:11,           56:7                     52:12, 71:17, 109:3,                   mixed [10] - 35:23,        morning [11] - 4:8,         72:22, 72:24, 73:3,       7:15, 7:17, 7:21, 8:2,    155:17, 155:18
                            177:15, 179:11,             249:5, 249:7, 249:9,     memberships [1] -         112:10, 115:11,                         72:1, 73:13, 101:12,       18:3, 18:4, 39:8,          73:17, 73:20, 74:2,       8:16, 9:1, 15:16,        nearly [1] - 222:13
           M                186:18, 187:5,              250:9                     110:17                   122:22, 128:8,                          226:6, 243:18,             39:9, 44:7, 78:13,         74:6, 76:10, 76:13,       15:21, 16:6, 16:17,      necessarily [3] -
                            202:23, 203:12,            matter [6] - 6:8, 63:4,   memorize [1] - 187:9      129:1, 130:13,                          243:21, 244:20,            246:17, 247:18,            77:7, 77:13, 77:15,       17:11, 17:15, 62:8,       93:10, 128:15, 144:6
mailing [1] - 172:24        204:17, 213:10,             71:19, 91:20,            memory [1] - 221:22       130:15, 130:24,                         245:7, 245:17              251:22, 253:20             77:20, 77:25, 78:2,       62:13, 107:4,            necessary [6] - 92:21,
main [8] - 53:20,           213:15, 213:16,             168:16, 201:24           men [1] - 11:21           136:6, 152:24,                         model [7] - 5:12, 6:5,     most [5] - 4:11, 85:2,      79:2, 79:20, 79:23,       107:10, 107:19,           99:12, 120:21,
 53:24, 54:18, 54:21,       213:17, 213:21,                                                                168:23, 182:18,                         6:16, 6:21, 9:11,          117:24, 129:8,             79:25, 86:13, 86:21,      107:24, 108:9,            171:6, 233:3, 246:2
                                                       matters [2] - 110:24,     mention [9] - 45:3,
 94:4, 119:3, 193:21,       214:16, 215:8,                                                                 185:24, 186:5,                          28:21, 28:23               214:17                     86:24, 87:2, 87:4,        111:4, 111:12,           need [23] - 12:20,
                                                        111:11                    50:13, 54:25, 90:25,
 194:5                      215:9, 217:15,                                                                 187:20, 193:16,                        modes [1] - 135:22         mostly [1] - 207:21         87:6, 87:9, 87:13,        114:9, 199:25,            14:14, 65:17, 86:15,
                                                       Matthew [3] - 119:11,      154:23, 183:20,
MAIN [1] - 2:9              217:16, 217:17,                                                                211:25, 244:4,                                                    mother [1] - 157:14         90:13, 90:16, 90:19,      218:11, 249:5,            93:25, 94:21, 95:6,
                                                        119:12, 119:14            187:19, 187:20,                                                 moment [11] - 35:4,
maintain [2] - 191:2,       217:19, 224:25,                                                                251:2, 252:5, 253:22                                              Motion [1] - 60:5           90:21, 93:7, 94:11,       249:7, 249:9, 250:9,      95:23, 100:16,
                                                       Max [2] - 33:1, 33:2       251:2                                                            107:2, 109:21,
 191:9                      225:1, 225:2,                                                                 MIL [1] - 60:23                                                    move [25] - 37:13,          94:18, 96:1, 96:25,       252:13, 253:7             126:12, 160:9,
                                                       mean [30] - 8:22, 30:2,   mentioned [26] -                                                  116:17, 118:3,
maintaining [1] -           225:21, 233:18,                                                               mileage [1] - 126:21                                                50:11, 65:12, 82:12,       99:5, 99:8, 99:10,       MTM [1] - 177:18           174:16, 180:1,
                                                        34:23, 36:14, 37:3,       12:18, 26:6, 41:20,                                              124:13, 131:7,
 191:5                      233:19, 233:21,                                                               miles [12] - 125:25,                                                83:16, 104:11,             100:9, 100:13,           multidisciplinary [1] -    181:14, 196:2,
                                                        50:8, 52:17, 60:8,        44:20, 51:9, 51:10,                                              192:24, 193:2,
major [1] - 213:15          233:22, 235:16,                                                                126:8, 126:14,                                                     107:22, 113:24,            101:19, 102:6,            108:17                    196:22, 208:18,
                                                        80:16, 81:18, 84:6,       81:15, 115:21,                                                   205:1, 213:4
majority [1] - 112:20       235:19, 240:6,                                                                 126:18, 126:20,                                                    121:6, 170:14,             102:8, 103:19,           multifunctional [1] -      212:25, 214:21,
                                                        84:9, 94:20, 101:16,      116:12, 116:17,                                                 moments [1] - 207:12
managed [1] - 158:17        240:9, 240:14                                                                  179:22, 180:2,                                                     176:5, 178:6,              103:22, 104:18,           177:16                    227:21, 251:20,
                                                        129:24, 141:15,           120:18, 130:5,                                                  Monday [6] - 112:18,
Management [1] -           Marketing [2] -                                                                 180:8, 180:10,                                                     181:18, 184:6,             106:7, 106:9,            multiple [4] - 5:23,       251:24
                                                        151:16, 158:22,           132:11, 140:22,                                                  151:11, 250:16,
 110:11                     178:15, 178:16                                                                 181:4, 181:15,                                                     184:10, 186:11,            106:13, 106:17,           26:13, 134:23,           needed [8] - 38:18,
                                                        160:18, 162:23,           147:6, 163:11,                                                   251:18, 251:20,
mandate [3] - 167:5,       marketing [9] - 112:1,                                                          214:18                                                             188:18, 189:5,             106:19, 106:21,           161:23                    43:10, 43:17, 70:7,
                                                        163:4, 194:23,            170:15, 183:25,                                                  251:21
 167:7                      121:12, 122:6,                                                                MILLER [3] - 1:22,                                                  191:16, 191:22,            107:2, 108:3, 111:8,     multiplied [2] -           171:19, 180:3,
                                                        201:18, 202:15,           209:17, 211:9,                                                  monetize [1] - 109:1
manner [2] - 76:14,         122:9, 132:18,                                                                 255:20, 255:21                                                     207:8, 209:25,             113:24, 136:12,           124:14, 222:6             214:9, 227:10
                                                        203:1, 217:19,            211:14, 214:25,                                                 money [6] - 161:8,
 202:5                      139:13, 172:8,                                                                                                                                    227:11, 234:14,            136:16, 137:5,           multiply [1] - 223:8      needs [2] - 71:25,
                                                        232:6, 234:11,            221:23, 227:3,          million [22] - 125:24,                   187:19, 195:23,
manual [1] - 101:1          172:10, 204:15                                                                                                                                    248:12                     137:16, 137:21,          must [7] - 30:22, 43:4,    120:21
                                                        235:18, 236:14            233:10, 249:16           126:1, 126:14,                          208:11, 222:13,
manuals [2] - 72:16,       marketplace [7] -                                                                                                                                 moved [7] - 52:9,           137:24, 138:4,            46:18, 47:14, 75:3,
                                                       meaning [4] - 81:7,       mentions [2] - 154:8,     126:22, 126:23,                         223:19                                                                                                   negative [1] - 135:16
                            118:6, 118:9,                                                                                                                                     53:10, 73:25, 87:23,       164:9, 164:11,            81:12, 243:6
 73:7                                                   123:25, 130:1,            154:9                    127:23, 127:24,                        monitor [1] - 122:19                                                                                      negatives [4] - 119:16,
                            119:18, 120:16,                                                                                                                                   93:15, 98:12, 140:4        164:15, 164:21,          MY [1] - 255:15
manufacturing [2] -                                     201:14                   merely [1] - 46:3         205:4, 205:15,                         month [2] - 142:12,                                                                                        119:22, 135:10,
                            132:17, 134:8,                                                                                                                                   moving [7] - 25:19,         164:24, 165:6,
 121:12, 122:4                                         meaningful [4] -          merits [1] - 63:10        211:13, 211:17,                         142:20                                                                                                    135:12
                                                                                                                                                                                                         165:12, 165:15,
map [13] - 22:16,           200:16                      203:19, 204:10,          Mesher [19] - 39:21,      220:1, 221:18,                         monthly [2] - 129:8,        80:20, 81:5, 88:7,
                                                                                                                                                                                                         165:18, 165:24,
                                                                                                                                                                                                                                             N              negotiated [2] -
 23:12, 24:25, 25:11,      markets [2] - 176:14,        205:8, 211:10             40:11, 40:19, 50:15,     222:7, 222:8, 222:9,                    129:17                     97:2, 195:7, 237:20                                                            131:23, 132:4
                            241:12                                                                                                                                           MR [222] - 3:6, 3:6,        165:25, 167:12,          NACVA [1] - 110:20
 25:15, 26:19, 29:22,                                  MEANS [1] - 255:13         51:14, 52:21, 142:3,     222:23, 223:2,                         months [2] - 140:19,                                                                                      negotiating [5] -
                           Markey [1] - 117:23                                                                                                                                3:11, 3:15, 3:15,          167:20, 170:9,           nail [1] - 133:24
 30:16, 30:17, 30:22,                                  means [12] - 8:14,         143:19, 145:17,          223:9, 223:10,                          143:8                                                                                                     122:7, 122:8,
                           Marten [4] - 59:12,                                                                                                                                4:11, 4:16, 5:3, 5:10,     170:13, 173:14,          nails [1] - 133:24
 31:6, 149:19                                           11:24, 24:14, 42:3,       182:23, 182:25,          223:13                                 Morellas [60] - 17:22,                                                                                     140:13, 206:25,
                            152:3, 154:4, 171:10                                                                                                                              6:3, 6:15, 9:7, 9:19,      173:18, 173:22,          name [20] - 26:10,
March [11] - 36:5,                                      46:17, 81:5, 82:18,       183:4, 183:19,          millions [2] - 49:4,                     18:3, 37:1, 39:8,                                                                                         239:22
                           MARTENS [1] - 2:4                                                                                                                                  9:21, 10:11, 10:13,        174:3, 175:16,            30:15, 32:11, 94:1,
 39:20, 40:17, 74:7,                                    84:5, 88:4, 123:23,       183:20, 183:21,          50:9                                    46:20, 51:14, 52:22,                                                                                     negotiation [13] -
                                                                                                                                                                              10:15, 10:17, 10:24,       175:18, 176:5,            98:3, 107:14,
 74:10, 74:12, 78:6,       Martens [3] - 49:1,          160:19, 181:3             245:22, 245:25,         mind [6] - 35:19,                        54:17, 58:23, 61:1,                                                                                       130:5, 131:6,
                                                                                                                                                                                                         176:7, 176:10,




                                     UNITED STATES DISTRICT COURT                                                                                                                      UNITED STATES DISTRICT COURT




                                                                                                                                      Exhibit 3
                                                                                                                                        167
 Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 71 of 74 Page ID
                                  #:15310
                                                                                                                               277                                                                                                                                               278

 131:13, 131:16,             89:15, 91:1, 92:9,        11:23, 11:25, 12:1,        4:20, 4:22, 4:25, 5:2,    90:13, 100:9, 111:7,                   143:24, 208:14,           159:11, 159:23,            45:4, 52:8, 66:6,         Ottawa [1] - 140:4          181:9, 181:10,
 131:17, 202:13,             92:22, 92:24, 93:3,       12:3, 128:21               5:7, 5:9, 5:11, 6:8,      111:8, 113:24,                         248:20                    161:18, 163:17,            69:21, 70:6, 75:15,       ourselves [3] - 116:2,      189:12, 189:20,
 209:24, 210:5,              93:5, 93:9, 94:5,        NEW [1] - 2:20              6:14                      137:24, 176:7,                        offering [7] - 109:16,     165:4, 165:14,             82:24, 84:7, 84:17,        121:10, 210:23             192:7, 192:8,
 210:19, 211:5,              101:20, 101:24,          new [9] - 41:8, 41:10,     nonresponsive [1] -        178:8, 178:9, 183:7,                   116:9, 118:24,            166:22, 172:8,             88:14, 89:5, 89:11,       outlines [1] - 176:13       193:18, 196:13,
 211:11, 249:17,             101:25, 154:5,            41:11, 52:10, 86:25,       58:14                     184:12, 184:13,                        120:8, 120:25,            174:12, 174:17,            90:11, 92:8, 93:10,       output [3] - 79:11,         209:1, 209:2, 234:4
 249:20                      154:12, 154:17,           87:2, 102:10,             normal [1] - 248:5         189:7, 189:8,                          127:22, 153:1             174:21, 177:7,             96:22, 100:16,             80:2, 96:13               Page [1] - 54:5
neighbor [1] - 93:15         154:18, 154:24,           181:15, 224:9             note [3] - 9:10, 10:11,    191:24, 191:25                        offers [1] - 125:20        179:4, 179:5,              115:17, 127:11,           outside [5] - 90:14,       pages [5] - 49:2, 51:6,
neighborhood [35] -          188:21, 188:24,          next [44] - 13:6, 19:9,     114:16                   objections [8] - 14:16,                Officer [2] - 142:3,       188:18, 192:4,             128:3, 128:14,             154:25, 183:11,            51:13, 154:7, 236:20
 25:17, 25:19, 27:1,         190:3, 190:18,            25:9, 26:2, 27:12,        noted [1] - 4:7            14:20, 16:13, 86:20,                   183:1                     192:20, 192:23,            132:8, 190:21,             229:25, 251:12            paid [2] - 149:7,
 27:3, 27:5, 54:22,          193:13, 197:19,           29:21, 31:18, 32:8,       NOTES [1] - 255:15         107:21, 108:2,                        offices [1] - 49:1         192:24, 192:25,            216:8, 222:8,             oval [1] - 79:18            226:15
 55:2, 55:3, 55:7,           251:4                     32:15, 35:17, 56:9,       notes [1] - 138:20         108:3, 137:23                         OFFICIAL [3] - 1:23,       194:11, 196:7,             222:12, 231:20,           ovals [1] - 96:2           pandemic [2] -
 55:9, 55:13, 55:18,        Neural [2] - 57:2, 57:6    66:14, 86:14, 98:16,      nothing [10] - 14:12,     objectively [1] - 134:2                 255:8, 255:22             196:14, 196:18,            233:9, 235:11,            overall [1] - 201:22        238:25, 239:3
 56:14, 57:15, 68:9,        neural [103] - 25:11,      106:25, 114:20,            62:5, 64:8, 102:8,       objectives [5] - 133:3,                official [1] - 15:24       197:1, 202:3,              244:25                    overcame [2] -             Panduit [13] - 115:15,
 69:2, 80:20, 80:24,         25:25, 26:2, 26:7,        115:11, 119:8,             138:22, 199:12,           191:3, 191:6,                         often [1] - 140:11         202:25, 203:10,           opinions [23] - 35:5,       214:14, 214:15             116:14, 117:19,
 81:6, 81:8, 82:19,          26:12, 34:5, 34:8,        124:12, 126:4,             221:8, 221:11,            193:22, 194:5                         oftentimes [1] -           204:2, 209:9, 210:5,       35:7, 35:20, 39:11,       overhead [1] - 123:16       117:23, 120:1,
 83:5, 88:20, 93:15,         34:11, 51:24, 52:2,       131:15, 143:5,             241:25, 250:2            objects [2] - 26:13,                    124:23                    211:2, 212:16,             41:18, 47:25, 69:25,      overview [3] - 139:5,       120:2, 120:3, 121:3,
 93:18, 97:2, 97:7,          52:10, 53:4, 53:7,        144:14, 152:1,            notice [7] - 35:10,        26:16                                 old [3] - 135:22,          213:9, 213:16,             70:4, 100:12,              139:13, 176:11             122:11, 124:3,
 97:22, 98:10, 98:12,        53:9, 53:12, 53:16,       152:22, 157:13,            115:2, 142:7,            obligation [1] - 219:14                 247:22, 248:1             214:16, 215:3,             101:18, 109:16,           Overview [2] - 175:11,      124:9, 128:20,
 98:14, 98:21, 98:24,        57:10, 57:18, 57:19,      158:13, 158:20,            148:18, 162:13,          obligations [1] -                      older [1] - 41:11          216:9, 216:10,             129:21, 211:7,             178:15                     201:12
 99:3                        57:23, 58:6, 58:11,       179:8, 179:21,             163:7, 166:2              112:21                                Olenoski [2] - 143:20,     216:11, 217:3,             229:24, 230:25,           owe [1] - 219:13           paper [12] - 17:3, 17:4,
nester [1] - 110:6           58:12, 58:23, 59:9,       179:25, 180:12,           noticed [1] - 133:1       obtain [1] - 156:19                     186:24                    218:4, 220:9, 226:7,       231:25, 237:2,                                        56:24, 57:2, 61:24,
                                                                                                                                                                                                                                  owed [1] - 160:19
net [3] - 127:17,            59:12, 59:14, 59:16,      186:7, 190:1,             novelty [1] - 53:20       obtained [1] - 177:17                  OLSON [1] - 2:4            230:20, 232:21,            246:1, 246:15,                                        99:22, 100:8,
                                                                                                                                                                                                                                  own [4] - 127:2, 166:6,
 127:18, 206:19              62:2, 63:8, 66:1,         193:18, 196:18,           November [4] - 132:1,     obvious [16] - 5:19,                   ON [2] - 2:3, 2:13         238:2, 239:20,             248:20, 248:21,                                       138:20, 150:3,
                                                                                                                                                                                                                                   186:14, 253:23
Network [3] - 57:2,          66:24, 67:6, 67:10,       204:25, 205:19,            175:24, 249:21            5:24, 7:4, 7:6, 7:25,                                            241:11, 242:1,             248:22, 251:1                                         163:11, 164:2, 164:5
                                                                                                                                                  Once [1] - 25:10                                                                owner [3] - 129:12,
 57:6, 99:17                 67:15, 67:17, 67:19,      212:24, 214:2,            nowhere [2] - 154:8,       8:6, 8:7, 8:11, 8:15,                                            243:16, 246:18,           opportunity [7] -                                     papers [3] - 57:9,
                                                                                                                                                  once [6] - 53:19,                                                                210:11, 217:16
network [85] - 25:10,        67:22, 67:25, 68:3,       215:12, 217:8,             154:9                     8:19, 9:12, 9:13,                                                247:2, 249:5,              112:7, 114:24,                                        93:22, 188:23
                                                                                                                                                   83:14, 84:9, 103:5,                                                            owners [1] - 210:12
 25:11, 26:3, 26:5,          68:6, 68:11, 69:12,       222:16, 248:24            NRIS [1] - 141:5           9:16, 41:13                                                      252:13, 252:19,            123:1, 125:2,                                        paragraph [11] -
                                                                                                                                                   168:2, 213:16                                                                  owns [1] - 182:18
 26:7, 26:13, 26:17,         69:15, 70:8, 74:12,      Nguyen [1] - 70:15                                   obviously [6] - 65:1,                                             253:7                      158:21, 187:24,                                       114:14, 114:20,
                                                                                 NRS [1] - 141:5                                                  one [146] - 8:13, 8:25,
 34:5, 34:8, 34:12,          81:21, 81:25, 82:5,      Nicholas [1] - 148:18                                 131:17, 215:13,                                                 one's [1] - 11:14           188:3                                                 125:17, 157:13,
 49:17, 51:24, 52:2,         82:9, 89:12, 89:13,      NICHOLAS [2] - 2:7,
                                                                                 number [19] - 46:7,                                               9:2, 9:3, 9:17, 10:11,
                                                                                                                                                                            ones [1] - 112:6           opposed [3] - 24:8,                   P                177:7, 177:14,
                                                                                  48:15, 49:2, 55:20,       216:11, 232:16,                        11:17, 12:3, 13:7,
 52:10, 53:8, 53:9,          89:15, 89:22, 89:24,      2:17                       74:16, 87:8, 120:9,       251:19                                                          ongoing [1] - 159:11        226:11, 249:15            p.m [2] - 148:16, 254:3     187:17, 190:1,
                                                                                                                                                   16:14, 18:20, 19:16,
 53:13, 53:16, 57:10,        91:1, 91:15, 91:18,      Nicole [1] - 138:10         123:22, 125:15,          obviousness [8] -                                                online [1] - 251:7         opposing [2] - 13:9,                                   190:25, 192:8,
                                                                                                                                                   20:17, 20:19, 21:10,                                                           Pacific [14] - 128:20,
 57:18, 57:19, 57:23,        91:21, 91:24, 92:3,      night [7] - 4:18, 187:3,    127:19, 167:13,           4:24, 5:7, 5:18, 6:7,                                           opened [2] - 60:22,         111:18                                                192:14
                                                                                                                                                   21:11, 21:16, 21:19,                                                            129:20, 132:10,
 58:6, 58:11, 58:24,         92:8, 92:14, 92:20,       224:8, 224:13,             173:17, 175:20,           6:12, 6:16, 6:22,                                                61:9                      Optical [3] - 140:14,                                 parameters [8] - 29:9,
                                                                                                                                                   26:20, 28:9, 28:10,                                                             200:4, 200:13,
 59:9, 59:12, 59:14,         92:22, 92:24, 93:3,       229:17, 229:22,            200:19, 204:20,           7:14                                                            opening [4] - 63:6,         140:21, 162:18                                        71:14, 100:19,
                                                                                                                                                   30:8, 33:5, 37:9,                                                               201:23, 204:5,
 59:16, 62:2, 66:1,          93:5, 93:9, 93:17,        229:25                     211:15, 211:22,          occasionally [1] -                                                64:5, 64:10               option [2] - 125:23,                                   100:21, 100:24,
                                                                                                                                                   37:15, 38:13, 41:4,                                                             206:22, 209:25,
 66:24, 67:3, 67:7,          93:24, 94:1, 94:5,       nine [7] - 84:22, 87:10,    212:2, 214:25             161:19                                                          opens [1] - 62:2            242:7                                                 101:2, 101:6, 122:21
                                                                                                                                                   41:17, 47:2, 49:15,                                                             210:19, 210:23,
 67:10, 67:13, 67:15,        99:12, 99:16,             87:11, 93:1, 102:19,                                occupation [1] -                                                 operate [2] - 33:9,        options [4] - 241:20,                                 pardon [1] - 223:11
                                                                                 numbers [2] - 123:22,                                             49:20, 51:13, 53:23,                                                            212:25, 216:2,
 67:22, 67:25, 68:3,         101:20, 101:24,           102:24, 103:2                                        138:24                                                           171:6                      241:23, 242:12,                                      park [1] - 179:18
                                                                                  173:17                                                           54:7, 55:9, 55:16,                                                              249:17
 68:6, 68:11, 69:13,         101:25, 103:24,          NO [1] - 1:8                                         occur [4] - 90:6,                                                operating [12] - 205:7,     242:20                                               Parker [6] - 44:11,
                                                                                 Numbers [1] - 7:17                                                56:10, 72:10, 73:7,                                                            package [1] - 92:12
 70:8, 72:12, 74:13,         104:1, 106:15,           NOI [1] - 162:17                                      144:24, 159:15,                                                  205:22, 206:1,            Orange [1] - 11:21                                     147:5, 148:15,
                                                                                 numeral [2] - 56:4,                                               73:10, 73:24, 74:23,                                                           page [64] - 40:2,
 75:11, 81:21, 81:25,        154:9, 154:12,           non [4] - 120:4,                                      195:17                                                           206:3, 206:18,            order [18] - 43:3,                                     148:19, 149:2, 153:4
                                                                                  56:10                                                            74:24, 75:12, 81:15,                                                            50:23, 54:2, 54:4,
 82:5, 82:9, 89:12,          154:15, 154:17,           120:11, 120:16,                                     occurred [8] - 35:8,                                              212:10, 212:14,            43:17, 63:20, 71:5,                                  PARKER [1] - 2:16
                                                                                 numerous [1] - 237:17                                             82:11, 82:12, 83:22,                                                            58:2, 58:4, 58:5,
 89:13, 89:22, 89:24,        154:18, 154:20,           121:4                                                35:14, 60:1, 113:7,                                              212:15, 215:18,            75:18, 81:11, 99:13,                                 parker [17] - 148:5,
                                                                                 nuts [1] - 232:3                                                  84:10, 84:21, 85:4,                                                             59:18, 64:14, 64:23,
 90:1, 91:16, 91:18,         154:24, 188:21,          non-infringing [4] -                                  159:16, 228:7,                                                   215:23, 216:1,             119:16, 129:18,                                       148:9, 148:11,
                                                                                 NW [1] - 2:20                                                     86:4, 88:7, 88:21,                                                              66:9, 66:14, 68:15,
 91:22, 91:24, 92:3,         188:24, 190:3,            120:4, 120:11,                                       229:9, 242:6                                                     226:18                     137:16, 191:2,                                        149:3, 150:15,
                                                                                                                                                   91:20, 93:22, 98:8,                                                             68:16, 68:18, 72:19,
 92:14, 92:20, 93:17,        190:13, 190:18,           120:16, 121:4                                                                                                        operation [1] - 207:15      203:16, 203:20,                                       150:19, 151:5,
                                                                                           O               occurs [5] - 26:18,                     100:4, 103:19,                                                                  73:18, 76:5, 76:6,
 93:24, 94:1, 94:3,          190:22, 191:11,          nonaccused [1] -                                                                                                      operations [1] - 84:8       214:8, 215:20,                                        151:8, 151:12,
                                                                                                            113:22, 115:6,                         109:5, 109:19,                                                                  76:10, 77:8, 77:9,
 94:8, 99:13, 99:16,         193:10, 193:13,           243:22                                                                                                               operator [2] - 27:7,        217:3, 225:23                                         151:25, 152:12,
                                                                                 o'clock [2] - 4:13,        249:17, 249:20                         111:2, 113:12,                                                                  79:21, 82:23, 86:5,
 99:19, 103:24,              193:14, 196:10,          noncontradictory [1] -                                                                                                 85:18                     orders [1] - 164:19                                    152:23, 156:7,
                                                                                  135:25                   October [3] - 118:14,                   115:20, 116:3,                                                                  86:18, 86:19, 87:6,
 104:1, 106:15,              197:18, 251:4             10:7                                                                                                                 opinion [59] - 22:14,      ordinary [1] - 55:16                                   169:3, 169:9, 198:6,
                                                                                 object [4] - 62:1,         182:16                                 116:10, 117:14,                                                                 87:16, 97:21,
 133:3, 154:10,             neutral [1] - 129:25      none [3] - 51:20,                                                                            118:7, 118:15,            23:11, 23:15, 25:3,       organization [1] -                                     199:5
                                                                                  146:6, 175:16,           OF [12] - 1:1, 1:2,                                                                                                     102:11, 125:16,
 154:15, 154:21,            never [19] - 11:23,        51:23, 229:22                                                                               119:3, 120:9,             25:23, 27:5, 27:13,        110:20                                               parker's [4] - 151:11,
                                                                                  229:18                    1:14, 2:1, 2:3, 2:13,                                                                                                  133:2, 142:9,
 190:13, 190:22,             13:17, 39:20, 44:20,     noninfringing [13] -                                                                         120:25, 121:23,           27:24, 28:4, 28:15,       organize [1] - 139:12                                  153:24, 168:4,
                                                                                 objecting [2] - 14:19,     255:2, 255:4, 255:6,                                                                                                   143:19, 143:24,
 191:11, 193:11,             61:18, 65:9, 70:25,       132:19, 201:1,                                                                              124:23, 125:5,            28:19, 28:25, 29:7,       orientation [1] - 192:8                                168:13
                                                                                  47:20                     255:9, 255:13,                                                                                                         160:24, 160:25,
 193:14, 196:10              71:17, 71:22, 104:8,      202:4, 214:3, 214:4,                                                                        125:9, 127:19,            30:21, 31:5, 31:15,       original [2] - 182:9,                                 part [38] - 26:1, 28:10,
                                                                                 objection [29] - 17:8,     255:15                                                                                                                 167:13, 176:11,
network's [1] - 67:20        161:5, 187:8, 198:5,      242:4, 243:4, 243:7,                                                                        128:5, 130:4,             33:2, 33:16, 34:19,        196:2                                                 29:14, 30:12, 32:17,
                                                                                  36:17, 47:17, 47:21,     offer [5] - 144:2,                                                                                                      176:17, 176:20,
networks [31] - 26:1,        198:22, 199:3,            244:1, 244:2, 244:3,                                                                        131:14, 133:11,           36:2, 36:12, 37:10,       originally [1] - 121:20                                37:8, 38:17, 43:13,
                                                                                  49:7, 54:10, 60:21,       176:19, 188:14,                                                                                                        177:25, 178:13,
 33:21, 53:5, 58:12,         199:6, 227:2, 227:6       244:9, 244:17                                                                               134:3, 156:4, 156:7,      37:19, 38:5, 38:7,        otherwise [3] -                                        49:14, 56:3, 56:7,
                                                                                  69:4, 69:5, 72:23,        190:21, 190:25                                                                                                         178:21, 178:24,
 63:8, 67:17, 69:15,        New [8] - 11:18, 11:22,   nonobviousness [9] -                                                                         157:2, 157:13,            38:12, 41:10, 43:12,       151:14, 214:15                                        56:9, 56:13, 56:18,
                                                                                  73:19, 77:14, 86:21,     offered [4] - 126:16,                                                                                                   179:14, 180:15,




                                     UNITED STATES DISTRICT COURT                                                                                                                     UNITED STATES DISTRICT COURT




                                                                                                                               279                                                                                                                                               280

 56:19, 56:21, 67:20,       patent [135] - 10:18,      208:17, 244:6,             131:11, 132:2,           Pavemetrics' [30] -                     167:14                   pieces [6] - 111:18,        116:12, 116:15,           positives [4] - 119:17,    prepare [1] - 39:10
 72:17, 76:25, 77:4,         19:12, 27:14, 28:8,       244:18, 246:23,            132:21, 132:25,           9:5, 11:1, 11:7,                      perfectly [1] - 232:19     138:20, 152:9,             116:25, 117:1,             119:22, 135:10,           prepared [5] - 52:8,
 100:2, 108:23,              31:1, 31:3, 31:4,         247:8                      133:11, 134:22,           15:13, 16:20, 49:20,                  perform [9] - 18:12,       170:20, 170:22,            117:3, 117:17,             135:13                     113:5, 174:7,
 112:21, 113:8,              33:17, 35:24, 36:7,      patents [60] - 10:20,       137:3, 137:4, 137:6,      49:21, 60:4, 64:8,                     34:16, 34:18, 93:11,      171:6                      118:24, 124:9,            possibility [1] -           175:23, 188:23
 124:21, 127:13,             37:21, 38:15, 38:16,      19:14, 40:22, 40:24,       138:25, 139:1,            65:25, 67:22, 67:25,                   95:20, 216:6,            pin [3] - 10:8, 61:1,       213:10, 240:6              224:15                    present [18] - 17:18,
 133:1, 173:22,              41:20, 41:24, 42:10,      41:11, 41:14, 50:12,       139:10, 139:18,           68:3, 68:6, 89:4,                      216:19, 217:4,            61:8                      players [3] - 115:23,      possible [4] - 190:6,       57:5, 57:19, 61:12,
 179:10, 181:22,             42:14, 43:2, 43:4,        50:16, 50:20, 50:23,       139:25, 140:12,           89:16, 89:20, 89:22,                   231:19                   Piper [1] - 138:10          202:23, 235:18             190:7, 190:21,             61:13, 63:21, 75:18,
 200:23, 227:1,              43:5, 43:7, 43:11,        51:1, 51:3, 52:25,         140:20, 142:2,            112:24, 113:1,                        performance [7] -         pitching [1] - 238:5       plays [1] - 247:9           197:25                     78:16, 78:24, 89:1,
 238:22, 239:4,              43:18, 43:19, 44:21,      53:21, 54:18, 55:15,       146:2, 146:9, 150:3,      120:12, 178:4,                         127:11, 127:16,          pixel [24] - 24:5, 24:9,   pleasure [1] - 12:5        possibly [1] - 91:17        93:21, 112:15,
 240:22, 247:18,             44:24, 45:2, 45:4,        91:2, 91:4, 109:2,         151:15, 151:23,           185:16, 220:18,                        207:24, 221:7,            24:11, 33:13, 82:12,      plenty [1] - 179:23        potential [13] - 145:18,    118:13, 136:8,
 249:17                      45:12, 45:18, 45:22,      109:3, 109:10,             152:6, 153:5, 153:7,      220:22, 221:12,                        221:10, 236:22,           82:14, 83:1, 83:2,        plural [1] - 194:5          156:14, 157:19,            136:23, 140:5,
Part [1] - 179:8             46:18, 46:23, 51:5,       109:18, 111:6,             153:8, 153:10,            223:22, 224:3,                         250:3                     83:9, 83:10, 83:11,       plus [1] - 179:18           172:19, 180:21,            199:16, 251:17
participate [3] - 146:3,     51:9, 52:11, 55:6,        111:21, 147:2,             153:12, 155:1,            224:16, 225:11                        performed [10] -           83:13, 83:23, 83:24,      point [30] - 8:15, 8:22,    180:24, 189:22,           presentation [10] -
 146:5, 187:13               55:17, 57:16, 64:8,       157:6, 157:8, 163:7,       155:3, 155:18,           pay [23] - 126:3,                       48:23, 58:13, 91:15,      84:7, 84:12, 84:20,        10:24, 49:17, 90:25,       193:23, 196:22,            17:3, 48:5, 132:25,
particular [41] - 5:16,      66:7, 66:12, 66:18,       166:15, 166:19,            155:25, 156:18,           126:24, 129:8,                         91:18, 91:21, 91:24,      85:1, 85:3, 85:9,          110:2, 112:7,              214:24, 215:5, 218:9       173:2, 178:19,
 6:9, 19:22, 23:9,           67:4, 67:10, 67:18,       166:24, 167:1,             157:5, 157:17,            129:16, 129:17,                        92:3, 205:19,             85:10, 88:21, 97:15,       121:15, 125:18,           potentially [3] -           189:15, 216:15,
 26:12, 29:24, 30:12,        71:17, 72:8, 74:15,       167:3, 167:11,             158:5, 158:17,            129:18, 130:19,                        216:13, 217:14            98:23                      158:16, 168:24,            184:19, 188:4,             229:15, 240:6, 252:2
 31:15, 33:3, 37:9,          76:21, 76:25, 77:5,       167:18, 167:21,            159:2, 159:17,            130:24, 131:11,                       performing [2] -          Pixel [5] - 98:4, 98:8,     172:18, 179:2,             251:21                    presentations [3] -
 42:16, 43:2, 43:13,         79:14, 79:17, 81:2,       168:9, 171:15,             159:20, 161:20,           135:14, 135:18,                        34:20, 46:1               98:9, 98:13, 98:20         179:3, 179:17,            power [6] - 20:10,          57:9, 188:23, 188:25
 49:16, 52:19, 53:6,         88:15, 90:7, 91:12,       171:22, 182:19,            162:12, 162:15,           141:1, 144:17,                        performs [8] - 22:15,     pixels [30] - 81:19,        179:21, 179:25,            20:13, 74:17,             presented [10] -
 56:21, 64:7, 67:20,         91:13, 92:8, 99:23,       182:22, 183:4,             162:19, 163:21,           160:21, 188:17,                        28:20, 29:8, 66:18,       83:4, 83:15, 83:17,        180:12, 181:11,            105:14, 134:24,            13:18, 56:24, 57:5,
 73:8, 84:23, 86:18,         99:25, 100:6, 102:4,      183:19, 183:21,            168:17, 172:6,            203:16, 203:19,                        67:3, 67:10, 72:8,        83:18, 83:25, 84:2,        186:12, 186:13,            171:11                     63:7, 64:7, 66:6,
 91:6, 91:7, 92:11,          104:4, 109:5, 128:7,      183:23, 190:7,             172:9, 172:12,            222:9, 222:12,                         99:13                     84:4, 84:11, 84:17,        192:20, 195:21,           Power [2] - 177:24,         75:6, 99:22, 142:9,
 92:19, 92:24, 93:13,        129:11, 129:12,           198:3, 199:3,              172:14, 172:20,           223:14, 224:19,                       perhaps [6] - 9:23,        84:22, 84:25, 85:11,       196:21, 198:13,            178:14                     157:2
 94:3, 97:5, 100:2,          129:13, 129:15,           201:15, 201:19,            172:22, 172:23,           225:3, 225:24                          109:2, 173:18,            85:13, 85:14, 85:17,       203:15, 205:2,            powered [1] - 20:12        preserve [1] - 13:4
 100:3, 113:14,              130:21, 130:22,           202:7, 210:12,             172:24, 173:2,           payable [2] - 160:16,                   188:19, 201:9,            85:20, 88:21, 97:13,       231:21, 233:6, 245:1      practice [4] - 67:20,      president [6] - 138:25,
 115:4, 128:8, 131:2,        145:12, 145:16,           214:11, 218:23,            173:4, 173:6,             160:18                                 225:24                    98:17, 102:19,            Point [2] - 177:24,         104:3, 164:16, 165:9       139:1, 139:10,
 132:15, 190:6,              147:7, 147:23,            219:4, 219:9,              174:25, 175:19,          paying [5] - 127:22,                   perimeter [1] - 61:2       102:24, 103:2,             178:14                    practiced [1] - 53:7        155:15, 171:11,
 203:6, 210:4                148:20, 149:7,            245:23, 246:8,             175:20, 183:3,            127:24, 144:20,                       period [7] - 63:2,         103:12, 104:8,            pointed [3] - 45:14,       practices [1] - 38:14       195:4
particularly [6] -           149:9, 149:16,            247:19, 248:2              184:8, 188:20,            187:19, 225:25                         126:8, 126:11,            105:3, 105:6,              66:23, 96:16              pre [1] - 115:2            President [2] - 16:22,
 11:13, 29:14, 89:20,        149:18, 150:5,           PAVEMETRICS [2] -           188:23, 200:17,          payment [5] - 160:9,                    140:10, 141:7,            105:10, 105:24,           pointing [4] - 22:23,                                  157:15
                                                                                                                                                                                                                                  pre-notice [1] - 115:2
 91:7, 160:23, 190:2         150:8, 150:10,            1:6, 3:13                  202:20, 204:13,           160:16, 161:7,                         141:8, 144:10             106:2                      61:24, 97:5, 126:2                                   PRESIDING [1] - 1:4
                                                                                                                                                                                                                                  preceded [1] - 36:22
parties [29] - 5:1, 5:21,    150:21, 150:22,          Pavemetrics [197] -         205:20, 206:5,            161:13, 161:15                        permission [1] - 17:1     Pixie [5] - 98:4, 98:8,    points [18] - 32:21,                                  pressure [7] - 201:20,
                                                                                                                                                                                                                                  preceding [1] - 198:8
 10:2, 10:4, 10:9,           151:3, 151:4, 151:6,      4:5, 5:4, 8:20, 11:3,      206:10, 206:11,          payments [1] - 141:3                   perpetual [2] - 140:23,    98:13, 98:20               79:7, 79:8, 90:24,                                    203:14, 208:1,
                                                                                                                                                                                                                                  precise [1] - 197:6
 61:7, 62:19, 65:3,          151:14, 152:7,            11:12, 14:17, 14:21,       207:9, 208:7,            PCs [1] - 180:3                         141:1                    PLACE [1] - 255:11          179:1, 195:20,                                        209:22, 210:21,
                                                                                                                                                                                                                                  predecessor [1] -
 65:14, 65:20,               152:14, 152:16,           15:1, 16:18, 19:23,        208:19, 208:23,          people [16] - 5:5, 5:24,               person [8] - 55:4,        place [5] - 5:11, 33:12,    196:6, 202:3,                                         213:7, 213:23
                                                                                                                                                                                                                                   141:13
 107:20, 111:22,             152:17, 153:11,           35:10, 37:20, 38:8,        209:16, 209:19,           11:23, 63:17,                          127:7, 127:15,            191:7, 208:5, 231:17       205:11, 206:8,                                       pretty [4] - 11:15,
                                                                                                                                                                                                                                  preeminent [1] -
 130:12, 131:1,              153:13, 154:2,            39:11, 39:14, 41:12,       209:23, 211:16,           110:21, 119:7,                         131:20, 168:22,          placed [1] - 19:15          206:25, 207:1,                                        50:11, 110:13, 165:9
                                                                                                                                                                                                                                   117:24
 131:18, 131:22,             154:4, 154:7, 154:8,      43:1, 43:17, 43:25,        211:20, 212:4,            134:9, 135:14,                         172:3, 235:2, 235:3      plaintiff [2] - 13:16,      207:21, 211:10,                                      prevent [2] - 70:9,
                                                                                                                                                                                                                                  preface [1] - 9:12
 132:3, 134:9, 136:5,        154:9, 154:23,            44:12, 44:24, 45:5,        212:5, 213:11,            135:18, 139:17,                       personally [1] - 61:13     197:25                     212:21, 212:23                                        200:21
                                                                                                                                                                                                                                  prefer [2] - 17:11,
 137:17, 202:12,             155:2, 156:20,            45:7, 45:11, 45:15,        214:10, 214:22,           154:25, 182:3,                                                  PLAINTIFF [2] - 1:7,       policy [2] - 164:12,
                                                                                                                                                  perspective [3] -                                                                210:22                    prevented [1] - 194:2
 203:6, 207:22,              159:24, 164:3,            46:8, 53:3, 53:12,         215:19, 215:21,           184:8, 192:5, 204:1,                                             2:3                        164:22
                                                                                                                                                   64:17, 64:18, 133:25                                                           preference [2] - 213:5,    previous [3] - 60:17,
 211:18, 212:21,             166:6, 166:12,            57:23, 58:9, 58:23,        216:10, 217:10,           209:18                                                                                     popular [2] - 92:25,
                                                                                                                                                  PH [1] - 1:24             plan [6] - 28:23,                                      213:6                      65:8, 163:8
 213:22, 230:12,             168:9, 168:14,            59:9, 60:18, 60:20,        217:18, 218:7,           people's [1] - 250:25                                                                        195:11
                                                                                                                                                  philosophy [1] - 193:6     140:12, 144:15,                                      preferred [3] - 146:3,     previously [3] -
 240:20, 253:19              168:23, 169:2,            63:7, 67:9, 67:15,         218:20, 218:25,          per [25] - 88:7, 122:25,               photograph [1] - 76:6      176:15, 176:17            portfolio [4] - 109:2,      146:4, 146:18              147:11, 183:22,
partner [3] - 146:17,        169:5, 169:11,            69:18, 71:12, 78:7,        219:12, 221:5,            123:22, 124:14,                       photos [1] - 133:21       Plan [1] - 178:1            109:3, 171:19,            prefers [1] - 9:8           240:17
 147:5, 157:14               171:22, 171:24,           81:16, 88:14, 93:21,       221:8, 221:10,            126:14, 127:18,                       phrase [2] - 81:5,        plane [5] - 28:21, 29:2,    171:25                    prejudiced [1] -           price [33] - 118:18,
parts [5] - 50:3, 53:6,      172:1, 187:10,            99:20, 109:10,             222:9, 222:12,            129:18, 132:9,                         203:23                    32:16, 33:6, 66:11        portion [8] - 14:13,        164:24                     124:2, 126:21,
 67:18, 91:7, 113:13         187:11, 190:6,            111:23, 113:7,             222:13, 222:25,           177:17, 180:2,                        physical [2] - 19:3,      plans [1] - 69:20           22:9, 22:18, 30:14,       preliminary [2] -           161:20, 162:6,
party [9] - 43:4, 43:6,      190:22, 192:21,           114:17, 116:5,             223:14, 223:19,           180:3, 180:7, 180:8,                   29:8                     plates [2] - 133:23,        74:20, 96:16, 153:3,       152:14, 152:15             162:8, 203:17,
 43:10, 63:19,               192:22, 192:23,           116:6, 116:8,              224:18, 224:24,           180:10, 181:4,                        physically [2] -           133:25                     247:25                    premise [1] - 192:18        212:5, 212:7,
 111:18, 130:11,             197:25, 199:2,            116:10, 116:18,            225:2, 225:3, 225:8,      205:5, 205:21,                         194:24, 195:2            platform [1] - 58:13       portions [3] - 32:19,      premium [15] -              215:17, 216:16,
 231:8, 236:6, 236:13        200:5, 200:8,             116:25, 117:7,             225:14, 226:3,            206:1, 206:16,                        pick [1] - 166:1          platforms [1] - 58:13       49:12, 224:1               201:21, 203:17,            216:18, 217:4,
pass [4] - 39:1, 135:4,      210:11, 217:16,           118:13, 118:17,            226:9, 228:1,             206:17, 206:18,                       picked [2] - 171:4,       play [8] - 24:16, 69:8,    position [8] - 11:1,        203:18, 205:10,            217:5, 217:6,
 218:12, 225:5               230:12, 252:4,            118:19, 118:23,            230:20, 230:23,           207:16, 216:4, 233:9                   226:22                    73:24, 77:25, 79:23,       59:15, 60:24, 79:5,        205:17, 205:24,            217:10, 217:11,
passing [1] - 187:3          252:18                    119:11, 120:7,             236:12, 237:13,          percent [8] - 50:9,                    picture [6] - 85:22,       136:12, 186:14,            89:6, 156:25, 242:5,       206:4, 206:6, 207:4,       217:13, 217:16,
passion [1] - 140:4         patent's [1] - 51:16       120:12, 120:19,            238:4, 240:10,            50:10, 205:23,                         86:6, 87:14, 87:17,       214:10                     250:8                      207:19, 248:6, 248:9       217:17, 217:20,
past [7] - 35:5, 117:13,    patented [14] - 118:5,     120:23, 121:11,            240:25, 241:3,            206:3, 206:6,                          88:3, 142:14             played [1] - 74:5          positions [1] - 45:2       premiums [1] - 203:13       224:15, 224:19,
 124:15, 124:16,             119:2, 119:19,            123:4, 123:23,             241:20, 245:16,           206:20, 212:16
                                                                                                                                                  pictures [2] - 18:19,     player [13] - 115:15,      positive [2] - 127:8,      preparation [2] - 16:2,     224:25, 225:1,
 218:1, 218:4, 218:6         134:6, 193:16,            123:25, 124:1,             248:5, 248:16,           peremptory [1] -                        133:17                    115:21, 116:10,            135:16                     16:7                       225:6, 225:9,
                             204:6, 208:8, 208:9,      124:16, 124:20,            249:11




                                     UNITED STATES DISTRICT COURT                                                                                                                     UNITED STATES DISTRICT COURT




                                                                                                                                      Exhibit 3
                                                                                                                                        168
Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 72 of 74 Page ID
                                 #:15311
                                                                                                                            281                                                                                                                                                 282

 226:10, 226:25,           produced [4] - 175:19,      212:10, 212:13,           108:23, 109:25,           171:21                              put [29] - 5:11, 8:12,                                  242:23                     149:17, 154:7,              225:4, 225:24,
                                                                                                                                                                                      R
 227:17, 237:15,            176:2, 178:3, 236:20       212:14, 212:19,           110:23, 110:25,          public [8] - 15:24,                   10:8, 19:20, 24:18,                                   range [6] - 24:15,          155:19, 156:3,              225:25, 226:1,
 239:7, 239:25             product [38] - 11:2,        213:14, 213:25,           111:11, 129:2,            16:24, 127:14,                       27:20, 53:7, 59:3,        Radar [2] - 182:12,          29:19, 101:9,              169:13, 177:12,             232:1, 233:8,
priced [3] - 124:20,        16:20, 18:8, 18:10,        215:16, 215:18,           129:10, 130:20,           154:16, 154:17,                      60:24, 61:2, 65:1,         182:18                      133:19, 212:16,            177:18, 179:1,              237:18, 241:18,
 177:16, 226:24             43:8, 46:3, 46:18,         215:22, 215:23,           157:1, 158:2, 159:3,      154:19, 163:3, 163:4                 80:4, 88:25, 102:11,      rail [29] - 31:19, 31:22,    213:1                      179:6, 179:12,              243:6, 244:7, 252:6,
prices [1] - 205:17         52:18, 52:20, 100:7,       248:5                     166:23, 167:4,           Public [1] - 110:18                   121:23, 142:17,            31:23, 32:6, 33:10,        ranged [1] - 206:2          179:19, 179:23,             252:19, 253:2
pricing [13] - 127:4,       113:15, 115:25,           profitability [7] -        167:10, 199:6            publication [4] -                     147:9, 155:8,              76:21, 76:24, 77:4,        ranges [1] - 212:19         180:4, 180:13,             reasonableness [2] -
 127:5, 161:19,             116:20, 118:5,             203:10, 205:2,           proponent [1] - 63:20      14:25, 99:20,                        173:25, 174:4,             119:16, 121:23,            rare [6] - 201:7,           187:25, 189:23,             216:7, 216:14
 161:23, 205:10,            118:7, 118:20,             206:22, 221:4,           proposal [2] - 8:24,       163:22, 163:25                       181:18, 191:15,            122:22, 126:17,             201:17, 201:20             192:15, 193:25,            reasons [6] - 108:24,
 212:4, 223:22,             122:17, 127:2,             249:12, 249:23,           14:2                     publicly [4] - 112:9,                 195:9, 200:10,             133:22, 135:13,            rate [12] - 128:23,         194:21, 195:24,             154:1, 162:21,
 224:2, 224:3, 225:7,       132:22, 141:5,             250:4                    proposals [2] -            154:12, 154:14,                      203:14, 208:22,            135:14, 135:17,             130:1, 130:2,              196:24, 208:11,             163:9, 200:19, 238:2
 225:18, 239:9,             163:10, 188:5,            profits [48] - 115:13,     237:17, 238:9             154:21                               213:23, 242:5,             176:13, 186:14,             201:20, 204:19,            242:17                     reassure [1] - 193:23
 239:10                     204:2, 204:4, 204:6,       115:17, 117:1,           propose [3] - 7:19,       publish [12] - 40:5,                  253:12                     186:17, 186:21,             207:6, 207:20,            reading [8] - 59:1,         rebuild [3] - 71:7,
primary [3] - 142:2,        207:19, 215:4,             117:8, 117:12,            13:14, 14:17              59:17, 69:7, 72:18,                 puts [1] - 207:25           187:5, 187:21,              209:23, 211:8,             72:16, 73:7, 150:7,         94:21, 95:7
 166:25, 237:24             227:6, 227:7, 227:9,       117:17, 117:25,          proposed [3] - 6:20,       74:3, 76:10, 77:7,                  putting [2] - 35:10,        187:25, 188:11,             216:7, 216:16,             150:9, 156:17,             rebuttal [1] - 81:23
principal [4] - 10:5,       229:9, 231:18,             118:22, 123:21,           6:22, 143:23              77:23, 79:20,                        100:20                     194:8, 197:3, 199:3,        217:22                     193:4, 208:12              receipt [5] - 16:8,
 172:6, 172:21, 173:5       231:21, 237:13,            124:8, 124:10,           proposition [2] - 6:2,     162:21, 163:9,                                                  233:19, 241:15             rather [8] - 41:23,        reads [2] - 33:12, 88:3      160:17, 160:18,
principles [1] - 68:10      239:16, 240:14             124:15, 124:22,           177:12                    181:15                                         Q               Rail [7] - 15:7, 175:10,     61:23, 69:25, 101:9,      ready [4] - 17:16,           166:2, 171:1
printed [2] - 49:3,        production [4] -            127:9, 128:8,            protective [1] - 63:20    published [5] - 16:20,                                           182:12, 182:18,             117:12, 202:1,             176:19, 180:12,            receive [4] - 151:19,
 49:12                      139:14, 175:20,            128:12, 128:15,          prove [5] - 38:14,         150:1, 150:3, 163:5,                qualified [1] - 244:22      184:20, 186:22,             210:12, 217:6              181:14                      160:19, 161:13,
problem [8] - 8:9, 9:3,     180:13, 181:14             203:2, 203:18,            46:25, 76:19,             164:2                               quantifiable [1] -          242:8                      raw [8] - 31:25, 32:3,     real [5] - 129:2,            163:6
 64:17, 122:22,            products [22] - 11:6,       205:10, 205:24,           177:11, 243:6            publishing [4] -                      125:20                    RailAI [9] - 125:12,         143:22, 144:3,             179:25, 180:25,            received [19] - 16:2,
 136:20, 173:23,            122:17, 158:18,            206:1, 206:4, 206:6,     proven [2] - 179:5,        162:12, 162:15,                     quarterly [1] - 15:6        125:19, 125:24,             144:15, 185:22,            181:3, 234:25               17:4, 22:20, 147:4,
 173:25, 179:8              169:4, 203:10,             207:4, 207:9,             196:15                    162:19, 163:21                      Quebec [3] - 140:8,         126:2, 214:19,              186:3, 187:20             realize [2] - 38:14,         148:23, 151:12,
problems [1] - 181:15       203:11, 204:3,             207:10, 207:19,          provide [24] - 44:25,     pull [9] - 6:11, 7:11,                140:10, 142:16             216:21, 216:23,            RE [43] - 2:6, 3:15,        50:1                        151:25, 152:25,
procedure [2] - 33:4,       207:7, 207:10,             210:15, 211:14,           46:16, 52:21, 57:23,      47:10, 102:10,                      questioned [2] -            237:11, 238:5               4:11, 5:3, 5:10,          really [35] - 4:24, 27:6,    153:24, 161:16,
 100:3                      207:16, 207:24,            212:12, 212:16,           58:17, 58:23, 59:9,       114:9, 125:4,                        70:15, 92:13              railheads [2] - 33:9,        11:16, 11:20, 12:3,        47:6, 47:8, 64:21,          166:5, 168:4,
procedures [1] - 52:20      208:10, 209:14,            215:1, 215:19,            76:24, 77:3, 111:10,      219:20, 243:2, 249:7                questioning [2] -           209:7                       12:8, 12:17, 12:24,        104:22, 105:8,              187:10, 198:5,
proceed [12] - 17:24,       213:17, 213:20,            216:1, 218:2, 218:9,      122:18, 126:9,           pulled [1] - 9:5                      137:18, 175:6             railings [1] - 33:14         13:3, 14:1, 14:9,          106:10, 111:20,             198:23, 199:4,
 39:4, 65:23, 107:3,        214:16, 221:10,            222:15, 223:15,           131:10, 145:5,           pulling [1] - 245:21                 Questions [1] -            Railmetrics [1] -            14:12, 65:15,              113:12, 115:10,             199:9, 222:14,
 108:7, 114:8, 138:2,       222:14, 233:18,            223:21, 232:2,            145:24, 151:13,          purchase [11] -                       178:17                     133:10                      136:12, 136:16,            115:20, 119:7,              223:19
 153:12, 165:15,            241:11, 248:5, 248:6       235:22, 235:23,           153:5, 153:9,             114:21, 125:24,                     questions [38] - 4:19,     railroad [10] - 28:16,       137:5, 137:16,             122:12, 123:10,            receiving [7] - 45:8,
 183:13, 199:22,           professional [2] -          236:1, 240:23,            153:15, 201:3,            130:14, 130:16,                      8:5, 9:16, 26:6,           96:5, 96:6, 96:8,           137:21, 138:4,             123:13, 123:15,             147:19, 148:22,
 235:7                      38:23, 110:16              243:2, 243:8, 252:18      219:14, 220:21,           143:3, 143:9,                        42:17, 51:10, 73:25,       116:19, 116:22,             164:9, 164:15,             124:25, 125:21,             149:5, 151:4,
PROCEEDINGS [2] -          professionals [1] -        program [3] - 34:9,        236:14, 253:24            143:16, 159:14,                      90:16, 94:12, 97:1,        158:6, 177:5,               164:21, 164:24,            130:3, 135:21,              160:21, 230:23
 1:14, 255:11               204:16                     35:2, 126:13             provided [23] - 37:22,     159:16, 237:25,                      99:6, 102:6, 102:10,       200:19, 241:9               165:12, 165:24,            136:18, 142:11,            recently [3] - 53:10,
proceedings [2] -          proffer [1] - 111:4        programmed [7] -           43:12, 47:5, 58:6,        241:24                               104:18, 106:17,           Railroad [2] - 134:15,       167:12, 175:16,            162:9, 168:22,              159:17, 214:17
 234:16, 254:3             profile [2] - 32:21,        34:12, 34:16, 34:18,      58:9, 60:12, 61:4,       purchased [9] -                       116:3, 122:21,             200:16                      176:7, 178:9, 183:7,       174:15, 191:12,            recess [3] - 78:17,
process [10] - 19:13,       134:13                     34:21, 94:21, 95:4,       61:11, 61:13, 62:14,      142:23, 159:17,                      144:2, 163:8, 164:1,      railroads [5] - 176:23,      184:13, 185:17,            197:20, 198:5,              136:14, 199:18
 19:16, 24:15, 83:19,      Profile [1] - 40:23         95:6                      64:15, 109:8,             226:24, 227:8,                       164:9, 179:2, 197:7,       177:2, 213:15,              189:8, 191:25,             203:4, 203:9,              Recess [1] - 78:22
 111:16, 152:17,           profiles [2] - 135:3,      programmer [2] -           145:13, 146:20,           227:17, 236:2,                       199:10, 219:12,            216:24, 241:12              197:13, 197:15,            203:21, 210:10,            recognition [2] - 52:2,
 169:11, 171:14,            185:25                     34:8, 34:13               146:24, 182:22,           238:3, 239:25, 242:1                 220:11, 229:19,           rails [4] - 26:4, 26:5,      199:10, 251:25,            213:9, 234:18               53:1
 180:2, 181:15             profiling [1] - 209:10     prohibit [1] - 198:4       194:16, 212:15,          purchaser [2] -                       229:24, 230:21,            33:12, 135:9                252:23, 253:1             realtor [1] - 130:15        recognize [13] -
processed [1] -            profit [48] - 111:24,      Project [1] - 15:23        224:24, 226:9,            114:21, 231:18                       231:25, 232:5,            Rails [2] - 40:22, 41:1     Re [7] - 5:4, 11:13,       reason [10] - 65:4,          127:21, 161:10,
 179:21                     115:12, 117:14,           project [3] - 15:7,        230:9, 230:15,           purchasing [1] -                      232:6, 232:7,             Railway [2] - 163:1,         152:3, 157:14,             82:8, 82:10, 114:3,         161:13, 162:10,
processes [1] -             122:12, 122:25,            15:23, 161:24             236:17                    144:13                               237:22, 238:17,            208:24                      166:1, 169:24,             191:1, 205:8, 219:2,        170:4, 175:13,
 185:24                     123:4, 123:9,             projects [2] - 161:25,    providers [1] - 194:9     pure [2] - 186:19,                    249:2, 250:10,            railway [16] - 20:8,         173:25                     219:11, 221:23,             175:22, 177:23,
processing [12] -           123:10, 123:18,            196:16                   provides [6] - 125:25,     196:18                               250:13                     20:14, 21:9, 21:24,        re [3] - 165:23, 166:19,    237:25                      184:3, 184:7, 189:3,
 19:1, 21:18, 75:12,        123:21, 123:23,           promotes [1] - 241:11      130:23, 133:19,          Pure [1] - 139:7                     quick [2] - 216:8,          22:2, 25:15, 28:17,         170:11                    reasonable [36] - 14:6,      191:19, 212:3
 80:15, 96:20, 135:7,       124:13, 126:25,           prong [1] - 38:6           176:14, 216:20,          purple [1] - 29:15                    230:21                     39:17, 40:20, 48:16,       re's [1] - 170:10           38:19, 115:12,             recollection [4] -
 142:6, 143:1, 162:3,       127:17, 127:18,           proof [2] - 65:17,         245:12                   purports [1] - 14:25                 quickly [8] - 20:7,         133:3, 134:21,             reach [2] - 109:13,         117:11, 117:12,             63:24, 76:7, 76:9,
 180:1, 209:3, 247:12       127:25, 203:13,            181:11                   providing [8] - 38:9,     purpose [5] - 49:22,                  124:7, 134:1, 140:2,       135:18, 158:11,             169:3                      117:15, 128:3,              156:13
processor [13] -            205:6, 205:7,             proper [3] - 14:21,        63:9, 114:3, 115:24,      174:18, 196:16,                      140:18, 145:8,             174:19, 197:5              reached [1] - 152:15        128:4, 128:10,             recommend [1] -
 20:17, 21:11, 21:17,       205:15, 205:17,            175:16                    116:1, 126:6, 133:1,      228:9, 246:24                        161:14, 213:2             railways [3] - 145:14,      reaching [1] - 70:9         128:13, 128:16,             12:13
 25:20, 28:23, 29:5,        205:23, 206:3,            properly [1] - 139:15      189:14                   purposes [5] - 91:20,                quite [7] - 18:7, 41:15,    158:7, 215:9               reaction [1] - 147:19       128:18, 132:8,             recommendations [1]
 29:9, 74:24, 75:4,         206:12, 206:17,           properties [3] - 31:22,   proving [3] - 43:22,       208:12, 237:18,                      46:12, 69:15, 92:13,      raise [5] - 13:6, 107:7,    read [36] - 25:20, 40:6,    169:22, 201:24,             - 185:4
 75:7, 75:10, 75:15,        206:18, 206:19,            32:6, 109:1               47:1, 47:12               243:22, 244:9                        92:23, 224:21              137:9, 252:12,              51:3, 54:8, 69:6,          212:22, 216:3,             recommended [1] -
 76:15                      207:14, 207:15,           Property [2] - 157:16,    PTO [6] - 167:19,         purview [2] - 228:25,                quote [2] - 19:4,           252:14                      74:23, 86:3, 86:5,         217:9, 217:22,              145:18
produce [4] - 127:12,       211:13, 211:23,            171:12                    167:21, 168:1,            250:2                                235:10                    raised [4] - 169:4,          94:24, 97:8, 119:9,        218:3, 222:15,             recompile [3] - 71:6,
 236:10, 236:11             212:1, 212:2,             property [16] - 108:20,    168:8, 171:13,           push [1] - 130:1                     quotes [1] - 198:23         171:20, 225:9,              138:17, 149:7,             223:15, 223:21,             94:22, 95:12




                                     UNITED STATES DISTRICT COURT                                                                                                                   UNITED STATES DISTRICT COURT




                                                                                                                            283                                                                                                                                                 284

reconfigure [1] -           142:15, 197:4,            remind [3] - 78:18,        25:17, 145:11             184:25                                248:20                    128:3, 128:4,               36:22, 37:18, 42:9,       sand [1] - 61:3             Sciences [1] - 139:7
 100:21                     236:21, 244:19,            167:8, 200:11            request [4] - 13:14,      responded [7] - 148:5,               reviewing [5] - 45:1,       128:10, 128:13,             42:13, 42:14, 46:25,      sarcasm [1] - 194:22        scientific [2] - 38:19,
reconfigured [1] -          248:8                     reminds [1] - 251:3        65:15, 185:1, 252:3       149:3, 149:4,                         50:1, 57:11, 63:1,        128:17, 128:18,             47:2, 57:7, 75:7,         satisfied [8] - 20:3,        38:21
 100:24                    refers [1] - 219:23        remove [7] - 116:24,      requested [12] - 17:1,     153:21, 169:8,                        92:18                     129:16, 130:1,              81:11, 81:12, 95:19,       25:24, 27:25, 28:13,       scope [4] - 36:18,
reconstruction [1] -       reflected [3] - 20:20,      120:11, 120:23,           61:12, 61:17, 65:7,       185:9, 194:18                       revision [1] - 16:2         130:2, 131:10,              108:24, 113:10,            31:16, 31:17, 38:7,         90:14, 113:25, 229:4
 108:20                     21:4, 133:14               244:5, 244:16,            70:4, 144:4, 147:17,     responding [1] -                     rewrite [3] - 71:6,         132:6, 132:8,               113:12, 113:13,            42:24                      scoring [1] - 19:4
record [24] - 12:20,       refresh [4] - 63:24,        244:19, 250:6             165:1, 187:14,            195:12                                94:22, 95:9               201:20, 201:24,             113:20, 115:2,            satisfies [5] - 18:13,      scratching [1] - 10:6
 13:4, 16:24, 62:7,         64:1, 76:7, 156:13        removed [4] - 33:10,       194:15, 198:23,          responds [1] - 182:16                Rice [1] - 110:11           202:2, 203:14,              115:4, 116:8, 117:9,       27:14, 29:1, 66:10,        screen [15] - 94:19,
 73:21, 107:14,            refreshed [1] - 76:9        116:5, 118:23,            245:3                    response [9] - 16:10,                Richard [11] - 136:19,      203:20, 204:7,              123:23, 123:25,            66:21                       102:11, 118:2,
 108:11, 137:12,           regard [5] - 12:9,          243:24                   requesting [2] -           45:8, 151:7, 153:19,                  137:6, 137:13,            204:19, 206:8,              124:1, 128:8,             satisfy [6] - 19:17,         143:13, 147:9,
 138:18, 141:23,            12:11, 12:18, 14:2,       removing [3] - 11:2,       151:13, 245:16            174:7, 182:17,                        137:14, 155:11,           206:25, 207:6,              128:14, 132:2,             23:11, 25:4, 27:15,         147:12, 155:8,
 142:8, 143:10,             14:6                       116:4, 244:19            requests [1] - 236:17      185:10, 188:3,                        172:4, 175:23,            207:20, 208:1,              153:1, 159:24,             81:12, 104:13               169:8, 170:4, 174:1,
 148:7, 150:17,            regarding [8] - 26:24,     rendering [1] - 18:23     require [2] - 31:7,        236:17                                189:4, 191:20,            209:23, 210:21,             160:8, 161:10,            save [1] - 208:11            174:5, 181:20,
 152:10, 155:4,             59:18, 109:17,            rent [2] - 129:8,          201:20                   rest [3] - 6:6, 11:4,                  198:10, 198:19            211:8, 212:22,              161:13, 169:24,           saved [1] - 21:19            181:22, 184:4, 195:9
 156:3, 225:10,             158:1, 166:1,              129:17                   Required [2] - 178:16,     175:5                               RICHARD [1] - 3:14          213:7, 213:23,              174:21, 174:22,           saving [1] - 134:24         scroll [1] - 156:10
 227:13, 229:14,            180:24, 189:15,           rental [2] - 141:24,       181:10                   result [3] - 103:13,                 rid [2] - 13:25, 33:12      215:1, 215:2, 215:3,        174:25, 175:4,            savings [8] - 125:13,       search [5] - 167:3,
 234:10, 250:8,             191:5                      143:3                    required [6] - 30:19,      222:10, 242:25                      right-hand [3] -            216:4, 216:7,               198:4, 202:25,             125:20, 126:10,             167:18, 167:21,
 253:1, 253:12             regardless [1] -           rented [3] - 129:3,        48:24, 67:3, 67:17,      results [6] - 18:25,                   211:12, 212:11,           216:12, 216:14,             203:3, 211:17,             126:24, 127:1,              167:24, 168:8
records [2] - 15:24,        125:23                     142:5, 142:23             110:15, 149:19            58:10, 181:1, 181:3,                  215:14                    216:16, 217:9,              211:19, 211:21,            127:24, 200:20,            searched [3] - 166:24,
 16:5                      region [1] - 32:22         repeat [10] - 35:12,      requirement [14] -         181:6                               rights [1] - 102:3          217:11, 217:18,             213:11, 215:3,             208:15                      167:10, 167:25
recreate [2] - 116:4,      regions [1] - 29:2          46:10, 89:19,             23:12, 29:21, 31:9,      RESUMED [1] - 18:1                   rigor [1] - 38:22           217:22, 218:3,              215:4, 216:9, 220:9,      Savings [1] - 126:5         searching [1] - 166:18
 201:17                    reinsure [1] - 189:22       149:12, 154:14,           32:8, 33:8, 42:4,        retaining [1] - 150:23               rise [6] - 17:17, 78:15,    218:9, 221:8,               228:20, 232:9,            saw [8] - 30:25, 91:6,      seat [2] - 17:19,
RECROSS [4] - 3:3,         reiterate [1] - 158:1       159:6, 198:1,             42:18, 42:23, 47:7,      return [8] - 125:1,                    78:23, 136:7,             222:15, 223:15,             240:22, 240:23,            143:23, 149:18,             199:19
 99:9, 103:21, 106:12      relate [6] - 33:2,          222:24, 224:22,           47:8, 47:14, 48:16,       127:6, 127:8,                         251:16, 254:1             223:21, 224:20,             241:3, 241:6, 241:7,       187:8, 202:21,             seated [2] - 78:25,
recross [1] - 99:7          121:7, 130:25,             226:6                     66:11, 243:3              127:21, 129:8,                      road [5] - 142:6,           225:3, 225:4,               241:8, 241:17,             246:7, 252:2                107:9
RECROSS-                    199:2, 204:23, 210:8      rephrase [1] - 44:11      requirements [1] -         134:17, 200:20,                       143:1, 161:22,            225:24, 225:25,             241:18, 252:11,           scan [5] - 133:13,          SEC [3] - 112:11,
 EXAMINATION [3] -         related [7] - 10:19,       rephrasing [1] -           42:6                      242:24                                161:24, 203:25            226:2, 233:8,               252:19, 253:3              133:14, 133:19,             127:15, 236:9
 99:9, 103:21, 106:12       110:13, 110:17,            190:25                   requires [9] - 25:14,     returned [3] - 61:16,                Road [1] - 162:24           233:20, 241:18,            sales [72] - 36:1, 36:3,    209:4, 247:15              second [20] - 16:14,
rectangle [3] - 32:14,      134:21, 199:3,            replace [4] - 126:12,      29:1, 31:13, 55:6,        65:6, 65:10                                                     252:6, 252:19, 253:2        37:2, 41:21, 72:6,        scanning [6] - 134:16,
                                                                                                                                               Rob [2] - 143:20,                                                                                              37:19, 38:5, 54:7,
 96:12, 96:15               226:21, 250:4              134:23, 135:2,            55:12, 74:16, 76:21,     revealed [1] - 154:1                                            rule [2] - 5:23, 17:7        75:24, 75:25, 76:14,       135:6, 200:18,
                                                                                                                                                 186:24                                                                                                       85:3, 102:11, 120:3,
rectangles [1] - 96:3      relates [6] - 109:17,       176:24                    210:24                   revenue [19] - 122:24,                                          Rule [2] - 164:16,           89:4, 112:24, 113:1,       209:3, 247:12,              121:2, 160:24,
                                                                                                                                               Robic [6] - 145:11,
rectangular [3] -           121:8, 206:22,            replacing [2] - 208:13,   requiring [1] - 245:3      123:6, 123:20,                                                  164:25                      113:6, 113:7,              247:21                      163:17, 165:4,
                                                                                                                                                 145:19, 183:19,
 80:16, 96:9, 96:21         208:8, 208:12,             208:15                   research [10] - 108:19,    127:17, 205:4,                                                 ruled [1] - 14:3             114:23, 115:2,            scans [2] - 119:15,          177:7, 201:12,
                                                                                                                                                 184:18, 187:15,
red [10] - 19:19, 19:20,    222:17                                               139:14, 139:21,           205:5, 205:15,                                                 Rules [1] - 165:1            115:8, 117:6, 118:8,       133:9                       209:1, 209:2,
                                                      report [13] - 15:7,                                                                        187:23
 19:25, 28:9, 32:12,                                                             162:16, 162:18,           205:21, 206:16,                                                rules [2] - 129:14,          118:9, 119:4, 119:5,                                   213:13, 229:11,
                           relating [4] - 110:25,      76:4, 76:6, 76:11,                                                                      ROBIC [1] - 145:19                                                                scarcity [1] - 213:23
 74:18, 79:4, 80:4,                                                              162:22, 163:14,           207:13, 220:1,                                                  230:18                      120:13, 121:11,                                        229:21, 243:18
                            111:6, 219:14, 245:2       81:23, 81:24, 114:1,                                                                    robic's [1] - 145:17                                                              SCARSI [1] - 1:4
 98:3, 224:14                                                                    174:19, 251:7,            220:22, 221:12,                                                ruling [4] - 12:21,          122:2, 123:4, 123:5,
                           relationship [6] -          175:13, 229:4,                                                                          robustness [1] - 133:4                                                            schedule [1] - 52:19        secondarily [1] -
                                                                                 251:12                    221:17, 221:20,                                                 12:24, 14:5, 60:4           124:17, 139:13,
redacted [1] - 155:4        140:21, 143:5,             229:24, 231:10,                                                                         Rockland [1] - 11:24                                                              scheduled [2] - 64:19,       132:18
                                                                                Research [2] - 16:21,      222:3, 222:22,                                                 run [14] - 21:17, 70:23,     159:23, 174:6,
redaction [1] - 156:2       202:11, 203:5,             232:3                                                                                   rocks [1] - 209:5                                                                  195:17                     section [10] - 25:17,
                                                                                 17:3                      223:1, 223:4                                                    71:5, 73:13, 94:19,         196:23, 202:22,
redesign [2] - 71:7,        212:9, 240:19             REPORTED [1] -                                                                           role [4] - 108:23,                                                                Schoettelkotte [31] -        74:22, 102:16,
                                                                                researching [1] -         revenues [1] - 205:6                                             94:21, 95:4, 95:6,          203:1, 203:23,
 95:15                     relatively [2] - 203:19,    255:10                                                                                    109:19, 109:22,                                                                  53:18, 54:18, 107:5,        102:18, 119:16,
                                                                                 139:22                                                                                    95:9, 95:12, 95:16,         204:4, 204:6,
REDIRECT [4] - 3:3,         205:24                    REPORTER [7] - 1:23,                                Review [2] - 178:1,                    195:4                                                                            107:16, 108:12,             121:18, 126:4,
                                                                                                                                                                           100:15, 100:19,             206:15, 206:16,
 90:20, 197:14, 249:8      relevant [9] - 32:17,       20:23, 21:4, 107:12,     resell [1] - 141:19        178:15                              roles [1] - 206:24                                                                 108:22, 109:16,             156:9, 180:18,
                                                                                                                                                                           204:14                      207:8, 207:10,
redirect [5] - 58:16,       35:14, 36:11, 61:25,       255:2, 255:8, 255:22     resign [1] - 94:22        review [21] - 34:15,                 roman [2] - 56:4,                                                                  111:5, 111:9,               216:14
                                                                                                                                                                          running [1] - 59:14          207:12, 207:16,
 77:24, 90:18,              62:13, 106:10,            REPORTER'S [1] -          resolution [9] - 29:22,    37:6, 57:24, 58:7,                    56:10                                                                            114:11, 115:1,             sections [1] - 121:16
                                                                                                                                                                          runs [1] - 75:10             207:17, 207:19,
 197:12, 249:3              210:4, 232:24, 236:1       1:14                      30:16, 30:22, 31:6,       58:24, 60:12, 60:17,                room [2] - 46:19,                                                                  124:10, 124:19,            sector [1] - 150:12
                                                                                                                                                                                                       213:14, 213:20,
reduce [2] - 119:16,       reliability [1] - 133:4    reports [2] - 172:9,       104:15, 134:13,           61:5, 62:2, 62:14,                    138:9                                                                            125:6, 136:3, 136:4,       see [119] - 7:2, 9:19,
                                                                                                                                                                                                       213:25, 220:2,
 135:9                     reliable [1] - 242:25       172:10                    134:16, 197:2,            64:16, 68:14, 92:15,                ROOM [1] - 1:23                        S                                           200:1, 214:23,              12:10, 12:13, 15:15,
                                                                                                                                                                                                       220:4, 220:7,
REDUCED [1] -              relied [2] - 86:17,        represent [4] - 51:17,     209:10                    101:14, 109:7,                      roughly [3] - 222:2,                                                               216:6, 218:11,              17:16, 18:19, 18:22,
                                                                                                                                                                          S-c-h-o-e-t-t-e-l-k-o-t      220:18, 220:22,
 255:12                     86:18                      157:18, 169:15,          resolve [3] - 9:23,        112:8, 113:9, 123:2,                  222:6, 222:8                                                                     218:17, 219:22,             18:25, 19:2, 19:17,
                                                                                                                                                                           -t-e [1] - 107:17           221:4, 221:10,
refer [3] - 13:19,         reluctant [1] - 189:21      170:24                    61:20, 251:21             237:5, 240:19                       round [2] - 223:8,                                                                 233:25, 234:8,              19:19, 20:2, 22:18,
                                                                                                                                                                          safe [1] - 143:2             221:13, 221:20,
 71:14, 133:8              relying [4] - 15:1,        representation [2] -      resolved [1] - 145:8      reviewed [20] - 37:8,                  238:22                                                                           235:9, 238:16,              23:9, 24:18, 25:9,
                                                                                                                                                                          safety [2] - 133:3,          222:18, 223:6,
reference [1] - 119:24      39:13, 48:12, 48:19        47:11, 169:17            resources [2] -            61:21, 68:2, 78:7,                  rounded [1] - 222:5                                                                245:21, 248:15,             26:2, 28:8, 29:24,
                                                                                                                                                                           134:21                      228:10, 228:14,
referenced [1] - 131:6     remember [13] -            representative [4] -       209:18, 209:20            78:10, 94:15, 95:3,                 row [2] - 198:12,                                                                  249:10, 250:11              31:20, 31:22, 33:11,
                                                                                                                                                                          safety-related [1] -         232:11, 232:16,
references [1] - 112:4      70:18, 94:13, 96:3,        21:24, 165:13,           respect [9] - 16:11,       95:19, 101:15,                        198:20                                                                          SCHOETTELKOTTE               46:22, 48:9, 54:12,
                                                                                                                                                                           134:21                      235:24, 240:10,
referred [6] - 26:20,       97:3, 144:20,              172:20                    25:8, 27:10, 44:10,       112:5, 113:8,                       rows [1] - 33:13                                                                   [1] - 3:9                   57:8, 59:6, 59:13,
                                                                                                                                                                          sake [1] - 35:7              240:12, 240:13,
 114:12, 120:10,            147:16, 152:23,           representatives [1] -      121:2, 219:8, 232:1,      114:18, 125:5,                                                                                                        Schoettelkotte's [2] -       67:10, 67:12, 67:14,
                                                                                                                                               royalties [1] - 232:2                                   240:16, 246:12,
                            185:22, 198:15,            224:12                    235:12, 252:4             129:25, 183:6,                                                 salaries [1] - 135:15                                   219:20, 224:12              72:24, 73:21, 74:10,
 147:13, 150:8, 156:9                                                                                                                          royalty [65] - 14:6,                                    252:18
referring [9] - 22:24,      211:13, 212:15,           represented [1] - 37:1    respond [4] - 23:15,       210:3, 225:11,                                                 Sale [2] - 160:3, 160:6                                school [2] - 110:4,          74:12, 74:18, 74:23,
                                                                                                                                                 115:13, 117:11,                                      salt [1] - 193:8
 56:22, 99:16, 99:19,       216:9, 250:22             representing [2] -         147:18, 152:18,           225:14, 237:7,                                                 sale [65] - 36:20,                                      110:11                      74:24, 77:17, 79:5,
                                                                                                                                                 117:12, 117:15,                                      SAME [1] - 255:12




                                     UNITED STATES DISTRICT COURT                                                                                                                   UNITED STATES DISTRICT COURT




                                                                                                                                   Exhibit 3
                                                                                                                                     169
 Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 73 of 74 Page ID
                                  #:15312
                                                                                                                               285                                                                                                                                                286

 80:21, 80:25, 87:14,       177:12, 187:1,             194:9                     50:19, 50:22, 50:25,       5:5, 8:14                              122:15, 124:6,            213:18, 215:24,            39:21, 120:17              207:23, 217:20,             56:10, 88:7, 91:7,
 88:8, 92:19, 98:17,        194:3, 195:22,            services [6] - 115:24,     62:15, 75:9, 84:16,       single [7] - 42:3,                      124:12, 128:24,           219:24, 222:25,           special [3] - 149:7,        217:21, 217:22,             93:11, 98:8, 99:13,
 100:23, 113:5,             196:3, 196:23,             115:25, 144:13,           96:13, 96:14,              46:17, 47:2, 47:9,                     131:14, 131:15,           224:4, 228:1,              149:10, 149:13             253:5                       112:20, 212:24
 114:14, 117:25,            203:12, 231:8              144:17, 144:21,           122:16, 122:24,            68:2, 226:11, 230:24                   133:8, 179:15,            228:25, 230:20,           specialty [1] - 139:9      stands [2] - 190:3,         steps [7] - 25:16,
 118:16, 119:10,           seminar [1] - 133:1         145:5                     124:8, 217:2              sit [3] - 152:4, 183:9,                 190:2, 200:12,            231:21, 249:22            specific [15] - 19:5,       213:14                      66:18, 67:3, 92:11,
 126:7, 131:25,            send [1] - 135:14          Services [1] - 242:8      shows [21] - 7:6,           183:12                                 204:25, 205:19,          solution [1] - 133:5        46:10, 47:2, 48:2,        start [13] - 15:21, 21:2,    93:11, 95:4, 95:20
 132:21, 140:6,            sending [1] - 152:5        servicing [1] - 208:13     22:18, 22:21, 24:2,       sitting [1] - 89:7                      206:9, 211:11,           solutions [1] - 197:3       48:23, 50:3, 114:4,        34:20, 45:17,              Steps [2] - 19:20, 85:9
 142:1, 142:22,            sense [6] - 45:17,         serving [2] - 146:6,       25:1, 49:15, 75:14,       situation [7] - 98:20,                  214:2, 215:12,           solve [1] - 173:24          115:23, 192:20,            115:17, 136:22,            stick [4] - 47:24,
 143:19, 147:8,             84:5, 86:12, 104:16,       146:21                    80:19, 84:24, 88:2,        113:20, 130:24,                        217:8, 219:22,           someone [7] - 120:8,        192:23, 192:24,            139:25, 142:12,             100:12, 101:18,
 147:12, 148:16,            147:25, 148:1             session [1] - 195:13       99:20, 101:1, 122:4,       193:24, 194:18,                        220:21, 222:16,           120:12, 133:22,            192:25, 228:6,             189:21, 204:22,             242:7
 148:20, 154:13,           sensing [1] - 20:20        set [24] - 4:17, 7:14,     142:5, 148:8,              202:24, 231:8                          224:11, 227:23,           133:23, 203:15,            245:8, 245:10              206:7, 227:3, 232:18       still [21] - 43:7, 83:1,
 155:20, 155:25,           sensor [11] - 20:20,        10:10, 33:14, 91:4,       148:10, 163:9,            situational [1] -                       229:10, 229:11,           203:23, 205:12            specifically [7] - 37:1,   started [11] - 17:21,        98:13, 98:20, 106:2,
 156:10, 156:20,            21:10, 21:19, 74:17,       93:11, 93:19,             163:10, 163:12,            118:21                                 229:14, 229:17,          something's [1] -           90:1, 200:4, 200:14,       44:15, 52:13, 86:1,         110:6, 141:10,
 158:3, 159:9, 160:9,       74:23, 75:3, 75:7,         100:19, 118:18,           163:13, 163:21            six [15] - 87:10, 87:11,                244:13, 247:5             242:19                     204:23, 239:13,            92:23, 93:5, 110:4,         146:16, 179:18,
 161:2, 162:12,             75:9, 75:13, 75:14,        120:22, 122:20,          shut [3] - 39:14,           118:13, 180:3,                        slides [16] - 50:19,      sometimes [3] - 34:2,       242:16                     112:19, 140:11,             179:22, 180:25,
 162:22, 164:1,             162:1                      122:22, 126:6,            69:17, 89:4                205:21, 219:23,                        50:22, 66:9, 72:10,       112:10, 159:10            specification [1] -         140:13, 149:18              217:12, 217:19,
 171:20, 176:15,           sensors [10] - 22:20,       128:22, 131:2,           shutting [2] - 135:17       220:1, 222:21,                         83:5, 88:5, 88:6,        somewhat [1] -              55:16                     starting [1] - 250:19        225:5, 225:6, 238:4,
 176:25, 178:17,            76:15, 134:19,             132:15, 134:5,           side [15] - 18:22,          222:25, 249:11,                        88:25, 102:23,            117:24                    specifics [4] - 67:12,     starts [1] - 213:17          239:18, 239:19,
 179:14, 179:15,            142:5, 142:24,             136:15, 173:12,           56:19, 60:1, 98:18,        249:14, 249:19,                        213:2, 221:11,           somewhere [2] - 67:2,       70:8, 92:20, 104:1        State [2] - 110:19,          239:22, 239:24
 180:16, 180:19,            170:22, 171:3,             174:17, 184:17,           211:12, 212:11,            249:22, 249:23,                        224:8, 224:10,            173:13                    speculation [2] -           179:15                     stipulated [3] -
 180:24, 180:25,            171:4, 187:21,             200:7, 239:10             212:12, 212:19,            250:5                                  229:22, 245:19,          sorry [23] - 20:23,         52:15, 186:20             state [6] - 4:6, 75:15,      137:17, 165:24,
 181:1, 181:12,             188:13                    SET [1] - 255:11           215:14, 234:15,           sixth [1] - 207:8                       252:2                     38:1, 64:3, 68:14,        speech [1] - 58:17          107:13, 111:3,              253:14
 182:3, 182:6, 182:9,      sent [20] - 35:9, 44:11,   sets [1] - 217:16          234:16, 235:6,            size [3] - 55:17, 105:8,               sliding [8] - 25:19,       68:24, 82:4, 86:25,       speed [6] - 134:14,         137:11, 223:1              stop [7] - 147:17,
 182:13, 182:19,            63:18, 65:11,             seven [3] - 93:1,          240:22, 246:12,            106:14                                 54:19, 80:20, 81:6,       106:18, 152:2,             134:19, 181:1,            STATE [1] - 255:6            147:24, 152:25,
 182:20, 184:4,             119:11, 143:20,            213:15, 215:9             246:14                    sizes [1] - 55:10                       97:2, 97:19, 103:4,       155:2, 159:6,              181:3, 181:6, 196:18      statement [9] - 48:23,       156:5, 159:8, 161:5,
 185:12, 186:15,            148:12, 149:3,            several [3] - 46:22,      Side [1] - 65:22           skill [1] - 55:16                       104:3                     174:25, 183:6,            spell [2] - 107:13,         154:14, 158:9,              229:20
 187:21, 191:3,             151:7, 151:9,              192:5, 196:13            sides [1] - 111:17         skip [4] - 85:20, 86:11,               slightly [1] - 203:22      198:1, 198:13,             137:11                     158:13, 158:15,            stopped [1] - 69:23
 192:9, 193:18,             151:25, 156:7,            shape [4] - 80:9, 96:5,   sign [2] - 129:6,           88:11, 97:15                          slope [1] - 33:6           215:5, 215:8,             spelled [1] - 137:14        158:20, 192:17,            storage [4] - 20:16,
 194:17, 196:4,             161:15, 169:7,             96:8, 96:19               129:13                    skipped [14] - 83:9,                   slow [2] - 42:12,          219:21, 222:24,           Spencer [11] - 236:23,      193:20, 198:16              21:9, 21:20, 22:3
 196:8, 196:16,             170:8, 174:4, 185:3,      share [3] - 125:10,       significance [2] -          83:11, 83:15, 83:18,                   163:16                    230:10, 233:25,            237:1, 237:2, 237:7,      statements [2] - 63:6,      store [2] - 31:21, 32:6
 196:19, 198:17,            224:8, 224:12,             128:6, 128:25             206:21, 221:23             83:23, 83:24, 83:25,                  slower [4] - 20:24,        245:19                     237:10, 237:14,            111:24                     stored [1] - 21:9
 198:19, 199:4,             229:17                    shift [1] - 191:11        significant [12] - 33:9,    84:4, 84:17, 85:1,                     180:10, 183:8            sort [7] - 27:4, 30:2,      237:24, 238:3,            STATES [4] - 1:1, 1:1,      storing [1] - 22:2
 204:7, 205:2,             sentence [3] - 9:15,                                  126:9, 157:17,             85:9, 85:11, 85:15,                   slowly [3] - 136:18,       64:5, 111:13,              238:8, 239:17,             1:4, 255:9                 storming [1] - 195:13
                                                      shipped [3] - 100:18,
 207:13, 209:1,             9:20, 9:21                                           202:4, 203:13,             88:21                                  155:11, 155:22            186:13, 227:19,            242:17                    States [4] - 16:23,         straightforward [1] -
                                                       142:3, 171:7
 212:13, 216:18,           sentences [1] - 8:16                                  208:9, 212:4, 212:7,      skipping [6] - 83:1,                   small [3] - 25:17,         232:2                     Spencer's [1] - 237:5       99:23, 175:2                17:9
                                                      ships [1] - 187:3
 234:1, 253:20             separate [2] - 8:19,                                  215:17, 216:23,            83:2, 83:19, 84:5,                     51:10, 253:7             sought [3] - 60:18,                                   states [3] - 160:16,
                                                      shocked [2] - 147:21,                                                                                                                            spend [4] - 149:10,                                    Strategy [1] - 175:11
seeing [2] - 24:19,         9:8                                                  217:7, 221:9               88:7, 97:13                           smaller [3] - 213:21,      252:19, 253:2              149:13, 171:13,            176:21, 220:1
                                                       198:5                                                                                                                                                                                                  strategy [1] - 176:12
 159:12                    separated [1] - 130:9                                significantly [3] -        skips [1] - 82:14                       233:21, 235:18           sound [5] - 27:18,          171:23                    stating [2] - 9:12,
                                                      short [1] - 163:2                                                                                                                                                                                       STREET [2] - 1:23, 2:9
seek [3] - 63:22, 64:1,    separately [2] - 8:25,                                72:11, 126:20,            sleepers [1] - 209:6                   software [29] - 19:7,      169:18, 169:22,           spent [2] - 57:11, 61:3     47:19
                                                      show [19] - 18:18,                                                                                                                                                                                      stride [33] - 81:21,
 185:6                      9:6                                                  217:12                                                            22:5, 28:12, 28:16,       170:19, 170:21                                       statistics [1] - 110:14
                                                       43:25, 86:6, 87:15,                                 slid [2] - 97:24, 103:5                                                                     spoken [1] - 40:11                                      82:9, 82:11, 82:14,
seeking [2] - 63:5,        September [2] -                                      similar [12] - 116:20,                                             35:22, 55:24, 58:13,     sounded [1] - 252:14                                  statute [1] - 128:17
                                                       93:23, 122:15,                                      Slide [12] - 66:16,                                                                         squabble [1] - 229:25                                   82:18, 82:25, 83:8,
 252:6                      195:16, 195:22                                       116:21, 128:20,                                                   70:23, 71:7, 71:21,      sounds [4] - 52:15,
                                                       124:15, 142:14,                                      66:22, 80:1, 93:7,                                                                         squabbling [1] - 62:4      stay [3] - 49:1, 165:13,     83:12, 83:16, 83:25,
seem [3] - 17:6, 37:4,     sequentially [7] -                                    129:10, 130:20,                                                   75:25, 94:23, 95:16,      150:7, 244:4, 246:14
                                                       156:24, 157:14,                                      100:14, 200:10,                                                                            square [2] - 84:22,         242:15                      84:2, 84:6, 84:10,
 243:15                     80:23, 81:7, 97:6,                                   130:21, 130:22,            219:20, 224:7,                         100:18, 142:5,           source [28] - 20:5,                                                                84:16, 85:14, 85:17,
                                                       157:23, 159:2,                                                                                                                                   85:2                      stayed [2] - 110:12,
segment [1] - 21:24         97:19, 99:2, 104:5,                                  133:14, 134:24,            243:2, 245:19,                         142:6, 142:11,            20:10, 20:13, 23:1,                                                               85:19, 86:10, 88:4,
                                                       169:25, 170:11,                                                                                                                                 SS [1] - 255:5              140:5
selected [1] - 71:13        104:12                     181:19, 211:11,           205:19, 206:9, 223:7       247:5, 249:7                           142:25, 143:1,            34:15, 45:1, 48:5,                                   staying [1] - 243:2          88:10, 97:25, 98:13,
                                                                                                                                                                                                       stamp [1] - 164:4
selecting [2] - 71:13,     sequestered [2] -           216:13, 221:12,          similarly [2] - 123:18,    slide [66] - 18:18,                     144:6, 144:15,            48:12, 48:19, 55:21,                                 steer [1] - 251:6            98:23, 103:24,
                                                                                                                                                                                                       stand [15] - 9:9, 17:22,
 73:8                       164:14, 165:6              249:22                    206:19                     19:9, 25:9, 26:2,                      154:22, 162:2,            55:25, 56:6, 56:16,                                                               104:2, 104:7,
                                                                                                                                                                                                        78:17, 114:7,             STENOGRAPHIC [1] -
sell [13] - 43:7, 100:7,   sequestering [1] -         showed [11] - 61:18,      simplified [2] - 13:15,     27:12, 35:17, 41:16,                   162:3, 162:5,             60:13, 63:1, 63:13,                                                               104:13, 105:2,
                                                                                                                                                                                                        123:24, 136:9,             255:15
 109:2, 141:17,             164:12                     72:10, 77:6, 93:12,       13:19                      46:7, 48:4, 48:9,                      185:25, 188:21,           66:9, 66:17, 66:23,                                                               105:9, 105:17,
                                                                                                                                                                                                        199:21, 203:18,           STENOGRAPHICAL
 158:18, 164:6,            sequestration [2] -         114:15, 148:12,          simplify [1] - 93:13        48:15, 55:20, 56:3,                    204:15, 206:13            74:17, 78:8, 78:10,                                                               105:23, 106:1
                                                                                                                                                                                                        205:13, 205:14,            LY [1] - 255:10
 187:18, 196:11,            164:16, 165:1              155:3, 155:18,           simply [9] - 23:19,         56:9, 68:14, 74:16,                   sold [28] - 35:21,         92:15, 92:18, 95:3,                                                              strike [1] - 113:24
                                                                                                                                                                                                        206:12, 211:16,           Step [7] - 25:23, 85:5,
 207:17, 216:21,           Serge [1] - 178:17          197:23, 228:5,            37:6, 37:8, 48:25,         77:6, 79:3, 84:14,                     36:14, 75:15, 75:20,      95:19, 168:18,                                                                   string [1] - 160:24
                                                                                                                                                                                                        229:22, 245:1              85:7, 98:12, 98:17,
 218:8, 238:5, 239:19      serious [1] - 70:3          229:10                    75:24, 88:19, 114:6,       86:6, 88:20, 91:9,                     76:14, 95:18,             168:25                                                                           strip [1] - 125:13
                                                                                                                                                                                                       standard [2] - 19:5,        102:18, 102:23
seller [2] - 114:22,       seriously [1] - 157:24     showing [12] - 7:22,       118:5, 253:3               91:10, 93:7, 93:18,                    118:12, 118:13,          sources [1] - 23:20                                                               stronger [1] - 177:11
                                                                                                                                                                                                        165:9                     step [27] - 21:22, 22:1,
 231:17                    seriousness [1] -           32:19, 50:22, 93:12,     simultaneous [10] -         94:7, 94:11, 96:1,                     124:14, 130:17,          South [1] - 140:3                                                                 strongly [2] - 219:12,
                                                                                                                                                                                                       standing [3] - 164:18,      22:15, 25:4, 25:6,
selling [16] - 39:14,       250:25                     118:11, 124:6,            4:22, 4:25, 5:4, 5:13,     96:25, 99:11, 103:7,                   170:15, 174:17,          Space [1] - 100:6                                                                  237:12
                                                                                                                                                                                                        219:17, 219:18             25:13, 25:14, 26:18,
 46:3, 69:18, 116:18,      serve [3] - 203:15,         156:14, 163:25,           6:24, 7:20, 8:8, 8:12,     103:9, 113:5,                          203:10, 204:3,           spaceship [1] - 100:5                                                             structure [10] - 31:20,
                                                                                                                                                                                                       standpoint [9] -            28:20, 29:1, 29:8,
 116:20, 124:16,            206:24                     207:18, 208:7, 221:3      8:17, 9:18                 114:16, 115:11,                        204:6, 205:3,            Spanish [1] - 16:18                                                                31:21, 32:6, 32:10,
                                                                                                                                                                                                        124:24, 201:4,             29:12, 30:12, 55:22,
 147:17, 147:24,                                      shown [14] - 45:11,       simultaneously [2] -        119:8, 121:13,                         205:20, 207:10,          speaking [3] - 11:15,                                                              49:16, 68:5, 70:8,
                           service [2] - 145:5,                                                                                                                                                         203:4, 204:2,              55:25, 56:4, 56:7,




                                     UNITED STATES DISTRICT COURT                                                                                                                     UNITED STATES DISTRICT COURT




                                                                                                                               287                                                                                                                                                288

 161:24, 162:8             summarizing [1] -           19:6, 19:11, 19:15,       134:23, 150:13,            124:1, 127:22,                          125:19, 127:4,          Technology" [1] -           17:23, 40:13, 52:21,        144:17, 144:20,           thanking [1] - 192:11
structures [1] - 67:24      240:3                      19:18, 20:2, 20:7,        158:6, 167:1, 205:3,       131:12, 134:11,                         145:16, 145:25,           179:15                    64:24, 69:10, 70:11,        145:2, 145:6,             THAT [3] - 255:10,
struggled [2] - 4:23,      summary [7] - 10:14,        21:14, 21:16, 22:15,      206:1, 219:24,             138:13, 141:13,                         148:9, 156:4,           technology's [1] -          78:3, 78:19, 111:10,        145:10, 145:16,            255:12, 255:14
 214:16                     27:12, 37:17, 37:19,       25:4, 25:24, 26:8,        221:17, 222:3,             141:19, 141:20,                         156:20, 157:1,            209:12                    112:4, 112:5,               145:22, 145:25,           THE [246] - 3:7, 4:3,
study [1] - 150:22          41:18, 174:6, 216:8        27:10, 27:13, 27:25,      222:25, 223:5,             142:1, 143:6, 143:8,                    159:3, 174:7,           telecom [5] - 139:23,       112:16, 112:22,             146:3, 146:7,              4:8, 4:15, 4:17, 5:8,
stuff [5] - 185:11,        superior [2] - 158:6,       28:5, 28:11, 28:16,       227:23, 228:2              143:16, 144:3,                          184:22, 205:14,           150:12, 150:13,           119:21, 121:14,             146:17, 146:25,            5:12, 5:22, 6:1, 6:11,
 185:16, 186:4,             177:9                      28:17, 28:19, 29:1,      Systems [4] - 4:5,          144:7, 144:13,                          213:6, 217:12,            167:6, 186:8              125:8, 166:5,               147:6, 147:21,             7:10, 7:13, 7:16,
 193:7, 229:25             supervisors [1] -           29:8, 29:13, 29:21,       138:25, 139:11,            144:17, 144:20,                         224:15, 225:1,          telecommunication           185:11, 185:18,             148:2, 148:9,              7:19, 8:1, 8:9, 8:21,
style [1] - 142:17          238:8                      31:18, 32:8, 32:16,       140:20                     145:2, 145:6,                           225:6, 236:18,            [1] - 167:1               200:24, 215:6,              151:19, 152:4,             9:2, 9:14, 9:20, 10:1,
sub [1] - 100:4            supplied [1] - 63:20        33:8, 33:16, 34:12,      sytem [1] - 141:25          145:10, 145:22,                         239:7, 239:15,          Telecommunication           219:3, 223:25,              153:11, 153:15,            10:12, 10:14, 10:16,
sub-limitations [1] -      supplier [3] - 126:13,      36:1, 36:8, 36:22,                                   146:3, 146:7,                           246:25                    [1] - 139:9               224:21, 224:24,             155:21, 155:25,            10:21, 11:6, 11:9,
 100:4                      126:15, 240:9              37:15, 38:14, 39:24,                T                146:17, 146:25,                       technical [20] - 44:25,   templates [1] - 180:1       225:14, 226:14,             156:4, 156:19,             11:12, 11:19, 12:2,
subject [5] - 12:12,       suppliers [2] - 194:9,      40:23, 41:24, 44:1,                                  147:6, 147:21,                          81:16, 100:12,          tempted [1] - 250:23        226:21, 227:19,             156:25, 158:13,            12:6, 12:15, 12:23,
 15:25, 60:22,              240:9                      52:2, 66:7, 66:12,       tab [2] - 40:2, 234:1       148:2, 151:19,                          101:18, 109:19,         ten [10] - 121:24,          233:14, 233:16,             158:21, 159:3,             13:2, 13:21, 13:24,
 148:19, 218:9             support [8] - 39:13,        75:3, 75:13, 75:19,      table [7] - 12:15,          152:4, 153:11,                          109:22, 130:10,           122:3, 144:14,            233:17, 234:9,              164:7, 168:16,             14:8, 14:11, 14:14,
subjective [1] - 134:2      64:9, 88:13, 88:17,        77:2, 77:19, 79:12,        122:7, 184:17,            153:15, 155:21,                         131:3, 132:12,            147:22, 171:13,           234:22, 235:10,             171:18, 174:7,             14:23, 15:2, 15:5,
subjects [4] - 141:12,      114:22, 138:11,            95:18, 100:19,             204:14, 208:7,            155:25, 158:13,                         133:15, 143:25,           171:21, 171:23,           238:12, 238:19,             174:21, 174:24,            15:9, 15:13, 15:18,
 159:22, 161:18,            143:25, 144:15             100:21, 122:18,            208:19, 209:17            158:21, 164:7,                          193:7, 193:21,            171:24, 199:15,           239:24, 240:1,              178:3, 182:5,              16:4, 16:9, 16:14,
 162:9                     supporting [2] -            122:19, 124:20,          tag [2] - 133:11,           168:16, 171:18,                         200:25, 201:23,           199:17                    242:13, 242:17,             182:11, 182:18,            17:5, 17:9, 17:14,
submitted [1] - 81:24       48:22, 57:15               124:21, 126:7,             172:25                    174:21, 174:24,                         201:25, 244:21,         tension [1] - 9:23          243:11, 246:3,              183:1, 184:20,             17:16, 17:17, 17:19,
subsequent [1] -           supports [1] - 86:9         126:16, 126:17,          Talbot [2] - 191:21,        178:3, 181:10,                          246:7, 246:14,          term [6] - 33:22,           246:7, 252:15               184:22, 185:14,            20:23, 21:4, 36:19,
 65:10                     suppose [3] - 70:24,        127:23, 134:12,            194:19                    182:5, 182:11,                          246:25                    33:25, 46:11, 80:19,     TETRA [2] - 1:9, 3:2         185:21, 186:17,            36:24, 37:3, 37:12,
subsequently [1] -          89:23, 92:2                134:25, 141:17,          talks [5] - 13:10, 92:8,    182:18, 183:1,                        technicalities [1] -        81:12, 94:19             Tetra [208] - 4:5, 6:1,      187:4, 187:18,             39:2, 39:5, 40:6,
 193:3                     supposed [4] - 61:4,        142:2, 142:24,             180:18, 203:23,           184:20, 185:14,                         26:15                   terms [14] - 6:7, 6:9,      6:22, 9:2, 9:4, 10:11,      187:24, 188:10,            40:9, 40:16, 47:21,
                            61:6, 75:4, 75:8           143:9, 143:16,             209:7                     185:21, 186:17,                       technique [2] - 34:4,       21:14, 101:8,             11:10, 12:21, 14:16,        194:11, 197:24,            49:8, 49:11, 54:7,
subset [1] - 86:15
                           supposedly [3] - 44:1,      143:22, 144:9,           target [1] - 241:11         187:4, 187:18,                          56:20                     160:16, 201:3,            18:10, 18:13, 18:19,        198:3, 198:21,             54:10, 54:13, 58:19,
subsidiary [2] -
                            54:19, 88:14               145:14, 157:10,          targets [2] - 29:3, 29:9    187:24, 188:10,                       techniques [1] - 34:1       207:6, 212:21,            19:6, 23:1, 27:13,          198:23, 199:1,             59:3, 59:5, 59:6,
 141:13, 159:20
                                                       158:11, 161:19,          TAS [1] - 183:1             194:11, 197:24,                       technologies [2] -          213:17, 215:6,            35:9, 36:25, 38:14,         199:7, 200:16,             59:21, 59:24, 60:2,
substance [1] - 6:9        Surface [1] - 40:23
                                                       163:13, 167:6,           taught [1] - 150:14         198:3, 198:21,                          140:24, 245:10            215:14, 215:23,           39:13, 40:23, 41:12,        202:20, 205:3,             60:7, 60:11, 60:21,
substantial [3] -          surface [18] - 19:5,
                                                       170:15, 170:16,          teach [1] - 55:19           198:23, 199:2,                        Technology [5] -            233:20, 239:23            43:21, 43:25, 44:11,        205:14, 205:18,            61:19, 61:25, 62:6,
 49:13, 50:2, 50:6          20:22, 21:8, 21:18,
                                                       170:18, 171:1,           teaches [3] - 55:17,        199:7, 200:16,                          133:9, 142:3,           Test [5] - 115:16,          44:23, 45:8, 46:8,          210:11, 210:20,            62:10, 62:16, 62:24,
substitute [1] - 120:11     21:23, 28:21, 28:22,
                                                       171:3, 171:7,              231:8, 231:18             202:20, 205:3,                          178:16, 180:12,           116:14, 117:19,           47:1, 47:11, 50:25,         211:15, 211:19,            63:12, 64:3, 64:13,
substitutes [2] -           28:23, 29:2, 32:16,
                                                       171:14, 174:19,          teaching [1] - 150:13       205:18, 210:11,                         183:1                     117:23, 124:9             52:1, 52:9, 52:24,          211:20, 212:3,             64:21, 65:12, 65:20,
 243:4, 243:7               53:22, 66:11,
                                                       174:22, 175:1,           team [2] - 185:3,           210:20, 211:15,                       technology [55] -         test [9] - 4:13, 115:15,    52:25, 53:9, 53:13,         212:12, 213:6,             65:23, 68:16, 68:20,
successful [6] -            133:14, 133:17,
                                                       175:4, 177:16,             187:17                    211:19, 211:21,                         41:5, 53:1, 53:4,         115:21, 116:12,           53:17, 61:16, 62:23,        213:11, 213:14,            68:21, 68:23, 68:24,
 127:21, 203:12,            134:13, 142:6, 143:1
                                                       179:5, 183:22,           tease [1] - 5:23            212:3, 212:12,                          93:22, 115:23,            116:13, 117:1,            63:6, 63:18, 66:6,          214:9, 215:13,             69:3, 69:6, 72:20,
 207:7, 207:18,            surfaces [1] - 241:22
                                                       184:22, 184:24,          TECH [2] - 1:9, 3:2         213:11, 213:14,                         116:10, 116:22,           118:1, 118:8, 124:9       66:11, 66:17, 66:21,        216:21, 217:12,            72:23, 73:1, 73:19,
 207:25, 241:14            surprised [1] - 165:9
                                                       185:15, 186:14,                                      214:9, 215:13,                          118:25, 119:2,                                      66:24, 67:6, 67:14,         217:15, 217:20,            73:22, 74:4, 76:12,
sued [4] - 146:13,         suspect [5] - 178:5,                                 Tech [168] - 4:5, 6:1,                                                                      testified [31] - 37:23,
                                                       186:18, 186:23,                                      216:21, 217:15,                         119:7, 119:13,                                      69:17, 70:14, 76:18,        219:13, 222:9,             77:9, 77:10, 77:11,
 194:20, 198:8,             178:21, 185:6,                                        6:22, 9:2, 9:4, 10:11,                                                                      41:7, 53:10, 54:15,
                                                       187:5, 188:8,                                        217:20, 219:13,                         119:20, 120:8,                                      78:10, 78:19, 89:3,         222:12, 223:14,            77:12, 77:14, 77:22,
 198:16                     197:24, 198:3                                         11:10, 12:21, 14:16,                                                                        57:12, 62:16, 63:12,
                                                       196:19, 205:5,                                       222:9, 222:12,                          120:21, 122:18,                                     89:24, 90:3, 90:11,         223:18, 224:15,            78:13, 78:15, 78:17,
suggest [12] - 8:5,        suspected [2] - 165:8,                                 18:10, 19:6, 23:1,                                                                          65:13, 66:21, 83:8,
                                                       205:20, 205:21,                                      223:14, 223:18,                         129:19, 131:12,                                     101:20, 103:24,             224:20, 224:25,            78:21, 78:23, 78:25,
 8:11, 8:18, 9:16,          199:1                                                 35:9, 36:25, 39:13,                                                                         94:8, 99:11, 110:24,
                                                       206:17, 206:18,                                      224:20, 224:25,                         132:16, 134:6,                                      106:15, 107:4,              225:6, 233:15,             79:22, 86:20, 86:22,
 12:10, 13:14,             sustain [1] - 47:21                                    40:23, 41:12, 43:21,                                                                        112:17, 166:19,
                                                       208:14, 208:15,                                      233:15, 233:17,                         135:22, 140:14,                                     111:22, 116:9,              233:17, 236:2,             86:25, 87:3, 87:5,
 128:15, 203:19,           switch [4] - 18:9,                                     44:23, 45:9, 46:8,                                                                          167:8, 167:9,
                                                       212:18, 214:17,                                      236:2, 236:12,                          140:15, 141:6,                                      116:11, 116:18,             236:12, 236:18,            87:7, 87:10, 90:14,
 203:21, 219:16,            186:15, 196:8,                                        47:1, 47:11, 52:1,                                                                          167:16, 168:3,
                                                       214:19, 216:1,                                       237:15, 237:16,                         176:24, 177:9,                                      116:25, 117:7,              237:14, 237:16,            90:18, 99:7, 100:11,
 235:16, 253:13             196:11                                                52:9, 52:24, 52:25,                                                                         170:25, 234:14,
                                                       216:20, 216:23,                                      238:4, 238:9,                           197:4, 197:5, 200:5,                                118:11, 118:16,             238:4, 238:9,              101:17, 102:7,
suggested [5] -            switched [1] - 245:19                                  53:9, 53:13, 61:16,                                                                         236:5, 236:23,
                                                       217:6, 224:4,                                        238:17, 239:15,                         200:8, 201:3,                                       118:24, 120:13,             238:17, 239:7,             102:9, 102:14,
 135:20, 176:14,           sworn [5] - 40:13,                                     63:6, 63:18, 66:17,                                                                         237:10, 237:14,
                                                       225:18, 225:20,                                      240:10, 240:11,                         201:18, 203:16,                                     120:19, 120:22,             239:15, 240:10,            103:17, 103:20,
 224:18, 227:2, 250:6       69:10, 78:3, 107:8,                                   66:21, 66:24, 67:6,                                                                         237:16, 237:24,
                                                       225:21, 225:22,                                      240:25, 241:3,                          203:17, 203:20,                                     121:10, 122:7,              240:11, 240:25,            104:19, 104:21,
suggesting [4] -            137:10                                                67:14, 69:17, 78:10,                                                                        238:3, 238:8, 240:3,
                                                       225:25, 226:17,                                      241:5, 241:11,                          204:17, 205:11,                                     123:2, 123:12,              241:3, 241:5,              106:6, 106:8,
 238:12, 240:2,            synonym [1] - 29:19                                    78:19, 89:3, 101:20,                                                                        240:8
                                                       233:19, 238:5,                                       241:22, 241:24,                         206:6, 207:3, 208:8,                                123:19, 123:24,             241:11, 241:22,            106:11, 106:18,
 240:13, 244:23            Syracuse [2] - 12:7,                                   107:4, 111:23,                                                                            testify [11] - 16:3,
                                                       243:22                                               243:6, 246:12, 253:9                    208:9, 210:12,                                      123:25, 124:20,             241:24, 243:6,             106:20, 106:22,
suggests [4] - 8:7,         12:8                                                  116:9, 116:11,                                                                              50:15, 62:21, 62:24,
                                                      SYSTEMS [1] - 1:6                                    Tech's [41] - 18:13,                     210:13, 211:20,                                     125:19, 127:4,              246:12, 246:25,            106:24, 106:25,
 45:15, 115:4, 191:1       System [5] - 15:7,                                     116:18, 116:25,                                                                             90:15, 165:11,
                                                      systems [30] - 11:4,                                  18:19, 27:13, 38:14,                    214:8, 216:24,                                      127:22, 131:11,             253:9                      107:3, 107:6, 107:7,
suing [1] - 194:2           139:2, 139:18,                                        117:7, 118:11,                                                                              195:5, 225:18,
                                                       11:7, 35:21, 36:12,                                  43:25, 44:11, 50:25,                    225:23, 226:19,                                     134:11, 138:13,           Tetra's [1] - 39:10          107:9, 107:13,
suit [3] - 145:3, 152:6,    142:2, 208:25                                         118:16, 118:24,                                                                             239:2, 239:5, 248:24
                                                       52:2, 52:10, 99:25,                                  53:17, 62:23, 66:6,                     240:7, 243:25,                                      141:13, 141:19,           Texas [2] - 110:12,          107:15, 107:18,
 152:8                     system [135] - 11:1,                                   120:13, 120:19,                                                                           testifying [5] - 62:20,
                                                       114:22, 118:12,                                      66:11, 70:14, 76:18,                    244:6, 244:18,                                      141:20, 142:1,              110:19                     107:23, 108:2,
summarize [5] - 35:5,       11:3, 18:7, 18:9,                                     120:22, 121:11,                                                                             114:4, 136:2,
                                                       118:13, 121:18,                                      89:24, 90:3, 90:11,                     245:8, 245:11,                                      143:6, 143:8,             text [1] - 88:2              108:4, 111:7, 111:9,
 35:19, 201:22,             18:13, 18:17, 18:19,                                  122:7, 123:2,                                                                               226:23, 227:17
                                                       121:21, 121:25,                                      103:24, 106:15,                         247:22, 248:1                                       143:16, 144:3,            thankful [1] - 175:10        114:2, 114:5, 114:7,
                            18:21, 18:23, 19:1,                                   123:13, 123:24,                                                                           testimony [46] - 4:10,
 211:7, 238:12                                         123:18, 134:18,                                      123:19, 124:20,                                                                             144:7, 144:13,                                         135:23, 136:7,




                                     UNITED STATES DISTRICT COURT                                                                                                                     UNITED STATES DISTRICT COURT




                                                                                                                                      Exhibit 3
                                                                                                                                        170
 Case 2:21-cv-01289-MCS-MAA Document 323-5 Filed 09/14/22 Page 74 of 74 Page ID
                                  #:15313
                                                                                                                                 289                                                                                                                                             290

 136:9, 136:13,               177:14, 179:3,            175:10, 178:1,             25:15, 25:17, 26:19,       220:5, 220:23,                          206:11, 233:25,         TYPEWRITTEN [1] -           228:23, 230:20,          251:8, 251:23             112:12, 112:16,
 136:15, 136:20,              187:17, 190:25            179:15, 180:15             28:17, 30:17, 39:17,       221:13, 221:18,                         235:22                   255:12                     233:9, 236:2            upper [1] - 142:16         139:13
 136:21, 136:24,            THIS [1] - 255:14         TO [1] - 255:12              40:20, 41:5, 48:16,        221:21, 222:4,                        turned [1] - 238:9                                   UNITED [4] - 1:1, 1:1,   upward [12] - 201:19,     VASSILIOS [1] - 3:5
 137:8, 137:11,             thoroughly [1] - 41:14    today [11] - 17:21,          125:19, 125:22,            223:5, 230:3, 234:1,                  turning [1] - 215:10                 U                1:4, 255:8               202:1, 202:4, 203:7,     verify [1] - 234:25
 137:13, 137:15,            thousands [3] - 49:4,       209:11, 215:6,             133:4, 133:17,             234:7, 234:13                         turnkey [3] - 75:25,                                 United [4] - 16:23,       203:14, 204:7,           Version [2] - 48:12,
 137:19, 137:23,              225:11, 236:20            219:19, 223:25,            134:12, 134:13,          Trial [7] - 86:23,                        95:19, 134:12           U.S [14] - 15:23, 111:2,    99:23, 175:2             206:8, 207:25,            48:20
 137:25, 164:10,            threat [1] - 45:8           224:9, 225:18,             135:9, 209:5               119:24, 125:4,                        twelve [1] - 11:17         150:21, 152:17,           units [39] - 117:14,      210:21, 210:25,          version [9] - 48:19,
 164:14, 164:18,            threatening [2] -           249:21, 252:14,          tracks [3] - 116:22,         150:17, 152:10,                       twice [3] - 84:10,         153:13, 158:7,             121:17, 122:2,           213:7, 213:23             48:23, 49:20, 93:4,
 164:22, 165:4,               151:17, 153:2             252:23, 253:25             200:21, 247:15             155:5, 160:12                           222:13, 223:19           158:11, 162:23,            122:3, 123:14,          US [3] - 167:18,           174:12, 224:9,
 165:8, 165:16,             three [43] - 14:16,       TODD [2] - 3:9, 107:16     trademarks [2] -           triangulation [1] -                     two [95] - 8:16, 13:12,    162:24, 163:1,             124:15, 125:12,          167:21, 168:1             224:12, 247:5
 167:15, 167:18,              16:19, 20:21, 21:7,     Todd [5] - 107:5,            167:25                     134:19                                  16:11, 18:19, 19:19,     169:11, 174:22,            144:7, 213:18,          useless [1] - 186:5       versions [12] - 11:1,
 170:12, 173:12,              21:18, 21:23, 22:5,       107:15, 107:16,          tradeoff [1] - 105:17      tried [2] - 92:10, 93:13                  22:7, 22:12, 23:3,       176:22, 180:6              214:24, 215:5,          user [9] - 71:20,          11:3, 12:9, 12:12,
 173:16, 173:20,              22:8, 22:16, 23:13,       108:12, 108:13           traditional [5] - 52:1,    trier [4] - 230:7,                        23:20, 24:16, 29:24,    ultimately [5] -            215:8, 218:5, 218:8,     71:25, 72:5, 72:10,       48:5, 49:14, 49:21,
 174:2, 176:8, 178:8,         36:3, 41:5, 41:21,      together [12] - 33:15,       52:10, 52:25,              230:10, 233:5                           32:21, 33:6, 36:7,       120:20, 132:6,             221:5, 221:6,            72:16, 73:9, 73:16,       49:25, 174:11,
 178:10, 183:9,               85:4, 103:9, 105:24,      65:18, 122:18,             149:22, 191:8            tries [1] - 88:19                         81:21, 82:9, 82:14,      159:4, 225:3, 231:16       222:20, 223:17,          141:16, 141:19            181:16, 245:20,
 184:12, 184:14,              113:6, 114:21,            131:23, 132:4,           train [3] - 18:21, 94:3,   trigger [1] - 231:23                      82:18, 82:25, 83:9,     umbrella [1] - 33:25        223:20, 226:4,          uses [9] - 25:11, 53:9,    248:9
 185:19, 185:20,              114:23, 117:14,           139:25, 140:2,             193:16                   triggered [1] - 231:6                     83:12, 83:16, 83:17,    UML [2] - 15:22,            226:11, 226:13,          53:12, 57:6, 81:21,      versus [4] - 4:5, 77:18,
 189:7, 189:9,                122:2, 123:14,            140:16, 140:18,          trained [1] - 193:15       trouble [1] - 163:17                      84:2, 84:6, 84:17,       253:10                     228:10, 228:16,          82:9, 101:12,             82:24, 214:18
 191:24, 192:1,               124:14, 125:18,           149:21, 203:9,           training [2] - 166:12,     trucks [2] - 203:24,                      85:4, 85:11, 85:14,     unable [1] - 138:6          233:11, 233:18,          154:12, 232:24           vertical [1] - 25:18
 197:10, 197:11,              130:16, 130:17,           253:17                     166:15                     203:25                                  85:17, 85:19, 86:10,    unaware [3] - 150:22,       234:21, 234:22,         utilizes [1] - 66:7       vertices [2] - 32:13,
 199:11, 199:13,              132:12, 140:19,         token [1] - 192:25         trains [1] - 181:7         TRUE [1] - 255:14                         88:4, 88:7, 88:10,       151:3, 151:4               235:11, 249:11,                                    96:15
 199:17, 199:19,              141:3, 141:5, 149:3,    Tokyo [2] - 56:25,         transaction [2] -          true [17] - 34:25, 35:1,                  88:21, 97:25, 98:13,    undecided [1] -             249:14, 249:15,                    V              verus [1] - 13:18
 218:13, 229:5,               166:23, 196:15,           99:22                      108:25, 242:6              62:8, 62:9, 62:13,                      98:17, 98:23, 103:7,     179:11                     249:19, 249:22,                                   Video [4] - 69:8, 74:5,
 229:7, 229:20,               197:13, 213:16,         took [7] - 40:13, 74:7,    transactional [1] -          98:16, 138:8, 151:1,                    106:2, 113:13,          under [17] - 13:13,         249:23, 249:25,         vacation [2] - 194:25,     77:25, 79:23
 231:11, 231:13,              220:7, 228:1,             78:5, 86:6, 87:17,         108:18                     156:8, 156:16,                          115:10, 115:12,          13:16, 46:8, 62:11,        250:4, 250:5             195:3                    video [11] - 4:9, 4:13,
 231:15, 231:16,              228:16, 235:23,           171:21, 171:25           transactions [1] - 37:2      166:10, 166:11,                         115:15, 115:20,          84:20, 104:2,             University [4] -         valid [3] - 90:7,          69:8, 70:11, 70:13,
 231:24, 232:6,               240:13, 240:16,         tool [3] - 61:14, 61:17,   transcript [5] - 39:25,      168:15, 173:1,                          115:21, 116:12,          113:21, 132:13,            110:11, 150:2,           218:23, 219:9             70:14, 70:17, 70:18,
 232:13, 232:15,              252:18                    63:9                       234:7, 234:12,             185:14, 192:17,                         116:15, 117:1,           135:20, 172:24,            164:2, 174:18           validate [1] - 179:11      136:2, 137:1, 141:18
 232:22, 234:6,             three-way [1] - 41:5      tools [3] - 66:4,            234:24, 235:4              192:24                                  117:3, 117:17,           176:18, 181:10,           unless [1] - 253:19      validity [1] - 109:17     videos [1] - 73:7
 234:11, 234:17,            threshold [1] - 29:3        154:22, 181:15           TRANSCRIPT [1] -           trust [1] - 172:11                        121:1, 123:21,           197:1, 210:19,            unnecessarily [1] -      valuable [2] - 201:8,     view [7] - 10:25,
 234:23, 235:7,             throughout [8] -          top [18] - 18:20, 18:22,     1:14                     TRV [1] - 253:10                          124:8, 124:9, 133:9,     211:14, 252:18,            8:23                     201:19                    15:13, 27:7, 82:17,
 249:3, 249:6,                12:19, 104:6,             32:5, 32:20, 80:4,                                                                            139:24, 140:6,           252:19                    unquote [1] - 235:10     Valuation [1] - 110:19     86:10, 104:3, 202:14
                                                                                 TRANSCRIPTION [2] -        try [10] - 50:5, 65:1,
 250:12, 250:14,              104:12, 134:8,            113:6, 114:13,                                                                                147:2, 157:7, 158:2,    underlie [1] - 232:7       unsure [1] - 184:25      valuation [1] - 109:25
                                                                                   255:13, 255:14             125:10, 136:9,                                                                                                                                viewing [1] - 200:7
 251:16, 251:18,              141:7, 141:8,             119:10, 122:24,                                                                               161:25, 166:23,         underlying [1] -           up [62] - 6:11, 7:11,    value [25] - 24:14,
                                                                                 transcripts [3] - 234:1,     232:5, 232:21,                                                                                                                                vision [6] - 52:2,
 252:17, 252:22,              144:10, 198:2             134:22, 142:14,                                                                               187:3, 202:2, 202:3,     247:25                     11:15, 15:10, 15:12,     79:8, 81:21, 82:9,
                                                                                   234:18, 234:19             239:18, 250:18,                                                                                                                                52:10, 52:25,
 252:25, 253:5,             throwing [1] - 234:19       153:3, 175:15,                                                                                202:23, 203:9,          underneath [2] -            15:20, 26:6, 34:20,      82:11, 82:14, 82:18,
                                                                                 transfer [1] - 30:16         250:20, 251:5                                                                                                                                  139:22, 186:8,
 253:15, 253:18,            thumb's [1] - 173:25        181:9, 182:15,                                                                                206:2, 206:24,           177:8, 209:6               45:2, 47:10, 61:18,      82:25, 83:8, 83:12,
                                                                                 Transit [1] - 15:8         trying [24] - 5:23, 8:15,                                                                                                                        193:17
 254:1, 255:8, 255:9,       Thursday [1] - 161:1        187:12, 187:16,                                                                               207:23, 212:15,         understood [11] -           62:15, 88:2, 90:24,      83:25, 84:17, 85:14,
                                                                                 transition [1] - 188:20      60:23, 61:1, 61:19,                                                                                                                           visit [5] - 57:25, 59:11,
 255:10, 255:11,            Tie [1] - 126:4             213:5                                                                                         213:2, 213:9,            48:3, 49:10, 74:2,         102:10, 103:19,          86:10, 88:10,
                                                                                 transitioning [1] -          61:20, 61:23, 69:17,                                                                                                                           61:15, 62:4, 64:19
 255:12                                               topic [1] - 181:10                                                                              213:10, 213:16,          170:24, 190:5,             106:9, 114:9,            103:24, 104:13,
                            tie [28] - 19:4, 28:16,                                191:7                      109:3, 124:25,                                                                                                                                visits [8] - 58:25,
themselves [3] -              28:21, 28:22, 29:1,     topics [1] - 172:2                                                                              220:18, 222:21,          219:7, 220:14,             119:10, 123:22,          108:23, 109:3,
                                                                                 transmissions [1] -          142:10, 157:23,                                                                                                                                59:10, 59:11, 60:13,
 193:13, 210:13,              29:2, 29:3, 32:9,       total [17] - 84:22,                                                                             222:25, 229:11,          227:13, 230:2,             125:4, 130:1, 133:5,     112:2, 119:14,
                                                                                   111:25                     194:6, 204:11,                                                                                                                                 61:21, 62:17, 63:13,
 210:14                       32:21, 32:22, 32:25,      117:6, 117:13,                                                                                235:18, 238:4,           235:5, 244:14              136:18, 147:8,           161:25, 177:8,
                                                                                 Transportation [5] -         204:12, 226:19,                                                                                                                                65:10
theoretical [1] -             33:1, 33:5, 66:11,        123:9, 179:22,                                        227:11, 234:6,                          240:6, 240:8, 243:3,    undertake [1] - 38:23       147:9, 150:18,           201:10
                                                                                   15:24, 16:21, 17:3,                                                                                                                                                      volume [3] - 126:9,
 224:14                       79:5, 79:11, 96:6,        218:1, 218:4,                                         234:9, 234:20,                          243:13, 243:20,         undisputed [2] - 20:3,      155:2, 156:10,          value-add [1] - 177:8
                                                                                   114:16, 162:25                                                                                                                                                            226:5, 226:9
theory [4] - 64:6, 64:7,      96:8, 96:10, 96:11,       220:22, 221:12,                                       238:12, 244:14,                         244:15, 245:20,          28:12                      161:19, 165:9,          values [6] - 24:4,
                                                                                 transverse [4] - 29:22,                                                                                                                                                    VS [1] - 1:8
 64:11, 193:10                126:12, 126:14,           221:17, 221:20,                                       245:14, 251:3                           249:25, 250:6           unfair [1] - 60:24          166:1, 171:4,            24:13, 33:13, 101:2,
                                                                                   30:1, 30:22, 31:6
thereafter [1] - 127:1        133:23, 133:25            222:3, 222:13,                                                                              type [11] - 26:12,        unfortunately [1] -         173:25, 181:22,          101:8, 101:11
THEREAFTER [1] -
                                                                                 travel [1] - 138:6         Tuesday [6] - 112:19,
                                                                                                                                                      38:21, 53:16,                                       185:9, 186:11,
                                                                                                                                                                                                                                                                       W
                            Tier [3] - 158:10,          222:22, 223:1,           traveled [2] - 140:2,        250:16, 250:17,                                                  140:9                                              valuing [1] - 110:22
 255:12                       176:23, 177:2             223:4, 223:19                                         250:21, 251:22,                         108:18, 110:9,          unique [2] - 119:14,        187:16, 189:13,         variable [5] - 29:15,     wait [8] - 15:14, 15:16,
                                                                                   140:10
therefore [1] - 188:14      ties [10] - 28:20,        touch [1] - 131:15                                      253:20                                  188:12, 196:1,           133:10                     189:19, 193:19,          29:17, 30:7, 30:9,        15:20, 17:12, 17:14,
                                                                                 traveling [2] - 140:4,
Theriault [1] - 155:15        32:16, 122:22,          touches [1] - 204:10                                  Tunnel [1] - 175:11                       203:1, 206:4,           unit [22] - 115:7,          194:17, 200:10,          123:11                    107:12, 165:4,
                                                                                   181:7
they've [2] - 61:9,           126:17, 133:23,         tour [1] - 240:22                                     tunnel [1] - 176:14                       233:18, 236:11           117:15, 122:25,            219:11, 219:20,         variables [6] - 23:3,      251:22
                                                                                 Tregellis [4] - 219:3,
 159:18                       208:11, 208:12,         toward [1] - 20:13                                    turn [17] - 25:6, 28:7,                 types [14] - 13:12,        123:22, 124:14,            222:5, 223:8,            29:25, 30:5, 30:8,       walk [4] - 159:13,
                                                                                   248:18, 248:20,
thinking [2] - 34:24,         209:6, 217:4            towards [4] - 125:8,                                    128:3, 132:10,                          23:7, 26:16, 112:2,      125:14, 129:18,            224:19, 226:6,           31:22, 32:24              159:14, 197:5, 213:2
                                                                                   248:24
 251:14                     TIME [1] - 255:11           144:22, 169:10,                                       170:1, 177:20,                          114:17, 133:9,           132:9, 207:16,             233:10, 233:23,         variety [3] - 108:18,     Wanda [1] - 148:19
                                                                                 trial [20] - 110:24,
thinks [6] - 23:25,         tiny [1] - 158:17           185:8                                                 178:13, 178:24,                         133:21, 135:19,          215:3, 216:5,              234:15, 235:1,           108:24, 111:16           wanna [1] - 94:18
                                                                                   112:16, 112:19,
 24:7, 30:16, 30:21,        title [3] - 133:8,        track [26] - 20:8,                                      181:20, 183:24,                         203:3, 208:6,            216:10, 216:11,            243:2, 245:21,          various [8] - 10:25,      wants [2] - 129:12,
                                                                                   124:19, 138:16,
 45:19, 82:24                 178:21, 182:5             20:14, 21:9, 21:24,                                   183:25, 189:1,                          209:20, 213:20,          218:4, 222:17,             249:7, 250:8,            11:3, 110:22,             211:19
                                                                                   147:3, 157:3,
third [5] - 38:12,          titled [5] - 15:7,          22:3, 22:16, 23:12,                                   195:8, 202:8,                           235:11, 237:22           226:11, 228:19,            250:19, 251:2,           111:18, 111:22,          ware [1] - 197:3
                                                                                   170:25, 195:5,




                                      UNITED STATES DISTRICT COURT                                                                                                                      UNITED STATES DISTRICT COURT




                                                                                                                                 291

warning [1] - 136:6          203:19, 205:16,           47:2, 47:3, 47:7,          147:22, 161:23,
WAS [1] - 255:12             207:2                     47:14, 51:18, 51:19,       162:19, 166:23,
WASHINGTON [1] -            willingness [2] -          53:25, 81:17, 83:21,       190:18, 198:2,
 2:21                        210:10, 210:11            133:24, 163:17,            206:2, 206:20, 224:4
wasted [1] - 252:8          win [3] - 146:7,           163:18, 165:22,           yellow [1] - 30:15
watch [1] - 246:3            186:14, 211:19            239:12                    yesterday [30] - 11:14,
watching [1] - 165:10       window [9] - 25:19,       wording [1] - 60:6          18:7, 21:2, 25:10,
ways [10] - 27:6, 94:3,      54:19, 80:20, 81:6,      words [13] - 46:22,         25:25, 26:25, 30:1,
 109:1, 115:10,              83:17, 97:2, 97:19,       51:16, 51:20, 51:21,       30:14, 33:21, 41:7,
 115:12, 118:7,              104:3, 104:11             51:23, 97:24,              50:15, 52:4, 52:5,
 124:8, 196:22,             windows [1] - 104:5        167:23, 176:18,            70:11, 73:8, 81:15,
 201:9, 204:20              wish [1] - 232:18          188:11, 226:6,             83:22, 84:1, 91:12,
website [7] - 127:15,       wishes [1] - 114:21        238:13, 245:18             92:23, 93:12,
 167:19, 167:22,            withdraw [3] - 14:20,     works [7] - 4:16, 11:9,     119:21, 120:17,
 168:1, 168:8,               16:13, 17:8               49:21, 58:12, 89:12,       121:15, 125:8,
 171:13, 171:22             WITNESS [21] - 49:11,      93:24, 171:9               200:23, 213:13,
wedding [1] - 140:6          59:5, 68:20, 68:23,      world [7] - 163:25,         233:16, 238:16,
Wednesday [2] -              77:9, 77:11, 78:21,       168:22, 226:18,            246:3
 234:4, 250:19               106:24, 107:15,           236:3, 240:11,            YOLO [6] - 25:10,
week [2] - 194:25,           114:5, 136:20,            241:19, 243:1              26:7, 26:11, 26:17,
 248:25                      137:13, 167:18,          worldwide [2] -             66:24, 67:2
weekend [2] - 250:22,        173:16, 173:20,           140:24, 141:1             York [7] - 11:18,
 251:13                      185:20, 197:10,          worried [1] - 159:7         11:22, 11:23, 11:25,
weighed [1] - 186:12         229:7, 231:13,           wow [1] - 154:7             12:1, 12:4, 128:21
weight [1] - 134:24          231:16, 232:13           wrap [1] - 250:18          YORK [1] - 2:20
weights [1] - 84:24         witness [47] - 16:7,      write [4] - 100:5,         Yorker [1] - 11:25
welcome [5] - 17:20,         39:1, 46:13, 48:1,        100:8, 150:15,            youngest [1] - 11:17
 18:5, 136:24,               58:15, 58:17, 59:19,      150:23                    yourself [6] - 69:23,
 197:10, 200:1               60:15, 60:16, 60:24,     writes [1] - 193:7          108:10, 116:7,
well-lit [1] - 133:17        60:25, 62:21, 63:8,      writing [6] - 142:12,       139:18, 183:10,
well-understood [1] -        63:15, 65:2, 65:13,       142:19, 155:14,            201:7
 190:5                       68:14, 89:17, 89:21,      155:15, 155:17,
WEST [1] - 1:23              90:15, 106:20,            198:19                               Z
Westchester [1] -            107:1, 107:8, 114:3,     written [3] - 152:19,
                             136:1, 136:4,             154:25, 186:19            zero [3] - 33:14, 219:1,
 11:24
                             136:17, 136:25,          wrote [11] - 16:19,         219:5
WESTERN [1] - 1:2
                             137:1, 137:2, 137:4,      83:22, 147:5,             Zetica [3] - 180:19,
whatsoever [2] -
                             137:6, 137:10,            150:19, 151:1,             180:21, 180:24
 46:19, 92:7
                             142:15, 145:18,           152:2, 152:12,            zoom [2] - 173:23,
whereas [3] - 6:18,
                             146:19, 146:21,           152:22, 190:8,             183:16
 10:19, 114:21
                             164:17, 165:14,           191:9, 239:6              zOVKO [2] - 229:3,
wherein [3] - 21:10,
                             183:7, 184:19,                                       235:5
 33:9, 74:23
wherewithal [1] -
                             199:13, 199:20,                     Y               ZOVKO [19] - 2:7,
                             218:12, 229:21,                                      3:11, 108:3, 111:8,
 127:20
                             232:10, 250:14           year [21] - 126:3,          113:24, 218:14,
whey [1] - 163:9
                            witness's [2] - 47:25,     126:12, 126:14,            218:16, 229:16,
white [1] - 99:22
                             113:25                    126:18, 126:20,            230:2, 231:10,
Whittington [1] -
                            WITNESSES [2] - 3:2,       126:24, 127:1,             231:14, 232:4,
 148:19
                             3:12                      127:8, 127:9,              232:21, 232:23,
whittled [1] - 214:6
                            witnesses [17] -           127:18, 127:24,            234:8, 234:21,
whole [6] - 12:11,
                             89:17, 89:21, 112:5,      142:13, 142:20,            235:8, 249:2, 250:13
 21:3, 92:12, 104:6,
                             112:12, 112:16,           161:17, 174:17,
 192:21, 192:22
                             164:13, 164:19,           175:7, 181:19,
width [1] - 134:12
                             164:20, 164:23,           186:24, 188:19,
willful [1] - 61:2
                             165:2, 165:3, 165:5,      214:18, 230:24
willfully [1] - 157:3
                             165:10, 165:11,          yearly [1] - 143:25
William [3] - 107:5,
                             225:15                   years [19] - 52:3,
 107:15, 108:12
                            wondering [3] - 5:1,       52:11, 92:22, 93:1,
WILLIAM [1] - 107:16                                   110:2, 140:16,
                             60:7, 196:10
willing [7] - 9:9, 14:20,   word [16] - 46:17,         144:8, 144:14,
 131:11, 203:16,




                                      UNITED STATES DISTRICT COURT




                                                                                                                                        Exhibit 3
                                                                                                                                          171
